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 THE UNIVERSITY                     OF TEXAS AT AUSTIN



                                                RECOMMENDATION FOR CHANGE                                             IN   ACADEMIC RANKSTATUS



Name              Heidari Zova                   ELI        zh732           Present        Rank       Assistant Professor




 Years of Academic                Service         Include      AY 201718 in each count

 At UT      Austin     since       912015                 monthdayyear              Total    Years    at   UT Austin             3




In Present         Rank since           912015 monthdayyear                          Total    Years     in Present         Rank2

Tenure track only

Number of Yeats in Probationary                           Status       3




Additional        information            Accelerated




Primary Department                  Petroleum and Geosystems                        Engineering



CollegeSchool                Engineering            Cockrell     School      of



Joint   Department                NA

CollegeSchool               NA

Other     Departments               NA

          Recommendation                   actions



              By Budget CouncilExecutive                           Committee               Promote



              Vote2        for promotion           2 Against Q Abstain t Absent I Ineligible to vote                                       I




              By Department               Chair           Promote



              By CollegeSchool Advisory Committee                                         Promote



              Vote2        for   promotion         j       Against      Q       Abstain     Q    Absent               Ineligible to vote          0



              By Dean             Promote




Administrative             Action          Promote to Associate Professor


Date    Action       Effective          Sentember         1 2018

To be submitted              to   the   Board of Regents               as part    of the annual         budget



                                                                            t
By                                                                                                                         Date      February 152018
                                         lair   the President




ISee   Chart of Recommended                     Actions    for eligible    recommended        actions      applicable      to   specific   conditions     and   administrative   levels

2Record     all    votes    for   and    against     promotion        abstentions    by   eligible   voting   members and the number               of absent     eligible   voting   members   The number   of

committee     members        ineligible to       vote should   also    be recorded        Enter zero where       it   would     otherwise      be blank



EVPP4I5




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W
GO 1 The University of Texas at Austin
         Cockrell School             of Engineering




                                                                    Deans Assessment
                                                                       Zoya Heidari
                               Hildebrand         Department of Petroleum and Geosystems Engineering
                                                           Cockrell     School of Engineering




     Dr Zoya Heidari received                 her BSc     in   mechanical      engineering and MSc in biomechanical                 engineering
     from Sharif University             of Technology           Iran     in 2005    and 2007 respectively            She received       her PhD

     in petroleum           and geosystems engineering from the University of Texas                          at Austin in       20111      She

     joined the faculty in the Harold Vance Department of Petroleum Engineering at Texas                                          AM
     University        as   an assistant professor in September 2011 and moved to the Hildebrand Department

     of Petroleum and Geosystems                   Engineering          PGE at the University of Texas at Austin in September
     2015


     If    promoted      to associate        professor in September 2018                  Dr Heidari will    have accumulated           three

     years of probationary             service     at UT and a total of seven years in rank as an assistant professor

     While this case          is   considered to be accelerated               when considering only Dr Heidaris time at UT her
     total    time in rank exceeds our normal timeline



     Dr Heidaris            research    is   focused     on the      in situ formation      evaluation and petrophysical           assessment

     of permeable rocks with a goal of quantifying                         the fluid storage      and transport properties              Dr
     Heidari has also developed                 several       new methods and algorithms             for the quantification        of effective

     physical        properties of rocks and she has advanced                     new procedures for the enhanced                in situ

     assessment         of rock properties using a variety of fluidsolid contrast agents including nanoparticles

     Within         the Hildebrand Department of Petroleum and Geosystems                             Engineering her work
     contributes        to   three of the twelve primary research areas                       formation     evaluation        unconventional

     resources         and petrophysics and porescale processes


     Eight external letters were submitted as part of the promotion                               dossier with three letter writers

     recommended by Dr Heidari and                        five selected       by the budget     council     Seven    letter   writers are

     faculty at       US institutions         Colorado School of Mines Houston2                   Oklahoma Penn State3 Stanford and
     Texas      AM4 One letter writer               is   a faculty     member at Imperial College London Two                     of the letter

     writers are members of the National Academy                              of Engineering     NAE

     Letters        were solicited from three additional external reviewers                         Two declined due to personal
     commitments andor lack of familiarity with Dr Heidaris area of research                                         One potential reviewer
     did not respond to the request




     I
          Carlos TorresVerdin supervised               Dr Heidari during        her graduate studies at     UT
     2
          Christine   EhligEconomides          served    as    Dr Heidaris     faculty    mentor at Texas   AM      for three years before she

     joined the University           of Houston    in   2014        However    there is   no record of any formal research        collaboration

          Russell Johns served       on the faculty           the   Department of Petroleum and Geosystems             Engineering at UT
     3
                                                         in


     Austin     from 1995      to   2010     Dr Heidari did not take any courses from Dr Johns and he did not serve on her
     PhD committee
     4    Michael    King served     as the chair of the search         committee when Dr Heidari was hired at Texas               AM There
     is    no record of any formal research             collaboration
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Teaching
While in rank at UT             Dr Heidari has taught one undergraduate course and two graduate                                 courses



              PGE 337 Introduction              to Geostatistics

              Required     undergraduate course

              Taught two times average enrollment of 56 students
              Instructor    ratings     40 to 44           I
                                                               Course ratings         37 to 40

              PGE 383 Rock Physics
              Graduate     elective

              Taught once       7 students
              Instructor    rating     49   I
                                                 Course rating           46

              PGE 385K Advanced Multi Well Formation Evaluation
              Graduate     elective

              Taught once       15 students
              Instructor    rating     44   I
                                                 Course rating           41


Dr Heidaris           average    instructor       at the       undergraduate level are slightly below the median                   43    for

both the department              and the        Cockrell       School and her average         instructor   rating at the     graduate    level

is   above the median within the department                            43 and school 45 Senior                faculty   conducted     peer
evaluations in          Dr Heidaris      courses two times in rank Carlos TorresVerdin provided very specific

feedback           regarding areas of potential                improvement       in her   undergraduate course           Student

comments were generally positive                        but several complained about using MatLab                      in PGE   337


Dr Heidari taught eight courses                    as   a faculty       member at Texas      AM Her        average      instructor    rating

was     39550 in the undergraduate courses and 44350 in the graduate                                       courses



Research

Dr Heidaris           research    focuses on petrophysics and multi scale formation                           evaluation    especially for

unconventional           resources      carbonates and shale formations Her key contributions                               involve    the

use of nuclear          magnetic      resonance         NMR measurements for detection                   of production      zones
developing           new models for formation                  evaluation      and describing the rock        fabric    spatial pore

geometry in reservoirs Highlights of Dr Heidaris research accomplishments include


              30 archival journal publications                   in   ranks   34 career total       She published 23 journal papers

              in   rank with her graduate students

              Many of her publications are                 in top journals       in   her field including Applied Clay Science

              IF=31 AAPG6 Bulletin 28 Geophysics 24 SPE7Journal 22 and Mathematical
              Geosciences     20       She has also published extensively in journals that are more narrowly

              focused    on her specific         research        interests Journal of Petroleum Science             and Engineering

              19 SPE       Reservoir     Evaluation              Engineering      17 SPE         Production      Operations     08
              Petro physics     08     and       Interpretation           A Journal ofSubsurface        Characterization        07
              An h index of 11 Google Scholar                         with 372 citations




5    17 at UT four are in press         and 13 at Texas           AM
6 American         Association of Petroleum Geologists
7
    Society   of Petroleum Engineering
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While at Texas           AM Dr           Heidari established an impressive record of research                  funding from

industry and foundations



              She established a joint industry            research     program J1P with six members which provided
              $900000         all her share

              She received      $100000        from the American Chemical            Society    Petroleum Research Fund

              through the Doctoral           New Investigator       grant program
              She received      $40000 from the Society of Petroleum Engineers through a Research
              Fellowship Award for new faculty

              She and several        colleagues worked directly           with industrial sponsors to secure $930000

              $525000         her share

              She secured two research            projects   from JIP directed by senior faculty at Texas                AM
              $300000         her share

              She was a co PI on a grant with colleagues                at Texas    AM Qatar from the Qatar National
              Research    Foundation for $900000              $110000          her share

              She was a co PI on a multi university team that secured                     $39     million from the       Skoltech

              Center for Research           Russia     $540000       her share

              She received      four grants through the Crisman Institute8 at Texas                     AM     for a total   of

              $770000         $700000       her share



Her share of research funding at Texas                    AM exceeded $34 million which                  is   a remarkable amount

However the level of peerreview                   for these   grants     is   not clear   Since joining UT        Dr Heidari has
received       one external research           grant from the Texas Oil and Gas Institute of the University                       of Texas

System and she established an industrial affiliate                      research    program       IAP with one member9 She
is   the sole PI on these grantsprojects                  Her total funding at UT Austin           is   $200000    all   her share



The global decrease             in oil    prices has   reduced    Dr Heidaris ability      to secure      research   funding from

industry       at   UT but she had several         additional     contracts      pending at the     time that her promotion

dossier was submitted



All    the external reviewers discussed                the quality and impact of Dr Heidaris              work and recommended

promotion           Martin     Bluntio Imperial College          London        offered a recommendation            My only advice
would be        for her to     consider aiming to publish some work in higher profile or more general

journals with a broader readership                     at present   most papers are published            in somewhat specialist

petroleum publications



Advising and Student                Mentoring

At Texas       AM Dr          Heidari graduated five PhD         one co supervised and eight MS students three co
supervised           Dr Heidari is currently           advising five PhD and three MS students one co supervised
at    UT and she continues            to   co supervise    a PhD student at Texas         AM       She also mentored one

postdoctoral         fellow at UT




     Funding is provided through an endowment and annual                      support from member companies
8


9 She   is
             currently   negotiating with      three additional     industry    members    Each   member company          will   provide

$50000        annually   to   the   IAP

     Department of Earth Science and Engineering
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University    Service

Dr Heidaris     university         service      has been focused at the department level at UT where she has

served on a faculty recruiting             committee and the graduate           admissions committee                 She    is   also   a

member of the Women                in   Engineering Program advisory committee for the Cockrell                        School



Professional Service

Dr Heidari is a member of several                  professional   organizations      She currently             serves as an associate
editor for SPE Production                Operations       and Mathematical Geosciences         Springer She was                  recently

elected    to a twoyear term as vice president of education                    for the   Society     of Petrophysicists and

Well Log Analysists



Other Evidence of Merit or Recognition

Dr Heidaris     accomplishments have been recognized                       by the Society    of Petroleum Engineers



           She received       a Research         Fellowship Award in 2012 six awarded                     The award provides seed

           funding to new faculty            members and recognizes           their creative       research      ideas

           She received       an Innovative        Teaching    Award in 2015 five awarded
           She received       the Cedric K Ferguson            Medal in 2017 for the best paper published in an SPE

           journal by an SPE            member who is younger than 36


Overall Assessment

In   summary Dr Heidari is a dedicated                    teacher and an outstanding        researcher           She established an

extremely well funded research                   program at Texas    AM from a       variety       of industry sources and                  is


working     diligently to reestablish                     program at UT External referees enthusiastically
                                                 her research

support her promotion               Her record of student advising and mentoring is strong She is quite active
in the   professional community and she has received                   several competitive           awards from the Society of
Petroleum Engineers



To date Dr Heidari has not received                  any federal research       funding     but this      is   not a requirement for

promotion      Many of the faculty in the Hildebrand Department of Petroleum and Geosystems
Engineering receive the majority of their research                   funding from industry



One may ask why Dr Heidari                 is   being considered    for promotion        at this   time when she has not yet
reestablished her research               program     at   UT A commitment       was made when she was                 recruited         from

Texas    AM    that   her promotion             case would be considered        in a timely    manner           The department

budget    council   and   I   do not believe       that    the global downturn     in oil   and gas       prices   should be the

deciding factor in the duration of her probationary                   period at    UT     As such     I   believe    that   Dr Heidaris
performance meets or exceeds expectations                      for early   promotion     to associate          professor with tenure
in all   categories and       I
                                  support this case without        reservation




Sharon     L Wood Dean
20 November 2017
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                                                                Chairs Statement

                          Zoya Heidari Petroleum                             and Geosystems Engineering

                    Promotion from Assistant to Associate                                              Professor with Tenure

Summary Statement


I
    fully   support the Budget Councils                  decision to      promote Dr Zoya                Heidari    from Assistant            Professor to


Associate Professor with             tenure         She has met or exceeded                      expectations      in   teaching       research        and

service to     the Department          of    Petroleum and Geosystems Engineering                                PGE     to the    Cockrell School             of


Engineering         to   The University        of Texas      at Austin      and to the broader               scientific     and    professional


community


Dr Heidari       received       her PhD     in   petroleum        engineering from The                   University     of Texas       at    Austin   in    August

2011        She worked for 4 years as an assistant professor                              at   Texas    AM       University     before moving to the

PGE department            at   UT in the fall       of   2015     Although      she has just finished her second                       year as an assistant

professor      at   UT   she will be completing              her   6th   year   in    rank as         an assistant professor            It   is   Dr Heidaris

wish to go up for tenure             at this     time and the department supports                          that    timing



Budget Council Discussion and Decision



The promotion process started                    with     the solicitation      in June          of external      letters   The candidate              submitted

her statements           and supporting          materials over the          summer and these were made available for Budget
Council      review the week prior to our September                        5 2017          meeting along with the external                         referee    letters


and Budget Council statements                       The    Budget Council statements                    were prepared           by the PGE Promotion

and Tenure Committee consisting of Dr Kamy Sepehrnoori                                            chair Dr Mukul Sharma and Dr                         Eric   van

Oort Dr Carlos TorresVerdin was an ad hoc member of the committee recruited                                                       to    help       prepare the

research       statement



The entire      Budget Council attended                   the September 5 meeting except for our newest                                 member Dr Quoc

Nguyen         He was promoted          to   full    professor      effective        September           1 2017      and had not participated                      in


the Budget Council process in the spring and summer leading up to the promotion vote                                                              As such     in


discussions with          me prior to the meeting he expressed the feeling that he was                                        not well        informed on the

background          of the     candidates    or the       process        and he chose to abstain from voting                       Our past history of

promotion votes was to have the Budget Council meet before the beginning of the new academic year

and that had been              our intention      this year so         we had        not       been    keeping Dr Nguyen           in the         loop of    our

work        However       due to scheduling constraints                   and the         late   reception     of outside       reference          letters that


delayed our Budget Council statement                        completion the process bled into September 2017                                         Including           Dr

Nguyens abstention the final vote                        of the   Budget Council for promotion of Dr Heidari was 9 in favor no

opposed and          1 abstain




The Budget Council discussion concerning                          Dr     Heidari     was very complimentary of her teaching and

research       accomplishments            With       regard to     research          it   was stated       that   she had been          very productive

and that her work was of high quality                       The    Budget       Council          agreed   that    her recognition            by the Society of

Petroleum        Engineers       SPE in being awarded the Cedric K Ferguson Medal                                       given   to contributors              under
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the age of 36 for excellence                     in   research           and associated publications was                                 a    significant         accomplishment

Another      highlight           of the    discussion             was the comment                    that      although          her PhD work was entirely

theoretical            and numerical she had established                              a   substantial              laboratory research                     program         during her

time at Texas            AM          and she had reestablished                        that lab capability                     here at    UT         This    laboratory


component               to   augment the theoretical                         and numerical               is   seen as key to her success



Research      money was                also discussed                  Dr Heidaris record shows that                                 her financial          success        at   Texas       AM
was quite impressive bringing                          in   more than $3 million as her share for projects                                            in    which she was             PI    or


co PI    Since          coming to       UT her incoming funds                         have been               modest           on the order of $200000                          her share

but there         is   good reason for this                      Moving from           AM was                 disruptive             and most of her accounts                     could         not

be   moved             Also the timing of her move coincided with the precipitous                                                      drop     of oil      prices        from over

$100barrel             to    less   than   $50        so    it   has    been     a   challenging              environment              for    everyone           to raise new


money        The Budget Council recognized these challenges                                                   and      felt    that    Dr Heidari was making good

progress     toward            increasing       her research support                           having         numerous           proposals          out to industry federal

agencies      and other funding                  sources           on the order of $23 million pending                                         The assessment was that

her results        at    UT have been good                   considering             the times and her incredible                             success        at Texas           AM shows
that she     is    more than capable                  to bring          in   the required            funds to have               a    robust    research          program


The Budget Council was completely                                 satisfied with               Dr   Heidari with               respect to       teaching             In   addition         to


teaching     a     graduate          class related          to her research specialty                             in which       she did very well she taught                          PGEs

undergraduate                geostatistics           course        a   new topic          for her        and one in which students                           have struggled             in   the

past    Comments were made that she had done an excellent                                                          job with          the course            and that her Course

Instructor        Survey         CIS scores           were better than those for the previous teachers of the course                                                             The

discussion         on teaching          moved         into        praise for her achievements                            in    student       mentorship exemplified                         by

her graduate            students success               in     completing             their      degrees she has supervised                            5    PhDs to completion                    at

AM      in   rank and securing employment                                     This   mentorship                was      also    noted as exemplary                   with       regard to

her outreach            efforts to involve             girls      and    women            in   engineering


One final     point          of discussion           on Dr Heidari was the topic of hiring our                                         own          There was one faculty

member who voiced                     this concern               stating      discomfort            with      a   program            hiring   its    own PhD students onto
the faculty            but there       was no        specific criticism              of   Dr        Heidari       in   the     comment              Responses             from other

Budget Council members                      asserted             the fact that she had succeeded                                in    separating           herself     from the work

of   her advisor            Dr      Carlos TorresVerdin                      and that she had                  left    Austin        and made         it    on   her      own    as   she

was on her way to promotion at Texas                                    AM when we                   hired        her         She also had moved well beyond her

PhD work by establishing                   a    significant            laboratory research effort that                               brought        new capabilities             to    UT

PGE One final comment                      with       regard to hiring                our own PhDs was that given the fact that we are the

number       1 ranked program                   in   petroleum               engineering            in   the country             and that our only true peers are

only Stanford            and possibly           AM          the pool of petroleum                        engineering             trained       candidates for hiring                   is
                                                                                                                                                                                            very

limited      We do also hire candidates                            with       related     degrees             such as quantitative                   geoscience            and chemical

engineering but we have                     a   strong           desire to hire           petroleum engineers                         and our PhD graduates make for a

very appealing candidate                    pool        Our current              mix of faculty origin                    is   4 UT PGE PhDs out of 20 tenured                                  or


tenure track            with        2 of those       UT degreed               being    full     professors over the age of 60                               The   Budget         Council         is
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comfortable          that    we do        not    have    a   problem        with    in breeding                and   will      not    have the problem               any time

soon as am I


Chairs Analysis             of Teaching




The typical teaching                load for      an assistant professor                in      PGE   is   3   courses per year                   New        hires typically         get

some teaching              relief      teaching only one course per semester                               2 per year                for a   year      or    two     Dr Heidari

was offered two             years of reduced             teaching          1 and 1 at the time of hiring and that                                      is   what she taught



As outlined          in   the Budget        Council      statement          on teaching               Dr Heidaris               CIS ratings for the               undergraduate

course     PGE 337           Geostatistics          are      an improvement on the previous three years of offerings                                                  of the


course prior to her arrival                      From fall 2014 through                 fall    2016 the range of ratings                         for       other PGE

professors         teaching PGE 337 was 34 to 42 mean                                   =   384       for instructor             while       Heidari         received       40 and
then   44 for her two               offerings       The previous course ratings were                                 31 to 39 mean = 358 while                                 Heidari


received       37 followed              by 40      These         undergraduate              numbers show both better student                                   reception        for the


course than had been                    received previously as well as Heidari gaining improvement from one year to the


next    both encouraging                 signs    for her        undergraduate              teaching capability                  For her two offerings                    of


graduate       courses at           UT    Heidari      received          on average         a   465    instructor rating                and       a   435 course          rating

both better than average                    ratings      compared to the department and college



Below are some excerpts from Dr Heidaris course evaluation                                                     comments The comments were

overwhelmingly              positive        particularly for her            second          offering       of the      undergraduate                   PGE 337       in   spring

2017     Major themes                  were that she cares               about the students was very accessible                                       outside      of class      was

organized and provided                    meaningful             and useful homework                  assignments                Numerous students                    called         her

out as the best professor                   in   PGE         The most       common              negative        comment was complaining about the use

of   Matlab     in   the course but Matlab                       is   the coding tool that students are taught                               in   our sophomore

programming course                       There were          a   few that complained                  about course organization                             and   ability   to


answer questions              in    class    but    these were more than outweighed                                  by positive         comments on the same

topics    Below are a few excerpts from her undergraduate                                             teaching comments                      to   demonstrate             that       she

is   making    a   positive        difference       in   many students education and experience                                         at   UT


Undergrad spring 2016                     and spring 2017 for PGE 337                            each bullet          is   a   different      student

           Dr Heidari             is   the gold standard of what PGE faculty should be                                          Ive never met someone as
           professional                and dedicated to her job

           one of the best professors Ive had at pure teaching
           favorite         professor        this semester


           Best organization                of any class              Ive taken    at   UT

           Love this professor

           I

               truly      enjoyed this course and Dr Heidari                            She encouraged                     me to be a better student                      and    I




           really         liked   the way she ran her class

           I
               thought        the class was well organized and efficient

           Was always motivatedenthusiastic                                to   teach
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          Professor          Heidari         seems to care about her students and their progress more than any other

          professor          Ive had             in   this department


          Dr Heidari            is   one of the best professors Ive had at                                UT The course              is   well   structured     and the

          homeworks               were well designed

          Dr Heidari            is   one of the best PGE professors

Given the CIS ratings student                          comments and the peer evaluations                                of   Dr Heidaris teaching my

assessment       is   that   she exceeds                   expectations             with regard to teaching



Chairs Analysis of Research



In   my assessment of Dr Heidaris research achievements                                               I   will   include excerpts           from her external

referees       Dr Heidari received 8 external                                letters 6 of which were writers chosen                            by the PGE Budget

Council   and 2 were suggested by her The                                         respondents    include          NAE members faculty from the                    best


petroleum related programs                            in   the world Stanford University Imperial College and Texas                                        AM      current


and former department or program chairs and faculty from other peer petroleum engineering                                                                         programs

Colorado School            of    Mines Penn State and                             Oklahoma       Two potential NAE referees declined                            because   of


lack of   knowledge          in      the field Kleinberg                     Schlumberger and lack of time Reynolds Tulsa                                  One

international referee                never responded Vinegar Ben Gurion University                                              I   do not consider any of these

three non responders to indicate a negative view of Dr Heidaris accomplishments



Dr Heidari published 30 journal papers over the past 6 years while                                                      in   rank as an assistant professor at

the time we sent her packet                           out for review the in rank number of journal papers was only                                         25 which you

may    notice    in their     comments                         This    number of 30 papers in rank as an assistant                             professor   is




significantly    greater than               the       last      five   PGE faculty promoted to associate                        professor        with tenure see

Table     1    This demonstrates                      that      Dr Heidari has been exceptionally                        productive         in   her research program

and most of those papers                      23 were coauthored with students

                      Table          1     Publications                numbers when going up for promotion to associate

                      professor

                                                           In                Total       Date                    Date    PhD              Years since

                                                           Rank                          Promoted                granted                  PhD at

                                                                                                                                          promotion

                      Heidari                              30                34                                  2011

                       Prodanovic                          22                31          2016                    2005                     11

                       Foster                              19                22          2017                    2009

                       DiCarlo                             17                63          2013                    1994                     19

                       Nguyen                              13                16          2011                    2003

                       Balhoff                             9                 13          2013                    2005




Another way to look at Heidaris research productivity                                           is   to plot the papers per calendar year for all                     PGE

faculty   in   rank as an assistant professor during a given year since                                            2011 Figure            1 The     assistant


professor      data    I   show       is   exclusive of               Heidari and includes PGE faculty for each year they held the rank of

assistant      professor even               if
                                                 they were              in   that    rank for only part of the year                  After a facultys         promotion
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year however                I
                                dropped them from the computation                              For example              the comparison       pool of assistant


professors        in   PGE exclusive            of Heidari included             eight faculty          in   2011 Balhoff Daigle              DiCarlo Espinoza

Foster Nguyen                   Okuno     Prodanovic             falling   to   four in 2017 Daigle                   Espinoza       Foster Okuno         Also       it




should be noted that 2017                       is   only a partial year          so the dip in numbers                   in   2017 is not indicative        of what


the    full   year data will        likely show




                       140




                                 2011                2012             2013                   2014                 2015               2016             2017


                            eAssistant Avg                         Assistant High                      Assistant Low                 aHeidari



        Figure    1 Journal papers published                        per calendar year for Dr Heidari compared to other assistant

     professors        in   PGE while      in    rank     Heidaris data            is   not included             in   the average and range for the other

                                                assistant        professors       2017 is an incomplete                       year


Figure 1 shows that                the number           of journal         papers published            per year has been increasing for Heidari

since     2011 peaking in 2016 with 10 published but her 2017 number of 8 published journal papers could

rise   as the year          is   not over        Heidaris early performance                     is   equivalent         to the average of the other PGE

assistant       professors while her recent performance                                 is   significantly        above        average but    still   within   the

range of the others                 In    2016 the PGE             associate      and full      professors            averaged about        85 journal papers
                  for the                                        performing better than
                                 year so                                                               average as compared to those holding
                                                Heidari
per faculty                                                 is




higher        rank as well         Given that UT is the most productive                              petroleum engineering              department        in   the

country        with regard to publication                   based on the most recent data provided by the Association                                        of   US

Petroleum         Engineering            Department              Heads      beating the average here is a significant accomplishment


In   petroleum engineering conference                             papers are also an important medium for reporting research

results        For conferences            of the Society of           Petroleum              Engineers      SPE and Society of Petrophysicists                       and

Well Log Analysts                SWPLA          which     is     where most of Heidaris papers are presented the acceptance                                          rate

is   based     on abstracts and            is
                                                 very competitive               Acceptance           rate   is   less than       25 for SPE conferences                   I




wasnt able to find a number for SPWLA                                 After abstract            acceptance             full   papers must be written and

submitted prior to the conference                           there is a no paper no podium                             policy     Figure 2   shows that Dr

Heidari       has been remarkably                    productive      in    writing conference               papers as compared to other assistant

professors        in   PGE        Since   2014 she has had                 at least     11 conference              papers per calendar year which                  is
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about twice the highest number of conference                                      papers per year for the other assistant professors and

three       times the average                  Heidaris conference                paper numbers not only exceed                  the range of the assistant

professors she significantly                       exceeds      the PGE      full   professor        average       of 8   conference        papers per calendar

year based               on 2014 through            2016       data


            160
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      13


            120
      011




            100

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             80

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      LI
             00                                                    4
                    2011                 2012                    2013                2014                   2015               2016               2017

                Assistant Avg                          10 Assistant High                      Assistant Low                   Heidari


 Figure         2    Conference         papers published               per   calendar year for Dr Heidari and other assistant professors

     in   PGE   while      in   rank as      an   assistant      professor          Heidaris data           is   not included   in    the   average        and range

                                    for the        other assistant professors               2017       is   an incomplete       year


Finally using             2016    data       the last complete           year for which         I   have data        on all faculty         among the 19
tenured         and tenure track faculty                  in   the PGE department of all                rank Heidari would             place    6th   in   journal


papers published                 and   tie   for   2nd   in   conference          papers published a great accomplishment                        for an assistant


professor           in   the    1 graduate petroleum engineering program                               in    the nation      US News and World                  Report
Dr Heidaris exceptional                      productivity        was    recognized        by Dr       Erdal      Ozkan chair of Petroleum              Engineering

at    Colorado School             of Mines         and chair of the US Association of Petroleum                             Engineering       Department

Heads who made the following assessment in his referee letter The data collected by the Association
of the US Petroleum Engineering Department                                    Heads show that the average rate of productivity for the

Petroleum Engineering faculty across                             the   US    is   two to three peer reviewed publications                      and three        to five


conference presentations                       per year Dr Heidaris productivity is                          clearly above      the   averages             Dr

Christine           EhligEconomides                NAE        University     of   Houston also commented                    on productivity       in   saying       1

am involved in faculty search at the University of Houston and see files for many faculty applicants

Considering              numbers of publications                 and the level of funding she has attracted                      Dr Heidaris

accomplishments                  soar over the applicants               we have seen


In    addition       to   her evidence of high productivity                         Dr   Heidari     has shown clear achievement                  of quality        in


her work             Probably the most important sign of work quality is her 2017                                         SPE International       Cedric        K

Ferguson Medal which                      is   given     to   the best paper from all               SPE journals whose author                was under the age
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of   36    Considering         the     size   of the      SPE membership over               100000           and the large number of papers

published      annually         in   its   five       peer reviewed journals         this    is   a   career highlight         achievement            Dr            Russell


Johns program chair of Petroleum and                               Natural   Gas Engineering            at   Penn State         University also a holder

of the     Ferguson medal and                     a   member of the 20162017                Ferguson award committee that bestowed the

honor on Dr Heidari stated                        in   reference     to   the award      I am particularly aware of her recent papers
that    were evaluated for the Cedric K Ferguson SPE international award                                               This is a major international

award      that   bodes       well for her future                  Besides   the SPE     award she has received numerous                         other


research      awards that clearly demonstrate                         her research excellence                 He also stated that             Zoyas technical

papers      are   of very high quality                  her group has developed several important key findings



Publication       in   good journals also indicates quality work                         and Dr Heidari has placed                     papers    in   many of the

top journals for our field                    SPE Journal SPE Reservoir Evaluation                           Engineering            Journal Geophysics                     and

AAPG       Bulletin to        name a few                Dr Ozkans      letter highlights this fact            in   saying Moreover the journals

she publishes          in   have some of the highest impact factors                         in    the disciplines       of geosciences         and petroleum

engineering


Citations     are a quantitative              way to measure              significance   and impact of published                     papers but their

interpretation          can    be difficult            particularly for young researchers                Heidari        is   also   the youngest           in       her


career of     any of our current                  assistant       professors      Heidaris h index            of   10 Google          Scholar    and total

citations     of 330        Google Scholar               are slightly      below but similar to other PGE assistant professors whose

h indices range from 11 to 14 and citations                               range from 386 to 906               A plot of citations            versus time


Figure      3 however            shows that she              is
                                                                  competitive     with   the other assistant professors and those most

recently     promoted          to associate              Her cumulative         citations    Figure 3b put her in the middle of her peers

when accounting               for years since            PhD Dr Ozkan           assessed      her h index          and citation        numbers        in   this       way
A cursory review of the Google Scholar profiles of the assistant professors                                              in   the peer       US Petroleum

Engineering        Departments              reveals slightly better records              than that of Dr Heidari                      Although             they may

not be the best measures to assess the early career achievements                                          of academicians                I
                                                                                                                                             agree with             him

that    Dr Heidaris numbers                   are not      high but she is young and the plots                     I   made show        her trajectory                is   not


very different than             her     peers Combined with her other exceptional                              indicators       of    achievement               I
                                                                                                                                                                    do not

think     the citation        data    should cause           any concern
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                300                                                                                                       1000
                           44Heidari    assist                                                                                             aHeidari Assist

                           4Espinoza                                                                                          900
                                           Assist                                                                                          5Espinoza           Assist


                250        laDaigle    Assist                                                                                              0Daigle
          a
                                                                                                                                                             Assist




                                                                                                              Scholar
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           Cs
                           xOkuno assist                                                                                                   4Okuno Assist
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                                                                                                              Google
                                                                                                                                               Prodanovic        Assoc

                           aBalhoff Assoc                                                                                      600         oBa       lhoff    Assoc
                                                                                                                                                                             j

                150                                                                                                            500




                                                                                                              Citations
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          2
           Cs                                                                                                                 400

          u     100




                                                                                                             Cumulative
          To
                                                                                                                               300

           C
                                                                                                                               200
                 50

                                                                                                                               100



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                                              0                         5                 10                                                                                             5             10

                                                  Years   Since   PhD                                                                                            Years     Since   PhD

a                                                                                                     b

Figure           3 a Annual and b cumulative                                     citation           data for a                   range of            UTPGE              assistant            The arrow points at

Heidaris curve                        Data source                 is   Google Scholar               September                            18 2017


A good            research            program             requires           money        to   support                    laboratory work                      and graduate students                         Dr

Heidaris in rank candidates                                       share of       $3414305              is   remarkable                           Dr Russel Johns Penn State

commented Her funding level also greatly exceeds                                                               what                  I   would expect from an assistant faculty going

up for tenure and promotion                                            Dr Ozkan adds                      her funded                       research              volume amounting                  to   $34
million since                 2011            is
                                                    significantly higher than that for most of her peers $300000year based on                                                                                            my
knowledge                    and must be credited to her recognition                                                      It    is    unfortunate                that       $838707           could not       be

transferred from                       Texas         AM           to    UT much of which was                                   awarded just prior to Heidaris hiring                                    at    UT         but


the winning                  of the grants                shows capability to support                                     a    thriving        program                     Her money          raised    at    UT so far

is   modest $198910                               but     she currently has $2323618                                          under consideration                           or negotiation        with        federal

and industry sponsors                                Another            factor      for   her money                       is    the fact that the timing of her move to UT could

not       have been              worse the                   price of oil        dropped             by   50 during her                              first      year on the PGE faculty                       All       of us


are finding                fundraising               more         difficult      under these conditions but things are improving                                                                 Also federal

money             for      oil   and gas related                   research         has been          virtually                      nonexistent over the past 5 years with                                         a   new

request               for proposals just released                            this   past       summer from the Department                                                  of      Energy being the           first



since           Heidari joined               UT


The       final       aspect          of   Dr Heidaris research that                            I   want to cover                         is   its    broader relevance and importance                                    to


society               In   my assessment her focus on improving                                             technologies                         related              to   unconventional          resources              oil

and gas in shales and other previously                                              nonproductive                          rock          types         puts her in the midst of the most


important energy development                                            in   decades one that has revolutionized                                                  and rejuvenated                the    oil   and gas

industry              in   the United States                       The       prospect that the United States                                          could           once         again     become     a    net


exporter of energy has turned                                          the world petroleum                  business and                             economic               power structure            on     its       head

     it   is
                really      quite remarkable                           Dr Heidaris positioning                                 in this field           and her impact are best highlighted

in    these comments                        of the         external          reviewers
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             Prof Martin         Blunt        Imperial College This work                                is
                                                                                                                 extremely important                       as    it
                                                                                                                                                                          focusses            on

             one    of the      principal        problems                in   the     oil      and gas industry                      which      is   how         to        extract


             efficiently       hydrocarbon             from unconventional                           resources              She has           founded            a joint             industry


             programme on            this       topic          which          has    been        extremely successful in terms of funds raised

             student      support and publications                         Dr Heidari has pioneered new methods to characterize
             hydrocarbon bearing shales                         described            in   a series of excellent papers                          in   the petroleum


             engineering        literature        she               is
                                                                         likely     to continue        to make significant                      discoveries                   in   the   coming

             years

             Prof Erdal Ozkan            Colorado School                      of    Mines            NMR technology is considered                                              as    one of the

             most promising approaches                         for the petrophysical                   characterization                   of unconventional                         reservoirs


             and Dr       Heidari   appears to be at the forefront of the research                                                   activities      on    this          topic

             Rolande       Horne     NAE Stanford                    University                With regard                 to    her publications                    I   think      Prof

             Heidari      and her students have made significant                                     contributions

             Christine     EhligEconomides                     NAE University                   of   Houston Dr Heidaris experimental and
             computational          work to quantify                     the physics           of unconventional                     reservoirs       is
                                                                                                                                                           of the highest

             importance         for the petroleum                   industry


Overall      my assessment          is   that    Dr        Heidari        exceeds           expectations              with       regard to research for promotion

to associate professor            with tenure



Chairs Analysis           of Advising          Counseling and Other Student Service



With    regard to      graduate      student          supervision Dr Heidari has graduated                                             five   PhD students                    1 co
supervised and eight              MS students 3 co supervised                                  while    in       rank          All   of these students                    received their


degrees from Texas             AM        University            but considering                  AM          is   a   peer institution and their graduate

petroleum         engineering       program           is   ranked         2 by US News and World Report tied                                          with           Stanford             this


accomplishment            is   the equivalent              of having          done the same here at UT Austin                                     Her two years at UT have

not   been       enough time to graduate                   a   PhD student                in   our program but she has been                                 successful               at


attracting       students and they are making progress                                      She currently supervises 6 PhD and 3 MS students                                                         In


addition     to her graduate         students she has been                            involved         in    nnentoring               undergraduates                     in   her research

program      at both      AM and UT 8 students                            total      in   rank         Her participation                   in   formal student                      instruction


and outreach         programs       as described               in    her      statement          indicate            she    is   a   caring advisor             and serves                student

interests    well    in   her work        I   assess that            Dr       Heidari       meets or exceeds                     expectations             for promotion related


to   student      advising     and counseling



Chairs Analysis           of Administrative                and Committee Service



As chair     I   have found       Dr Heidari to be willing and                              responsible              in   her service to the department                                   She

takes   her attendance           at faculty       meetings and committee meetings seriously and she has engaged                                                                               with


the faculty to build relationships                    with      her peers                 She did an excellent job leading one of our PhD

qualifying       exam committees               last   academic year and she has been                                       a    good team player on the graduate

admissions and graduate                  curriculum            committees                  She has also continued                        her interest                in   women           in



engineering        programs that was evident when she was                                        a   graduate              student       here        She        is       involved        in
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professional               society       activities     mostly in SPE and                   SPWLA              and contributes                time to the technical             review of

journal          papers          As department chair                 I   am very happy with her activities thus                                       far in   her career with

regard to service                   and these accomplishments                          meet the expectations                        for   promotion


Chairs Analysis                  of Honors        and Other Evidence                       of   Merit or Recognition



I   have    already            mentioned          Dr Heidaris SPE Ferguson Medal                                  for excellence              in     research     and    publication

This   is   her most significant honor as                        a   young faculty                member               Other items worth note are two other

major awards from SPE the 2012                                 Petroleum         Engineering Junior                      Faculty         Research         Initiation      Award and

the 2015              SPE Innovative Teaching                  Award        Texas           AM honored her with                           its    Select    Young Faculty Fellows

award           in    2014       She has also received best paper awards and regional professional                                                             society   awards as

outlined             in   her   CV and statement


In   addition             to   awards Dr Heidaris substantial fundraising                                        is   evidence          of her recognition               by industry

and other funding                   agencies            As already mentioned                      her external           referees             commended            her performance

in this     regard              My assessment            is   that   Dr Heidari exceeds                        expectations             for     promotion to Associate

Professor with                  regard to      honors         merit      and recognition



Concluding Statement



This   is
            my third season                   of writing      promotion letters and Dr Heidaris case                                            is   the most exceptional             I   have

seen       in    my       role as   department           chair       She has excelled                     at   every aspect             of the faculty          endeavor        and she

has been              recognized         by others       for her         achievements                 Some final             brief excerpts             from her letter writers

echo       my sentiments

                     Prof Martin          Blunt    Imperial College                    I          consider            that    she has            the     capability       and

                     experience          to   make major contributions                                I   consider that promotion with tenure                              is fully



                 justified

                     Prof Erdal Ozkan             Colorado School             of       Mines chair of Petroleum Engineering                                             Dr Heidaris
                     credentials        place her highly among the applications                                   I   have reviewed for promotion and tenure at

                     her rank       I   would not expect             her to have            any problem receiving a positive                               tenure and promotion

                     decision at        our institution

                     Rolande      Horne        NAE Stanford               University            Energy          Resources          Engineering Work of her caliber
                     and extent         would certainly          be competitive                 for       a tenured position               as        an Associate Professor               in   our

                     department at            Stanford University             I have complete admiration for Prof Heidaris very broad
                     range of achievements                and abilities            I
                                                                                       therefore               have no hesitation                in    recommending           her for a

                     position     as Associate          Professor         with   tenure            in     your university

                     Christine      EhligEconomides                  NAE University                of      Houston           petroleum               engineering formerly of

                     Texas      AM            from my experience on both department                                           and college level promotion and

                     tenure     committees she would easily be awarded promotion and tenure at                                                                 TAMU      or   UH
                     Rosemary Knight Stanford University Department                                               of Geophysics                       1 was struck by the rigor

                     displayed      in   the analysis         of the      data         I   will   likely        build on      it   in   my own current work                     My
                     overall    impression         is   that Prof Heidari              is   an exceptionally                 talented           researcher
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            Prof Chandra           Rai     University of Oklahoma            chair of      Mewbourne             School        of Petroleum          and

            Geological     Engineering               She compares exceptionally                   well   when compared                 to others     in   her

            position

            Prof Mike King Texas               AM       University      Petroleum         Engineering              She and her students are
            beginning      to make          a solid impact      on the profession and              I   have     every reason to believe that Zoya

            will   continue to grow           in   her professional     impact             I
                                                                                               regret that she       is    no longer      in   our

            department and about                   to receive   tenure here but          Im very pleased that she is at UT                      where        I   am
            sure that she          will   thrive



I
    enthusiastically    support her advancement                  to associate professor                with    tenure      I   think    her work      thus far

is   commendable and           I    believe    her future potential       is   significant        and    will   bring praise and           recognition           to


the PGE department             the Cockrell School           of Engineering          and The        University      of Texas       at    Austin




                                                                                     Olson PhD PE
                                                                               JoriV
                                                                               Department Chair
                                                                               Petroleum               Geosystems Engineering




                   Addendum The following articles                  listed     as   in   press have        now been            published



                   31 Chen H and Heidari Z 2017 Accepted                                 for Publication          Effect       of Water     Salinity       and

                   Water Filled Pore Volume               on High Frequency Dielectric                    Measurements             in    Porous Media SPE

                   Reservoir Evaluation                Engineering      Journal Formation                Evaluation        submitted           October 2016

                   accepted    for publication           March    6 2017

                   32 Valdes              C C H and Heidari Z 2017                  Accepted for Publication Application                        of

                   Nanoindentation            for Uncertainty      Assessment of               Elastic   Properties        in   Mudrocks        at   Micro scale

                   and Well log Domains               Geophysics submitted                October 2016            accepted         for publication          July      17
                   2017


                   34 An      C Van B Alfi M Mi L Heidari Z and Killough J 2017 Accepted for Publication
                   Estimating       Spatial Distribution         of Natural     Fractures         by Changing         NMR T2 Relaxation with
                   Magnetic        Nanoparticles        Journal    of   Petroleum         Science        and    Engineering        submitted              December

                   2016 accepted            for publication      July   17 2017
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                          Mid probationary Review


Mid probationary   review for Dr Zoya Heidari   was scheduled   for   201718
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Department          of Petroleum     and Geosystems Engineering




                                                THE UNIVERSITY                OF TEXAS AT AUSTIN
                                                         Cockrell      School     of Engineering

                                                                     Standard Resume




FULL NAME                              Zoya Heidari                                    TITLE                Assistant   Professor



DEPARTMENT                             Petroleum     and Geosvstems Engineering



EDUCATION

The University of Texas at Austin                         Petroleum        Engineering                  PhD             Summer        2011


Sharif University of Technology                           Biomechanical          Engineering            MSc             Spring    2007

Sharif University of Technology                           Mechanical        Engineering                 BSc             Spring    2005




CURRENT AND PREVIOUS ACADEMIC POSITIONS

The University of Texas at Austin                         Assistant       Professor                                     Fall   2015 Present

Texas       AM      University                            Assistant       Professor                                     Fall   2011    Summer 2015

The University of Texas at Austin                         Research Assistant                                            Fall   2007 Summer 2011

The University of Texas at Austin                         Teaching        Assistant                                     Fall   2010

Sharif University of Technology                           Graduate        Assistant                                     Fall   2005       Summer 2007

Sharif University of Technology                           Researcher        RoboCup      Humanoid       League          Fall   2003     Fall   2004
                                                          Research        Team




OTHER PROFESSIONAL EXPERIENCE

Marathon       Oil Company                                Summer Petrophysicist           Intern                        Summer 2010

Anadarko       Petroleum      Corporation                 Summer Intern                                                 Summer 2008




HONORS AWARDS AND ACHIEVEMENTS
A      Honors Awards and Achievements                         in   Rank

             2017     recipient    of the   SPE Cedric    K Ferguson Medal Society of Petroleum Engineers July 2017
                     o     This   international     award recognizes professional achievement               in petroleum       engineering


             Award of Appreciation            for   Service   and Outstanding         Accomplishment      as Vice President of Education           on the
             Board of Directors         of   SPWLA Society of Petrophysicists              and Well Log Analysts         SPWLA June 2017
             Anadarko        Petroleum       Corporation Centennial         Fellowship     1    in   Petroleum    Engineering     Cockrell School      of

             Engineering          The University of Texas          at Austin     September     2016     Present


             2016        SPE Faculty    Enhancement         Travel    Grant    Southwest North America             Region       Society      of Petroleum

             Engineers June         2016

             2016 SPE Regional Formation Evaluation                    Award Southwest North America Region Society of Petroleum

             Engineers May 2016


             2016 SPE Regional Formation Evaluation                    Award Gulf Coast North America Region Society of Petroleum

             Engineers May 2016


             Distinguished         Presentation     Award     Society of Petrophysicists        and Well Log Analysts          SPWLA May 2015
             for    the following    paper




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Department      of Petroleum          and Geosystems Engineering




         o       Valdes1        C C Aderibigbe A and Heidari Z 2015 Impact of Anisotropic                                                  Elastic    and Petrophysical

                 Properties         on Stress Prediction               in   Organic     Rich     Mudrocks Presented at              the   Society of Petrophysicists
                 and Well       Log Analysts            SPWLA               56th   Annual     Symposium Long Beach                  California 18           22 July


         2015 SPE Innovative                  Teaching         Award         Society of Petroleum           Engineers October             2015


         One of the         recipients         of     the    Engineering           Genesis      EG award Texas AM University May 2015                                    for


         contributing          in    a     multi university          and multi disciplinary              research     grant      Advanced        Computational          and
         Numerical Modeling Techniques                          for    Hydrocarbon            Recovery      which was recognized               as one of the top      TEES
         research awards             for    the year


         Best Poster Presentation                Award at the 2015                  HGS Applied Geoscience Conference                      AGC May 2015
         o       Chen Valdes                C Aderibigbe A Aranibar A and                                 Heidari        Z 2015      Determination of

                 Anisotropic          Poroelasticity          in the    Haynesville          Shale   from Well Log Based Estimates Poster

                 presentation         at    the 2015        HGS Applied Geoscience Conference                        AGC Houston Texas 18 May
         2014 TEES Texas                   AM                                                                      Young Faculty Fellows award College of
                                            AM
                                                     Engineering            Experiment Station           Select


         Engineering Texas                            University        November            2014


         This    award recognizes outstanding                                                members who have demonstrated                                   for research

                                                                                                                                          AM
                                                                                                                                            their talents
                                                                     young        faculty

         TEES           an engineering           research agency                   Texas and is a member of The Texas                                University System
                   AM
                   is                                                         in

         Texas                 engineering           faculty    hold joint appointments                as TEES     researchers


         2014 Best Paper Poster Award                          Society of Petrophysicists               and Well Log Analysts              SPWLA May 2014
         One of the Distinguished                    Speakers     of the Society             of Petrophysicists      and Well Log Analysts                SPWLA 2014
          2015


         Recipient        of   two         distinguished        presentation           awards       from the      Society       of Petrophysicists        and Well Log

         Analysts       SPWLA May 2014                         for   the following           two papers


         o       Chen H and Heidari Z 2014 Pore Scale Evaluation                                          of Dielectric Measurements                 in   Formations with

                 Complex Pore and Grain Structures                                Presented    at   the Society of Petrophysicists             and Well Log Analysts

                 SPWLA              55th    Annual Symposium Abu Dhabi United Arab Emirates 18                                            22   May

         o       Cheng         K Aderibigbe A                        Alfi     M      Heidari        Z and   Killough        J 2014        Quantifying the      Impact    of

                 Petrophysical             Properties       on Spatial Distribution of Contrasting                    Nanoparticle         Agents Presented        at   the


                 Society       of Petrophysicists              and Well Log                 Analysts   SPWLA             55th   Annual     Symposium Abu Dhabi
                 United     Arab Emirates 18                 22 May
         2012 SPE Petroleum                  Engineering         Junior Faculty             Research    Initiation   Award         Society of Petroleum        Engineers

         August     2012


         Chevron Corporation Faculty Fellowship in Petroleum Engineering Texas                                                  AM     University         December 2011

             August      2015




B   Honors Awards and Achievements                                   before       Rank

         3rd    Place of    SPWLA             Student        Poster    Competition            Society    of Petrophysicists          and Well       Log Analysts June
         2009


         Fellowship         from the Department                  of Petroleum               and Geosystems         Engineering        The University of Texas             at


         Austin Spring 2009


         Fellowship from Society                     of Petrophysicists            and Well Log Analysts Austin Chapter Spring 2008


         Fellowship         from the Department                  of Petroleum               and Geosystems         Engineering        The University of Texas             at


         Austin     Fall     2007


         Research Grant              from Research Center                   for   Science     and Technology        in   Medicine      RCSTIM Fall 2006
         Best    BSc      Thesis Award of the                 Year from Iranian Society of Mechanical                       Engineers      Aalinasab award 2006




    Indicates    graduate   students         under    Dr Heidarrs supervision


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Department          of Petroleum            and Geosystems Engineering




             First Step          to       Nobel    Prize in Physics        Diploma for presentation of the paper                  Why Do We See Benhams
             Colors organized under the aegis of the Institute                               of Physics Polish Academy            of Sciences      2000




MEMBERSHIPS                 IN PROFESSIONAL                         AND HONORARY                SOCIETIES

             Member         Society of Petroleum                 Engineers      SPE
             Member         Society of Petrophysicists                  and Well Log Analysts           SPWLA
             Member         Society of Exploration Geophysicists                       SEG
             Member American                      Society    for Engineering       Education    ASEE


PUBLICATIONS

A      Refereed       Archival             Journal Papers

       A1 Archived Refereed Journal Publications before Rank 4
       1     Basafa        E     I   Ieidari      Z Tamaddoni H            Mirbageri        A Haddad 0 and            Parnianpour         M 2007 The           Effect    of

             Fatigue       on         Recurrence           Parameters      of    Postural     Sway      Journal      of Biomechcmics             40      S362      DOI
             101016S0021929007703573

       2     Vossoughi               G     Pendar       H    Heidari     Z and Mohammadi S 2008                     Assisted      Passive Snake Like            Robots

             Conception              and Dynamic            Modeling       Using      GibbsAppell       Method       Robotica      26     3    267           276   DOT
             101017S0263574707003864


             Heidari       Z Farahmand F                     Arabalibeik        H     and Parnianpour       M 2008         Adaptive      NeuroFuzzy           Inference

                                                            of               Knees                          Arthrometric       Data Annals             of Biomedical
                                           9 1449
             System        for       Classification            ACLRuptured                         Using
             Engineering 36                                 1457    DO
                                                                     101007s10439                0089532x

             Heidari       Z TorresVerdin C Mendoza A and Wang G L 2011                                             Assessment of Residual              Hydrocarbon
             Saturation        with the Combined                                                    of Resistivity       and Nuclear                              52

             3
                                                                 Quantitative     Interpretation                                          Logs Petrophysics
                     217    237




       A2 Archived Refereed Journal Publications                                 in   Rank    26
       5                   Z TorresVerdin C and Preeg W E 2012 Improved                                     Estimation of Mineral and Fluid Volumetric

                                                                                                                                                        3 WA79
             Heidari

             Concentrations                from Well Logs          in   Thinly    Bedded and Invaded Formations Geophysics                       77
             WA98          DO 101190geo201104541
       6     Heidari       Z and TorresVerdin C 2012 Estimation of Dynamic Petrophysical                                          Properties     of Water Bearing

             Sands     Invaded with Oil Base Mud                     from the                       of Multiple Borehole                           Measurements

                                           6
                                                                                  Interpretation                                  Geophysical

             Geophysics              77          D209       D227    DO 101190geo201200061
       7     Heidari       Z and TorresVerdin C 2013 Inversion Based Method                                   for   Estimating Total        Organic         Carbon and

             Porosity       and           for   Diagnosing       Mineral   Constituents       from Multiple         Well   Logs     in   Shale Gas          Formations

             Interpretation               11 T113            T123 DOT        101190INT201300141

       8                   Z TorresVerdin C and Preeg W E 2013 Improved                                     Estimation of Mineral and Fluid Volumetric

                                                                                                                                  4
             Heidari

             Concentrations                 in    Thinly    Bedded       Carbonate      Formations         Geophysics       78            D261          D269       DO
             101190geo201204381

       9     Heidari       Z and TorresVerdin C 2014 Inversion Based Detection                                      of   Bed Boundaries          for


                                                                                                                                                                     3
                                                                                                                                                       Petrophysical
             Evaluation          with       Well Logs Applications to Carbonate and Organic Shale Formations Interpretation 2
             T129       T142              DO 1011901NT201301721
       10                                 N Chen H and                                Z 2014                      the    Effect    of                  on

                                                                                                        2
             Kethireddy2                                                Heidari                  Quantifying                             Kerogen             Resistivi

             Measurements                 in    Organic   Rich Mudrocks Petrophysics               55       136      146




       Indicates     graduate        students     under    Dr Heidaris supervision


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    11   Cheng         K Aderibigbe A                   Alfi    M       Heidari      Z and        Killough        J 2014          Quantifying        the      Impact     of

                                              on Spatial Distribution of Contrasting                                                          the    NewWellbore

                                                5
                                                                                                                                         in
         Petrophysical           Properties                                                               Nanoparticle       Agents

         Region Petrophysics               55    447        460
    12   Chen H            and Heidari          Z 2014 Pore Scale Evaluation                  of                    Measurements                Formations with

                                                                                          6
                                                                                                    Dielectric                            in


         Complex Pore and Grain Structures                      Petrophysics       55         587      597

    13   Saneifar          M     Aranibar        A   and Heidari          Z 2015 Rock Classification in the Haynesville                             Shale     Based on

         Petrophysical           and Elastic     Properties     Estimated        from Well Logs Interpretation 3                    1    5A65            5A75 DOI
         101190INT201301981

    14   Chi L and Heidari Z                  2015 Diffusional Coupling between Microfractures   and Pore Structure                                                and

                                                                                                                                                               1
                                                                                                                                                                         its



         Impact on Nuclear              Magnetic Resonance Measurements  in Multi Porosity Systems Geophysics 80                                                     D31
         D42 DOI 101190geo201304671
    15   Saneifar          M      Heidari       Z and    Hill    A D 2015 Application of Conventional                             Well Logs         to   Characterize

                                                Carbonate      Formations                     for Prediction       of Acid Fracture Conductivity                     SPE
                                                                    3
                                           in
         Spatial    Heterogeneity                                                Required

         Production        and Operations Journal 30                      243      256 DOI102118173183PA

    16   Saneifar          M     Conte     R    Valdes      C C Heidari Z and Pope M C 2015 Integrated Rock                                      Classification in

         Carbonate         Formations Based           on    Elastic     and Petrophysical                          Estimated        from Conventional               Well

                                                7
                                                                                                   Properties

         Logs    AAPG Bulletin 99                    1261       1280     DOI      10130602091514167

    17   Chen H            and Heidari          Z 2016 Quantifying the Directional Connectivity                              of   Rock    Constituents             and

                                                                                                                                                    3
                                                                                                                                                                         its



         Impact     on Electrical         Resistivity      of Organic Rich         Mudrocks Mathematical Geosciences 48                                    285       303
         DOI 101007s1100401595959

    18   Chi L Cheng                 K and       Heidari       Z 2016 Improved             Assessment of Interconnected                  Porosity        in   Multiple

                       Rocks             Use of Nanoparticle              Contrast                  and    Nuclear Magnetic Resonance                      Relaxation

                                                                                                                                                         1
         Porosity                  by                                                    Agents

         Measurements             SPE Reservoir       Evaluation               Engineering Journal           Formation Evaluation               19            95     107
         DOI     102118170792              PA
    19   Oyewole           E Saneifar Al and                    Heidari        Z 2016       Multiscale          Characterization         of Pore         Structure       in

         Carbonate          Formations          Application        to    the     Scurry     Area     Canyon        Reef      Operators         Committee Unit

         Interpretation          42 T157 T169 DOI 1011901NT201501231
    20 Chi        L    and Heidari          Z 2016 Directional Permeability                       Assessment       in   Formations with              Complex Pore
         Geometry          With a New Nuclear Magnetic Resonance Based Permeability Model SPE Journal                                                    214 1436
         1449 DOI 102118179734                       PA
    21 Aderibigbe            A Cheng K               Heidari     Z      Killough         J and FussDezelic T 2016 Application of Magnetic
         Nanoparticles         mixed with Propping Agents in Enhancing                             NearWellbore           Fracture     Detection           Journal       of
         Petroleum         Science and Engineering 141 133  143

    22 Chen           H and Heidari Z 2016 Pore Scale                            Joint    Evaluation       of   Dielectric        Permittivity       and      Electrical


         Resistivity       for   Assessment        of Hydrocarbon          Saturation      Using Numerical Simulations SPE Journal                                 216
         1930 1942 DOI                   102118170973          PA
    23 Aderibigbe                A Chen Valdes C                        Heidari     Z and FussDezelic                    T    2016       Mechanical           Damage
         Characterization                             Packs    by Use of Acoustic                 Measurements           SPE      Production

                           2
                                    in   Proppant                                                                                                          Operations
         Journal      32          168      176   DOI       102118181763 PA

    24 Aderibigbe            A Valdes C C and                   Heidari        Z 2016 Integrated Rock Classification in the Wolfcamp                                Shale

         based    on Reservoir           Quality    and Anisotropic        Stress Profile         Estimated      from Well Logs Interpretation 4                       2
         SF1       SF18 DOI 101190INT201501381

    25   Valdes       C C Aderibigbe A and Heidari Z 2016 Impact of Anisotropic                                          Porelastic      Parameters Estimated

                 Well Logs and Core Measurements                         on Stress Prediction                           Rich Mudrocks Interpretation 4

         3
         using                                                                                        in   Organic

               T359         T372 DOI 101190INT201501221

    26 Saneifar            M     Heidari    Z     Linroth      M    and Purba            S A 2017 Effect of Heterogeneity                     on Fluid Injectivity
         Loss    during Water Alternating Gas                              Scurry Area Canyon Reef Operators Committee Unit
                                                                               in the


                                                                                                                                      2
                                                            Injection

         SPE     Reservoir         Evaluation            Engineering Journal Formation Evaluation  20       293  303 DOI
         102118175064              PA
    27   Yang       A Firdaus G and                  Heidari       Z 2016 Electrical           Resistivity        and Chemical         Properties          of Kerogen

         Isolated     from Organic Rich             Mudrocks Geophysics                 816 D643            D655 DOI 101190geo201600711



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    28 Cheng           K and Heidari Z               2017     Published         Online        May     2017     Pore Network              Connectivity     and

         Permeability Assessment              by   Use of Nuclear      Magnetic         Resonance      Log Inject Log Method SPE Reservoir
         Evaluation          Engineering       Journal     Formation Evaluation            DOI       102118175066    PA
    29 Cheng        K and Heidari Z 2017 Combined                     Interpretation      of   NMR and TGA Measurements to Quantify the
         Impact    of Relative    Humidity on Hydration of Clay Minerals Applied Clay Science                                Journal        143 362     371
         DOI     101016j clay 201704006

    30 Tang        H   Killough     J Heidari Z and Sun Z 2017 Published Online April 2017 A New Technique To
         Characterize               by Use of Neutron Porosity Logs Enhanced by Electrically Transported
                             Fracture
                            Density
         ContrastAgents SPE Journal submitted August 2016 accepted for publication January 13 2017 DOI
         102118181509          PA


     A3 Refereed Journal Publications                 in   Press in Rank            4
    31 Chen H and Heidari                 Z 2017 Accepted for Publication Effect                      of Water    Salinity        and Water Filled Pore

         Volume on           High Frequency         Dielectric    Measurements           in   Porous    Media        SPE    Reservoir        Evaluation

         Engineering Journal            Formation Evaluation            submitted October             2016 accepted          for    publication       March    6
         2017

    32   Valdes        C C H and Heidari Z 2017 Accepted for Publication                                     Application          of Nanoindentation          for

                         Assessment of Elastic Properties             in Mudrocks         at Micro scale     and Well log Domains Geophysics
         Uncertainty

         submitted October          2016 accepted          for publication      July 17       2017

    33 Jagadisan             A Yang A              Heidari    Z 2017 Accepted for Publication                     An       Experimental        Approach       to


         Quantify      the    Impact     of   Kerogen      Maturity    on     its   Chemical        Aromaticity      and    Electrical       Conductivity

         Petrophysics        submitted November            2016    accepted      for   publication    July   27 2017

    34   An C Yan B Alfi                 M Mi L          Heidari     Z and Killough J 2017 Accepted                    for Publication            Estimating

         Spatial   Distribution of Natural           Fractures    by Changing          NMR T2 Relaxation             with Magnetic          Nanoparticles
         Journal    ofPetroleum         Science    and Engineering submitted December                    2016 accepted            for   publication    July 17

         2017



    A4 Refereed Journal Publications Currently Under Review                                in Rank      5
    35 Amin        S Wehner M Heidari Z and Tice M 2017 Under Review Rock                                         Classification in the         Eagle    Ford

         Shale through        Integration     of Petrophysical Geological               and Geochemical        Characterization             MPG       Bulletin


         submitted      December        2016

    36 Tandon          S Heidari Z Aderibigbe A Shi J and Fuss T 2016 Under Review                                                      Proppant      Damage
         Characterization        using    Nuclear      Magnetic       Resonance         Measurements          SPE     Production           and Operations
         Journal submitted         May 2017

    37 Garcia A P and Heidari                  Z 2017 Publishable           with Revisions          Quantification     of Directional Pore Network

         Connectivity        and Rock Fabric and its Application               in   Enhanced Assessment of Hydrocarbon                       Reserves     SPE
         Journal submitted February                2017

    38 Tandon          S and Heidari Z 2017 Publishable                     with Revisions          Impact   of   Internal        Magnetic    Gradients       on
         Nuclear    Magnetic     Resonance         Measurements       and NMRbased Pore Network                   Characterization SPE Reservoir

         Evaluation          Engineering Journal           Formation Evaluation            submitted February          2017

    39 Garcia A          P     Heidari    Z and Rostami A 2017 Under Review Improved                                   Assessment of Hydrocarbon

         Saturation     in Mixed   Wet        Rocks with Complex Pore Structure                 Petrophysics      submitted July 2017




B   Refereed     Conference       Proceedings

    B1 Refereed Conference Proceedings before Rank 11
    1    Vossoughi       G Pendar H            Heidari     Z and Mohammadi S 2005                     Conception      and   Dynamic Modeling of an
         Assisted      Passive Snake      Like Robot         Using   GibbsAppell           Method       Presented     at    the29th Mechanisms and

         Robotics      Conference       American Society of Mechanical                 Engineers     ASME Long Beach California 24 28
         September




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    2    Heidari       Z and       Farahmand           F 2007 Presenting a Novel                 Method       to   Diagnose          Knee Laxity Using                         ANFIS
         Presented      at   ICBIVEE Tehran Iran

    3    Basafa       E   Heidari       Z Tamaddoni H                    Mirbagheri         A Haddad 0 and                Parnianpour               M 2007 The                    Effect

         of Fatigue     on Recurrence Parameters of Postural Sway Presented at ISB Taipei Taiwan                                                             1         5   July


    4    Mohammadi            S Heidari Z Pendar H Alasty A and Vossoughi G 2007 Optimal Control of an Assisted
         Passive Snake        Like Robot Using Feedback Linearization Presented                                    at    the   31° Mechanisms                          and Robotics

         Conference          American Society of Mechanical               ASME    Engineers                   Las Vegas Nevada                      4        7     September

    5    Heidari      Z TorresVerdin                 C Mendoza A and Wang G L 2009 Improving                                          the    Assessment                    of Residual

         Hydrocarbon          Saturation        with      the    Combined         Quantitative    Interpretation          of    Resistivity             and Nuclear               Logs
         Presented      at the     Society      of Petrophysicists              and Well Log Analysts          SPWLA                50th    Annual           Symposium The
         Woodlands           Texas 21      24 June
    6    Heidari      Z TorresVerdin C Mendoza A                                 Ijasan     0 Voss B and Preeg W E 2009 Rapid                                               Interactive

         Assessment of Petrophysical                   and Geometrical            Effects   on Density and Neutron               Logs Acquired                     in Vertical      and

         Deviated      Wells       Presented         at the     SPE Annual        Technical    Conference          and Exhibition               ATCE New Orleans
         Louisiana 4           7 October            SPE 124879

    7    Heidari      Z TorresVerdin C and Preeg W E 2010 Improved                                       Estimation of Mineral and Fluid Volumetric

         Concentrations          in   Thinly Bedded              and Invaded Formations Presented                   at the      Society of Petrophysicists                          and
         Well Log AnalystsSPWLA 51° Annual Symposium Perth Australia 19 23 June
    B    Heidari Z and TorresVerdin C 2010 Estimation of Dynamic Petrophysical Properties of Water Bearing
         Sands    Invaded        with Oil Base            Mud from Multi Physics              Borehole        Geophysical            Measurements                          Presented   at

         the   80th   SEG International              Exposition and Annual                Meeting      Society      of Exploration Geophysicists                                  SEG
         Denver Colorado 17                    22    October

    9    Marouby          P     Heidari         Z and TorresVerdin                     C 2011         Assessment          of    In Situ            Elastic             Properties      of

         Hydrocarbon Bearing               Shale with the
                                                      Quantitative      Joint
                                                                   Interpretation                                       of     Sonic Nuclear                      and       Resistivity

         Logs Presented at the Society of Petrophysicists and Well Log Analysts                                         SPWLA               521°I   Annual                 Symposium
         Colorado       Springs Colorado                  14 18 May
    10   Heidari       Z TorresVerdin C and Preeg W E 2011                                     Quantitative        Method           for    Estimating Total                    Organic

         Carbon and Porosity and                    for   Diagnosing        Mineral Constituents             from Well Logs                in   Shale Gas Formations

         Presented      at   the      Society       of Petrophysicists           and Well Log Analysts              SPWLA                  521°I    Annual                 Symposium
         Colorado       Springs Colorado                  14 18 May
    11   Heidari       Z Hamman J G Day P I Gorney D L and                                            Alfred       D 2011 Assessment of Movable                                     Gas
         Saturationand Rock Typing Based on the Combined Simulation of Petrophysical Borehole Measurements
         Presented at the Society of Petrophysicists and Well Log Analysts          521°I Annual Symposium          SPWLA
         Colorado       Springs Colorado                  14 18 May


    B2 Refereed Conference                 Proceedings             in   Rank      59
    12   Popielski      A C Heidari Z and TorresVerdin C 2012 Rock                                      Classification           from Conventional                          Well Logs

           Hydrocarbon Bearing Shale Presented at the SPE Annual                                      Technical         Conference           and Exhibition                   ATCE
                                         8
         in

         San Antonio Texas     10 October SPE 159255

    13   Xu    C      Heidari      Z and TorresVerdin C 2012 Rock                           Classification in Carbonate                   Reservoirs              Based on Static
         and Dynamic                                                    Estimated    from Conventional          Well     Logs Presented at the SPE Annual
                                                                    ATCE San Antonio Texas 8
                              Petrophysical          Properties
         Technical      Conference         and Exhibition                                                               10 October SPE 159991

    14   Heidari      Z and TorresVerdin C 2012 Improved Detection of Bed Boundaries                                                 for Petrophysical                      Evaluation

         with    Well Logs                                      Carbonate        and Organic Shale Formations Presented                                                    SPE Annual

                                                                    ATCE San Antonio Texas 8 10 October
                                      Applications         to                                                                                           at       the

         Technical      Conference         and Exhibition                                                                                       SPE 159197

    15   Saneifar       M and         Heidari        Z 2013 Permeability Assessment in Carbonate Formations Using Conventional
         WellLogs Required               for Prediction          of Acid Fracture         Conductivity       Presented         at the      Society of Petrophysicists
         and Well Log Analysts                 SPWLA             54th   Annual     Symposium New Orleans Louisiana 22                                   26 June
    16   Kethireddy          N     Heidari      Z and Chen H 2013                     Quantifying the Effect            of Kerogen              on Electrical               Resistivity

         Measurements            in   Organic Rich              Source    Rocks     Presented    at    the    Society     of Petrophysicists                       and Well Log

         Analysts      SPWLA            54th    Annual        Symposium New Orleans Louisiana 22                               26    June



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    17   Aranibar        A     Scrneifar        M    and Heidari                 Z 2013 Petrophysical                  Rock Typing            in   Organic Rich          Source

         Rocks     Using       Well Logs        Presented        at       the     Unconventional          Resources           Technology           Conference           Denver

         Colorado       12 14 August SPE 168913                           URTeC            1619574

    18   Chen      H Kethireddy N and                      Heidari          Z 2013 Impact of Spatial Distribution of Kerogen                                     Network         on
         Electrical    Resistivity     of Organic Rich           Source           Rocks Presented at the Unconventional                           Resources Technology

         Conference          Denver Colorado            12      14 August              SPE 168923             URTeC 1619806

    19   Elliott 3 Al Everett            M      and Heidari           Z 2013 Forward Modeling of Induction                                 Log Responses for Natural
         and     Hydraulic      Fractures        Presented           at     the     12th    Scientific         Assembly         of    International        Association           of

         Geomagnetism          and Aeronomy          IAGA Merida Yucatan Mexico 26                                        31    August Not a fulllength paper

    20 Saneifar         M      Aranibar          A and         Heidari            Z 2013 Rock                 Classification         in   the Haynesville            Shale Gas

         Formation Based            on Petrophysical          and Elastic           Rock Properties Estimated                   from Well Logs Presented                      at the

         SPE Annual          Technical     Conference           and Exhibition                  ATCE New              Orleans Louisiana               30 September                 2

         October SPE 166328

    21 Chi        L and Heidari Z 2014 Quantifying the Impact                                      of Natural         Fractures          and Pore Structure            on NMR
         Measurements          in   Multiple Porosity           Systems Presented                   at   the     SPE     International          Petroleum         Technology

         Conference          Doha Qatar 20 22                January IPTC 17688


    22 Chen        H Firdaus G and                Heidari        Z 2014 Impact of Anisotropic Nature of Organic Rich Source Rocks
         on Electrical       Resistivity   Measurements                   Presented        at   the Society of Petrophysicists                  and Well Log Analysts

         SPWLA          55th   Annual    Symposium Abu Dhabi                           United     Arab Emirates 18                  22    May

    23 Cheng           K Aderibigbe A                   Alfi    M          Heidari         Z and         Killough        J 2014           Quantifying          the   Impact      of

         Petrophysical        Properties   on Spatial Distribution of Contrasting                             Nanoparticle          Agents Presented at the Society
         of Petrophysicists          and Well Log Analysts                       SPWLA           55th    Annual        Symposium Abu Dhabi                       United       Arab

         Emirates       18   22 May
    24 Saneifar         M      Conte     R Chen C               Heidari            Z and Pope M C 2014                         Integrated         Rock    Classification in

         Carbonate      Formations Based            on       Elastic       and Petrophysical             Properties       Estimated          from Conventional                Well

         Logs Presented at the Society of Petrophysicists                              and Well Log Analysts                  SPWLA          55th Annual         Symposium
         Abu Dhabi       United      Arab Emirates 18                  22       May

    25 Chi        L and Heidari Z 2014 Directional Permeability Assessment                                                in    Formations          with       Complex Pore

         Geometry Using a New              NMRBased               Permeability Model                     Presented       at   the    Society      of Petrophysicists            and
         Well Log Analysts           SPWLA          55th     Annual         Symposium Abu Dhabi United Arab Emirates 18                                           22   May
    26 Chen        H and Heidari Z 2014 Pore Scale Evaluation of                                          Dielectric          Measurements           in   Formations with

         Complex Pore and Grain Structures Presented at the Society of Petrophysicists and Well Log Analysts
         SPWLA   551 Annual Symposium Abu Dhabi United Arab Emirates 18         22 May


    27 Chi        L Elliott Al Heidari Z and Everett M 2014 Assessment of Micro Fracture Density using
         Combined       Interpretation      of   NMR Relaxometry                       and Electromagnetic             Logs Presented at the Unconventional
         Resources Technology            Conference            Denver Colorado 25                        27    August URTeC                1922804

    28 Aranibar          A Valdes C C and                     Heidari            Z 2014 Well Log Based Assessment of Elastic                                     Properties       in


         Organic Shale Formations Presented                          at    the    Unconventional              Resources        Technology          Conference           Denver

         Colorado 25         27 August URTeC                   1922955

    29   Valdes        C C and Heidari Z 2014 Experimental                               Assessment of Elastic Properties                    and Minimum I Iorizontal
         Stress   in   the Haynesville          Shale Gas        Formation                 Presented     at    the    Unconventional              Resources       Technology

         Conference          Denver Colorado 25                 27    August URTeC                 1922664

    30 Elliott         M       Everett     M     and       Heidari          Z 2014 Modeling the Effects                         of       Anomalous        Electromagnetic

         Diffusion     on Induction        Logs The Next                  Step    in   Mapping      Natural          Fracture   Corridors          Presented         at the    SPE
         Annual    Technical        Conference      and      Exhibition           ATCE Amsterdam The Netherlands 27                                       29   October SPE
         170950

    31 Chen H and Heidari Z 2014 Assessment of Hydrocarbon                                               Saturation       in   Organic Rich          Source      Rocks using
         Combined       Interpretation      of Dielectric        and Electrical             Resistivity        Measurements               Presented at     the   SPE Annual

         Technical      Conference       and Exhibition          ATCE               Amsterdam The Netherlands                        27      29    October       SPE 170973




     Indicates   undergraduate       students   under    Dr Heidaris supervision


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    32 Cheng          K Chi L and                  Heidari          Z 2014 Improved                   Assessment             of Pore Size Distribution                  and Pore

         Connectivity       in   Multiple Porosity                Systems using           Superparamagnetic                 Iron Oxide        Nanoparticles             and NMR
         Measurements           Presented      at the   SPE Annual Technical                    Conference            and Exhibition         ATCE Amsterdam The
         Netherlands        27 29 October               SPE 170792

    33 Aderibigbe           A Cheng K                 Heidari            Z     Killough        J   E Fuss T and                  Stephens         W 2014          Detection      of

         Propping       Agents     in    Fractures           using        Magnetic         Susceptibility             Measurements            Enhanced            by    Magnetic

         Nanoparticles       Presented        at the    SPE Annual              Technical      Conference             and Exhibition         ATCE Amsterdam The
         Netherlands        27 29 October               SPE 170818

    34 Aderibigbe           A Valdes C C                     Heidari           Z and Fuss T 2014                      Mechanical           Damage Characterization                in


         Proppant       Packs    Using        Acoustic        Measurements                Presented         at    the       International         Petroleum        Technology

         Conference       Kuala    Lumpur Malaysia                       10 12 December               IPTC        18092

    35 An       C    Alfi    M Yan B Cheng K                                   Heidari     Z and           Killough          J   E 2015 Modeling of Magnetic
         Nanoparticle       Transport     in   Shale Reservoirs                 Presented      at the     Society of Petroleum        Engineers SPE Reservoir

         Simulation Symposium Houston                        Texas 23               25 February SPE 173282
    36 Chen H and Heidari                 Z 2015 Impact of Water Salinity on High Frequency Dielectric Measurements                                                               in

         Rock Fluid Mixtures             Presented           at    the    Society      of Petrophysicists              and Well Log Analysts                 SPWLA              56th

         Annual     Symposium Long Beach                      California 18               22 July


    37   Valdes        C C Aderibigbe A and Heidari Z 2015 Impact of Anisotropic                                                             Elastic      and Petrophysical

         Properties     on Stress Prediction            in    Organic Rich Mudrocks Presented at the                                  Society of Petrophysicists        and

         Well    Log Analysts      SPWLA              56th    Annual           Symposium Long Beach                      California 18             22 July


    38 Chi L and Heidari                Z 2015 Impact of Fracture Pore Diffusional Coupling on NMRbased Permeability
         Assessment         Presented     at    the     Society          of Petrophysicists             and Well         Log Analysts             SPWLA            56th    Annual

         Symposium Long Beach                   California           18 22 July
    39 Oyewole           E Scrneifar M and Heidari                                  Z 2015 Multi Scale Characterization                              of Pore       Structure      in

         Carbonate      Formations        Application              to    the   SACROC          Unit Presented               at the    Society      of Petrophysicists           and
         Well Log Analysts         SPWLA              56th    Annual           Symposium Long Beach                      California 18             22 July


    40 Aderibigbe   Amin    A   Zeng           S              Z Wehner M Xu G Maulana I Conte R                                               Heidari       Z Tice M and
       Laya J C 2015 Integrated Rock                              Classification in the             Eagle   Ford Shale Formation Using                       Well       Logs and
         Geological      Evaluation       Presented           at    the    AAPGSEGPESA                      2015       International        Conference                 Exhibition

         Melbourne Australia             13      16 September


    41 Cheng       K and Heidari Z 2015 Pore Connectivity and Permeability Assessment in Carbonate Formations
         using    NMR Log Inject Log Method Presented at the SPE Annual Technical Conference and Exhibition
       ATCE Houston Texas 28 30 September SPE 175066
    42 Firdaus G and Heidari Z 2015 Quantifying                                       Electrical     Resistivity        of Isolated        Kerogen from Organic Rich
         Mudrocks       using Laboratory           Experiments Presented at the                      SPE Annual             Technical       Conference       and Exhibition

         ATCE Houston Texas 28                          30    September              SPE 175078

    43 Chi       L   Heidari      Z and Garcia A P 2015                             Investigation       of Wettability           and Fluid Distribution in Organic
         rich   Mudrocks        using NMR Two Phase                      Simulation Presented               at the      SPE Annual           Technical       Conference         and

         Exhibition      ATCE Houston Texas 28                                 30   September        SPE 175077

    44 Saneifar         M    Heidari      Z and         Linroth           M 2015 An            Investigation           on the Impact of Heterogeneity                     on Fluid

         Injectivity     Loss    during       Water Alternating Gas                    Injection      in   Carbonate           Formations Presented                at     the   SPE

         Annual     Technical     Conference          and Exhibition                ATCE Houston Texas 28 30 September SPE 175064
    45 Hanafy        A Ali A NasrelDin H A and                                       Heidari       Z 2015 Evaluating                 the   Effects    of   Acid Stimulation
         Treatment      Before    and After Fines Migration on Petrophysical                                Properties         in   Sandstone        Reservoirs Presented

         at   the SPE   International     Petroleum           Technology              Conference           Doha Qatar 6                9 December           IPTC 18569

    46 Garcia A P and Heidari                      Z 2016 A Streamline based Approach                                    for   Evaluation         of Electrical        Tortuosity
         of Porous      Media                                                           Presented                     InterPore                              Conference          on
                                                                                               9
                                          Electrical                                                    at the                       8th International
                                  Using                       Conductivity
         Porous    Media and Annual             Meeting Cincinnati Ohio                              12    May Not a fulllength                   paper

    47   Tandon         S Aderibigbe A Heidari Z Shi J and Fuss T 2016 Proppant Damage Characterization
         using    Nuclear    Magnetic          Resonance            Measurements               Presented         at   the   American Association                  of Petroleum

         Geologists      AAPG       Annual         Convention                  Exhibition       Calgary Alberta Canada                       19      22    June




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    48 Kotb          A Garcia A P and                              Heidari       Z     2016       Multi Scale          Interpretation               of   Electrical       Resistivity

         Measurements          in            Complex Pore Structure and Anisotropy Presented at the American
                                     the Presence             of

         Association of Petroleum Geologists         Annual ConventionAAPGExhibition Calgary Alberta Canada
         19   22 June


    49 Oyewole            E Garcia A P and                             Heidari        Z      2016       A New         Method            for       Assessment       of Directional

         Permeability and Conducting                     Pore       Network      using       Electric    Conductance               in   Porous        Media Presented                at the


         Society of Petrophysicists                   and Well Log Analysts                  SPWLA             57th   Annual           Symposium Reykjavik                     Iceland

         25     29   June

    50 Cheng          K and Heidari Z 2016 An Experimental                                    Approach         to   Quantify           the    Impact     of Relative       Humidity

         on Hydration of Clay Minerals Using                               NMR and TGA Based Evaluations                                       Presented      at   the    Society       of

         Petrophysicists and Well Log Analysts                         SPWLA              57th Annual      Symposium Reykjavik                           Iceland 25            29    June

    51   Valdes       C C and Heidari Z 2016 An Experimental Multi Scale Approach                                                           for    Assessment of Uncertainty

         in Elastic    Properties         of Organic Rich              Mudrocks Presented                 at the      Society of Petrophysicists                     and Well Log

         Analysts      SPWLA          57th      Annual        Symposium Reykjavik                   Iceland 25               29    June

    52   Yang A and Heidari Z 2016 Experimental                                      Quantification        of the Impact of Thermal                       Maturity       on Kerogen

         Density       Presented       at       the    Society       of    Petrophysicists          and        Well        Log     Analysts          SPWLA              57th    Annual

         Symposium Reykjavik                    Iceland 25          29 June
    53 Amin          S Wehner M Heidari Z and Tice M 2016 Rock                                             Classification in the                    Eagle   Ford Shale through

         Integration      of Petrophysical Geological                        and Geochemical               Characterization                    Presented      at   the    Society       of

         Petrophysicists       and Well Log Analysts                   SPWLA              57th   Annual    Symposium Reykjavik                           Iceland 25            29    June

    54   Yang A and Heidari Z 2016 An Experimental Approach                                               to    Quantify the Impact                   of Kerogen         Maturity       on
         its   Chemical      Aromaticity          and Electrical           Conductivity           Presented         at the    Society          of Petrophysicists          and Well

         Log Analysts         SPWLA             57th    Annual       Symposium Reykjavik                   Iceland 25                  29    June

    55 Dabidicrn4              N     Heidari          Z and Yang A 2016                    Quantifying the Impact of Thermal                             Maturity     on Dielectric
                             of Pure       Kerogen            in    Organic Rich          Mudrocks             Presented          at    the       Unconventional          Resources

                                                                                                        3 August URTeC 2460670
         Permittivity

         Technology        Conference           URTeC San Antonio Texas                             1




    56 Tang        H   Killough       J Heidari Z and Sun Z 2016 A New Technique                                                       to    Characterize     Fracture         Density

         Using     Neutron     Porosity Logs             Enhanced by Electrically Transported Contrast Agents Presented                                                   at the      SPE
         Annual      Technical      Conference           and Exhibition           ATCE Dubai UAE 26                                28       September        SPE 181509

    57   Tandon        S     and Heidari              Z 2016          Impact     of     Internal        Magnetic           Field       Gradients         on Nuclear        Magnetic
         Resonance        Measurements                and NMRbased Pore Network                           Characterization Presented                        at the      SPE Annual
         Technical     Conference           and Exhibition            ATCE Dubai UAE 26                               28    September              SPE 181532

    58 Garcia          A P          and      Heidari           Z     2016        Directional            Pore     Network           Connectivity             and      Rock           Fabric

         Characterization           and   its
                                                 Application          in   Enhanced Assessment                   of Hydrocarbon                    Reserves    Presented            at the


         SPE Annual          Technical      Conference              and Exhibition         ATCE Dubai UAE 26                                  28    September        SPE 181571

    59 Matenoglou            G    Kelessidis           V C Garcia A P Heidari Z Fardis                                      M     Anastasiou             A and     Papavassiliou

         G 2016 Advanced NMR and MRI Methodologies                                         for   Wettability Characterization                        in Carbonate        Reservoirs

         Presented      at    the    SPE        International          Petroleum          Technology            Conference                  Bangkok         Thailand           14       16

         November IPTC              18853

    60 Purba S          A
                       Garcia                   AP
                                       and Heidari Z 2017 Improved Permeability Assessment using Directional
         Rock Fabric Quantification Presented at the American Association of Petroleum Geologists    Annual                                                    AAPG
         Convention            Exhibition             Houston Texas 2                 5 April


    61 Jagadisan             A and Heidari Z 2017 Application of X Ray Photoelectron                                                          Spectroscopy         in    Connecting

         Thermal Maturity of Kerogen                     to   its   Dielectric       Constant      in Organic         Rich       Mudrocks Presented at the Society
         of Petrophysicists          and Well Log Analysts                   SPWLA               58th   Annual        Symposium Oklahoma                      City Oklahoma
         17     21   June

    62   Tandon        S and Heidari             Z
                                       and Matenoglou                            G
                                                         2017 Pore Scale Numerical Modeling of Nuclear Magnetic
         Resonance      Response in Rocks with Complex Pore Structure using Finite Volume Method Presented at the




4
       Indicates   postdoctoral     researchers        or visiting     scholars      under    Dr Heidaris supervision


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            Society    of Petrophysicists             and Well Log Analysts                SPWLA             58th    Annual     Symposium Oklahoma                          C
            Oklahoma 17            21   June

       63   Valdes      C C and Heidari Z and Gonzalez A 2017 Quantifying                                             the   Impacts       of Thermal            Maturity        on
            Elastic   Properties       of Kerogen Presented              at the    Society of Petrophysicists               and Well Log Analysts                 SPWLA
            581 Annual        Symposium Oklahoma City Oklahoma 17                                    21   June

       64 Garcia A            P   Heidari       Z and Rostami A 2017 Improved                                  Assessment       of Hydrocarbon               Saturation         in


            Mixed Wet Rocks with Complex Pore Structure                                 Presented     at the      Society    of Petrophysicists             and Well Log

            Analysts    SPWLA           58th    Annual     Symposium Oklahoma                   City Oklahoma 17                   21   June

       65 Purba S           A Garcia A P and                      Heidari        Z 2017 New Method                   for    Rock    Classification in             Carbonate

            Formations using           Well Log Based Rock                Fabric       Quantification        Presented       at the     Society       of Petrophysicists

            and Well Log Analysts              SPWLA            58th   Annual     Symposium Oklahoma                  City Oklahoma 17                     21    June

       66 Cheng         K and Heidari Z 2017 A New                              Method        for   Quantifying       Cation       Exchange           Capacity         in   Clay
            Minerals       Presented      at    the    Society     of Petrophysicists               and    Well     Log Analysts           SPWLA                58th    Annual

            Symposium Oklahoma                 City Oklahoma 17                   21   June

       67 Garcia A            P Jagadisan A Rostami A and                                  Heidari         Z 2017 A New Resistivity based Model for
            Improved       Hydrocarbon          Saturation       Assessment        in    ClayRich         Formations using Quantitative                    Clay        Network

            Geometry and Rock Fabric Presented at the Society of Petrophysicists                                           and Well Log Analysts                  SPWLA
            58th Annual Symposium Oklahoma City Oklahoma 17       21 June


       68   Tandon         S Heidari Z and Daigle H 2017 Pore Scale Evaluation                                              of Nuclear          Magnetic         Resonance
            Measurements          in   Organic      Rich       Mudrocks        Using     Numerical         Modeling         Presented       at      the   Unconventional

            Resources Technology              Conference         URTeC Austin Texas 24                           26 July


       69 Garcia A          P Jagadisan A Rostami A and                                   Heidari         Z 2017 A New Workflow for Improved                             Water
            Saturation     Assessment          in   Organic Rich        Mudrocks         Honoring         Rock Fabric Presented                at   the Unconventional

            Resources Technology              Conference         URTeC Austin Texas 24                           26 July


       70   Tandon       SI    Rostami              A and       Heidari    Z 2017 A New NMRbased Method                               for Wettability           Assessment

            in   Mixed Wet Rocks          To be presented at the SPE Annual Technical                             Conference       and Exhibition            ATCE San
            Antonio     Texas 9          11    October         SPE 187373




C      Other Major Publications                Non Refereed             Journal Publications                 1
       1    Aderibigbe         A Valdes C C and                        Heidari     Z 2015 Acoustic                Measurements           Aid Mechanical                Damage
            Characterization       in   Proppant       Packs Journal ofPetroleum                    Technology       67     11 82          85



D      Technical      Reports     7
       1    Heidari     Z 2013 Annual               report      Improved        Subsurface          Hydrocarbon       Estimation          in    Organic Rich            Source

            Rocks      Using    Combined            Interpretation        of   Well      Logs       and    Core     Measurements               Society      of Petroleum

            Engineers College           Station       Texas 28 April

       2    Heidari     Z 2013 Annual               report      The Texas         AM       University        Joint   Industry      Research           Program          HP on
            Multi Scale Formation Evaluation                      of Unconventional             and Carbonate         Reservoirs College                   Station      Texas
            20   May
       3    Heidari     Z 2014 Annual               report      The Texas         AM       University        Joint   Industry      Research           Program          JIP      on
            Multi Scale Formation Evaluation                      of Unconventional             and Carbonate         Reservoirs           College         Station      Texas
            14   May

       4    Heidari     Z 2015 Annual               report      The Texas         AM       University        Joint   Industry      Research           Program          JIP      on
            Multi Scale Formation Evaluation                      of Unconventional             and Carbonate Reservoirs                   College         Station      Texas
            4     5 June


            Heidari    Z 2015 Annual                report Impact        of Organic Matter            Spatial     Connectivity          on Electrical        Properties         of

            Organic    Rich     Source        Rocks     American Chemical                 Society         ACS PRF          Doctoral      New        Investigator         DNI
            Research     Grant Austin Texas                1   October




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             Heidari    Z 2016 Annual           report      Impact of Organic        Matter Spatial Connectivity               on Electrical    Properties     of

             Organic   Rich       Source   Rocks      American Chemical              Society    ACS PRF          Doctoral       New     Investigator        DNI
             Research    Grant Austin Texas 3 October

             Heidari     Z 2017
                             Annual report Industrial Affiliates Research Program                                       IAP on Multi Scale                  Rock

             Physics The University of Texas at Austin Austin Texas 16 August




ORAL PRESENTATIONS

A      Invited


       A1 Invited Graduate Seminars in Rank
             Heidari     Z    2017      Formation        Evaluation          and    Characterization      in   Unconventional             Reservoirs         Oral

             presentation    at   TAMUSPE           Student        Chapter Harold Vance Department                of Petroleum          Engineering Texas

             AM       University      College    Station      Texas 23 October


             Heidari    Z 2016 Hydrocarbon            Reserves Evaluation            in Anisotropic     Formations      with Complex Pore Geometry

             and Composition using              Electrical        Measurements        Oral presentation        Graduate          Seminar       at   the    Energy

             Resources Engineering         Department             of Stanford University      Stanford California 16              May

             Heidari    Z 2016 Hydrocarbon            Reserves Evaluation            in Anisotropic     Formations      with Complex Pore Geometry

             and Composition using         Electrical       Measurements           Oral presentation     Graduate Seminar             at the   Chemical and
             Petroleum    Engineering      Department             of The University of Kansas         Lawrence         Kansas      10 March


             Heidari    Z 2015 Interpretation            of Nuclear      Magnetic      Resonance    NMR Measurements                    in   Formations      with

             Complex Pore Geometry Oral presentation at the Graduate Seminar Series Department of Petroleum                                                   and

             Geosystems Engineering The University of Texas at Austin Austin Texas 12 September

             Heidari     Z   2014 Multi Scale            Formation        Evaluation      of Unconventional            Reservoirs        Oral       presentation

             Graduate Seminar           at The    University of Tulsa          Tulsa Oklahoma 10 October

             Heidari    Z and TorresVerdin C 2011 Estimation of Dynamic                            Petrophysical         Properties       of Water Bearing

             Sands     Invaded     with    OilBased          Mud from        Multi Physics      Borehole       Geophysical           Measurements            Oral

                             at the    Graduate     Seminar         Series Harold      Vance Department           of Petroleum                              Texas
             AM
             presentation                                                                                                               Engineering

                      University      College    Station      Texas 27 September




       A2 Invited Workshops             in Rank


             Heidari    Z 2017 Introduction            to    Formation Evaluation          Workshop given          at    the    Geology      and Geophysics

             Department      of Texas      AM      University        College   Station    Texas 27 January


             Heidari    Z 2016 Introduction            to    Formation Evaluation            Workshop     given    at   the     Geology      and Geophysics

             Department      of Texas      AM      University        College   Station    Texas    27 January


             Heidari    Z 2015 Basics            of Well          Log Interpretation Workshop            given    at    the    Geology       and Geophysics

             Department      of Texas      AM      University        College   Station    Texas    11   February




       A3 Invited Company Presentations in Rank
             Heidari    Z 2017 Challenges with Formation Evaluation                       of Organic Rich        Mudrocks Oral presentation                 at the

             Texas Oil and     Gas institute Houston Texas 2 June


             Heidari    Z 2016 An Introduction               to   Research   Activities   of the Multi Scale Rock Physics                Research         Program
             at The   University of Texas at Austin                Oral presentation    at   ConocoPhillips       Houston Texas 8 September


             Heidari    Z 2016 An Introduction               to   Research   Activities   of the Multi Scale Rock Physics                Research Program

             at The   University of Texas        at Austin        Oral presentation    at Occidental     Petroleum       Corporation         Houston Texas
             18 July


             Heidari    Z 2015 An Introduction               to   Research   Activities   of the Multi Scale Rock Physics                Research Program

             at The   University of Texas at Austin                Oral presentation    at   BHP Billiton Houston Texas 2 November                          and 3
             December



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           Heidari      Z 2015 An Introduction                to Research Activities               of the Multi Scale Rock Physics Research                              Program
           at   The    University      of Texas        at   Austin       Oral presentation               given   to    BP     representatives           at      the   College   of

           Engineering        Austin Texas 22 October


           Heidari      Z 2014 Quantifying the Impact of Pyrite on Electrical                                    Conductivity of Organic rich Mudrocks

           Oral presentation          at ConocoPhillips            Houston Texas 10 December


           Heidari      Z 2014 Introduction                 and Progress Update                on Research          Activities        of the Formation Evaluation

           Research      Program        at    Texas    AM          University           Oral    presentation          at    ConocoPhillips           Houston Texas                1


           October


           Heidari      Z 2014 Introduction                 and Progress Update                on Research          Activities        of   the    Formation Evaluation

           Research      Program       at    Texas    AM          University           Oral presentation         at    Aramco         Services      Company Houston
           Texas 4 April


           Heidari      Z 2014 An Update to Research Activities of the Formation Evaluation                                             Research        Program          at Texas

           AM         University      Oral presentation           at   Chevron Houston Texas 30 January


           Heidari      Z 2012 An Introduction                to   Research           Activities    of the Formation Evaluation                    Research         Program     at

           Texas      AM      University        Oral presentation          at       Aramco     Services     Company Houston Texas                          11     December


           Heidari      Z 2012 An Introduction                to   Research           Activities    of the Formation Evaluation                    Research           Program   at

           Texas      AM      University        Oral presentation          at Halliburton           Houston Texas 5 April


           Heidari      Z 2012 An Introduction                to   Research           Activities    of the Formation Evaluation                    Research           Program   at

           Texas      AM      University        Oral presentation          at       BP Houston Texas 31 January

           Heidari      Z 2012 An Introduction                to   Research           Activities    of the Formation Evaluation                    Research           Program   at

           Texas      AM      University        Oral presentation          at       Weatherford Houston Texas 10 January

           Heidari      Z 2011 An Introduction                     Research           Activities    of the Formation Evaluation                    Research           Program
                      AM
                                                              to                                                                                                                at

           Texas              University        Oral presentation              at    Anadarko      Petroleum      Corporation              The Woodlands                Texas 16
           November




       A4 Invited Company Presentations before Rank
           Heidari      Z 2010 The Concept of Dynamic Petrophysics                                      Oral presentation        at    the    Marathon          Oil     Company
           Houston Texas 6 August




B      Topical    Conferences Webinars                 and Meetings

       B1 Topical conferences                 Webinars and Meetings in Rank


           Heidari      Z     2016      Electrical      Properties        of        Organic Rich          Mudrocks           Oral presentation               at   the    SPWLA
           Resistivity       Special    Interest      Group       RtSIG Meeting                 Society      of Petrophysicists               and Well Log Analysts

           SPWLA Houston Texas 20 October                                Invited


           Heidari      Z Aderibigbe A                and    Valdes        C C 2016 Completion Oriented Rock                                 Classification in           Organic
           Rich     Mudrocks          Oral     presentation        at    the        Unconventional         Resources          Special        Interest      Group        URSIG
           Meeting       Society       of Petrophysicists              and Well Log Analysts                 SPWLA              Houston Texas                     8   September
           Invited


           Garcia        A P and Heidari Z 2016 Quantification                                 of Directional Pore             Network           Connectivity           and Rock
           Fabric      and    its
                                    Application       to    Improve        in situ       Assessment         of
                                                                                                          Hydrocarbon  Reserves and Directional

           Permeability         Oral    presentation         at    the   CPGE          2016     Research Showcase  in Petroleum and Geosystems

           Engineering        Austin Texas 6 September

           Valdes       C C and Heidari Z 2016 Stress Prediction                                   in   Organic Rich          Mudrocks           and its     Applications       in


           Completion          Design          Oral    presentation             at     the     Schlumberger                Doll Research           Center             Cambridge
           Massachusetts            8 July    Invited

           Valdes       C C and Heidari Z 2016 Impact of Anisotropic                                      Elastic     and Petrophysical             Properties          on Stress
           Prediction     in Organic         Rich Mudrocks Oral presentation                       at Texas      Tech University             Lubbock Texas 4 April

           Invited



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            Heidari      Z and Yang A 2016 Graphitization and Aromaticity                                               of   Mature         Kerogen          and    its   Impact    on
            Electrical     Conductivity           of Organic       Rich Mudrocks                  Oral presentation              at   the    2016       Houston           Geological

            Society   HGS Applied Geoscience Conference AGC Houston Texas 8 March Invited
            Valdes        C C Aderibigbe A and Heidari Z 2015 Impact of Anisotropic                                                              Elastic     and Petrophysical

            Properties     on Well Log Based               Stress Prediction           in   Organic Rich        Mudrocks Oral presentation                         at the   SPWLA
            Completion Petrophysics               Workshop Society of Petrophysicists                        and Well Log Analysts                      SPWLA Houston
            Texas 12 November Invited


            Aderibigbe       A Cheng K                     Heidari         Z     Killough         J and      Fuss            T   2015            Application         of Magnetic

            Nanoparticles         mixed with          Propping           Agents        in   Enhancing        NearWellbore                   Fracture         Detection         Poster

            presentation     at the   SPWLA           Completion Petrophysics                     Workshop         Society        of Petrophysicists                and Well Log

            Analysts     SPWLA Houston Texas 12 November Invited
            Aderibigbe        A Valdes C C                     Heidari          Z and Fuss T 2015                  Mechanical           Damage Characterization                     in


            Proppant      Packs    Using     Acoustic        Measurements               Oral presentation          at    the     SPWLA           Completion Petrophysics

            Workshop        Society       of Petrophysicists             and Well Log Analysts               SPWLA Houston Texas 12 November
            Invited

            Heidari      Z Yang A Chen H and Firdaus G 2015                                             Electrical       Properties          of Organic rich Mudrocks

            Oral presentation         at    the    SEG 2015             Post convention            Workshop         W10          Physics           of   Rocks             Society   of

            Exploration Geophysicists               SEG New Orleans Louisiana 23 October Invited
            Heidari      Z 2015 An Introduction                   to the      Multi Scale        Rock Physics Research Program                          at   The University of
            Texas   at   Austin     Oral presentation              at   EAC meeting The University of Texas at Austin Austin                                               Texas 16
            October


            Chen H and Heidari Z 2015                         Impact          of Water      Salinity    on High Frequency Dielectric Measurements                                   in

            Rock Fluid Mixtures Oral presentation                            at the   SPWLA       Dallas    Chapter            Society of Petrophysicists                   and Well

            Log Analysts         SPWLA Dallas Texas 10 September Invited
            Heidari      Z 2015 Hydrocarbon                  Reserves Evaluation                 in   Organic   Rich         Mudrocks              Oral presentation           at the

            CPGE Annual Meeting                   Department        of Petroleum            and Geosy stems Engineering The University of Texas                                     at


            Austin Austin Texas 8 September


            Heidari      Z Firdaus G and Yang A 2015 An                                          Experimental Approach                  to       Investigate        the    Impact   of

            Thermal Maturity on Electrical                  Conductivity of Kerogen                   in OrganicRich Mudrocks Oral presentation at the
            Unconventional         Resources         Special       Interest      Group      URSIG          Meeting Society of Petrophysicists and Well
            Log Analysts         SPWLA The Woodlands                           Texas 24 August Invited

            Heidari      Z 2015       Research            plans    for     experimental          rock   physics         and new         interpretation             methods      Oral

            presentation     at    the     15th    Annual         Formation           Evaluation        Research        Consortium               Meeting        Department          of

            Petroleum      and    Geosystems Engineering The University of Texas                                 at     Austin Austin Texas 18 September


            Heidari      Z 2015 Annual                        for the        Joint                Research      Program           JIP on MultiScale Formation
                                                                                                                                                             AM
                                                   report                             Industry
            Evaluation      of Unconventional               and Carbonate              Reservoirs         Oral presentation                 at   Texas                    University

            College      Station   Texas 4           5 June


            Valdes        C C Aderibigbe                    A Aranibar A and                          Heidari      Z 2015             Determination             of Anisotropic

            Poroelasticity       in the   Haynesville                   Log Based Estimates Poster presentation
                                                             Shale from Well                                                                                   at the     2015 HGS

            Applied Geoscience Conference                     AGC Houston Texas 18 May Invited
            Chi L and Heidari Z 2015 New Method for Permeability Assessment using NMR Measurements Oral
            presentation at the SPWLA Downtown Houston Chapter Society of Petrophysicists and Well Log Analysts

            SPWLA Houston Texas 14 January Invited
            Cheng        K Aderibigbe A                     Alfi        M      Heidari      Z and       Killough          J 2014            Application         of Contrasting

            Nanoparticle         Agents     in    Formation Evaluation                  Oral presentation           at       SPWLA          Resistivity        Special       Interest


            Group     SIG Meeting Houston Texas 22 October Invited

            Heidari      Z 2014 Improved              Subsurface           Hydrocarbon           Estimation in Organic                Rich Source Rocks using Well

            Logs Oral presentation               at the    SPE Webinar Society of Petroleum Engineers                                 SPE 8 October                   Invited


            Heidari      Z 2014 Electrical                Properties         of Organic     Rich      Mudrocks Oral presentation                        at    the   Berg Hughes
            Symposium Texas               AM       University           26    September




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          Aranibar          A Chen C Saneifar M and                                      Heidari       Z 2014 Well Log Based Assessment                                 of   Elastic


           Properties       and Rock          Classification          in   Organic Shale               Formations       Oral     presentation             at    the   Pittsburgh

           Association       of Petroleum         Geologists          meeting Pittsburgh Pennsylvania                      16   September               Invited


           Heidari     Z and Chen H 2014 Impact of Anisotropic Nature of Organic Rich Source Rocks on Electrical
           Resistivity      Measurements              Oral      presentation            at    the    Unconventional        Resources          Special          Interest   Group
           URSIG         Meeting Society of Petrophysicists                         and Well Log Analysts               SPWLA The Woodlands                              Texas 7

           August Invited

           Heidari     Z Kotb A and Chen H 2014                                         Upscaling       of Electrical   Resistivity         Measurements                in   Porous

           Media Oral presentation               at the      SEGSPEAAPGSPWLAEAGE                                  Summer Research Workshop                            San Diego

           California 3          8   August Invited

                       Z 2014 Annual                                                                 Research                   JP on MultiScale Formation
                                                                                                                                                         AM
           Heidari                                  report     for the     Joint    Industry                      Program
           Evaluation       of Unconventional                and Carbonate              Reservoirs            Oral presentation        at   Texas                     University

           College     Station       Texas     14   May

           Heidari     Z 2013 Quantifying the Impact of Concentration                                   and Spatial Distribution of Pyrite and Kerogen on
           Estimates      of     Hydrocarbon          Saturation           from     Well        Logs      Oral    presentation        at    the    William            C Gussow
           Geoscience Conference               on Importance of Rock Properties                         in Unconventional         Reservoirs              Canadian Society

           of Petroleum          Geologists      Banff Canada              16 October               Invited


           Heidari      Z        2013     Interpretation         of   Electrical             Properties     in   Organic   Rich       Source        Rocks         for     Reliable

           Petrophysical          Evaluation        Oral presentation              at   the    SEG Workshop          on Integration               of Petrophysics             Rock

           Physics     and Laboratory            Measurements               Society          of Exploration Geologists           SEG         83rd       Annual        Conference

           and Exhibition          Houston Texas 27 September                           Invited


           Saneifar      M and          Heidari      Z 2013 Permeability Assessment in Carbonate Formations Using Conventional
           Well Logs         Oral presentation            at    the    SPWLA             Dallas      Chapter Society of Petrophysicists                         and Well Log

           Analysts     SPWLA Dallas Texas 12 September                                       Invited


           Heidari     Z 2013 Improved                         Hydrocarbon Estimation in Organic Rich Source Rocks using Well
                                                      Subsurface

           Logs    Oral presentation           at the   SPE Webinar Society of Petroleum Engineers      19 June Invited           SPE
           Heidari     Z 2013 Annual                           for the     Joint    Industry         Research     Program       JP on MultiScale Formation
                                                                                                                                                         AM
                                                    report

           Evaluation       of Unconventional                and Carbonate              Reservoirs            Oral presentation        at   Texas                     University

           College     Station       Texas 20       May

           Heidari      Z TorresVerdin C and Preeg W E 2012                                                   Quantitative      Method            for    Petrophysical          and

           Compositional Evaluation                 of Organic        Shale Formations Oral presentation                         at   the   SPWLA              Dallas    Chapter
           Society of Petrophysicists               and Well Log Analysts                    SPWLA Dallas Texas 10 May Invited
           Heidari     Z TorresVerdin C Adiguna H and Preeg W E 2011 New                                                              Deterministic              Strategies      for


           Petrophysical          and Compositional Evaluation                          of Multi Layer Formations with Thin                             Beds and        Complex
                          and Exposed to Mud Filtrate Invasion Oral presentation at the SPWLA Fall Topical Conference
                                                                                                                                                        9
           Lithology

           Society of Petrophysicists    and Well Log Analysts                               SPWLA
                                                                          Asheville North Carolina      12 October




       B2 Topical Conferences                 Webinars and Meetings before Rank

           Heidari     ZMarouby     PopielskiP   and TorresVerdinA                                      C
                                                                     2011 Shale Gas Evaluation with Conventional
           Well    Logs Using Enhanced Lithology Assessment Petrophysical and Elastic properties and Rock Typing
           Oral presentation            at   the Unconventional             Resources           SIG Meeting Society of Petrophysicists                          and Well Log

           Analysts     SPWLA The Woodlands                           Texas 27 July


           Heidari     Z TorresVerdin C and Preeg W E 2010                                          Mineral Concentrations        from Conventional                   Logs Oral
           presentation          at the      SPWLA      Spring        Topical      Conference             Unconventional          Gas Petrophysics                    Society     of

           Petrophysicists        and Well Log Analysts                  SPWLA Austin Texas 25 29 April


PATENTS

        Heidari      Z      et   al Design          and implementation of a                         stiffness    measurement          device       for    diagnosing           ACL
        deficiencies     during Arthroscopy               Iran   Patent      no 41577 June 2007




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SOFTWARE DEVELOPED

           A nonlinear        multi mineral solver           based    on joint inversion             of borehole        geophysical          measurements          2007
           2011

           Numerical simulators developed                    in   my research team 2011                     2017       for   modeling electrical           current     flow
           fluid    flow nanoparticle           flow and NMR magnetization                   decay      in fractured          porous       media and for estimating
           NMR              Tz     and diffusion       coefficient      effective         multi frequency          complex            dielectric     permittivity       and
           electrical   conductivity




FUNDED GRANTS AND CONTRACTS In rank

Total   $9 490 449      My Share $34143055 $22821136                           as the     PI $1132192            as a Co          PD Funded Research
+ $2313638         research funds under considerationnegotiationreview


+$12000000          W D Von Gonten Rock                    Physics    Laboratory          Initial     proposal     preparation Equipment                   selection    and

order not counted        in   my research grants

+ $160000        donation     to   purchase a pyrolysis equipment              it   is   already      purchased         for   my laboratory         at   UT Austin not
counted    in   my research grants

           Integrated       Formation Evaluation             in   Southcentral       Delaware         Basin   and North central Midland Basin Using
           Well Logs and Core Measurements                        Texas Oil and          Gas Institute Zoya Heidari                  PI January 2017               August
           2017 $98910 Zoya Heidari                    100 $98910
           Industrial    Affiliate        Research     Program       on Multi Scale Rock Physics                        for       Unconventional         and Carbonate

           Reservoirs          Petroleum  Current member BP paid for two years negotiations are in progress with
                                                Industry
           four other companies including Baker Hughes Statoil Halliburton Wildcat Technologies  and Occidental

           Petroleum Zoya Heidari Founder director and P1 July 2016         Present $50000year per company

           Zoya Heidari          100
           Joint    Industry       Research     Program on Formation Evaluation Petrophysics and Reservoir Characterization
           for    Unconventional             and Carbonate Reservoirs Petroleum Industry Aramco Services Company BHP

           Billiton  Petroleum BP Chevron ConocoPhillips and Devon Energy Zoya Heidari Founder                                                                   director

           and     PI September 2012 September 2015 $900000 Zoya Heidari 100 $900000
                   Rock Classification based on Petrophysical                    and Elastic Rock Properties Estimated from Well Logs


                   Quantifying         the   Effect   of   Kerogen      and    Pyrite      on   Electrical       Resistivity          and    Dielectric     Permittivity

                   Measurements           using Numerical Simulations               and Laboratory          Measurements

                            Numerical           Simulation        Measurement             and       Interpretation           in    Organic    Rich       Mudrocks       and
                   Carbonate Formations


                   Exploiting         Unconventional        Reservoir    Characterization             Techniques             for   Carbonate       and Organic Shale

                   Reservoirs         with Enhanced        Logging

           Application        of Acoustic        Measurements         for   Quantifying          Mechanical            Damage         in   Propping       Agents      Saint

           Gobain       Proppants         Zoya     Heidari    PI January            2015            January   2017 $100000                    Zoya       Heidari   100
           $100000

           A New Method to Characterize Pore Structure Mechanical Damage and Conductivity of Proppant Packs
                                                                   Ieidari PI January 2015
           using NMR Measurements     SaintGobain Proppants  Zoya                             January 2017
                                                                                                        I




           $20000000             Zoya Heidari         100 $200000
           Advanced         Magnetic         Resonance      Imaging     Methodologies           for    3D analysis of Multiphase                    flow
                                                                                                                                                            processes
                                                                                                                                                                          in


           Oil Reservoirs             and Enhanced Oil Recovery               NPRP 713722498                       Qatar National             Research      Foundation
                            PD Vassilios C Kelessidis Co PD Zoya Heidari Co PD Georgios Papavassiliou
           Grigorios Matenoglou

           Co PD Thomas Mans Co PD and Mario Costa Sousa CoPD March 2015 March 2018 $89711106

5
    $838707 was terminated after left Texas              AM       University


                                                                      BP second
6
    $50000 of this amount        is   pending   paperworkinvoice                         year   membership         I
                                                                                                                       expect      to receive   the funds   in
                                                                                                                                                                 my
account   in   August 2017




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            Zoya Heidari             126 $11348498
            Impact       of Organic Matter              Spatial      Connectivity           on    Electrical     Properties         of Organic     Rich Source Rocks
            American Chemical                 Society       ACS PRF Doctoral New Investigator                      DNI Research Grant Zoya Heidari PI
             September      2014          September          2017 $100000 Zoya Heidari                      100 $100000
            Improved         Subsurface           Hydrocarbon              Estimation             in   Organic   Rich          Source       Rocks     Using       Combined

            Interpretation            of Well Logs and Core Measurements  SPE Junior Faculty Research                                              Initiation   Fellowship

            Zoya Heidari             PI    September 2012  September 2014 $40000 Zoya Heidari                                          100 $40000
            Application of Nanoparticle                     Imaging    in    Quantifying Diagenesis               Effects      of Propping        Agents SaintGobain
            Proppants        Zoya        Heidari      PI and John Killough CoPI January 2013                                         January     2015 $180000          Zoya
            Heidari      75 $135000
            Optimizing           Stimulation Treatments                for    PetroChina          Tarim     Oilfield   Company             PetroChina      Tarim    Oilfield


            Company D A                 Hill    Ding Zhu         Jiajing      Lin Yucel Aldcutlu and Zoya Heidari                          CoPI September 2013
             September      2016 $450000 Zoya Heidari                          20 $90000
            Acid Stimulation Research Program                         ASRP Petroleum Industry Ding Zhu DA Hill Hisham Nasreldin
            and Zoya Heidari Co                PI September 2012                       September       2015 $1800000             Zoya Heidari        167 $300000
            The     projects     I    was responsible        for


             o      Petrophysical         Rock    Classification           using Conventional              Well Logs      to   Detect      Zones    for Acid    Stimulation

                    in   Carbonate Reservoirs


                    A Quantitative            Application        of Well          Logs     to    Improve     Prediction        of   Acid     Stimulation    in    Carbonate

                    Formations


            Advanced         Computational             and Numerical Modeling Techniques for Hydrocarbon                                           Recovery       Proposal
             1401945        Skoltech          Center   for Research John Killough    Zoya Heidari Co    PI                                 PI Yucel Aldcutlu Bema
            Hascalcir      Vivek Sarin and Eduardo Gildin January 2015                                      January    2020 $3847910                Zoya Heidari       15
            $538707          My        part    was terminated         after   I   left   Texas     AM       University


            Enhanced        In   Situ    Assessment of Petrophysical                     Properties     and Kerogen        Spatial        Distribution    in Organic   Rich
             Source      Rocks using Well Logs Crisman Institute Zoya                                   Heidari    PI September 2013                     September     2016
            $313259 Zoya Heidari                  100 $313259
            Developing           Enhanced Well Logging Methods                           for    Fracture   Characterization          in   Organic   Rich    Source     Rocks

            using    Nanotechnology              Crisman Institute Zoya Heidari                        PI John Killough Co PI and Mark Everett Co
            PI September 2013 September 2016 $313259 Zoya Heidari 75 $234944

            Investigating            and Quantifying           the    Effect       of Petrophysical            and Compositional Properties on Electrical

            Resistivity      of Organic Shale Formations to                         Improve        Well    Log Interpretation Methods Crisman Institute

            Zoya Heidari             PI September 2011                 September           2013 $60000 Zoya Heidari                    100 $60000
            Quantifying          Vertical      Heterogeneity          in   Carbonate           Formations using        Well Logs          for   Improving Prediction      of

            Acid Fracturing Crisman Institute                        DA Hill Ding Zhu Zoya Heidari CoPI January 2012 January 2015
            $90000 Zoya Heidari                  100 $90000
            Rock Physics Laboratory                   for   Unconventional               Resources      W D Von Gonten                Laboratories        DA Hill Zoya
            Heidari       and Yuccl Akkutlu                 November         2013 $12000000




Proposals under           ConsiderationNegotiationReview                                 $2313638

            My Industrial Affiliate Research Program on Multi Scale Rock Physics for Unconventional                                                        and Carbonate
            Reservoirs           is    under    consideration         by     Statoil        Baker      Hughes      Halliburton            and Occidental        Petroleum
            $200000        per year


            A proposal           submitted       to    Saudi     Aramco           on     New      In Situ    Reservoir         Monitoring        Method     for   Enhanced

            Hydrocarbon              Recovery         $1470000

            A proposal           submitted       to    Statoil     Norway              on Enhanced          Automatic Fracture              Detection      and Formation



7
    This project   was initiated in       collaboration      with other      universities




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          Evaluation     using Automatic               Joint       Interpretation      of Image logs and Conventional                  Well   Logs $200000

          NSF      CAREER            Proposal      on        Fundamental             Investigation        of    Electromagnetic           Properties     of    Rocks    for


          Geophysical       Characterization                of Geothermal           Systems $443638



CURRENTACCOMPLISHED                             RESEARCH PROJECTS In Rank

          Quantifying the        Effects of Rock Fabric                   on Physical Properties           eg      Electrical      and Mechanical        Properties of

          Organic    Rich Mudrocks             and Carbonates and Developing                          Interpretation      Models assimilating Rock Fabric


          Develop     New Methods             for Real       Time and Insitu Assessment of Permeability Tensors

          Improving      Interpretation         of Dielectric             Measurements          in   Formations with         Complex Rock Physics including
          Organic Rich          Mudrocks           and       Carbonates           through      Numerical         Simulations    and Core Scale Laboratory

          Measurements

          Model Development              for Interpretation               of Borehole        Electrical    Conductivity       and Dielectric Measurements                   in


          Rocks      with    Challenging           Rock        Physics        such      as   Organic Rich          Mudrocks         and    Carbonates         Pore Scale
          Numerical      Methods and Laboratory                      Experiments


          Developing        New       Techniques             for    Application        of Cuttings        for   Petrophysical       Evaluation     in    Organic    Rich
          Mudrocks


          Evaluating     Dynamic Petrophysical                      Properties      of Tight Formations



          Developing        New Methods            for      Assessment of Hydrocarbon                  Reserves      in   Organic Rich        Mudrocks


          Quantifying the        Impact       of Wettability             on NMR and electrical             Measurements            using Laboratory       Experiments

          and Numerical         Simulations


          Reliable    Interpretation         of    NMR Measurements                     in   Unconventional         Resources       and Carbonates with Mixed

          Wettability    and Complex Pore Geometry


          Improving Pore Scale Numerical Simulation of                                 NMR Measurements and their Interpretation                       in Organic   Rich
          Mudrocks


          Quantifying       Physical         Properties            eg      electrical       and mechanical         properties        of Extracted       Kerogen        as   a

          Function     of Thermal        Maturity


          Upscaling      Pore Scale           NMR            and     Multi Frequency               Electrical     Simulations        to    Core        and     Log Scale
          Measurements          for   improved         Formation Evaluation                  of Spatially Heterogeneous             Formation



          Quantifying Elastic          Properties           of Matrix      Components          and their Variability         in    Organic    Rich Mudrocks         using
          Nano indentation Technique


          New Methods for Real Time Fluid Characterization

          Completion Petrophysics                 is   one of the         areas   in   which my research team has eagerly invested on and plan to

          expand      Some of their ongoing                  projects      in the   field    of completion       petrophysics       are listed as follows


          o       Integrated    Rock    Classification in Organic                   Rich Mudrocks          for Detection        of the Best Candidate          Zones for

                Completion


          o     Petrophysical         Methods          to   Evaluate Proppants               Performance        in the    Laboratory      and in situ Condition In
                collaboration         with   SaintGobain Proppants


          o       Diagnose     and Investigate              Reasons       and Solutions        for   Water Production         in   Organic Rich        Mudrocks


          o     Quantify Fracture            Propagation            in   Organic Rich         Mudrocks

          o     Quantify       the   Impact of Rock Fabric                 and Petrophysical           Properties        on Fracture Propagation


          Impact of Salinity on          HighFrequency                   Dielectric     Measurements            of Rock Fluid Mixtures


          Pore Scale     Evaluation           of   Dielectric            Permittivity        and   Electrical     Resistivity      Measurements          for   Improved
          Assessment of Hydrocarbon                    Saturation




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          Thermal     Maturation           of Organic         Matter     and its Effects on Chemical and Electrical                            Properties of Organic        Rich
          Mudrocks


          Quantifying      Petrophysical                and     Compositional               Properties         on      Electrical         Conductivity        and       Dielectric


          Pennittivity    of Organic            Rich     Mudrocks

          Enhanced     In Situ        Assessment            of Petrophysical          Properties        and Kerogen             Spatial    Distribution     in Organic      Rich

          Mudrocks      using Well             Logs

          New      Methods           for      Assessment        of     Directional          Permeability            Tensor        in    Spatially        Heterogeneous         and

          Anisotropic Formations using                      Electrical    and NMR Measurements


          Quantify the     Impact of Natural                 Fractures     on NMR measurements


          Improved     Assessment of Pore Size Distribution                            and Pore Connectivity                    in   Multiple Porosity            Systems using
          Contrast Agents            and NMR Relaxation                Measurements


          Impact      of Fracture Pore                Diffusional        Coupling           on    NMRBased                Permeability          Assessment         in   Complex
          Formations


          Pore Connectivity            and Permeability Assessment                     in   Complex Carbonate Formations Using                             NMR Log Inject
          Log Method

          Exploiting Unconventional                     Reservoir      Characterization             Techniques            for   Liquid Rich         Shale Reservoirs           with

          MobilityEnhanced                 Nanoparticle        Logging

          Rock    Classification in            Organic Rich          Mudrocks         and Carbonates

          Rock    Classification           Based on Anisotropic                Stress Models            for   Optimization of Completion Design


          Multi Scale Characterization                   of Pore Structure            for   Enhanced Rock              Classification in          Carbonate Formations


          Quantifying Vertical Heterogeneity                        in Carbonate         Formations using Well                   Logs     to   Predict   Water Alternating
          Gas Injectivity Loss


          Quantifying      Uncertainty             in    Estimates        of   Elastic       Properties        of    Rock        Components         and     its    Influence     on
          Effective    Elastic       Properties        in   Organic Rich         Mudrocks


          Impact of Anisotropic Elastic                     and Petrophysical          Properties         on Stress Prediction             in   Organic rich Mudrocks


          Application of Neutron                               Logs    for Fracture         Detection         in the   Presence        of Injected Neutron          Absorbing
                                                                                             AM
                                                Porosity
          Particles   in a research collaboration                    with the Texas                      Nuclear       Engineering             Department

          A New Method to Characterize Pore Structure Mechanical Damage and Conductivity of Proppant Packs
          using NMR Measurements In collaboration  with SaintGobain Proppants


          Detection     of Propping              Agents       in    Fractures     using          Well Logs         Enhanced          by    Magnetic       Nanoparticles          In
          collaboration    with         SaintGobain Proppants


          MechanicalDamage Characterization                            in Proppant       Packs      using Acoustic              Measurements         In collaboration          with

          SaintGobain Proppants


          A Quantitative             Application         of    Well      Logs    to    Improve          Prediction         of    Acid      Stimulation      Performance          in

          Carbonate Formations                 In collaboration           with Acid Stimulation Research                         Group     at Texas      AM        University


          Deterministic Petrophysical                   Rock       Classification in         Carbonate         Reservoirs         using Conventional               Well Logs     to

          Detect   Zones       for Acid        Stimulation In collaboration                      with   Acid Stimulation Research Group                         at Texas    AM
          University


          Detection     of Petrophysical                Bed Boundaries            and Petrophysical                  Evaluation         Based on         Well      Logs    and   its



          Application     to   Carbonate          and Organic Rich Mudrocks




OTHER MAJOR RESEARCH ACTIVITIES


                                      WD
          Collaborated     in    establishing           a world class          Rock Physics Laboratory                    for Unconventional             Resources        at Texas

          AM       University                     Von Gonten Laboratory                     My contributions              are listed      as follows


          o     Prepared       the    first    draft of the     proposal       for the      laboratory        in   2011    upon joining Texas             AM        University




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          o       Contributed   actively    in   expanding       the   initial   proposal      for   W D Von Gonten      Laboratories


          o       Selected   uptodate      instruments      for the     laboratory        and finalizing the quotesorders


          o       Contributed   actively    in   planning   the laboratory          set   up

          o       Prepared   test procedures      for   some equipment

          Established    the    MultiScale Formation Evaluation                    Research      Program   at   Texas   AM   University




COURSES TAUGHT

Undergraduate        Courses

          PGE337 Unique Number 19115                      Introduction           to Geostatistics      Spring 2017 semester
          Total    enrollment    56 students        Instructor     Evaluation        445 Course Evaluation 405
          PGE337 Unique Number 19215                      Introduction           to Geostatistics      Spring 2016 semester
          Total    enrollment    58 students        Instructor     Evaluation        405 Course Evaluation 375

          PETE321 Formation Evaluation                  Sections        501       506 Spring 2015 semester
          Total    enrollment     113    students    Evaluation         4175

          PETE321 Formation Evaluation                  Sections        501       506 Spring 2014 semester
          Total    enrollment     158    students    Evaluation         4045

          PETE321 Formation Evaluation                  Sections        501       506 Spring 2013 semester
          Total    enrollment     171    students    Evaluation         4225

          PETE321 Formation Evaluation                  Sections        501       506 Spring 2012 semester
          Total    enrollment     145    students    Evaluation         3435

          PETE311 Reservoir             Petrophysics     Sections 501              503    Fall 2011    semester

          Total    enrollment    45 students        Evaluation         3895



Graduate Courses


          PGE385K       Unique Number             19453 Advanced                 Multi Well Formation Evaluation          Fall 2016 semester

          Total    enrollment     15 students       Instructor    Evaluation         445 Course Evaluation 415
          PGE383 Unique Number                   19334 Rock Physics               Fall 2015 semester

          Total    enrollment 8 students          Instructor     Evaluation         495 Course Evaluation 465

          PETE608 Well Logging Methods                    Section       600 Fall 2014 semester
          Total    enrollment    39 students        Evaluation         4285

          PETE608 Well Logging Methods                    Sections        600 and 700 Fall 2013 semester
          Total    enrollment    42 students        Evaluation         4525       in on   campus group and 3775 in distance         learner   group


          PETE608 Well Logging Methods                    Section       600 Fall 2012 semester
          Total    enrollment 23 students           Evaluation         4495



Graduate Seminar Series Organized


          PETE681 Fall 2014

          PETE681 Spring 2014


          PETE681 Fall 2013


          PETE681 Spring 2013


          PETE681 Fall 2012

          PETE681 Spring 2012




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IndustryUniversity        Short        Courses


        Advanced       Formation Evaluation July 2017 Petrobras Corporation


        Well log       Interpretation      Methods January              27 2017 Geology                  and Geophysics                 Department Texas        AM
        University        prepared        the    students   to    compete     in    the    AAPG          Imperial Barrel                Award    IBA       Gulf Coast

        Regional       competition       the    Texas    AM team          placed 3rd       in the   competition


        Well log       Interpretation      Methods January              27 2016 Geology                  and Geophysics                 Department Texas        AM
        University        prepared        the    students   to    compete     in    the    AAPG          Imperial Barrel                Award    IBA       Gulf Coast

        Regional       competition       the    Texas    AM team          placed 3rd       in the   competition


        Well log       Interpretation      Methods February               11 2015 Geology                and   Geophysics               Department Texas        AM
        University


        Advanced         Formation Evaluation              and Well       Logging         Methods         February          3          6 2015 Nigeria National
        Production       Development            Company

        Formation        Evaluation       and Well         Logging        Methods         July   21        24 2014               Nigeria       National    Production

        Development        Company

        Formation        Evaluation       and Well         Logging        Methods         July   22        24 2013               Nigeria       National    Production

        Development        Company

        Formation Evaluation              and Well Logging             Methods       August         19      21 2013              Nigerian National          Petroleum

        Corporation




ACADEMIC SUPERVISION

PhD Supervisions Completed
    1   Mehrnoosh        Saneifar               May 2015                Petroleum     Engineering                                      Texas   AM    University

        Dissertation Application of Conventional                       Well Logs     for   Rock       Classification to                Enhance Characterization
        of Heterogeneity          in   Carbonate       Formations

        Comment          Joined   BHP Billiton after graduation

        Lu Chi                                  August 2015             Petroleum     Engineering                                      Texas   AM    University

        Dissertation       Interpretation        of Nuclear      Magnetic    Resonance           Measurements           in       Formations with          Complex
        Pore Structure

        Comment          Joined    iRock Technologies             after   graduation



        Aderonke       Aderibigbe               May 2016                Petroleum     Engineering                                      Texas   AM    University
        Dissertation Application of Petrophysical                      and Geophysical           Analysis in Improvement                       of Completions

        Design    in   Organic     Rich Mudrock           Formations

        Comment          Joined   BHP Billiton after graduation


        Huangye Chen                            May 2016                Petroleum     Engineering                                      Texas   AM    University
        Dissertation Quantifying                the   Impact of Complex Pore and              Grain Structures              on Estimation of Hydrocarbon
        Saturation using       Electrical        Resistivity     and   Dielectric   Permittivity          Measurements

        Comment          Joined Aramco           Services   Company        after   graduation



        Clotilde   Chen Valdes                  August 2017     Interdisciplinary Engineering         Texas       University                   AM
        Dissertation       An Experimental          Multi Scale Assessment of Mechanical    Properties of Organic Rich
        Mudrocks

        Comment          Clotilde defended            in March   2017 and joined Shell She will                  finalize          her dissertation       and

        graduate    in   August        2017 Dr Robert Lytton served as a co supervisor                          after   I       left   Texas    AM    University




MSc Supervision Completed
    1   Nilchil   Kethireddy              December        2013             Petroleum       Engineering                                 Texas   AM    Universi




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                                                                           on Electrical            Resistivity Measurements                        Organic Rich
        Thesis Quantifying         the       Effect     of Kerogen                                                                             in                    Source

        Rocks
        Comment Joined Occidental                     Petroleum       after     graduation



        Alvaro Aranibar                    December           2014               Petroleum           Engineering                            Texas    AM    University

        Thesis Rock       Classification in Organic                 Rich        Shale based              on Petrophysical         and Elastic Rock Properties
        Calculated      from Well Logs
        Comment Joined PrimeEco Group after                           graduation



        Gama Firdaus                       August          2015                  Petroleum           Engineering                            Texas   AM     University

        Thesis Laboratory         Measurements                of Electrical           Conductivity           of Kerogen         in   Organic    Rich     Mudrocks
        Comment Continued               PhD at CSM

        Emmanuel        Oyewole            December           2015               Petroleum           Engineering                            Texas   AM     University

        Thesis    A New Method               for Assessment          of Directional Permeability in Carbonate                                Formations using

        Electrical     Resistivity   Measurements
        Comment Joined BHP                   Billiton      after   graduation



        Abdelrahman        Kotb            December           2015               Petroleum           Engineering                            Texas   AM     University
        Thesis Pore      Network        Connectivity           and   its
                                                                           Impact           on Electrical          Resistivity of Anisotropic            Rocks with

        Complex pore Structure
        Comment Continued               PhD at TAMU

        Abdalla Ali                        December           2015               Petroleum           Engineering                            Texas    AM    University

        Thesis Evaluating         the   effects       of Acid Stimulation Treatment                             Before    and After Fines Migration on

        Petrophysical      Properties         in   Sandstone        Reservoirs



        Comments Switched               to   Master of Engineering                    after   I   left    Texas     AM      University and           my role was
        changed      from chair   to    cochair of the             committee            We published              one    conference         paper and he   had a defense

        on November        6 2015
        Joined Wells      Fargo   after       graduation



        Anqi Yang                          August          2016                  Petroleum           Engineering                            Texas   AM     Universi

        Thesis Experimentally Quantifying the                         Impact of Thermal                    Maturity       on Aromaticity and Density            in


        Kerogen
        Comments Dr Walter Ayers served as a co supervisor after                                            I    left   Texas   AM          University

        Joined    Matador Resources                after   graduation



        Shahin    Amin                     May 2017                              Petroleum           Engineering                            Texas   AM     University
        Thesis Integrated      Rock          Classification in         Organic Rich Mudrocks                            A Case Study on Eagle Ford Formation
        Comments Dr Walter Ayers served as a co supervisor after                                            I    left   Texas   AM          University

        Joined Occidental      Petroleum              after   graduation




PhD Students      in   Progress

A Students Passed the Written PhD Qualifying Exams
        KaiCheng Texas         AM
                              University January 2013    May 2018 PhD Candidate
        Comments Dr John Killough served as a co supervisor after I left Texas University                                         AM
        Kai has already passed             both     the    written and      oral       proposal           defense        PhD qualifying exams

        Saurabh Tandon        The University of Texas                      at   Austin September                   2015     August          2018 PhD Candidate
        Comments Saurabh has already passed                          both       the    written and oral proposal                  defense       PhD qualifying exams
        Artur Posenato Garcia              The University of Texas                     at   Austin January              2015      December          2019
        Comments         Passed      the      written       PhD       qualifying             exams         will     have    his      oral   PhD      proposal   defense   in

        summerFall 2017


        Archana Jagaclisan The University of Texas at Austin September 2016                                                       August 2020
        Comment         Passed the written            PhD qualifying exams



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B Post MSc Students Preparing to Take PhD Oualiffing Exam

        Andres Gonzalez The University of Texas at Austin January 2017                                  August 2022

        Chelsea    Newgord The University of Texas at Austin September 2017 December 2022


MSc   Students    in   Progress

        Sonia Arumdati Purba         The University of Texas at Austin Spring 2016                        Fall   2017


        Mohammed         AlObaidi The University of Texas                  at   Austin   Fall   2016 Summer 2018

        Naif    M AlRubaie The        University of Texas            at    Austin co supervised with         Dr TorresVerdin            Fall   2016
        Summer 2018



Undergraduate Students          Mentored


        Nancy Zhou                                                                               Fall   2017 Present

        Barun Das UT Austin                                                                      Summer 2017

        Liem Tran       UT Austin                                                                Spring 2017

        Cheng Laurel He UT Austin                                                                Summer 2016            Spring   2017

        Maulik Sunil Shah         UT Austin                                                      June 2016

        Abdelrahman         Kotb Texas    AM     University                                      Spring   2012 Spring 2014

        Abdalla          AM
                   Ali Texas             University                                              Summer 2013

        Marcus       Texas AM
                  Elliott                  University                                            Fall   2012 Spring 2015

        Shahin Amin Texas AM              University                                             Summer 2014            Spring   2015



Supemision of Post Doctoral         Visiting Scholars              and Research      Fellows


        Ameneh     Rostami                                                                       Spring   2017 Present

        Nima Dabidian                                                                            Spring   2016 Spring 2017



Supervision   of Distance      Learner Students

        Darren    Doige Texas      AM                                                           MEng Fall 2013            December      2016
                                                                            AM
                                           University

        He switched      to   another advisor   after   I   left   Texas            University


        Daniel   C Westphal       Texas   AM                                                    MEng      Spring   2015          Summer 2015
                                                                            AM
                                                  University

        He switched      to   another advisor   after   I   left   Texas            University




Committees


        David Tang Jackson         School of Geosciences                                        PhD Spring 2017             Present


        Azor Nwachukwu           Department     of Petroleum         and                        PhD Spring 2017             Present

        Geosystems Engineering

        Bishwas Ghimire Department            of Petroleum           and                        PhD Spring 2017             Present

        Geosystems Engineering

        Mauro Palavecino         Department     of Petroleum         and                        MSc       Fall   2016
        Geosystems Engineering

        Mohammad         Albusairi Department       of Petroleum           and                  PhD       Fall   2016     Present

        Geosystems Engineering




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             of Petroleum     and Geosystems Engineering
Department




        Juan    Diego Escobar GOmez Department             of Petroleum      and    PhD   Fall   2015   Summer 2017

        Geosystems Engineering

        Hyung Joo Lee Department           of Petroleum      and Geosystems         PhD   Fall   2015   Present

        Engineering


        Mathilde Luycx        Department     of Petroleum     and Geosystems        PhD   Fall 2015     Present

        Engineering


        Rodolfo     Victor Department      of Petroleum      and Geosystems         PhD   Fall   2015   Spring   2017
        Engineering


        Joshua    C BautistaAnguiano          Department      of Petroleum    and   PhD   Fall 2015     Present

        Geosystems Engineering

        Marwane      Smaiti Department       of Petroleum      and   Geosystems     PhD   Fall 2015     Present

        Engineering


        Elsa Maalouf        Department    of Petroleum     and Geosystems           PhD   Fall 2015     Present

        Engineering


        Devri Agustianto       Geology    and Geophysics       Department           PhD   Fall   2015   Present


        Hewei Tang Petroleum           Engineering     Department                   MSc Spring 2015 Spring 2016
        Qifei Huang        Geology   and Geophysics Department                      PhD   Fall   2012   Spring    2017

        Bronwyn Moore Geology             and Geophysics       Department           MSc Spring 2015 Summer 2016
        Xiaodong     Zhang Geology        and Geophysics       Department           MSc      2014 Spring 2017
                                                                                          Fall



        Mohammed       Shammaa        Petroleum     Engineering      Department     MSc      2014 Present
                                                                                          Fall



        Ahmed Elsarawy Petroleum             Engineering     Department             MSc      2014 Fall 2015
                                                                                          Fall



        Ahmed      M Shehataahmedhussein          Petroleum     Engineering         PhD   Fall   2014   Spring   2016
        Department


        Haider    Al Abdulaal       Petroleum   Engineering     Department          MSc   Fall   2014 Present

        Zhuo Chen Petroleum           Engineering    Department                     PhD   Fall   2014 Summer 2015

        Qin Ji Petroleum       Engineering      Department                          PhD   Fall   2014   Spring   2017

        Matthew      Wehner     Geology    and Geophysics      Department           PhD   Fall   2014 Present

        Jeffrey    Zhang Petroleum       Engineering    Department                  MSc   Fall   2014
        As   a substitute    for   Dr Schubert

        Sridhara Vallabhaneni         Geology    and Geophysics                     MSc   Fall   2014   Spring   2016
        Department


        Denis     Zubarev    Petroleum    Engineering    Department                 PhD Summer 2014
        As a substitute      for   Dr Lee at Preliminary exam

        Sajjaat   Muhemmed Petroleum            Engineering    Department           MSc   Fall   2014 Fall 2015


        Shiwei     Wu Petroleum Engineering          Department                     MSc   Fall   2014 Summer 2016

        Alexis    Ortega Petroleum       Engineering    Department As a             PhD Summer 2014
        substitute   for   Dr Schubert    at Preliminary     exam

        Zhao Zhang Geology           and Geophysics      Department                 PhD Spring 2014       Spring    2015

        Maaz I Ali Petroleum Engineering             Department                     MSc Spring 2014 Present
        Miles Sasser        Geology and Geophysics       Department                 MSc Spring 2014 Fall 2015
        Raul    Gonzalez Petroleum Engineering           Department                 PhD Spring 2014        Spring   2017

        Guangjian     Cecilia Xu Geology          and Geophysics                    MSc Spring 2014 Present

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Department    of Petroleum     and Geosystems Engineering




        Department


        Christopher       Ulrich Geology       and Geophysics Department                          MSc      Fall    2012     Spring   2013

        Liqin    Sang Geology      and Geophysics        Department                               PhD      Fall   2013      Spring   2016

        Syed     U Farid Petroleum Engineering             Department                             MSc      Fall    2013     Spring   2015

        Trey    Lyon Geology and Geophysics              Department                               MSc      Fall    2013     Fall   2014

        Anthony     Giambalvo Petroleum Engineering                Department                     MSc      Fall    2013     Present

        Distance    Learning     Program

        Allen    Li Geology and Geophysics          Department                                    MSc      Fall    2013     Present


        Jie   He Petroleum Engineering          Department                                        PhD      Fall   2013      Present


        Alexander     Verde Petroleum Engineering             Department                          PhD Summer 2013 As a substitute
        Chunyang      Lu Petroleum Engineering             Department                             MSc Summer 2013 As a substitute
        Aris Pmmudito          Geophysics     Department                                          PhD Spring 2013             Present


        Diego Palacios Serrano Geology             and Geophysics                                 MSc Spring 2013 Fall 2014
        Department        CoChair
        Sangseok     Youn Geology and Geophysics              Department                          MSc Spring 2013 Present
        Roy     A Conte Geology and Geophysics Department                                         MSc Spring 2013 Spring 2015
        Robert     Schelstrate   Geology      and Geophysics       Department                     MSc Spring 2013 Summer 2014
        Kelechi    N Agim Petroleum Engineering Department                                        MSc      2012 Spring 2015
                                                                                                           Fall



        Brandon Bush Geology           and Geophysics        Department                           MSc Spring 2012 Summer 2013
        Hunter     Bray Geology      and Geophysics Department                                    MSc Spring 2012 Spring 2013
        Margaret     Zoe Smoot Geology          and Geophysics        Department                  PhD Spring 2012             Summer 2015

        Marcelo     Fagundes De Rezende           Geology     and Geophysics                      PhD Spring 2012                Spring    2015
        Department


        Jassim Almulla Petroleum             Engineering    Department                            PhD Spring 2012 As a substitute
        Yao Tian Petroleum         Engineering     Department                                     PhD      Fall   2011      Spring   2014

        Travis    James    Barry Geology       and Geophysics        Department                   MSc      Fall    2011 As a substitute



PROFESSIONAL SOCIETY AND MAJOR GOVERNMENTAL                                                 COMMITTEES

        Society of Petroleum        Engineers Invited        to   serve   as an Associate           Editor   for the     SPE Reservoir         Evaluation

             Engineering    Journal invited      August     2017      August     2020


        Society of Petrophysicists           and Well Log Analysts Member of the Publications                            Committee invited July
        2017 Present

        Society of Exploration Geologists           SEG       87th   Annual     Conference          and Exhibition        Served as a reviewer             for


        papers submitted       under Borehole      Geophysics        section   invited        April 2017


        National     Science     Foundation     NSF Review            Panelist     for      the   2017 NSF     Graduate      Research          Fellowship

        Program     GRFP invited January 23 2017 and January 26 2017
        Society     of Petrophysicists        and Well     Log Analysts          Member           of the   Nomination        Committee invited

        September     2016       May 2017

        Society of Petrophysicists           and Well Log Analysts Member of the                     SPWLA        Board of Directors           as   the   Vice
        President     VP of Education            nominated        and elected     July       2016     2018     My contributions           to    Formation

        Evaluation     education    as the    SPWLA VP Education            are listed as follows


        o       Organize   and host monthly webhmrs currently                  total   of   11    webinars



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        o       Organize          training courses            related    to   Formation Evaluation


        o       Extend        SPWLAs          support      to universities          to   educate   graduate and undergraduate level students


        o       Initiate      a     new     form     of    SPWLA          student          paper contest           including         local    and     international       level

                competitions


        o       Organize          two topical conferences                per year The           topical    conferences         organized     so    far include



                      The Role of Petrophysics                   in    Plugging      and Abandonment 2016 November                            7     8 Houston Texas

                      Value         of Information         and Uncertainty           in    Petrophysics          2017 April 19             21 Bogota Colombia

        o       Expand modern and online education                               of Formation             Evaluation       in the    SPWLA         community


        Society of Petrophysicists                  and Well Log Analysts served as a judge                          for the     annual    international         student paper

        contest      invited June           26 2016

        Society       of      Petrophysicists             and    Well         Log    Analysts         Member         of    the      Steering       Committee            for   the

        Unconventional               Resources Special               Interest   Group       URSIG invited September 2015                            Present


        Society      of Petrophysicists              and Well Log Analysts Member of the Steering Committee                                                for   the    SPWLA
        Topical     Conference             on Completion Petrophysics invited held on October                                         19     20 2015

        Society      of Petroleum             Engineers Member of the Steering                            Committee         for   Unconventional            Reserves      Task

        Force     Summit invited March 2015                             December          2015


        o       Served as         the   representative          of the    Society of Petrophysicists               and Well Log Analysts                  SPWLA on            the


                steering      committee        for the     Unconventional                Reservoirs     Task Force


        o       Served as discussion                leader      in   Session 2      on Petrophysics          in the       event     held   on 18          19 August       2015
                Houston TX


        Society       of      Petroleum        Engineers             Technical       reviewer       for    the    SPE Young            Faculty        Research          Award
        proposals          invited         Spring 2015


        American Chemical                  Society Technical              reviewer        for   ACSPRF proposals                  invited    July 2014       and 2016


        Society of Petrophysicists                  and Well Log Analysts                  Member of the Education Committee invited                               September

        2014 Present


        Society     of Engineering             Science        SE S Conference                Member        of the Local          Organizing Committee invited
        September          2014 October 2015

        Society of Petrophysicists                  and Well Log Analysts Member of the Steering Committee                                          for    SPWLA        Topical

        Conference            on Educating            the     Petrophysicist               invited March 23                27 2014 My             duties   as a member         of

        the   steering        committee       are    listed     as follows


        o       Schedule the event


        o      Plan     the    conference content


        o       Invite     speakers


        o      Review applications               and select speakers                     participants



        o       Serve      as session cochairs                  during technical            sessions      and small group            discussion       facilitators       during
               discussion           periods


        Society                       and Well Log Analysts Member
                     of Petrophysicists                                                                     of    the   Technolop            Committee            for   SPWLA
        Annual        Symposium invited July 2013    July 2016 My                                           duties      as a member          of    SPWLA           technology
        committee          are    listed   as follows


        o      Ranked         the    abstracts   submitted            for the   annual      symposium

        o      Participated          in    making    decisions about the technical                  program

        o       Assisted with the planning                  of the     technical         workshops

        o       Prepared proposals             for technical           workshops


        o       Chaired technical             sessions




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          o     Ranked    the    technical      papers   for selection    of the best paper   and poster at the symposium


          Unconventional         Resources Conference           URTeC Served as the cochair in the Formation Evaluation                         of

          Unconventional         Reservoirs session          invited      August    13 2013


          Society of Exploration Geologists               SEG      83rd   Annual    Conference    and Exhibition Served as the chair         in the

          Advances       in Borehole          Measurements     and Interpretation       session   invited   September   24 2013

          Served as a Technical             Reviewer for the following journals


          o     Geophysics       Journal       invited   January    2014 Present

          o     SEG Interpretation            Journal invited    January     2014 Present

          o     SPE Reservoir Evaluation                 Engineering      Journal   volunteered     January   2013    Present


          o     SPE Production            and Operations    Journal    volunteered      January   2013      Present


          o     Petrophysics         Journal   invited    January   2013      Present


          o     Journal of Mathematical              Geosciences invited       Summer 2012         Present


          Served as Webmaster              for the   SPWLA    Austin      Chapter January 2008        January   2010



UNIVERSITY        COMMITTEE ASSIGNMENTS

Departmental

The University of Texas         at   Austin    Department     of Petroleum     and Geosystems Engineering


          Chair Petrophysics           PhD Qualifying Exam Committee                                 September   2016 February 2017


          Member     Writing         PhD Qualifying Exam Committee                                   September   2016 February        2017


          Member     Graduate Admissions Committee                                                   September   2016 September 2017

          Member     Faculty         Search    Committee                                             September   2015      September    2016


          Member     Graduate         Committee                                                      September   2015 September 2016



Texas   AM    University        The Harold Vance          Department       ofPetroleum Engineering


          Member     Undergraduate             Admissions Committee                                  September   2014      August    2015


          Chair Faculty Excellence              Award Committee                                      Spring   2014 August 2015

          Member     Graduate Fellowship Committee                                                   December    2012      May 2015

          Member Crisman Committee                                                                   Spring   2015


          Member Awards Committee                                                                    September   2012 August 2014


          Member     Graduate Admissions Committee                                                   September   2012 August 2014


          Member                     Excellence      Award Committee                                 Spring   2012     August 2015
                     Faculty




College

The University of Texas         at   Austin Cockrell School         of Engineering


          Member Women               in   Engineering    Committee                                   September   2015      Present




University


Texas   AM    University


          Member Junior Faculty               Advisory    Committee                                  September   2014 August         2015




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Department      of Petroleum        and Geosystems Engineering




          Member Campus Security                       Authority                                                            July 2012           August        2015




Student   Organizations

Texas   AM      University


          Faculty    Advisor        Society of Petrophysicists                    and Well Log                              Fall   2012       December 2015

                          SPWLA           Student Chapter

                                                                                                                                                                                 AM
          Analysts

          Helped graduate and undergraduate students to initiate the SPWLA                                               TAMU          Student Chapter          at Texas


          University



COMMUNITY SERVICES
          The    University         of    Texas       at   Austin Served as a judge                        for     the   Ben Caudle           Simple       Concepts          Contest

          Department           of Petroleum       and Geosystems Engineering Invited February 2017

          The University of Texas               at     Austin Served as a host for a webinar on Shale Fracturing The Geology                                                       And
          Technology            That Sustained          The   Boom              Center        for   Petroleum            Geosystems Engineering Department                           of

          Petroleum        and    Geosystems Engineering appointed                                  February      19 2016

          The    University         of    Texas       at   Austin Served as a judge                        for     the   Ben Caudle           Simple       Concepts          Contest

          Department           of Petroleum       and Geosystems Engineering Invited December                                          2015

          The University of Texas                 at   Austin       Served as a judge                 for the     CPGE      student poster contest               Department          of

          Petroleum        and    Geosystems Engineering appointed                                  September      2015

          Texas     AM           University        Moderator              for    the        student
                                                                                                      paper       contest   at   the    Harold      Vance        Department          of

          Petroleum        Engineering volunteered                   February               7 2015
          Texas     AM          University     Expanding            Your Horizons                EYH program Encouraging Girls                            to   Pursue Energy
          Related     STEM          Careers held a workshop                           on rock physics           and energy       entitled     Symphony               of   Rocks and

          Fluids in the         Subsurface for about 45                   6th grade          girls volunteered           December        6 2014
          I   contributed       to this   program by holding a workshop on Symphony                                       of Rocks       and Fluids in the Subsurface
          In this   workshop         I    introduced       girls    in the       level       of 5th 8th   grade to rock physics well logging petrophysics
          and formation evaluation                by conducting             simple experiments


          Texas     AM           University       Accompanied                   the        graduate   and undergraduate                students     for   a    field      trip   Camp
          Reveille    at       Duncan      Oklahoma volunteered                        January 5          10 2014

          Texas     AM           University        Moderator              for    the        student   paper       contest   at   the    Harold      Vance        Department          of

          Petroleum        Engineering volunteered                   January               25 2014

          The University of Texas at Austin                        Girl    Talk Event           Collaborated with the GirlTalk                  team from the University
          of Texas        at   Austin Encouraging                  Girls to Pursue                  Energy Related          STEM Careers held a workshop                            on
          rock physics          and energy     for      more than 30 middleschool girls volunteered                                    Spring   2013

          Collaborated  with the GirlTalk team in the University of Texas at Austin GirlTalk is a co sponsored CPGE

          and SFERE formal outreach program on STEM topics in energy The program encourages girls who exhibit

          an aptitude and desire to investigate careers in science technology engineering and math through interacting

          with career professionals                    contributed                                                                        on Symphony                of Rocks      and
                                                                                            program by having a workshop
                                                  I                        to    this


          Fluids in the         Subsurface            In this workshop                 I    introduced    girls    in the   level      of 5th 8th   grade to rock physics
          well logging           petrophysics and formation evaluation                              by conducting         simple experiments


          Texas     AM          University     Accompanied                 the graduate students                from Petroleum Engineering                     and     Geology     and

          Geophysics           departments     of Texas        AM           University              The University of Texas              at Austin        and Rice University

          for   a field    trip Eagle Ford formation                  Texas volunteered                   March 2013


          Texas     AM           University        Moderator              for    the        student   paper       contest   at   the    Harold      Vance        Department          of

          Petroleum        Engineering volunteered                   January 26               and February         2 2013

          Texas     AM           University        Moderator              for    the        student   paper       contest   at   the    Harold      Vance        Department          of

          Petroleum        Engineering volunteered                   January               28 2012




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CONTINUING         AND PROFESSIONAL                        EDUCATION

        New Faculty           Breakfast         CSE Business      Affairs Cockrell School         of Engineering          The University of Texas         at


        Austin Austin Texas                 1
                                                April    2016


        NSF CAREER Preparation Cockrell                           School     of Engineering      The University of Texas              at   Austin Austin
        Texas 24 February 2016


        Using     Canvas to Deliver Make Up Lectures Cockrell School of Engineering The University of Texas                                               at


        Austin Austin Texas 15 January 2016

        CIS Discussion           with Karron            Lewis    Cockrell School        of Engineering         The University of Texas          at   Austin

        Austin Texas 8 December                    2015

        Office    of Technology             Commercialization            Cockrell      School   of Engineering          The University of Texas           at


        Austin Austin Texas 9 October 2015


        College of Education Symposium Local and Global Perspectives on Shifting the Peer Observation                                           Paradigm
        The University of Texas at Austin Austin Texas 9 December 2015


        Insiders    Guide        to   NSF         WorkshopLuncheon               The    University    of Texas     at     Austin Austin        Texas     11


        November 2015

        Faculty    Innovation         Showcase          The University of Texas at Austin Austin Texas 6 November 2015


        A workshop on            A
                        Glance to Applied Geostatistics Presented by Reinaldo J Gonzalez and Jeffrey                                                     M
        Yarus SPWLA Annual Technical Conference and Exhibition Long Beach California July 17 2015

        SPWLA       Topical        Conference            on Completion           Petrophysics        Society    of Petrophysicists         and Well     Log
        Analysts        November       12         13 2015

        The CIRTL Program Overview                       Seminar Texas           AM     University    March     31 2014

        SPWLA       Topical       Conference            on Educating       the   Petrophysicist       Society    of Petrophysicists         and Well    Log
        Analysts        March 23      27 2014
        New Faculty Institute An Institute                  and learning community for new tenure track                   assistant   professors Center
        for   Teaching        Excellence         June    18 20 2013
        Kick    Start   Your Teaching             Effectiveness     and Efficiency Workshop April 17 2013


        High Impact Practices               Building Synergies        into   your Teaching       Faculty       Teaching    Academy         FTA seminar
        March 22 2013


        Stress Free      Writing      Workshop October             3 2012

        Roadmap         for   a Successful        Academic Career Workshop March 26                      28 2012

        Demystifying the Tenure                  and Promotion Process           March    9 2012

        The     CAREER and Other Young                    Investigator     Programs Seminar March              5 2012

        A short course on Shale Petrophysical                     Evaluation           SPWLA    Annual    Technical       Conference       and Exhibition

        Colorado        Springs Colorado            May     14    19 2011

        A workshop            on Writing Winning            Grants Presented by David                C Morrison Grant Writers               Seminars    and

        Workshops         Austin Texas October 30 2009

        A short course on Clay Minerals and Their Effect on the Electrical Behavior of Shaly Sands Presented by
        E C Thomas SPWLA Annual Technical Conference and Exhibition The Woodlands Texas June 21 24
        2009

        A workshop            on Horizontal Well Path Planning                     and Geosteering       Fundamentals          Presented      by Edward
        Stockhausen           SPWLA       Topical        Conference      Taos New Mexico          March 30 2008




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Department        of Petroleum          and Geosystems Engineering




VITA



Zoya Heidari is an assistant professor in the Department of Petroleum and Geosystems Engineering at The University
of Texas at Austin Before joining The University of Texas at Austin she was an assistant professor at Texas                                                   AM
                                     and the Chevron Corporation faculty fellow in Petroleum Engineering from September
                                                                                                            AM
                in                Station
University           College
2011   to August         2015 Zoya has been the founder and the director of the Texas      Joint Industry Research Program


on Multi Scale Formation Evaluation                         of Unconventional         and Carbonate Reservoirs             from 2012          to   2015 and The

University of         Texas    at   Austin     Industrial Affiliate        ResearchProgram           on Multi Scale Rock Physics                   starting    2016
She received         a   PhD 2011 in petroleum                   engineering   from The University of Texas               at   Austin    Zoya is one of the
recipients    of     the   2017    SPE Society of Petroleum Engineers Cedric      Ferguson Medal the  K                                  2016 SPE regional
Formation Evaluation              award from the Southwest North America Region and the Gulf Coast North America                                           Region
the   2014 TEES Texas               AM        Engineering      Experiment Station Select            Young Faculty Fellows award from the College
of Engineering           at Texas   AM         University      and the 2012 SPE Petroleum Engineering Junior Faculty Research Initiation
Award       She    was also one          of the     recipients   of the 2015 SPE Innovative  Teaching Award Zoya has supervised 22

graduate     students since          2011 She has published 34 articles in refereed technical journals and over 70 articles in
international        conferences        Her research interests include  Petrophysics   Borehole  Geophysics   Well  Logging
Formation         Evaluation         Rock      Physics        Underground      Water        Resources     Inverse     Problems       Integrated          Reservoir

Characterization           of Carbonates          and Unconventional         Resources        and Completion Petrophysics               Zoya       has   served    on
technical    committees           for   the   SPWLA        annual    symposium        the    SPWLA      education     committee         the   local      organizing
committee       of the Society          of Engineering           Science    SES conference            and the     SPWLA        Unconventional            Resources

Special     Interest       Group        URSIG           and   steering     committees       for    SPWLA        topical   conferences         on    Completion
Petrophysics             and Educating            the   Petrophysicist     as well as unconventional             reserves task     force      summit       She has
served as an         associate      editor for the       SPE Reservoir      Evaluation            Engineering    Journal   Zoya    is   currently        serving   as

Vice   President         of Education       for   SPWLA




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                                          Candidates Summary of Activities
                       in rank for assistant professor since                   last      promotion for associate                professors




                                                            ZOYA HEIDARI
                                       Metric                                                                               Value
    Peer reviewed journal publications               in rank and total                                                     30   34
    Peer reviewed conference           proceedings        in   rank and    total                                           59     70

    Number of journal papers in rank with supervised                                          15   with   my students TAMU and UT after                               I



    students     from UT as coauthor                                                        joined    UT total of 23 with my students in rank
    Total   citations   of all   publications       career from IS Web of                                                       55

    Knowledge
    h index career from IS Web of Knowledge
    Total   citations   of all publications         career from Google                                                          349
    Scholar or Publish       or Perish

    h index career from Google                Scholar or Publish or Perish                                                      11


    Total   external    research funding        raised in rank                                                           $9490449
    Total   external    research funding        raised   in rank   candidates                                            $3414305
    share

    Total   number of external grantscontracts                 awarded    in   rank                                             16

    Number     of external       grantscontracts      awarded      in rank     as   PI                  II    9 single PI 2 with CoPIs

    PhD students completedt                                                                                        45 4 sole advisor
    MS students completedt                                                                                         65 5 sole advisor
    PhD students in pipeline as of 092017 t                                                                        55    5 sole advisor
    MS students in pipeline as of 092017 t                                                                          25   2 sole advisor

    Number     of courses taught                                                                               12    TAMU 8 UT 4
    Total   number of students taught           in   organized     courses                                   873    736 TAMU137 UT

    Average    instructor    evaluation       for   UG courses                                               UT 425 TAMU 3955
    Average    instructor    evaluation       for Grad   courses                                             UT 4655 TAMU 4435
    Average course evaluation           for   UG courses                                                     UT 3855 TAMU NA
    Average    course evaluation        for Grad      courses                                                UT 4355 TAMU NA
    Number of teaching awards


    Student organizations          advised                                                     1   Society of Petrophysicists                 and Well Log
                                                                                                      Analysts       Student     Chapter        TAMU
    Undergraduate       researchers supervised

    Service   on journal editorial boards                                                      1   Associate         editor for       1   journal    technical

                                                                                                              reviewer      for 6         journals

    Number of symposia organized                                                             2 Topical       conferences         for      SPWLA        as the   VP
                                                                                             Education         13   webinars         for   SPWLA         4 annual

                                                                                             meetings        for    my industrial affiliates            research

                                                                                             program member of steering committee                               for   5

                                                                                            topical    conferences         special         technical    events

t    Count a student as 10 if sole supervi                         and   05 if co supervised
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          Complete Reverse Chronolo2ical                             List    of Publications and ScholarlyCreative                        Works
                                                                       Zoya    ileidari




Title of Dissertation               Estimation          of Static and Dynamic               Petrophysical         Properties from Well                 Logs    in

Multi Layer Formations

Dissertation Advisor                Dr Carlos TorresVerdin



Note                    and             in   this      document        indicate    graduate           students     undergraduate          students           and

postdoctoral researchersvisiting                    scholars under           my supervision respectively



     A Refereed Archival Journal Papers
Section        A1 Works published or in an equivalent status in press accepted                                           or under     contract     while in

current rank at         UT Austin

34       An     C Yan B             Alfi     M Mi L                Killough     J and Heidari Z 2017                     Accepted     for   Publication

         Estimating       Spatial        Distribution          of Natural       Fractures        by Changing           NMR T2 Relaxation                    with

         Magnetic        Nanoparticles          Journal of Petroleum                Science           and Engineering         submitted          December

         2016 accepted            for publication        July 17       2017

                Coauthors          PhD Student Texas AM University Masoud Alfi PhD Student
                                  Cheng An
                Texas AM University Lidong Mi PhD Student Texas AM University John Killough
               Professor at Texas            AM         University

                Qualitative       statement of contribution                 Cheng Masoud and Lidong were graduate                          student      under

               Dr Killoughs supervision                    I   served       on some of their dissertation commitees when                           I    was    at

                Texas    AM         University The project was                  part of a previously             funded proposal by             me and Dr
               Killough       I   was the      first    PI     I    contributed   to   defining           the project    use of contrast agents                to

                enhance    NMR measurements as well as other well logs and the NMR and nanoparticlerelated
                parts   of the project Dr Killough was responsible for the reservoir modeling                                       part of the        project



33       Jagadisan        A Yang A                  Heidari        Z 2017 Accepted             for Publication         An Experimental           Approach
         to    Quantify       the    Impact         of Kerogen           Maturity      on      its    Chemical         Aromaticity        and    Electrical


         Conductivity         Petrophysics             submitted November 2016 accepted for publication                               July 27      2017

                Coauthors Archana Jagadisan                         PhD Student UT Austin Angie Yang MSc                                  Student       Texas

                AM       University

                Qualitative       statement of contribution                   Archana     is     a   PhD student        under      my supervision            and

                Angie    was a          MSc     student        under        my supervision             This     work    was   performed          under       my
                supervision         I    defined        the        project    contributed            to   the    development         of    the     research

               frameworksolution and the                      interpretation      of results and participated                 in   manuscript      drafting

               and revision



32       Valdes C         C H and            Heidari      Z 2017 Accepted for Publication Application                              of Nanoindentation

         for    Uncertainty         Assessment of              Elastic      Properties      in       Mudrocks     at    Micro scale and           Well log




List   of Publications    Zoya Heidari                                                                                                           Page   1   of 29
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         Domains Geophysics submitted October 2016 accepted                                    for   publication         June    2017     Anticipated

         publication     date       December 2017


             Coauthors Clotilde Chen Valdes PhD Student                                Texas        AM         University

             Qualitative       statement of contribution           Clotilde was a             PhD student under my supervision                       This

             work      was     performed        under     my   supervision         I     defined          the        project    contributed     to    the

             development            of the     research   frameworksolution                   and    the       interpretation          of results     and

             participated       in manuscript      drafting    and revision


31       Chen H and Heidari                  Z 2017 Accepted for Publication Effect of Water Salinity and Water
         Filled   Pore Volume on High Frequency                 Dielectric      Measurements in Porous Media                            SPE Reservoir
         Evaluation           Engineering Journal Formation Evaluation                          submitted October                2016 accepted        for


         publication     March       6 2017 Anticipated          publication       date December                 2017


             Coauthors Huangye Chen PhD Student Texas                                  AM           University

             Qualitative       statement of contribution               Huangye was a             PhD student under my supervision
             This    work      was performed           under   my supervision             I    defined         the    project    contributed     to   the

             development            of the     research   frameworksolution                   and    the       interpretation          of results     and

             participated       in manuscript      drafting    and revision


30       Tang     H Killough J               Heidari    Z and Sun Z 2017 Published Online                                      April   2017 A New
         Technique       To    Characterize       Fracture     Density       by Use       of Neutron             Porosity       Logs     Enhanced      by
         Electrically     Transported         Contrast    Agents       SPE Journal submitted                         August     2016     accepted     for

         publication     January      13 2017 DOI 102118181509                     PA

             Coauthors Hewei Tang            PhD Student Texas AM University John Killough Professor at
             Texas     AM        University Zhuang Sun PhD Student at UT Austin

             Qualitative        statement of contribution Hewei was a MSc student under Dr Killoughs

             supervision        I   served    as a member of her thesis committee                         I   worked closely with Hewei for
             numerical        modeling of neutron porosity measurements                             The       project   was     part
                                                                                                                                       of a previously

             funded proposal by Dr Killough and me I was the                           first    P1    I   contributed to defining the project

             use of contrast agents which can enhance                       neutron     logs Dr Killough was responsible for the
             reservoir     modeling      part
                                                 of the project        I   also contributed          to       the development          of the research

             frameworksolution and the                 interpretation       of results and participated                   in    manuscript     drafting

             and revision


29       Cheng       K and Heidari Z 2017 Combined                          Interpretation          of NMR and            TGA Measurements to
         Quantify    the Impact of Relative Humidity                   on Hydration            of Clay Minerals            Applied Clay Science

         Journal    143 362          371 DOI 101016jclay201704006


             Coauthors          Kai Cheng        PhD Student Texas AM University He has been working in my
             laboratories at        UT Austin since January 2016
             Qualitative       statement of contribution           Kai is a PhD student under my supervision                                This work

             was performed under my supervision                    I   defined the project contributed                     to   the development of

             the research frameworksolution and the interpretation                             of results and participated in manuscript

             drafting    and revision




List   of Publications   Zoya Heidari                                                                                                       Page 2 of 29
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28 Cheng          K and Heidari Z 2017 Published Online May 2017 Pore Network Connectivity                                                                and

         Permeability Assessment by Use of Nuclear Magnetic                                  Resonance        Log Inject Log Method SPE
         Reservoir     Evaluation            Engineering         Journal Formation Evaluation                    DOI 102118175066                     PA

             Coauthors           Kai Cheng            PhD Student Texas AM University He has been working in my
             laboratories at          UT Austin since January 2016
             Qualitative         statement of contribution                Kai is a PhD student under my supervision                           This work

             was performed under my supervision                           I   defined the project contributed             to   the development of

             the research frameworksolution and the interpretation                              of results and participated in manuscript

             drafting         and revision



27       Saneifar        M      Heidari      Z    Linroth        M
                                                        Purba S A 2017 Effect of Heterogeneity on Fluid
                                                                      and

         Injectivity      Loss during Water Alternating Gas Injection in  the Scurry Area Canyon Reef

         Operators        Committee Unit SPE Reservoir Evaluation        Engineering Journal Formation

         Evaluation       202 293 303 DOI 102118175064 PA
             Coauthors Mehrnoosh Saneifar                        PhD Student Texas               AM        University       Mark Linroth

             Industry collaborator            from Kinder Morgan Sonia Arumdati Purba                            MSc Student UT Austin
             Qualitative         statement of contribution                Mehrnoosh was a PhD student                     under my supervision

             Sonia       is    a MSc        student      under       my       supervision       Marks      contribution         included           providing
             information about the               data     that   we   applied        our method       to   the data       used    in   this        work   was

             provided          by Kinder     Morgan           This    work was performed              under   my supervision              I   defined      the

             project          contributed        to    the    development            of   the    research     frameworksolution                     and    the

             interpretation        of results and participated                 in manuscript     drafting    and revision



26       Valdes        C C Aderibigbe                        A and Heidari Z 2016 Impact of                               Anisotropic          Porelastic

         Parameters Estimated               using Well Logs and Core Measurements on Stress Prediction                                        in   Organic
         Rich Mudrocks            Interpretation         43 T359                T372 DOI 101190INT201501221


             Coauthors Clotilde Chen Valdes PhD Student                                    Texas    AM                          Aderonke
                                                                  AM
                                                                                                            University

             Aderibigbe          PhD Student Texas                             University

             Qualitative         statement of contribution                Clotilde and Aderonke             were PhD students                 under my

             supervision           This     work        was      performed        under     my      supervision       I     defined       the        project

             contributed         to   the   development of the research                   frameworksolution and the                interpretation           of

             results and participated                 in manuscript       drafting    and revision



25       Yang      A Firdaus G and                      Heidari      Z 2016 Electrical             Resistivity   and Chemical Properties of

         Kerogen Isolated from Organic Rich Mudrocks                               Geophysics        816      D643          D655 DOI 101190
         geo201600711


             Coauthors Anqi Yang                      MSc Student Texas AM University Gama Firdaus MSc
             Student          Texas   AM      University

             Qualitative         statement of contribution                    Anqi and Gama were both MSc                      students       under    my
             supervision           This     work        was      performed        under     my      supervision       I     defined       the        project

             contributed         to   the   development of the research                   frameworksolution and the                interpretation           of

             results and participated                 in manuscript       drafting    and revision




List   of Publications    Zoya Heidari                                                                                                        Page    3 of 29
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24       Aderibigbe            A Valdes C C and                 Heidari          Z 2016          Integrated           Rock     Classification     in   the

         Wolfcamp        Shale based on Reservoir             Quality and Anisotropic                 Stress       Profile    Estimated from Well

         Logs Interpretation            42 SF1          SF18 DOI 1011901NT201501381


             Coauthors           Clotilde      Chen     Valdes       PhD         Student            Texas        AM          University        Aderonke

             Aderibigbe PhD Student                 Texas     AM          University

             Qualitative        statement of contribution             Clotilde and Aderonke                      were   PhD students           under   my
             supervision        This work was performed under my supervision                                I   defined the project contributed

             to   the    development of the research frameworksolution and the                                     interpretation     of results and

             participated       in manuscript      drafting    and revision



23       Aderibigbe            A Chen Valdes C              Heidari       Z and FussDezelic T 2016 Mechanical Damage
         Characterization          in   Proppant    Packs      by    Use    of Acoustic              Measurements              SPE Production
         Operations       Journal       322 168 176 DOI 102118181763 PA

             Coauthors           Clotilde      Chen     Valdes       PhD         Student            Texas        AM          University        Aderonke

             Aderibigbe          PhD          Student     Texas       AM           University             Tihana            FussDezelic         Industry

             collaborator       from SaintGobain Proppants

             Qualitative        statement of contribution             Clotilde and Aderonke                      were   PhD students           under   my
             supervision        Tihanas contribution           included providing              information about the proppants that we

             applied      our method to the proppants were provided                            by SaintGobain Proppants                        This work

             was performed          under     my supervision          I   defined the          project    one         of my proposals funded by

             SaintGobain Proppants contributed                       to   the development             of the research           frameworksolution
             and the      interpretation      of results and participated            in   manuscript             drafting    and revision


22       Chen       H and Heidari Z 2016                   Pore Scale        Joint        Evaluation            of Dielectric      Permittivity        and
         Electrical      Resistivity for      Assessment of Hydrocarbon                    Saturation            Using Numerical         Simulations

         SPE Journal 216                1930     1942     DOI 102118170973                 PA

             Coauthors Huangye Chen PhD Student Texas                                    AM          University

             Qualitative        statement of contribution             Huangye was a                 PhD student under my supervision
             This       work    was performed         under    my supervision              I   defined          the   project    contributed      to   the

             development           of the      research    frameworksolution                   and    the        interpretation     of results         and

             participated       in manuscript      drafting    and revision


21       Aderibigbe         A Cheng K              Heidari     Z Killough J and FussDezelic T 2016                                    Application       of

         Magnetic        Nanoparticles        mixed with       Propping          Agents        in    Enhancing           NearWellbore           Fracture

         Detection       Journal of Petroleum Science               and Engineering             141      133          143


             Coauthors          Aderonke Aderibigbe            PhD Student Texas                     AM                           Kai Cheng        PhD
                                    AM
                                                                                                                  University

             Student       Texas              University      John Killough Professor at Texas                          AM       University       Tihana

             FussDezelic           SaintGobain Proppants

             Qualitative        statement of contribution            Kai    is   PhD students             under        my supervision          Aderonke

             is   a former      PhD student under my supervision                         The   project      was       part   of a previously     funded

             proposal by        Dr Killough and me I                was the      first    PI Dr Killough                 helped Kai       in   modeling
             nanoparticle        flow    in   fractured   media Tihanas contribution                            included     providing    information

             about      the proppants that         we applied       our method to the proppants were provided                                  by Saint
             Gobain Proppants             I   was mainly responsible for the experimental work and the near wellbore


List   of Publications    Zoya Heidari                                                                                                     Page 4 of 29
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               detection techniques          I   contributed to the development of the research                           frameworksolution an

               the interpretation     of results and           participated        in   manuscript       drafting     and revision


20       Chi L and Heidari Z 2016 Directional Permeability Assessment in Formations with Complex
         Pore Geometry          With     a       New        Nuclear Magnetic Resonance Based                          Permeability        Model         SPE
         Journal      214 1436 1449 DOI 102118179734 PA

               Coauthors Lu Chi PhD Student Texas                              AM        University

               Qualitative    statement of contribution                 Lu was a PhD            student      under my supervision               This work

               was performed under           my supervision             I   defined the project contributed                to the development of

               the research frameworksolution and the interpretation                            of results and participated in manuscript

               drafting   and revision


19       Oyewole          E Saneifar M and                   Heidari        Z 2016 Multiscale Characterization                     of Pore Structure

         in Carbonate Formations             Application          to the     Scurry Area Canyon Reef Operators Committee Unit

         Interpretation       42 T157             T169 DOI 101190INT201501231


               Coauthors Emmanuel Oyewole MSc                                            Texas       AM                         Mehrnoosh Saneifar
                                             AM
                                                                             Student                         University

               PhD Student          Texas               University

               Qualitative    statement of contribution                  Emmanuel was a MSc                     student    under    my supervision
               Mehrnoosh      was a PhD            student       under      my supervision            This    work was performed         under my

               supervision      I    defined          the     project        contributed        to    the    development           of     the     research

               frameworksolution and the                    interpretation        of results and participated              in   manuscript        drafting

               and revision


18       Chi L Cheng                K and        Heidari       Z 2016 Improved Assessment of Interconnected                                 Porosity         in


         Multiple Porosity          Rocks        by    Use      of Nanoparticle            Contrast          Agents     and      Nuclear Magnetic

         Resonance        Relaxation        Measurements      SPE Reservoir Evaluation                                     Engineering            Journal
         Formation Evaluation            191          95 107 DOI 102118170792 PA

               Coauthors Lu Chi PhD Student Texas                              AM        University         Kai Cheng          PhD Student Texas
               AM       University

               Qualitative    statement of contribution                 Lu is a former PhD               student      under my supervision Kai
               is    PhD student      under       my supervision              This      work was performed              under my supervision I


               defined the project contributed                 to the   development of the research frameworksolution and the
               interpretation   of results and participated                  in   manuscript         drafting    and revision




Section     A2 Works published or in equivalent status while in current rank                                              at    other    institutions       if

applicable



17       Chen H and Heidari Z 2016                           Quantifying the Directional                Connectivity           of Rock     Constituents

         and         Impact on Electrical                          of Organic Rich Mudrocks                     Mathematical            Geosciences         48

         3
               its                                Resistivity

               285303 DOI 101007s1100401595959

               Coauthors Huangye Chen PhD Student Texas                                   AM          University

               Qualitative    statement of contribution                     Huangye was a             PhD student under my supervision
               This    work   was performed             under     my supervision            I   defined         the   project     contributed          to   the



List   of Publications    Zoya Heidari                                                                                                          Page   5 of 29
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               development           of the      research       frameworksolution                and   the    interpretation         of results          and

               participated        in manuscript       drafting      and revision


16       Saneifar         M     Conte       R Valdes C C                    Heidari      Z and Pope M C 2015                         Integrated      Rock
         Classification       in    Carbonate Formations              Based on         Elastic   and Petrophysical Properties Estimated
         from Conventional              Well Logs AAPG Bulletin                  997 1261              1280    DOI     10130602091514167



               Coauthors           Mehrnoosh         Saneifar     PhD Student Texas AM University Roy Conte PhD
                              Texas      AM                         Clotilde Chen Valdes PhD          Texas                                          AM
                                                                                       AM
               Student                               University                              Student

               University       Michael Pope Professor at Texas                               University Department                   of Geology and

               Geophysics

               Qualitative      statement of contribution               Mehrnoosh and Clotilde were PhD students                                under    my
               supervision         Roy was        a   PhD       student       under      Dr Popes          supervision        Roy and Dr Pope
               contributed      to   geological       description      of the formation and identifying geological                           facies      My
               team contributed           to    petrophysical        classification       and analysis of the data               for     assessment       of

               petrophysical         and mechanical properties                   Clotilde contributed          to   laboratory       experiments          for


               measuring elastic properties of the rocks                     I   defined the project contributed                to   the development

               of the     research       frameworksolution             and       the    interpretation        of results      and        participated      in


               manuscript drafting             and revision


15       Saneifar         M     Heidari         Z and     Hill       A D 2015 Application                    of Conventional             Well Logs        to

         Characterize                    Heterogeneity          in   Carbonate          Formations       Required      for Prediction           of   Acid
                                                                                                                                3
                              Spatial

         Fracture        Conductivity           SPE      Production           and       Operations         Journal      30                243            256
         DOI102118173183PA


               Coauthors           Mehrnoosh          Saneifar        PhD         Student        Texas     AM                              Daniel     Hill

                                            AM
                                                                                                                      University
               Professor at Texas                     University

               Qualitative      statement of contribution               Mehrnoosh was a PhD student                      under       my supervision
               The     part related to      use of conventional             well logs for characterizing              spatial    heterogeneity           was
               led    by me Dr       Hill   helped     us in incorporating             an analytical     method in the paper for prediction

               of acid fracture         conductivity      using       the parameter estimated from well logs                         I   contributed      to


               defining the project the development of the research frameworksolution                                        and the interpretation

               of results and participated             in manuscript         drafting     and revision


14       Chi L and Heidari Z 2015                       Diffusional Coupling               between       Microfractures         and Pore Structure
         and    its    Impact      on    Nuclear      Magnetic         Resonance          Measurements           in   Multi Porosity            Systems
         Geophysics        801 D31               D42 DO 101190geo201304671


               Coauthors Lu Chi PhD Student Texas                                AM      University

               Qualitative      statement of contribution              Lu was a PhD              student     under my supervision             This work

               was performed under              my supervision          I   defined the project contributed              to     the development of

               the research frameworksolution and the interpretation                             of results and participated in manuscript

               drafting    and revision


13       Saneifar        M     Aranibar          A and      Heidari         Z 2015 Rock Classification                in the     Haynesville         Shale

         Based        on Petrophysical         and    Elastic   Properties        Estimated       from Well Logs Interpretation                      3   1
         5A65          5A75    DO 1011901NT201301981

List   of Publications    Zoya Heidari                                                                                                       Page 6 of 29
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             Coauthors            Mehrnoosh             Saneifar        PhD Student       Texas            AM      University        Alvaro Aranibar

             MSc      Student Texas               AM          University

             Qualitative          statement of contribution                 Mehrnoosh was a PhD student                       under  my supervision
             Alvaro was            a MSc              student     under    my supervision             This    work      was    performed under my

             supervision               I    defined      the      project    contributed         to    the       development         of   the     research

             frameworksolution and the                          interpretation    of results and participated                 in   manuscript      drafting

             and revision


12       Chen H and Heidari Z 2014 PoreScale Evaluation of Dielectric Measurements in Formations
         with Complex Pore and Grain Structures                            Petrophysics      556 587                597


             Coauthors Huangye Chen PhD Student Texas                                     AM           University

             Qualitative          statement of contribution                  Huangye was a             PhD student under my supervision
             This    work     was performed                 under       my supervision       I       defined     the    project     contributed         to   the

             development               of the         research     frameworksolution             and       the    interpretation      of results             and

             participated         in manuscript           drafting      and revision


11       Cheng       K Aderibigbe A                       Alfi    M     Heidari    Z and Killough J 2014                    Quantifying the Impact

         of Petrophysical Properties on Spatial Distribution of Contrasting Nanoparticle                                           Agents in the New
         Wellbore Region               Petrophysics         555 447              460


             Coauthors            Kai Cheng            PhD Student Texas AM University Aderonke Aderibigbe PhD
             Student      Texas            AM        University Masoud Alfi PhD Student Texas    University John            AM
             Killough Professor at Texas                        AM      University

             Qualitative          statement of contribution
                                                       Kai    PhD students under my supervision Aderonke
                                                                                  is


             is a   former    PhD student under my supervision Masoud a PhD student under Dr Killoughsis


             supervision           The       project was part of a previously             funded proposal by                me and Dr Killough I
             was the      first    PI Kai and Masoud worked on numerical modeling                                          of nanoparticles        in    near
             wellbore      region            under    my and      Dr Killoughs supervision                   Kai synthesized the nanoparticles

             under       my   supervision               Aderonke         performed     experimental              work    under      my supervision             I


             contributed          to       defining    the project the development               of the research           frameworksolution and
             the interpretation              of results and        participated    in manuscript           drafting     and revision


10       Kethireddy        N Chen H and                       Heidari     Z 2014 Quantifying the Effect of Kerogen on Resistivity
         Measurements in Organic Rich Mudrocks                              Petrophysics         552 136 146

             Coauthors Nikhil Kethireddy                           PhD Student Texas             AM                           Huangye Chen PhD
                                           AM
                                                                                                             University

             Student      Texas                   University

             Qualitative          statement           of contribution        Nikhil    was       a   MSc         student    under     my supervision
             Huangye was a PhD                         student     under    my supervision            This       work was performed             under        my
             supervision               I    defined      the      project    contributed         to    the       development         of   the     research

             frameworksolution and the                          interpretation    of results and participated                 in   manuscript      drafting

             and revision



         Heidari     Z    and          TorresVerdin              C 2014      Inversion    Based            Detection       of Bed      Boundaries            for


         Petrophysical        Evaluation               with      Well     Logs Applications to Carbonate and                              Organic Shale
         Formations Interpretation                    23 T129             T142 DOI 101190INT201301721



List   of Publications   Zoya Heidari                                                                                                           Page 7 of 29
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             Coauthors Carlos TorresVerdin                         Professor at             UT Austin
             Qualitative       statement of contribution                 I   started      this   project after I joined Texas        AM         University

             as   an   assistant    professor              This   work        is    not    part    of   my PhD        Dissertation        However       the

             developments         in this   project include              some of the              codes from my       PhD project          I   defined the

             project     contributed        to       the   development              of the     research     frameworksolution             computational

             codes the derivation of results and the                              interpretation    of results and prepared the manuscript



         Heidari   Z TorresVerdin C and Preeg W E 2013 Improved                                                 Estimation       of Mineral and Fluid
         Volumetric Concentrations                   in    Thinly Bedded             Carbonate Formations Geophysics 78                        4   D261

         D269     DO 101190geo201204381
             Coauthors Carlos TorresVerdin                         Professor at            UT Austin William Preeg Consultant
             Qualitative       statement of contribution                      I    performed       this   project    under the     supervision       of Dr

             Carlos TorresVerdin                 I    contributed    to           the development          of the    research    frameworksolution

             computational        codes the derivation               of results and the                   interpretation      of results and prepared

             the manuscript



         Heidari    Z and TorresVerdin C 2013                                Inversion       Based Method            for Estimating Total Organic

         Carbon and Porosity and            for       Diagnosing Mineral Constituents from Multiple                              Well Logs in Shale

         Gas Formations Interpretation                     11 T113 T123 DOI 101190INT201300141
             Coauthors Carlos TorresVerdin                         Professor at            UT Austin
             Qualitative       statement of contribution                      I    performed       this   project    under the     supervision       of Dr

             Carlos TorresVerdin                 I    contributed      to         the   development         of the   development      of the       research

             frameworksolution              computational           codes the derivation                    of results and the interpretation             of

             results and prepared           the manuscript             I     completed this work after I               left   UT Austin

         Heidari   Z and TorresVerdin C 2012 Estimation of Dynamic Petrophysical Properties of Water
         Bearing       Sands    Invaded          with       Oil Base         Mud          from    the     Interpretation       of Multiple       Borehole

         Geophysical Measurements                     Geophysics       776              D209       D227      DO 101190geo201200061
             Coauthors Carlos TorresVerdin                         Professor at            UT Austin
             Qualitative       statement of contribution                      I    performed       this   project    under the     supervision       of Dr

             Carlos TorresVerdin                 I    contributed      to         the   development         of the   development      of the       research

             frameworksolution              computational           codes the derivation                    of results and the interpretation             of

             results and prepared           the manuscript



         Heidari   Z TorresVerdin C and Preeg W E 2012 Improved                                                 Estimation       of Mineral and Fluid
         Volumetric       Concentrations                  from    Well        Logs        in     Thinly Bedded         and      Invaded        Formations

         Geophysics 773 WA79                         WA98 DOI 101190geo201104541

             Coauthors Carlos TorresVerdin                         Professor at            UT Austin William Preeg Consultant
             Qualitative       statement of contribution                      I    performed       this   project    under the     supervision       of Dr

             Carlos TorresVerdin                 I    contributed    to           the development          of the    research    frameworksolution

             computational        codes the derivation               of results and the                   interpretation      of results and prepared

             the manuscript




List   of Publications   Zoya Heidari                                                                                                           Page 8 of 29
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 Section     A3 Works published or in equivalent status while in previous ranks at UT Austin if
applicable



         Heidari    Z TorresVerdin C Mendoza A and Wang G L 2011 Assessment                                                                 of Residual

         Hydrocarbon           Saturation with the Combined                 Quantitative       Interpretation         of Resistivity and Nuclear

         Logs Petrophysics            523 217 237

             Coauthors           Carlos TorresVerdin           Professor at          UT Austin Alberto Mendoza PhD                               Student

             UT Austin Gong Li Wang                  Postdoctoral Researcher             UT Austin
             Qualitative        statement of contribution               I   performed         this   project      under the         supervision     of Dr

             Carlos TorresVerdin              Alberto and      Gong          Li contributed          to   development of forward             simulation

             codes       for    modeling      of    nuclear    and          resistivity      logs         respectively        I    contributed      to   the

             development of the research frameworksolution                              computational             codes the derivation of results
             and the     interpretation     of results and prepared the manuscript



         Heidari    Z Farahmand F                  Arabalibeik          H and Parnianpour M 2008                            Adaptive      NeuroFuzzy
         Inference System for Classification                of ACLRuptured                   Knees Using Arthrometric Data Annals of
         Biomedical Engineering            369 1449 1457 DOI 101007s10439 0089532x

             Coauthors           Farzam     Farahmand          Professor           at     Sharif      University         of       Technology        Hamid
             Arabalibeik          Professor    at   Tehran     University           Mohammad                Parnianpour            Professor   at   Sharif

             University of Technology

             Qualitative        statement of contribution               I   performed         this   project      under the         supervision     of Dr

             Farahmand            I    contributed     to     the       development             of        the    research         frameworksolution

             computational            codes the derivation          of results and the               interpretation        of results and prepared

             the manuscript



         Vossoughi        G Pendar H                          Z and Mohammadi S 2008                               Assisted Passive         Snake Like

                                                                                                                                               3
                                               Heidari

         Robots    Conception          and Dynamic      Modeling             Using GibbsAppell                  Method Robotica 26                   267
         276 DOI 101017S0263574707003864


             Coauthors           Gholamreza Vossoughi Professor                         at   Sharif University of Technology                        Hodjat

             Pendar       PhD Student Sharif University of Technology                                 Saman Mohammadi Undergraduate
             Student      Sharif University of Technology

             Qualitative        statement of contribution           I   performed this project                  my undergraduate final project
             under the supervision            of Dr Gholamreza Vossoughi                        I    contributed      to   the development           of the

             research      frameworksolution           the derivation            of the results and              collecting       and   interpreting     the

             data and participated          in manuscript       drafting



Section     A4 Works published or in equivalent status while in previous ranks at other institutions if
applicable


1        Basafa    E     Heidari       Z Tamaddoni H Mirbageri A Haddad 0 and Parnianpour M 2007
The Effect of Fatigue on Recurrence                  Parameters of Postural               Sway        Journal of Biomechanics               40 S362
DOI 101016S0021929007703573


List   of Publications   Zoya Heidari                                                                                                        Page 9 of 29
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             Coauthors          Ehsan       Basafa      MSc      Student      Sharif   University     of   Technology         Hossein

             Tamaddoni          MSc        Student     Sharif    University    of   Technology       Alireza    Mirbagheri      PhD
             Student      Sharif University         of Technology       Omid Haddad         MSc    Student     Sharif University     of

             Technology          Mohammad          Parnianpour     Professor at Sharif University of Technology

             Qualitative        statement     of    contribution    I   contributed    to   the   development      of the    research

             frameworksolution              and    collecting   and interpreting    the   data and   participated    in   manuscript

             drafting




List   of Publications   Zoya   Iteidari                                                                                  Page 10 of 29
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     B Refereed Conference Proceedings

Section     B1 Works published or in an equivalent status in press accepted                                                 or under contract         while in

current rank at UT Austin



70       Tandon       S Rostami A and Heidari Z 2017 A New NMRbased Method                                                                  for   Wettability

         Assessment in Mixed Wet Rocks                    To be presented                     the     SPE Annual           Technical     Conference and

                          ATCE San Antonio Texas 9
                                                                                     at

         Exhibition                                                       11    October               SPE 187373


             Coauthors           Saurabh    Tandon       PhD Student UT Austin Ameneh Rostami Visiting Scholar
             UT Austin
             Qualitative        statement    of contribution            Saurabh           is      a   PhD         student        under   my       supervision

             Ameneh        is   a visiting scholar in     my team         being trained under                     my supervision            This    work was

             performed under          my    supervision        I   defined the project contributed                          to   the development          of the

             research      frameworksolution and the                  interpretation              of results and participated                in    manuscript

             drafting      and revision


69       Garcia      A P Jagadisan A Rostami A and Heidari Z 2017 A New Workflow                                                                                for


         Improved Water Saturation Assessment in Organic Rich Mudrocks Honoring                                                      Rock     Fabric      To be
         presented    at   the Unconventional           Resources       Technology                 Conference        URTeC Austin Texas 24
         26 July

             Coauthors           Artur    Posenato      Garcia        PhD       Student               UT   Austin Archana Jagadisan                       PhD
             Student       UT Austin Ameneh Rostami Visiting Scholar UT Austin
             Qualitative         statement    of contribution            Artur       and           Archana        are    PhD        students       under        my
             supervision         Ameneh is a visiting scholar in my team being trained under my supervision                                                   This

             work     was       performed     under      my        supervision            I       defined    the        project      contributed         to     the

             development           of the    research     frameworksolution                         and    the     interpretation        of results            and

             participated        in manuscript    drafting         and revision


68       Tandon          S Heidari Z and Daigle H 2017 PoreScale Evaluation                                                       of Nuclear        Magnetic
         Resonance        Measurements in Organic Rich Mudrocks Using Numerical Modeling                                                 To be presented
         at the   Unconventional         Resources      Technology         Conference                 URTeC Austin Texas 24                          26 July


             Coauthors           Saurabh    Tandon       PhD Student UT Austin Hugh Daigle Assistant Professor at
             UT Austin
             Qualitative        statement of contribution              Saurabh       is       a   PhD student            under      my supervision             We
             consulted with Dr Daigle about                an experimental            model developed                      in his   team which we used
             in   our numerical          modeling       This   work was performed                         under    my supervision             I   defined       the

             project       contributed       to   the    development            of    the             research      frameworksolution                and        the

             interpretation       of results and participated            in    manuscript              drafting     and revision


67       Garcia A          P Jagadisan A Rostami A and                                        Heidari       Z 2017 A New Resistivity based
         Model      for    Improved        Hydrocarbon             Saturation    Assessment                  in     ClayRich          Formations              using

         Quantitative      Clay Network       Geometry and Rock                Fabric Presented                   at the    Society of Petrophysicists

         and Well Log Analysts              SPWLA         58th      Annual Symposium Oklahoma City Oklahoma 17                                                  21

         June




List   of Publications    Zoya Heidari                                                                                                            Page   11   of 29
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             Coauthors          Artur    Posenato    Garcia     PhD         Student              UT   Austin Archana Jagadisan                    PhD
             Student UT Austin Ameneh Rostami Visiting Scholar UT Austin

             Qualitative       statement     of contribution          Artur          and        Archana     are     PhD      students       under      my
             supervision       Ameneh is a visiting scholar in my team being trained under my supervision                                             This

             work     was      performed     under     my     supervision             I     defined        the    project    contributed         to    the

             development         of the     research    frameworksolution                       and   the    interpretation         of results        and

             participated      in manuscript      drafting   and revision


66       Cheng       K and Heidari Z 2017 A New Method                               for   Quantifying Cation           Exchange           Capacity     in


         Clay Minerals Presented           at the Society of Petrophysicists                      and Well Log Analysts               SPWLA           58th

         Annual Symposium Oklahoma City Oklahoma 17                                        21 June



             Coauthors         Kai Cheng         PhD Student Texas               AM              University       He has been working in my
             laboratories at     UT Austin since January 2016
             Qualitative       statement of contribution        Kai    is   a    PhD student under my supervision                           This work

             was performed under my supervision                  I   defined the project contributed                    to   the development of

             the research frameworksolution and the interpretation                               of results and participated in manuscript

             drafting    and revision


65       Purba S         A Garcia A P and                  Heidari     Z 2017 New Method                            for Rock        Classification      in

         Carbonate Formations using Well Log Based Rock                              Fabric Quantification Presented                   at the   Society

         of Petrophysicists         and Well Log Analysts            SPWLA                 58th    Annual        Symposium Oklahoma City
         Oklahoma        17     21 June



             Coauthors         Sonia Arumdati Purba            MSc         Student          UT     Austin        Artur Posenato        Garcia PhD
             Student      UT Austin
             Qualitative       statement of contribution        Sonia       is   a   MSc          student    under    my supervision            Artur is

             a    PhD     student    under   my supervision           This       work           was performed        under     my supervision            I


             defined the project contributed           to    the development of the research frameworksolution and the

             interpretation      of results and participated          in   manuscript             drafting       and revision


64       Garcia      A P Heidari Z and Rostami A 2017 Improved Assessment of Hydrocarbon
         Saturation      in   Mixed Wet      Rocks     with    Complex Pore Structure                            Presented     at    the   Society      of

         Petrophysicists       and   Well Log       Analysts     SPWLA                    58th    Annual         Symposium Oklahoma                City
         Oklahoma        17     21 June



             Coauthors          Artur Posenato       Garcia     PhD         Student              UT   Austin Ameneh            Rostami Visiting

             Scholar      UT    Austin

             Qualitative       statement of contribution        Artur       is   a   PhD student under my supervision                           Ameneh
             is   a visiting scholar in    my team being        trained      under my supervision                    This work was performed

             under    my supervision         I   defined    the project          contributed          to   the    development of the research
             frameworksolution and the              interpretation         of results and participated                  in   manuscript         drafting

             and revision


63       Valdes       C C and Heidari Z and Gonzalez A 2017                                        Quantifying the Impacts                 of Thermal

         Maturity on Elastic         Properties of Kerogen           Presented             at    the Society of Petrophysicists              and Well

         Log Analysts SPWLA               58th   Annual Symposium Oklahoma City Oklahoma 17                                           21 June




List   of Publications   Zoya Heidari                                                                                                      Page 12 of 29
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               Coauthors           Clotilde Chen          Valdes PhD Student                                Texas      AM           University          Andres Gonzalez
              PhD Student UT Austin
               Qualitative         statement      of contribution                 Clotilde              and       Andres           are    PhD         students      under        my
               supervision         This work was performed under my supervision                                               I   defined the project contributed

              to   the   development of the research frameworksolution and the                                                          interpretation       of results and

               participated        in manuscript      drafting            and revision


62       Tandon S and Heidari                  Z and Matenoglou G 2017 PoreScale Numerical Modeling                                                                 of Nuclear

         Magnetic        Resonance           Response          in    Rocks        with        Complex Pore Structure                             using    Finite         Volume
         Method Presented               at the Society of Petrophysicists                          and Well Log Analysts                        SPWLA             58th    Annual

         Symposium Oklahoma City Oklahoma                                    17        21 June



               Coauthors            Saurabh    Tandon           PhD             Student           UT         Austin Grigorios Matenoglou                             Assistant

              Research        Scientist      Texas    AM             at   Qatar

               Qualitative         statement      of contribution                 Saurabh     a PhD   student
                                                                                                        is     under my supervision

               Grigorios is an assistant research scientist at                           TAMU Qatar who prepared some microCT scan
               images         used   as    inputs    to   our        numerical           modeling                  This   work            was    performed          under        my
               supervision as part of our QNRF project                             I   defined this part of the project                          which       is   documented
               in this   paper          contributed       to    the       development                 of the        research            frameworksolution                 and the

               interpretation        of results and participated                   in   manuscript                 drafting        and revision


61       Jagadisan            A and Heidari Z 2017                           Application                    of   XRay             Photoelectron          Spectroscopy              in


         Connecting       Thermal Maturity of Kerogen                             to   its    Dielectric            Constant in Organic Rich Mudrocks

         Presented       at    the   Society      of Petrophysicists                    and           Well        Log     Analysts           SPWLA                58th    Annual

         Symposium Oklahoma City Oklahoma                                    17        21 June



               Coauthors           Archana Jagadisan   PhD Student UT Austin
               Qualitative         statement of contribution Archana a PhD student                 is                                    under       my supervision             This

               work      was       performed        under       my        supervision                   I    defined      the           project       contributed          to    the

               development           of the     research            frameworksolution                            and    the        interpretation         of results            and

               participated        in manuscript      drafting            and revision


60       Purba S          A Garcia A P and                           Heidari           Z 2017 Improved Permeability Assessment using
         Directional      Rock       Fabric     Quantification                  Presented               at   the    American              Association         of Petroleum

         Geologists      AAPG             Annual Convention                      Exhibition                  Houston      Texas 2                5   April



               Coauthors           Sonia Arumdati Purba                    MSc          Student              UT     Austin          Artur Posenato           Garcia PhD

               Student        UT    Austin

               Qualitative         statement of contribution                    Sonia        is   a   MSc          student         under    my supervision                Artur is

              a PhD           student     under     my supervision                 This           work        was performed                 under      my supervision               I


               defined the project contributed                      to the   development of the research frameworksolution and the

               interpretation        of results and participated                   in   manuscript                 drafting        and revision


59       Matenoglou      Kelessidis V C Garcia A P Heidari Z Fardis M Anastasiou
                               G                                                      A and
         Papavassiliou G 2016  Advanced NMR and MRI Methodologies Wettability Characterization                                    for

         in   Carbonate Reservoirs             Presented             at   the    SPE      International                Petroleum Technology                       Conference

         Bangkok         Thailand         14 16 November                   IPTC 18853



List   of Publications    Zoya Heidari                                                                                                                             Page   13    of 29
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               Coauthors          Artur        Posenato       Garcia         PhD                               UT          Austin                     Matenoglou
                                                                        AM
                                                                                         Student                                      Grigorios

               Assistant     Research          Scientist      Texas                 at      Qatar Vassilios Kelessidis                            Professor Texas

               AM       University at Qatar               M   Fardis National               Center for Scientific                 Research Demokritos                A
               Anastasiou         National       Center for          Scientific        Research               Demokritos             Georgios        Papavassiliou

               National      Center for Scientific            Research Demokritos

               Qualitative       statement of contribution Artur                   is a     PhD student under my supervision                              Artur and

               I   contributed    to the pore scale numerical                    modeling documented                          in this
                                                                                                                                        paper


58       Garcia         A P and Heidari Z 2016 Directional                                  Pore Network                    Connectivity        and Rock      Fabric

         Characterization         and    its   Application       in Enhanced           Assessment of Hydrocarbon                             Reserves Presented
         at the    SPE Annual Technical               Conference and Exhibition                         ATCE Dubai UAE 26                            28 September

         SPE 181571


               Coauthors Artur Posenato                    Garcia PhD Student                         UT Austin
               Qualitative       statement of contribution              Artur is a          PhD student under my supervision                             This work

               was performed under my supervision                        I   defined the project contributed                            to   the development of

               the research frameworksolution and the interpretation                                         of results and participated in manuscript

               drafting    and revision


57       Tandon          S   and Heidari              Z   2016       Impact       of   Internal              Magnetic         Field     Gradients       on Nuclear

         Magnetic Resonance              Measurements and              NMRbased                  Pore Network                Characterization          Presented     at

         the   SPE Annual         Technical       Conference and Exhibition                           ATCE Dubai UAE                         26      28 September

         SPE 181532


               Coauthors         Saurabh           PhD Student UT Austin
                                                Tandon
               Qualitative       statement of contribution Saurabh a PhD student under my supervision
                                                                                            is                                                                     This

               work     was      performed            under    my     supervision                I     defined         the     project       contributed     to     the

               development            of the     research       frameworksolution                        and      the       interpretation          of results     and

               participated      in manuscript            drafting   and revision


56       Tang       H   Killough        J Heidari Z and Sun Z 2016 A New Technique to Characterize Fracture
         Density      Using      Neutron        Porosity      Logs Enhanced                 by        Electrically Transported                  Contrast    Agents
         Presented      at the    SPE Annual Technical Conference and Exhibition                                            ATCE Dubai UAE 26                       28

         September        SPE 181509


               Coauthors Hewei Tang           PhD Student Texas AM University John Killough Professor at
               Texas    AM        University Zhuang Sun PhD Student at UT Austin

               Qualitative       statement of contribution Hewei was a MSc student under Dr Killoughs

               supervision        I   served    as a member of her thesis committee                                    I   worked closely with Hewei for
               numerical      modeling of neutron porosity measurements                                         The        project   was     part   of a previously

               funded proposal by Dr Killough and me I was the                                       first   PI   I    contributed to defining the project

               use of contrast agents which can enhance                           neutron             logs Dr Killough was responsible for the
               reservoir     modeling          part   of the project         I   also contributed                 to       the development          of the research

               frameworksolution and the                    interpretation        of results and participated                           in   manuscript     drafting

               and revision


55       Dabidian             N       Heidari     Z and Yang A 2016                          Quantifying the Impact of Thermal                             Maturity

         on    Dielectric        Permittivity          of Pure       Kerogen           in    Organic Rich                    Mudrocks          Presented      at    the



List   of Publications    Zoya Heidari                                                                                                                  Page 14 of 29
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         Unconventional             Resources           Technology Conference              URTeC San Antonio Texas                                  1    3     August
         URTeC 2460670


                Coauthors           Nima Dabidian Postdoctoral Researcher UT Austin Anqi Yang MSc                                                              Student

                Texas   AM           University

                Qualitative         statement           of     contribution       Nima was            a     postdoctoral           researcher             under        my
                supervision         Anqi was a MSc student under my supervision                                       This work was performed under

                my    supervision               I    defined    the     project    contributed         to       the       development             of the       research

                frameworksolution and the                       interpretation     of results and participated                     in       manuscript         drafting

                and revision



54       Yang         A and Heidari Z 2016 An Experimental Approach                                             to   Quantify     the Impact of Kerogen

         Maturity on          its   Chemical            Aromaticity and Electrical                Conductivity               Presented        at   the    Society       of

         Petrophysicists and Well                     Log Analysts       SPWLA 57th Annual Symposium Reykjavik Iceland 25
         29 June

                Coauthors Anqi Yang             MSc Student Texas AM University
                Qualitative         statement of contribution Anqi was a MSc student                                         under   my supervision                   This

                work    was         performed           under      my     supervision         I    defined           the    project         contributed          to    the

                development              of the        research       frameworksolution             and     the           interpretation          of results          and

                participated        in manuscript            drafting    and revision


53       Amin S Wehner                          M     Heidari     Z and Tice M 2016 Rock                             Classification          in    the Eagle Ford

         Shale       through        Integration          of Petrophysical              Geological          and        Geochemical             Characterization

         Presented       at    the        Society       of Petrophysicists          and    Well       Log        Analysts        SPWLA                  57th    Annual

         Symposium Reykjavik                         Iceland     25     29 June



                Coauthors           Shahin           Amin MSc           Student     Texas         AM       University            Matthew           Wehner        PhD
                Student       Texas       AM           University       Michel    Tice Associate Professor at Texas                           AM          University

                Department of Geology and Geophysics

                Qualitative         statement          of contribution           Shahin    was a      MSc             student     under        my supervision
                Matthew       was a PhD student                  under Dr Tices           supervision            Matthew         and Dr Tice contributed

                to   geological           description          of the     formation       and      identifying             geological         facies       My     team
                contributed          to    petrophysical           classification       and       analysis           of    the   data       for    assessment           of

                petrophysical and mechanical properties                           Shahins         thesis   is   on this topic           I   defined the project

                contributed         to    the       development of the research            frameworksolution and the                           interpretation           of

                results and participated                 in manuscript      drafting      and revision


52       Yang A and Heidari Z 2016 Experimental                                     Quantification              of the Impact of Thermal                       Maturity

         on Kerogen Density Presented                          at the   Society of Petrophysicists and Well Log Analysts                                   SPWLA
         57th   Annual Symposium Reykjavik Iceland                                25      29 June



                Coauthors Anqi Yang                      MSc Student Texas               AM         University

                Qualitative         statement of contribution                Anqi was a MSc                 student          under   my supervision                   This

                work    was         performed           under      my     supervision         I    defined           the    project         contributed          to    the

                development              of the        research       frameworksolution             and     the           interpretation          of results          and

                participated        in manuscript            drafting    and revision




List   of Publications    Zoya Heidari                                                                                                                   Page 15 of 29
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51       Valdes C C and                  Heidari     Z 2016 An Experimental                            Multi Scale Approach               for   Assessment of

         Uncertainty          in    Elastic      Properties       of    Organic Rich                  Mudrocks           Presented       at     the    Society        of

         Petrophysicists and Well Log Analysts                         SPWLA              57th       Annual Symposium Reykjavik Iceland                              25
         29 June

               Coauthors Clotilde Chen Valdes PhD Student                                            Texas    AM        University

               Qualitative         statement of contribution             Clotilde was a                PhD student under my supervision                             This

               work     was        performed        under     my       supervision               I    defined      the    project        contributed           to    the

               development              of the    research       frameworksolution                      and      the    interpretation         of results           and

               participated        in manuscript      drafting         and revision



50       Cheng         K and Heidari Z 2016 An Experimental Approach                                             to    Quantify    the Impact of Relative

         Humidity on Hydration                of Clay Minerals Using                  NMR and TGA Based Evaluations Presented at
         the       Society    of Petrophysicists            and    Well        Log     Analysts SPWLA  57th Annual Symposium

         Reykjavik Iceland               25      29 June


               Coauthors           Kai    Cheng     PhD       Student         Texas        AM           University        He has been working in my
               laboratories at          UT Austin since January 2016
               Qualitative         statement of contribution             Kai     is   a    PhD student under my supervision                             This work

               was performed under                my supervision          I   defined the project contributed                       to   the development of

               the research frameworksolution and the interpretation                                    of results and participated in manuscript

               drafting      and revision


49       Oyewole          E Garcia A P and                   Heidari          Z 2016 A New Method for Assessment of Directional
         Permeability and                Conducting        Pore Network               using           Electric     Conductance           in     Porous        Media
         Presented       at    the      Society    of Petrophysicists             and       Well         Log      Analysts        SPWLA               57th    Annual

         Symposium Reykjavik                     Iceland    25     29 June



               Coauthors            Emmanuel Oyewole                   MSc       Student              Texas      AM        University           Artur        Posenato

               Garcia PhD Student UT Austin

               Qualitative         statement of contribution              Emmanuel was a MSc                            student    under      my supervision
               Artur is a     PhD student under my supervision                            This work was performed under my supervision

               I   defined the project contributed                 to   the development                  of the research frameworksolution and

               the interpretation          of results and        participated         in   manuscript            drafting   and revision


48       Kotb        A Garcia A P and                 Heidari          Z 2016 Multi Scale Interpretation                           of Electrical        Resistivity

         Measurements              in   the   Presence      of Complex Pore Structure                            and     Anisotropy           Presented        at    the

         American         Association            of Petroleum          Geologists           AAPG              Annual        Convention                 Exhibition

         Calgary Alberta Canada 19                         22 June



               Coauthors             Abdelrahman           Kotb    MSc          Student               Texas      AM       University            Artur        Posenato

               Garcia PhD Student                  UT Austin
               Qualitative         statement of contribution             Abdelrahman was a MSc                           student    under my supervision

               Artur is a     PhD student under my supervision                            This work was performed under my supervision

               I   defined the project contributed                 to   the development                  of the research frameworksolution and

               the interpretation          of results and participated                in   manuscript            drafting   and revision




List   of Publications       Zoya Heidari                                                                                                              Page 16 of 29
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47       Tandon            S Aderibigbe           A    Heidari       Z Shi J and Fuss T 2016                                  Proppant          Damage
         Characterization        using Nuclear        Magnetic    Resonance              Measurements         Presented            at   the    American
         Association        of Petroleum Geologists         AAPG Annual Convention                           Exhibition        Calgary Alberta
         Canada       19     22 June



              Coauthors Saurabh Tandon                PhD Student UT Austin Aderonke Aderibigbe PhD Student
              Texas      AM       University       Jingyu    Shi SaintGobain Proppants                       Tihana FussDezelic                      Saint

              Gobain Proppants

              Qualitative       statement of contribution        Saurabh       is   a former      PhD student under my supervision
              Tihanas and Jingyus contribution                included providing            information about           the proppants that we

              applied      our method to the proppants were provided                       by SaintGobain Proppants This work
                                                                                                              of my proposals funded by
              was performed         under    my supervision          I    defined the      project   one
              SaintGobain Proppants contributed                  to      the development          of the research            frameworksolution
              and the      interpretation    of results and participated            in   manuscript     drafting       and revision


46       Garcia       A P and Heidari Z 2016 A Streamline based Approach                                      for    Evaluation           of Electrical

         Tortuosity        of Porous       Media    Using     Electrical       Conductivity           Presented         at     the       InterPore      8th


         International       Conference on Porous Media                  and Annual Meeting Cincinnati Ohio 9                                   12   May
         This   is   not a fulllength paper



              Coauthors Artur Posenato              Garcia PhD Student                   UT Austin
              Qualitative       statement of contribution        Artur is a     PhD student under my supervision                               This work

              was performed under            my supervision      I       defined the project contributed               to    the development of

              the research frameworksolution and the interpretation                        of results and participated in manuscript

              drafting     and revision


45       Hanafy      A Ali A NasrelDin H A and                              Heidari       Z 2015       Evaluating            the    Effects      of Acid

         Stimulation Treatment Before and After Fines Migration on Petrophysical Properties in Sandstone

                                                 SPE International                                                                      Doha Qatar 6
         9 December
         Reservoirs        Presented    at the                             Petroleum       Technology Conference
                              liPTC 18569



              Coauthors          Ahmed      Hanafy        PhD                   Texas      AM                                Abdalla          Ali    MSc
                                   AM
                                                                 Student                              University

              Student Texas                  University      Hisham NasrelDin Professor at Texas                             AM          University

              Qualitative       statement of contribution        Abdalla       was a MSc           student     co supervised             by Dr Nasr
              elDin and I          Ahmed      was supervised by             Dr NasrelDin              Abdallas          main        role      was    NMR
              measurements and            interpretation    under my supervision             I   contributed        to the    development of the
              research      frameworksolution and the            interpretation           of results and participated                   in    manuscript

              drafting     and revision


44       Saneifar        M    Heidari     Z and    Linroth      M 2015 An           Investigation       on the Impact of Heterogeneity

         on   Fluid    Injectivity     Loss      during    Water Alternating Gas                 Injection     in    Carbonate               Formations
         Presented     at the    SPE Annual       Technical Conference and Exhibition                   ATCE Houston Texas 28
         30 September         SPE 175064


              Coauthors          Mehrnoosh        Saneifar      PhD        Student        Texas     AM        University                Mark     Linroth

              Kinder Morgan

              Qualitative       statement of contribution         Mehrnoosh was a PhD student                          under my supervision

              Marks        contribution     included providing           information about        the data that        we applied our method


List   of Publications     Zoya Heidari                                                                                                      Page 17 of 29
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              to   the data used        in this      work was provided                 by Kinder         Morgan              This   work was performed

              under    my supervision           I    defined   the project             contributed        to     the development             of the   research

              frameworksolution and the                 interpretation           of results and participated                     in   manuscript       drafting

              and revision



43       Chi L Heidari             Z and Garcia A P 2015                         Investigation           of Wettability and Fluid Distribution

         in   Organic rich      Mudrocks            using   NMR Two Phase Simulation                                  Presented       at   the   SPE Annual
         Technical      Conference and Exhibition                ATCE Houston                      Texas 28             30 September             SPE 175077


              Coauthors         Lu Chi PhD             Student        Texas       AM             University           Artur Posenato             Garcia   PhD
              Student      UT Austin TAMU               student    at the    time of the publication                        of this paper

              Qualitative      statement of contribution              Artur       is   a   PhD student under my supervision                            Artur is

              a    PhD     student     under    my supervision              This       work       was performed                under       my supervision         I


              defined the project contributed                to the   development of the research frameworksolution and the
              interpretation     of results and participated                in   manuscript          drafting         and revision


42       Firdaus       G
                      and Heidari Z 2015 Quantifying Electrical Resistivity of Isolated Kerogen from

         Organic Rich  Mudrocks using Laboratory Experiments Presented at the SPE Annual Technical
         Conference and Exhibition              ATCE Houston Texas 28                                30 September               SPE 175078


              Coauthors Gama Firdaus MSc                         Student         Texas      AM        University

              Qualitative      statement of contribution               Gama was a MSc                     student           under   my supervision             This

              work      was    performed        under       my    supervision               I    defined        the     project       contributed         to    the

              development          of the      research      frameworksolution                     and    the         interpretation         of results        and

              participated      in manuscript         drafting   and revision


41       Cheng         K and Heidari Z 2015 Pore Connectivity                                   and Permeability Assessment in Carbonate
         Formations        using     NMR       Log Inject Log              Method               Presented        at    the     SPE     Annual        Technical

         Conference and Exhibition              ATCE Houston Texas 28                                30 September               SPE 175066


              Coauthors Kai Cheng                   PhD Student Texas                  AM         University

              Qualitative      statement of contribution              Kai    is    a   PhD student under my supervision                             This work

              was performed under            my supervision            I   defined the project contributed                          to the development of

              the research frameworksolution and the interpretation                                of results and participated in manuscript

              drafting   and revision


40                          A Amin S Zeng Z Wehner M Xu G Maulana I Conte R                                                                                     Z
                   M
         Aderibigbe                                                                                                                                Heidari

         Tice          and Laya J       C 2015 Integrated Rock Classification                               in   the Eagle Ford Shale Formation

         Using      Well      Logs     and     Geological        Evaluation                Presented        at        the     AAPGSEGPESA                  2015

         International     Conference               Exhibition    Melbourne Australia                      13         16 September



              Coauthors Aderonke Aderibigbe                      PhD Student Texas                    AM
                                                                                      University Shahin Amin MSc

              Student      Texas     AM        University        MatthewWehner  PhD Student Texas       University                         AM
              Michel     Tice      Associate Professor at             Texas        AM            University Department                      of Geology and

              Geophysics         Juan Carlos          Laya     Associate Professor at Texas                           AM       University Department

              of Geology and Geophysics                     Roy Conte PhD                  Student       Texas        AM        University Department
              of Geology         and    Geophysics             Zhirui      Zeng            Graduate                           Texas        AM
                                                                                                                                                          AM
                                                                                                           Student                                  University

              Department           of Geology         and Geophysics                   Guangjian         Xu Graduate Student                     Texas


List   of Publications   Zoya Heidari                                                                                                              Page 18 of 29
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              University Department                   of Geology and Geophysics Ivan Maulana                                 Graduate Student              Texas

              AM         University Department                  of Geology and Geophysics

              Qualitative       statement of contribution                  Aderonke           was a    PhD student under my supervision
              Shahin was a        MSc student under my supervision                             Matthew Zhirui Guangjian and Ivan were
              students     under          Dr     Tices    and      Dr Layas           supervision         Dr         Tices     and    Dr Layas             teams
              contributed       to       geological     description       of the formation and identifying geological                              facies      My
              team contributed              to    petrophysical      classification           and analysis of the data                for       assessment      of

              petrophysical          and mechanical properties                  I   defined the project contributed to the development

              of the      research         frameworksolution              and       the   interpretation            of results       and    participated        in


              manuscript drafting                and revision




Section       B2 Works published or in equivalent status while in current rank at other institutions                                                            if
applicable



39       Oyewole         E Saneifar M and                      Heidari    Z 2015 Multi Scale Characterization of Pore Structure
         in   Carbonate         Formations            Application        to     the       SACROC         Unit        Presented        at    the    Society      of

         Petrophysicists and Well Log Analysts                      SPWLA             56th    Annual Symposium Long Beach California
         18    22 July



              Coauthors Emmanuel Oyewole MSc                                   Student        Texas    AM       University           Mehrnoosh Saneifar

              PhD Student Texas AM University
              Qualitative       statement of contribution                  Emmanuel was a MSc                        student    under      my supervision
              Mehrnoosh         was a PhD               student    under       my supervision            This       work was performed                 under   my
              supervision            I    defined       the     project        contributed        to     the        development            of    the     research

              frameworksolution and the                       interpretation        of results and participated                 in   manuscript          drafting

              and revision



38       Chi L and Heidari                     Z 2015         Impact     of Fracture Pore Diffusional Coupling                              on    NMRbased
         Permeability Assessment                    Presented       at   the    Society        of Petrophysicists            and Well           Log     Analysts

         SPWLA           56th   Annual Symposium Long Beach California                                   18         22 July



              Coauthors Lu Chi PhD Student Texas                                    AM        University

              Qualitative       statement of contribution                 Lu was a PhD            student       under my supervision                   This work

              was performed under my supervision                          I    defined the project contributed                  to   the development of

              the research frameworksolution and the interpretation                               of results and participated in manuscript

              drafting    and revision


37       Valdes          C C Aderibigbe                    A and         Heidari          Z    2015      Impact        of Anisotropic             Elastic      and

         Petrophysical Properties on Stress Prediction                          in Organic       Rich Mudrocks                 Presented        at the   Society

         of Petrophysicists              and     Well    Log      Analysts          SPWLA         56th    Annual        Symposium Long                    Beach
         California       18     22 July

              Coauthors   Clotilde Chen Valdes  PhD Student                                            Texas         AM         University             Aderonke

              Aderibigbe PhD    Student Texas AM University

              Qualitative       statement of contribution                     Aderonke         and Clotilde were PhD                  students         under   my
              supervision        This work was performed under my supervision                                   I   defined the project contributed

              to   the   development of the research frameworksolution and the                                        interpretation            of results and

              participated       in manuscript           drafting    and revision


List   of Publications    Zoya Heidari                                                                                                            Page 19 of 29
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36       Chen        H and Heidari Z 2015                           Impact       of Water               Salinity      on    High Frequency            Dielectric

         Measurements         in Rock Fluid        Mixtures Presented                      at     the Society of Petrophysicists                and Well Log

         Analysts     SPWLA 56th Annual Symposium Long Beach California 18                                                         22 July



              Coauthors Huangye Chen PhD Student Texas                                            AM          University

              Qualitative     statement of contribution                      Huangye was a PhD student under my supervision
              This   work     was performed          under           my supervision                 I   defined       the   project    contributed        to   the

              development          of the      research     frameworksolution                           and    the     interpretation       of results         and

              participated       in manuscript      drafting         and revision



35       An   C     Alfi   M Yan B Cheng K                          Heidari       Z and Killough J E 2015 Modeling of Magnetic
         Nanoparticle      Transport in Shale Reservoirs                     Presented            at the   Society of Petroleum Engineers                 SPE
         Reservoir     Simulation        Symposium Houston                       Texas 23          25 February SPE 173282

           Coauthors        Cheng        An PhD        Student              Texas       AM                              Masoud       Alfi   PhD        Student

                                                                                                               AM
                                                                                                    University

           Texas     AM       University Bicheng Yan PhD Student Texas                                                     University Kai Cheng           PhD
           Student       Texas    AM       University       John Killough Professor at Texas                                AM       University

           Qualitative      statement of contribution                      Kai   is   a   PhD student              under     my supervision           Kai and      I


           contributed to        NMR studies of this project

34       Aderibigbe           A Valdes C C                           Heidari          Z and Fuss T 2014                             Mechanical         Damage
         Characterization         in   Proppant Packs           Using Acoustic                  Measurements            Presented      at the   International

         Petroleum Technology             Conference            Kuala Lumpur Malaysia                           10 12 December liPTC 18092

           Coauthors Clotilde Chen Valdes PhD Student Texas                                             AM                          Aderonke Aderibigbe
                                          AM
                                                                                                                 University

           PhD Student Texas                       University              Tihana Fuss SaintGobain Proppants

           Qualitative      statement of contribution                      Clotilde and Aderonke                      were    PhD students            under    my
           supervision        Tihanas contribution                  included providing                  information about           the proppants that         we
           applied our method to the proppants were provided by SaintGobain Proppants                                                        This work was

           performed       under       my supervision           I    defined the project                 one    of my proposals funded by Saint

           Gobain Proppants contributed                    to   the development                    of the research          frameworksolution and the

           interpretation      of results and participated                  in manuscript               drafting     and revision



33       Aderibigbe         A Cheng K                Heidari               Z Killough J E Fuss T and Stephens W 2014
         Detection of Propping Agents in Fractures using Magnetic                                        Susceptibility       Measurements Enhanced

         by Magnetic        Nanoparticles         Presented           at   the    SPE Annual               Technical        Conference and Exhibition

         ATCE Amsterdam The Netherlands 27                                       29 October             SPE 170818


              Coauthors          Aderonke Aderibigbe                  PhD Student Texas                       AM                        Kai Cheng         PhD
                                       AM
                                                                                                                        University

              Student      Texas               University           John Killough Professor at Texas                          AM       University        Tihana

              Fuss SaintGobain Proppants                   William Stephens SaintGobain Proppants

              Qualitative     statement of contribution                     Kai    is   PhD students               under     my supervision           Aderonke

              is   a former   PhD student under my supervision                                    The   project      was    part   of a previously       funded

              proposal by        Dr Killough and me I                      was the        first    PI Dr Killough              helped Kai        in   modeling
              nanoparticle       flow     in   fractured    media Tihanas and Tims                                   contribution     included        providing
              information about the proppants that                         we applied           our method to the proppants were provided

              by SaintGobain Proppants                I    was mainly responsible for the experimental work and the near


List   of Publications   Zoya Heidari                                                                                                             Page 20 of 29
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             wellbore          detection          techniques          I    contributed          to    the        development           of       the     research

             frameworksolution and the                      interpretation        of results and participated                   in   manuscript         drafting

             and revision


32       Cheng       K Chi L                 and Heidari         Z 2014          Improved       Assessment of Pore Size Distribution and

         Pore    Connectivity               in    Multiple Porosity              Systems        using        Superparamagnetic                   Iron     Oxide

         Nanoparticles         and    NMR         Measurements            Presented      at   the    SPE Annual           Technical         Conference and

         Exhibition      ATCE Amsterdam The Netherlands 27                                      29 October             SPE 170792


             Coauthors Kai Cheng                     PhD Student Texas                 AM       University             Lu Chi PhD            Student      Texas
             AM       University

             Qualitative           statement of contribution                Kai and Lu were PhD students                         under my supervision

             This    work       was performed              under      my supervision            I    defined       the    project      contributed        to   the

             development             of the        research      frameworksolution                  and    the     interpretation           of results         and

             participated           in manuscript      drafting       and revision


31       Chen H and Heidari Z 2014                           Assessment of Hydrocarbon                      Saturation in Organic Rich                   Source

         Rocks    using       Combined            Interpretation          of Dielectric       and     Electrical          Resistivity       Measurements
         Presented       at   the    SPE Annual            Technical       Conference         and Exhibition              ATCE Amsterdam The
         Netherlands          27     29 October            SPE 170973


             Coauthors Huangye Chen PhD Student Texas                                         AM          University

             Qualitative           statement of contribution                    Huangye was a             PhD student under my supervision
             This    work       was performed              under      my supervision            I    defined       the    project      contributed        to   the

             development             of the        research      frameworksolution                  and    the     interpretation           of results         and

             participated           in manuscript      drafting       and revision


30       Elliott         M          Everett       M        and   Heidari          Z    2014         Modeling            the    Effects      of    Anomalous

         Electromagnetic             Diffusion       on     Induction       Logs       The     Next       Step     in     Mapping          Natural      Fracture

         Corridors Presented at the                SPE Annual         Technical Conference and Exhibition                           ATCE Amsterdam
         The Netherlands             27      29 October          SPE 170950


             Coauthors              Marcus                                                          Texas    AM                                 Mark
                                             AM
                                                  Elliot    Undergraduate             Student                             University                    Everett

             Professor at Texas                       University Department of Geology and Geophysics

             Qualitative           statement of contribution                Marcus was a dual degree undergraduate student under

             my     and       Dr      Everetts        supervision           I    contributed         to    the     development             of    the    research

             frameworksolution and the                      interpretation        of results and participated                   in   manuscript         drafting

             and revision


29       Valdes C C and Heidari                     Z 2014 Experimental Assessment of Elastic Properties and Minimum
         Horizontal       Stress       in   the    Haynesville         Shale Gas        Formation           Presented          at    the    Unconventional

         Resources       Technology Conference                   Denver         Colorado 25               27 August           URTeC        1922664


             Coauthors Clotilde Chen Valdes PhD Student                                       Texas       AM       University

             Qualitative        statement of contribution                  Clotilde was a           PhD student under my supervision                          This

             work     was          performed        under        my   supervision         I     defined          the     project     contributed         to    the

             development             of the        research      frameworksolution                  and    the     interpretation           of results         and

             participated           in manuscript      drafting       and revision


List   of Publications    Zoya Heidari                                                                                                            Page 21 of 29
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28       Aranibar        A Valdes C C and                     Heidari       Z    2014        Well Log Based Assessment of                           Elastic


         Properties in Organic Shale Formations Presented                         at   the Unconventional                 Resources            Technology
         Conference       Denver     Colorado 25             27 August URTeC                 1922955


             Coauthors Alvaro Aranibar MSc Student Texas                                     AM          University       Clotilde Chen Valdes

             PhD Student Texas AM University
             Qualitative     statement         of contribution            Alvaro was             a   MSc       student    under         my supervision
             Clotilde was      a    PhD         student    under     my supervision                  This     work    was performed          under my

             supervision       I    defined        the     project       contributed         to        the     development          of     the     research

             frameworksolution and the                   interpretation     of results and participated                   in      manuscript       drafting

             and revision


27       Chi L Elliott              M      Heidari       Z and   Everett        M 2014 Assessment                     of Micro Fracture Density

         using Combined        Interpretation        of   NMR Relaxometry              and Electromagnetic                 Logs Presented             at the

         Unconventional       Resources          Technology      Conference         Denver              Colorado 25          27 August URTeC
         1922804


             Coauthors        Lu Chi PhD                           Texas     AM                                 Marcus

                                     AM
                                                     Student                           University                            Elliot      Undergraduate

             Student       Texas                 University        Mark      Everett             Professor       at    Texas       AM            University

             Department of Geology and Geophysics

             Qualitative     statement of contribution               Lu was a PhD                    student   under     my supervision            Marcus

             was a dual degree             undergraduate student            under      my and Dr Everetts                      supervision         Lu was
             responsible      for   NMR         modeling       under       my   supervision              Marcus        was     responsible         for    EM
             modeling      under    my and        Dr Everetts            supervision         I    defined      the    project      contributed       to   the

             development        of the         research     frameworksolution                and        the    interpretation           of results        and

             participated     in manuscript        drafting    and revision


26       Chen H and Heidari Z 2014 Pore Scale Evaluation of Dielectric Measurements in Formations
         with Complex Pore and Grain Structures                    Presented      at the         Society of Petrophysicists and Well Log

         Analysts   SPWLA           55th   Annual Symposium Abu Dhabi United Arab Emirates 18                                                  22 May



             Coauthors Huangye Chen PhD Student Texas                                  AM             University

             Qualitative     statement of contribution                   Huangye was a                PhD student under my supervision
             This   work     was performed           under     my supervision            I       defined       the    project      contributed       to   the

             development        of the         research     frameworksolution                and        the    interpretation           of results        and

             participated     in manuscript        drafting    and revision


25       Chi L and Heidari Z 2014 Directional                            Permeability Assessment in Formations with Complex
         Pore Geometry        Using        a   New NMRBased                Permeability               Model      Presented         at    the   Society     of

         Petrophysicists     and Well Log Analysts                 SPWLA          55th   Annual              Symposium Abu Dhabi                    United

         Arab Emirates 18           22 May



             Coauthors Lu Chi PhD Student Texas                            AM       University

             Qualitative     statement of contribution               Lu was a PhD                student      under my supervision               This work

             was performed under               my supervision        I   defined the project contributed                     to   the development of

             the research frameworksolution and the interpretation                               of results and participated in manuscript

             drafting    and revision


List   of Publications   Zoya Heidari                                                                                                          Page 22 of 29
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24       Saneifar         M          Conte          R Chen C                Heidari         Z and Pope M C 2014                             Integrated         Rock
         Classification         in     Carbonate Formations                 Based on        Elastic    and Petrophysical Properties Estimated
         from Conventional Well Logs Presented                               at the    Society of Petrophysicists and Well                       Log Analysts
         SPWLA           55th   Annual Symposium Abu Dhabi United Arab Emirates 18                                                  22 May


             Coauthors               Mehrnoosh                    PhD Student Texas AM University Roy Conte PhD
                                              AM
                                                         Saneifar

             Student         Texas                                  Clotilde Chen Valdes PhD Student  Texas AM

                                                                                            AM
                                                         University

             University            Michael Pope Professor at Texas                                  University Department                    of Geology and

             Geophysics

             Qualitative           statement of contribution                  Mehrnoosh and Clotilde were PhD students under my

             supervision             Roy        was    a   PhD       student        under     Dr Popes           supervision           Roy and Dr Pope
             contributed           to       geological     description        of the formation and identifying geological                           facies      My
             team    contributed               to    petrophysical         classification      and analysis of the data                 for      assessment      of

             petrophysical              and mechanical properties                    Clotilde contributed              to   laboratory       experiments         for


             measuring elastic properties of the rocks                           I   defined the project contributed                   to   the development

             of the       research            frameworksolution               and     the    interpretation        of results          and    participated        in

             manuscript drafting                    and revision


23       Cheng       K Aderibigbe A                         Alfi    M      Heidari     Z and Killough J 2014                      Quantifying the Impact

         of Petrophysical Properties on Spatial Distribution of Contrasting Nanoparticle                                                Agents Presented
         at the   Society of Petrophysicists                     and Well Log Analysts                SPWLA            55th   Annual Symposium Abu

         Dhabi United Arab Emirates                         18      22 May



             Coauthors               Kai Cheng           PhD Student            Texas       AM                          Aderonke        Aderibigbe             PhD
                                            AM                                                                                    AM
                                                                                                      University

             Student       Texas                      University          Masoud Alfi         PhD Student Texas                             University         John

             Killough Professor at Texas                         AM        University

             Qualitative           statement of contribution                  Kai     is   PhD students        my supervision Aderonke
                                                                                                                  under

             is a   former      PhD student under my supervision                             Masoud is a PhD student under Dr Killoughs
             supervision             The      project      was   part
                                                                          of a previously       funded proposal by                me and Dr Killough I
             was the       first       PI      Kai and      Masoud worked on                 numerical      modeling           of nanoparticles           in   near
             wellbore       region            under    my and Dr Killoughs supervision                           Kai synthesized the nanoparticles

             under       my     supervision              Aderonke          performed         experimental         work        under     my supervision                I


             contributed           to       defining    the project the development                   of the research           frameworksolution and

             the interpretation               of results and         participated      in manuscript          drafting        and revision


22       Chen       H Firdaus G and                         Heidari         Z 2014          Impact of Anisotropic               Nature of Organic Rich

         Source     Rocks       on Electrical           Resistivity        Measurements            Presented      at   the Society of Petrophysicists

         and Well Log Analysts                   SPWLA             55th   Annual Symposium Abu Dhabi United Arab Emirates 18

         22 May

             Coauthors               Huangye Chen                PhD        Student        Texas    AM        University           Gama Firdaus                M Sc
             Student       Texas            AM       University

             Qualitative           statement of contribution                   Huangye was a PhD                   student        under      my supervision
             Gama was              a        MSc      student      under      my supervision            This      work       was    performed            under    my
             supervision                I    defined       the     project      contributed           to   the     development              of    the    research

             frameworksolution and the                           interpretation       of results and participated                 in   manuscript         drafting

             and revision


List   of Publications    Zoya Heidari                                                                                                             Page 23 of 29
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21       Chi L and Heidari Z 2014 Quantifying the Impact of Natural Fractures and Pore Structure on
         NMR Measurements in Multiple Porosity Systems Presented at the SPE International                                                          Petroleum

         Technology            Conference         Doha Qatar 20                  22 January IPTC 17688



               Coauthors Lu Chi PhD Student Texas                                  AM        University

               Qualitative       statement of contribution               Lu was a PhD               student      under my supervision              This work

               was performed under my supervision                        I       defined the project contributed                to   the development of

               the research frameworksolution and the interpretation                                of results and participated in manuscript

               drafting     and revision



20       Saneifar        M       Aranibar          A and      Heidari        Z 2013 Rock Classification                    in the    Haynesville      Shale
         Gas Formation Based                 on Petrophysical and                 Elastic    Rock    Properties Estimated               from Well Logs
         Presented              the       SPE Annual         Technical           Conference       and     Exhibition           ATCE          New
                                                  2
                          at                                                                                                                        Orleans
         Louisiana 30 September                       October      SPE 166328


               Coauthors          Mehrnoosh           Saneifar     PhD Student                Texas       AM          University        Alvaro Aranibar

               MSc      Student           Texas   AM       University

               Qualitative       statement of contribution               Mehrnoosh was a PhD                         student    under    my supervision
               Alvaro was             a   MSc      student     under   my supervision                   This     work    was     performed    under my

               supervision            I    defined     the     project           contributed       to     the       development         of   the    research

               frameworksolution and the                     interpretation         of results and participated                 in   manuscript      drafting

               and revision


19       Elliott        M       Everett      M      and Heidari        Z 2013         Forward Modeling                  of Induction      Log Responses
         for   Natural      and Hydraulic Fractures                Presented          at    the   12th    Scientific     Assembly        of International

         Association        of Geomagnetism and                Aeronomy            IAGA Merida Yucatan Mexico 26                               31    August

         This    is   not a fulllength paper



               Coauthors          Marcus                                                            Texas       AM                           Mark
                                             AM
                                                  Elliot   Undergraduate             Student                              University                 Everett

               Professor at Texas                     University Department of Geology and Geophysics

               Qualitative       statement of contribution               Marcus was a dual degree undergraduate student under

               my     and       Dr        Everetts    supervision            I    contributed        to    the       development         of the     research

               frameworksolution and the                   interpretation          of results



18       Chen         H     Kethireddy             N and       Heidari           Z 2013       Impact of          Spatial   Distribution of Kerogen

         Network on         Electrical       Resistivity of Organic              Rich Source Rocks                  Presented   at the   Unconventional

         Resources        Technology            Conference        Denver           Colorado         12         14    August SPE 168923               URTeC
         1619806


               Coauthors Huangye Chen PhD Student                                   Texas     AM          University       Nikhil     Kethireddy       MSc
               Student         Texas      AM      University

               Qualitative        statement of contribution                  Huangye was a PhD                       student    under    my supervision
               Nikhil     was     a       MSc     student     under    my supervision                   This     work    was performed        under my

               supervision            I    defined     the     project           contributed       to     the       development         of   the    research

               frameworksolution and the                     interpretation         of results and participated                 in   manuscript      drafting

               and revision




List   of Publications    Zoya Heidari                                                                                                         Page 24 of 29
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17       Aranibar          A Saneifar M and                       Heidari        Z 2013             Petrophysical          Rock     Typing         in Organic       Rich
         Source       Rocks      Using        Well       Logs         Presented           at    the     Unconventional               Resources               Technology
         Conference         Denver          Colorado          12 14 August SPE 168913                              URTeC         1619574



               Coauthors          Mehrnoosh             Saneifar          PhD Student                 Texas       AM        University            Alvaro Aranibar

              MSc         Student         Texas    AM          University

               Qualitative       statement of contribution                      Mehrnoosh was a PhD                        student     under       my supervision
               Alvaro      was    a       MSc      student       under      my supervision                      This   work      was    performed       under my

               supervision            I    defined       the     project             contributed           to    the     development              of     the     research

              frameworksolution and the                        interpretation           of results and participated                    in   manuscript           drafting

              and revision


16       Kethireddy          N    Heidari          Z and Chen H 2013                           Quantifying         the Effect       of Kerogen on Electrical

         Resistivity        Measurements                in     Organic Rich              Source            Rocks         Presented          at     the       Society     of

         Petrophysicists          and       Well       Log      Analysts         SPWLA                54th       Annual         Symposium New                    Orleans

         Louisiana 22            26 June



               Coauthors Huangye Chen PhD Student                                       Texas       AM                            Nikhil         Kethireddy        MSc
                                          AM
                                                                                                                 University

               Student      Texas                  University

               Qualitative       statement of contribution                       Huangye was a PhD                        student      under       my supervision
              Nikhil      was     a       MSc      student       under      my supervision                      This   work      was performed          under my

               supervision            I    defined       the     project             contributed           to    the     development              of     the     research

              frameworksolution and the                        interpretation           of results and participated                    in   manuscript           drafting

              and revision


15       Saneifar         M and           Heidari       Z 2013            Permeability Assessment in                        Carbonate Formations                   Using
         Conventional           Well Logs Required                  for   Prediction         of Acid Fracture Conductivity                         Presented        at the

         Society      of Petrophysicists               and      Well Log             Analysts         SPWLA              54th    Annual          Symposium New
         Orleans Louisiana 22                     26 June



               Coauthors Mehrnoosh Saneifar                             PhD Student Texas                       AM       University

               Qualitative       statement of contribution                      Mehrnoosh was a PhD                        student     under       my supervision
               This      work    was performed                under       my supervision               I    defined       the   project          contributed       to   the

               development            of the       research         frameworksolution                      and     the    interpretation           of results           and

               participated      in manuscript               drafting     and revision


14       Heidari      Z and TorresVerdin C 2012 Improved Detection of Bed Boundaries for Petrophysical
         Evaluation        with Well        Logs        Applications            to    Carbonate and Organic Shale Formations Presented

         at   the   SPE Annual            Technical          Conference and Exhibition                          ATCE San Antonio Texas 8                                 10

         October         SPE 159197


               Coauthors Carlos TorresVerdin                              Professor at         UT Austin
               Qualitative       statement of contribution                  I   started      this   project after I joined Texas                  AM           University

              as    an    assistant       professor          This    workPhD Dissertation However the
                                                                                 is    not     part    of    my
               developments in this project include some of the codes from my PhD project defined the                                                    I


               project      contributed           to   the    development             of the     research         frameworksolution                    computational

               codes the derivation of results and the                           interpretation            of results and prepared the manuscript




List   of Publications     Zoya Heidari                                                                                                                      Page 25 of 29
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13       Xu       C   Heidari          Z and TorresVerdin C 2012 Rock                               Classification       in   Carbonate        Reservoirs

         Based on      Static     and Dynamic          Petrophysical          Properties Estimated from Conventional                          Well Logs
         Presented          the    SPE Annual         Technical    Conference and Exhibition                       ATCE San Antonio Texas
         8
                       at

              10 October          SPE 159991


              Coauthors           Chicheng       Xu PhD Student UT Austin Carlos TorresVerdin                                          Professor at    UT
              Austin

                              statement of contribution             Chicheng was a PhD student under Dr TorresVerdins
                                                                                                  AM
              Qualitative

              supervision         I    defined this project after I joined Texas                           University as an assistant professor
              I   worked with Chicheng from Dr TorresVerdins                                 team to accomplish the work                  I   defined the

              project       contributed          to   the    development              of   the     research        frameworksolution             and    the

              interpretation           of results and participated            in manuscript          drafting      and revision


12       Popielski       A C Heidari Z and TorresVerdin C 2012 Rock Classification from Conventional
         Well Logs in Hydrocarbon Bearing Shale Presented                                  at the   SPE Annual         Technical       Conference and

         Exhibition      ATCE San Antonio Texas 8 10 October SPE 159255

              Coauthors Andy Popielski                      MSc Student UT Austin Carlos TorresVerdin                                  Professor at    UT
              Austin

              Qualitative         statement of contribution              Andy was            a   MSc       student    under     Dr TorresVerdins
              supervision          I   technically    contributed    to       the results related to the joint inversion                      of well logs

              and physical properties of the formation                       My   contribution           to this paper      was purely based on my
              PhD work


Section       B3 Works published or in equivalent status while in previous ranks at UT Austin

a    applicable



11       Heidari      Z Hamman J G Day P I Gorney D L and Alfred D 2011 Assessment                                                            of Movable

         Gas Saturation and Rock                 Typing Based       on the Combined                     Simulation     of Petrophysical Borehole

         Measurements             Presented      at the    Society of Petrophysicists and Well Log Analysts                             SPWLA          52nd

         Annual Symposium Colorado Springs Colorado                                    14 18 May
              Coauthors               Geoffrey     Hamman         Marathon             Oil       Corporation         Peter     Day      Marathon        Oil

              Corporation              David     Gorney       Marathon         Oil     Corporation            Dicman          Alfred    Marathon       Oil

              Corporation

              Qualitative     statement of contribution              I       performed       this       project    during   a summer internship          at

              Marathon Oil Corporation I contributed                         to the   development of the research frameworksolution
              technical     work and interpretation             of the results and prepared                   the manuscript




10       Heidari      Z TorresVerdin C and Preeg W E 2011                                        Quantitative       Method      for   Estimating     Total

         Organic Carbon and Porosity and                     for Diagnosing           Mineral Constituents from Well Logs in Shale


         Gas Formations Presented                 at the    Society of Petrophysicists and Well                     Log Analysts        SPWLA 52d
         Annual Symposium Colorado Springs Colorado                                    14 18 May
              Coauthors           Carlos TorresVerdin             Professor at         UT Austin William Preeg Consultant
              Qualitative         statement of contribution              I    performed          this    project    under the    supervision        of Dr




List   of Publications   Zoya Heidari                                                                                                         Page 26 of 29
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              Carlos     TorresVerdin        I    contributed       to       the   development of the research           frameworksolution
              computational        codes the derivation             of results and the interpretation               of results and prepared

              the manuscript



         Marouby       P   Heidari     Z and TorresVerdin C 2011 Assessment                                  of InSitu Elastic Properties of

         Hydrocarbon Bearing            Shale      with     the    Joint       Quantitative      Interpretation     of Sonic    Nuclear     and

         Resistivity     Logs Presented          at the   Society of Petrophysicists and Well                 Log Analysts SPWLA            52nd

         Annual Symposium Colorado Springs Colorado                                  14 18 May

              Coauthors       Phillipe    Marouby           MSc Student UT Austin Carlos TorresVerdin                             Professor at

             UT Austin
              Qualitative     statement of contribution              Phillipe        was a MSc         student   under Dr TorresVerdins

              supervision      I   technically     contributed       to       the results related to the joint        inversion of well logs

             and physical properties of the formation                        My contribution        to this paper   was purely based on my
             PhD work

         Heidari    Z and TorresVerdin C 2010 Estimation of Dynamic Petrophysical Properties of Water
         Bearing      Sands        Invaded       with      Oil Base           Mud     from       Multi Physics      Borehole     Geophysical

         Measurements         Presented      at   the     80th   SEG International           Exposition       and Annual Meeting Society
         of Exploration      Geophysicists         SEG Denver Colorado 17                            22 October

              Coauthors       Carlos TorresVerdin                 Professor at        UT Austin
              Qualitative     statement of contribution                  I    performed     this    project   under the    supervision   of Dr

             Carlos      TorresVerdin        I    contributed       to       the development        of the    research   frameworksolution

             computational         codes the derivation             of results and the             interpretation   of results and prepared

             the manuscript



         Heidari    Z TorresVerdin C and Preeg W E 2010 Improved                                         Estimation      of Mineral and Fluid
         Volumetric Concentrations               in Thinly       Bedded and Invaded Formations Presented                     at the   Society of

         Petrophysicists and Well Log Analysts                     SPWLA             51 Annual Symposium Perth Australia                   19

         23 June



             Coauthors        Carlos TorresVerdin                 Professor at        UT Austin William Preeg Consultant
             Qualitative      statement of contribution                  I    performed     this   project    under the   supervision    of Dr

             Carlos      TorresVerdin        I    contributed       to       the development        of the    research   frameworksolution

             computational         codes the derivation             of results and the             interpretation   of results and prepared

             the manuscript



         Heidari    Z TorresVerdin C Mendoza A                                 Ijasan    0 Voss B and Preeg W E 2009 Rapid
         Interactive     Assessment of Petrophysical                 and Geometrical             Effects     on Density and Neutron Logs

         Acquired     in Vertical and     Deviated Wells             Presented          at the   SPE Annual      Technical   Conference and

         Exhibition      ATCE        New Orleans Louisiana 4                         7 October      SPE 124879

             Coauthors        Carlos TorresVerdin                 Professor at        UT Austin Alberto Mendoza PhD Student
             UT Austin Olabode Ijasan PhD                          Student          UT Austin Ben Voss Research Associate UT
             Austin William Preeg Consultant




List   of Publications   Zoya Heidari                                                                                             Page 27 of 29
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               Qualitative      statement of contribution                  I    performed         this   project       under the         supervision      of Dr

               Carlos    TorresVerdin        I    contributed         to       the development            of the       research         frameworksolution

               computational       codes the derivation               of results and the                 interpretation        of results and prepared

               the manuscript



         Heidari     Z TorresVerdin C Mendoza A and Wang G L 2009 Improving                                                               the Assessment of

         Residual Hydrocarbon            Saturation with the Combined Quantitative                                   Interpretation        of Resistivity     and
         Nuclear     Logs      Presented    at   the Society of Petrophysicists                      and Well Log Analysts                    SPWLA           50th

         Annual Symposium The Woodlands                           Texas 21           24 June

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               Qualitative      statement of contribution                  I    performed         this   project       under the         supervision      of Dr

               Carlos TorresVerdin           Alberto and          Gong Li contributed                    to   development of forward simulation
               codes     for    modeling     of    nuclear        and          resistivity     logs           respectively          I    contributed     to   the

               development of the research frameworksolution                              computational               codes the derivation of results
               and the    interpretation    of results and prepared the manuscript



         Mohammadi             S Heidari Z Pendar H Alasty A and Vossoughi G 2007 Optimal Control of
         an Assisted       Passive     Snake Like             Robot     Using         Feedback           Linearization              Presented      at   the   31
         Mechanisms and Robotics Conference                          American Society of Mechanical                            Engineers          ASME Las
         Vegas Nevada 4              7 September



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               Qualitative      statement of contribution                  Saman and          I    performed           this   course       project   under the

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               and   computational         codes        the   derivation            of results       and the          interpretation         of results and

               participated     in manuscript          drafting




Section     B4 Works published or in equivalent status while in previous ranks at other institutions if
applicable


3        Basafa      E    Heidari    Z Tamaddoni H Mirbagheri A Haddad 0 and Parnianpour M 2007
         The    Effect    of Fatigue on Recurrence                 Parameters of Postural                       Sway      Presented          at   ISB    Taipei

         Taiwan      1     5 July



               Coauthors         Ehsan     Basafa         MSc          Student           Sharif      University               of    Technology          Hossein

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                                                                                                                                         Mirbagheri
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               Qualitative      statement        of contribution                I   contributed          to    the    development           of the      research

               frameworksolution            collecting         and     interpreting           the    data        and     participated         in   manuscript

               drafting




List   of Publications    Zoya Heidari                                                                                                             Page 28 of 29
                 Case 1:19-cv-00877-RP Document 69-3 Filed 02/23/22 Page 76 of 203




         Heidari      Z and Farahmand F 2007 Presenting a Novel Method to Diagnose Knee Laxity Using
         ANFIS        Presented      at   ICBME Tehran      Iran This paper         is   written   in Farsi




                Coauthors Farzam Farahmand                 Professor at Sharif University of Technology

                Qualitative   statement of contribution            I   performed    this     project   under the    supervision    of Dr

                Farahmand      I   contributed    to   the development       of the research        frameworksolution          collecting

                and   interpreting    the data and prepared        the manuscript



         Vossoughi         G Pendar H            Heidari    Z and Mohammadi S 2005                         Conception    and Dynamic

         Modeling       of an Assisted Passive         Snake Like Robot Using GibbsAppell                   Method Presented       at the

         29th   Mechanisms and Robotics Conference                     American Society of Mechanical              Engineers   ASME
         Long Beach California              24   28 September



                Coauthors      Gholamreza Vossoughi Professor                  at   Sharif University of Technology               Hodjat

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                Qualitative   statement of contribution        I   performed this project          my undergraduate final project
                under the supervision        of Dr Gholamreza Vossoughi                  I   contributed   to   the development of the

                research frameworksolution             the derivations of results and collecting            and interpreting the data

                and   participated    in manuscript     drafting




List   of Publications    Zoya Heidari                                                                                     Page 29 of 29
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ournal Paper         31


                     Effect of Water Salinity and                                                                                                                                                                   Water Filled
         Pore Volume on High Frequency Dielectric
              Measurements in Porous Media
                                                 Huangye                     Chen             Texas           AM          University                    and Zoya Heidari                              University              of Texas at Austin




        Summary
        High frequency                         dielectric             measurements have                            been     attractive             candidates                 for assessment of water filled                                  porosity in porous                    media            In the

        presence            of saline             water               the       water       molecules              lose     their orientation                       freedom            partially           because        of hydration                   with ions             and    make            these

        measurements                       sensitive             to    water salinity                    which       makes            the     interpretation                   of the        dielectric       permittivity                    measurements                challenging                     The
        effects        of water                salinity          on the          real       and     the imaginary parts                        of dielectric                  permittivity             have    not        yet       been       quantitatively              studied              in high

        frequency             eg               greater than                 1   GHz measurements We measured dielectric                                                              permittivity           of brine          at    frequencies                ranging         from        1    MHz to
        3    GHz       at   room temperature                                and       pressure conditions                        where         water salinity varies                            between 0 and 160                        kiloparts         per million               kppm We
        also       measured               the    dielectric              permittivity               of rock          samples               with    different brine                    saturations            Our experimental                       results         confirmed              that there

        exists       a critical            frequency                  above           which        water        salinity does               not     affect          the       real
                                                                                                                                                                                      part of the           dielectric             constant         and        such    critical
                                                                                                                                                                                                                                                                                          frequency

        increases           as water filled                      porosity              and    water           salinity increase                    At high           frequencies                 where       the    real part of the                 dielectric           constant              is    inde

        pendent            of the          frequency                  there       exists       a critical          water filled              porosity           below which                      water salinity has                  negligible effect                 on the         real part of

        the       dielectric              constant              However                 when        water filled               porosity            is   higher            than        this      critical     value         the       real      part of the            dielectric               constant

        slightly        decreases                by        increasing             water        salinity            Further            the     results          showed               that   at    frequencies             greater          than the         critical
                                                                                                                                                                                                                                                                           frequency                  there

        is    a    critical       water salinity                      below           which         the imaginary part of the                              dielectric                constant         increases          as the          water       salinity increases                        whereas
        the       imaginary part of the                               dielectric             constant          decreases              if    the    water        salinity exceeds                      the    critical         value The              quantitative               results             on     the

        effect       of water              salinity             on     dielectric             measurements                  can        potentially              improve               interpretation           of dielectric                  permittivity             measurements                        for

        reliable assessment of water filled                                            porosity              and hydrocarbon                  saturation




        Introduction
        Dielectric            permittivity                  of porous                 media        is    defined       as the          ability of porous                      media         to polarize        and        to store electric                   charges           Complex rela
        tive      dielectric              permittivity                ie dielectric                     constant          of the porous                  media          is
                                                                                                                                                                               expressed as



                e = ei                            f= efEi27E41 +iex                                                                                                                                                                                                                                        1
        where         so    is    free space                permittivity                    that    is
                                                                                                         equal       to     8854 x 1012                        Fm €1®                 is   the      real
                                                                                                                                                                                                           part     of the          dielectric           constant              and        8f         is    the

        imaginary part of the                              dielectric            constant               which       usually           refers       to the       loss of the                energy          within the          medium and includes                             two terms The
        first      term     is   a function                 of conductivity                    of material                cr     at   frequency and the second                                      term      c     is    the dipolar relaxation                          which           is    negligi

        ble in downhole                        dielectric             tools with             measurement                  frequencies              of    less       than        11     GHz          Dielectric           measurements                    are    widely used                in       the   pe
        troleum            Gilmore et                      at     1987           Hizem             et    at     2008           and      agriculture                 Nelson             1991          Lawrence            et        al    1998        industries                as    well           as    soil


        sciences           Shao et al 2003                              for assessing water filled                               porosity           of    formations                   sensing the           moisture               in grain        and seed and                    investigating

        the       effect      of the           soil        salinity          on the          backscattering                 coefficient                 respectively                  In     this    paper         the    term dielectric                      constant              refers         to    the

                           relative             dielectric
        complex                                                        permittivity

                Electrical         resistivity                  logs        have been              conventionally                     used     to assess             in situ petrophysical                     properties                of     formations             such          as hydrocar

        bonwater              saturation                   However                in   formations with                    low water               salinity           strong heterogeneity                      or conductive                     rock      components                 such          as    py
        rite      and kerogen                    interpretation                       of    electrical         resistivity                 measurements                   become              challenging                Little          et    al   2010            Passey           et    al        2010
        Kethireddy               et       at   2014 Chen and Heidari 2016 Because                                                       of the previously                       mentioned             limitations              associated            with interpretation                        of elec

        trical     resistivity                 measurements                       dielectric             logs      have        become             attractive          options              targeting         diverse           applications               and       different formations

        Hizem et              al          2008         Dielectric                 logs       can        be    applied          to estimate              residual              oil    saturation            Schmitt            et    al    2011       Serag           El    Din et          al        2011
        Brahmakulam                       et al       2011 and                  for    in situ      enhanced              oil
                                                                                                                                  recovery              Arora et al 2010                          In addition dielectric                        measurements have                         proved            to

        be      reliable for assessment of water filled                                             porosity           in   heavy oil and freshwater                                   formations            Mosse et al 2009                        Little          et at      2010            as well

        as formations where                           little          mud filtrate            invasion             occurs        Brahmakulam et al 2011
                The    dielectric               permittivity                    of rockfluid                 systems        is    controlled             by     four          main dielectric                mechanisms                       interfacial           polarization                electro

        chemical            polarization                    molecular orientation                              polarization                 and     electronic                 polarization                Interfacial             polarization                which       is       attenuated              at


        high frequency external                                 electric          fields       is   usually controlled                       by rock           texture          and        ions     ie the Maxwell Wagner effect surface conduct
        ance        and     nonconductive                         inclusion             Dukhin               and    Shilov        1974            Grosse 1988                       Electrochemical                polarization                 which          is   correlated            to the          cat
        ion exchange                      capacity              Lasne            et    al     2008 Sen               1981a             b     1984         Wong                et at        1984        is    dominant               in    lowsalinity and                      low frequency
        conditions               In the                                of an external                   electric       field          water       molecules                            their individual              electric                                        the external               electric
                                                presence                                                                                                                  align                                                          dipole      along

        field       which         results             in   molecule orientation                              polarization                  Compared             with water molecule orientation                                         polarization                electric         polarization

        is   relatively            weak and                 usually             relates        to   rock matrix                  permittivity                  Hizem et              al     2008 introduced a multifrequencydispersion tool to
        measure            the     formation dielectric                               constant           at multiple frequencies                          from 20 MHz                       to 1 GHz They used the dielectric measurements at a

        frequency             of      1    GHz         to       estimate              the    formation water filled                          porosity               believing              that     interfacial          polarization               at    1    GHz        is   negligible                 and
        water       molecule               polarization makes the                              most           important contribution                           to    the dielectric               permittivity

                Although           there          have           been           conventional                 techniques               for    assessment of                     water filled            porosity          by        use    of dielectric               measurements                        the

        interpretation                    of    dielectric             measurements                      remains            challenging                 because               dielectric            properties           of    porous           media          are    sensitive                to    pore



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        2017       SPE Reservoir                Evaluation              8c      Engineering
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             ournal Paper            32
                GEOPHYSICS       VOL   82 NO 6 NOVEMBER               DECEMBER           2017 P D327 D339              13   FIGS    3 TARI                                                                                                            Check     for   updates
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                Application                        of         nanoindentation                                          for uncertainty                                 assessment                            of        elastic

                properties                        in    mudrocks from micro to                                                                  well log                 scales




                Clotilde          Chen Valdesi                          and Zoya                    Heidari2




                                                              ABSTRACT                                                                          the microscale           and their impacts on well logbased                            evaluation          of

                                                                                                                                                effective      elastic      properties        We     performed            nanoindentation                me
                         Uncertainty         in   estimates       of elastic       properties            of    soft    mudrock                  chanical       tests   on    samples         from     the   Haynesville              and        the    lower

                                                                  minerals and                                can
                      components           such    as    clay                             Icerogen                    influence                 Eagle     Ford Formations              to    measure        Youngs modulus and hard
                      well logbasal          evaluation          of     effective      elastic       properties             in     or           ness    at targeted       locations         Then we quantified                  the    variability         of

                      ganic rich    mudrocks Existing methods such as effective                                        medium                   Youngs modulus                in the    microscale          and     its    impact          on    effective

                      models     for   well log based             assessment           of elastic             properties           as           elastic   properties        at the   micro and            well log scales             Results          reveal

                      sume a     constant     stiffness       and an idealized            shape for rock                compo                   significant      uncertainties          in    measurements                of   elastic          properties

                      nents     However       these characteristics               might vary depending                      on the              of soft rock components                 associated          with their location                 and     size

                      distribution     and    size      of that    particular       component                  as well       as    its
                                                                                                                                                Youngs moduli of individual clay components                                      are higher when

                      adjacent    components             Furthermore              there    is   a significant               uncer               located      adjacent     to stiff   rock    components           such as        large quartz            and

                      tainty in elastic       properties        of kerogen          in the      case      of organic          rich              calcite      grains    Results       reveal that       25 and 12                 uncertainties             in


                      mudrocks         The    uncertainty         associated           with     the      aforementioned                         measured        elastic     properties       of clay      minerals affect well logbased


                      parameters       on    effective        elastic    properties        of rocks            has not        been              estimates       of effective     elastic      stiffness     coefficients          up to         29 and
                      investigated     in existing publications                   In   this
                                                                                                paper          we quantified                    11 in the Haynesville                  and      the    lower Eagle             Ford Formations

                      the variability in elastic          properties         of individual mudrock                      compo                                      These       uncertainties          can be more                                 in   cases
                                                                                                                                                respectively                                                               significant

                      nents   caused       by their spatial        distribution           size      and rock           fabric at                with a higher concentration                   of clay       minerals and              lcerogen




                                                   INTRODUCTION                                                                                 the volumetric concentrations                   of the rock components and they                                 as
                                                                                                                                                sume that the rock components                        are regularly         shaped           and       within the
12862562




                     Reliable    characterization             of mechanical              behavior             is
                                                                                                                   challenging                  elastic      deformation         regime            Consequently                laboratory              measure
                in organic      rich formations Mokhtari et al                            2013           yet required              for
                                                                                                                                                ments           used                        for the limitations            introduced
                                                                                                                                                          are             to correct                                                              by wireline
                geomechanical            modeling         Ostadhassan               et    al 2012                   successful                  resolution and         micromechanical                models      in   well log based estimates

                fracture     treatment       Serajian         and Ghassemi                2011           and       postfractur                  of rock mechanical              properties
 to
                ing analysis       Mechanical            behavior         in     mudrocks           is   often        evaluated                      Corescale         measurements            of rock mechanical                 properties             provide
2717




                through                     methods       for well log based                  assessment of elastic                                                                           mechanical                                              formation
                              existing                                                                                                          an    accurate     description         of                         behavior            in    the

                properties       which      assimilate rock             mass stiffness Well log based                              as           However                                                                                               and exper
                                                                                                                                                                the availability        of core       samples       is    very    limited


 0              sessment        of mechanical           properties          is   commonly           carried           out    using              imental procedures             are often       time       consuming            and    costly           therefore

                a    combination of conventional                      and    advanced           acoustic            well      logs                                     are selected          and spaced                              of interest which
                                                                                                                                                core    samples                                                at      depths
Downloaded




                                rock physics           relations        and mechanical                   homogenization                                          be representative                        mechanical           model Furthermore
                empirical                                                                                                                       might     not                                  for    a

                formulations         However rock physics                        formulations             commonly use                          in
                                                                                                                                                     organic    rich formations              successful      core      recovery        is   a common            is

                ideal   assumptions         such as linear elasticity of the rock                         mass Further                          sue    due to uncoupling             of interbedded         phases and laminations created

                more mechanical              homogenization                 formulations             only account                  for          by    clay    minerals and           natural    and mechanical                 fractures              Moreover




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       EXPERIMENTAL QUANTIFICATION OF THE IMPACT OF THERMAL MATURITY                                                          ON KEROGEN
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       Society of Petrophysicists           Well    Log Analysts


       Dear Dr Zoya Heidari


       I    am pleased to tell you that your work          has    now been   accepted   for   publication    in   Petrophysics



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       Reviewer     2 The       authors have adequately responded to all           of my comments           during   the   revision   process   I   have   no

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Estimating spatial distribution of natural fractures                                                                                                              by changing                                  NMR T2
                                                                                                                                                                                                                                                             11           CrossMark


relaxation                      with magnetic nanoparticles


Cheng An                        Bicheng             Yana Masoud                         Alfi      a Lidong Mi a John E                                            Killough                a Zoya               Heidari


    Department     of Petroleum      Engineering       Texas   AM     University College         Station       TX USA
b

    Department     of Petroleum      and    Geosystems    Engineering     The   University       of Texas      at Austin      USA




ARTict               E    INFO                                                    ABSTRACT

Keywords                                                                          Natural        fractures       have been           widely found                and thought           to   be an important             factor       in   creating      a complex          hydraulic
Natural fractures
                                                                                  fractures       network and improving hydrocarbon                                     production          in    shale reservoirs            Nuclear       magnetic           resonance            NMR
Shale    gas   reservoirs
                                                                                  is   extensively          applied         to    measure            in situ      petrophysical             properties           and    magnetic           nanoparticles             provide             good
Magnetic       nanoparticles
                                                                                  contrast        agents       to   distinguish hydrogen                     relaxation            time     for    NMR         The    objective       of    this
                                                                                                                                                                                                                                                     paper      was       to    estimate
NMR      logging
                                                                                  spatial       distribution         of natural          fractures       in      shale gas         reservoirs       by applying magnetic                   nanoparticles             to   change          the

                                                                                                                                                                                  3D reservoir model including multiple natural
Ts   relaxation    time
                                                                                  NMR       relaxation times                Firstly      a threedimensional                                                                                                          fractures           was
                                                                                  built    to   investigate          the flow of nanoparticles                         and the      distribution          of volume magnetic                susceptibility            VMS when
                                                                                  injecting       magnetic          nanoparticles              The     sensitivity        analyses          about nanoparticle               concentration            and nanoparticles                  size


                                                                                  were      investigated             Secondly            a    forward model              was        introduced          about     how     to    obtain CarrPurcellMeiboomGill

                                                                                  CPMG echo decay                        trains    from given           relaxation times                  Thirdly an            inversion       method          was     presented          to   convert

                                                                                  the     typical      CPMG         echo decay               curve    into       the   distribution          of 72        relaxation amplitudes and                     times     The          inversion

                                                                                  method         was     used       to   show       the change           of 72         amplitude and              time     for   the two        synthetic cases               with    and       without

                                                                                  magnetic         nanoparticles

                                                                                  The     dynamic        distribution            of nanoparticles                concentration            and     VMS are graphically displayed along each time step
                                                                                  in   3D mesh The              results      show        that
                                                                                                                                                 magnetic          nanoparticles             bring  much larger VMS while most nanoparticles   only

                                                                                  flow     into    these       natural       fractures         NF       directly         connected           with wellbore             The     others       NI       have     somewhat              higher

                                                                                  VMS than matrix Additionally based on various                                              sensitivity      cases       a higher concentration                    of nanoparticles            yields a

                                                                                  stronger magnetic                 field    and      larger         nanoparticle            size    could       lead     to   higher    VMS although the nanoparticles                                  face


                                                                                  stronger flow           resistance         and     less diffusion              movement The                CPMG decay              curve     is   a multi dimensional                 exponential

                                                                                  function        related           relaxation amplitudes and times                                and the        least                 minimization                              can      be applied
                                                                                                               to                                                                                         squares                               technique

                                                                                  to   obtain the 72 amplitudes from CPMG                                curve          The       comparison         between         two synthetic cases                shows        the amplitude

                                                                                  for small       T2   time increases              and the amplitude                   for             72 time reduces               which                      a   clear     indicator             detect
                                                                                                                                                                             large                                             provides                                        to


                                                                                  the     locations       of    natural          fractures       because          their       72    largely       reduce        The     nanoparticle            model provides                  valuable

                                                                                  guidance        about        choosing          parameters           for   optimizing             magnetic        nanoparticle          injection         design       to    enhance          VMS and
                                                                                  NMR       signals       The       inversion model                  introduces         an    efficient      path       for    estimating       T2    distribution            and petrophysical

                                                                                  properties from              the acquired              NMR CPMG signals                      Additionally magnetic                    Nanoparticles               provide excellent                relax

                                                                                  ation contrasts           to      distinguish          the magnetization                   signals      of formation           for   estimating the               spatial    natural         fractures


                                                                                  distribution          Consequently                in situ      fracture        characterization and the development                               of hydraulic             fracture     treatments

                                                                                  could     be    beneficially           improved




1       Introduction                                                                                                                           permeability into profitable                             pay zones            Tight gas          reservoirs        are currently

                                                                                                                                               providing           more and more gas                       production          to the      world and the increasing

       Unconventional                reservoirs     have       been     explored        to bring         huge success                          trend        is   expected            to     continue            Natural        gas    from shale               plays       currently

in   satisfying growing energy                     demands       based     on the brilliant              technologies                          contributes              about        16     percent        of    US      natural          gas   production                and       it   has

which          make       once marginal                 economic          formations               with        extra low                       the     potential             to     significantly              increase        Americans               security           of    energy




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                                         PGE Budget Council Statement
                                                                             For

                                                        Zoya           tleidari         PhD

                                 Teaching Contribution                                     Effectiveness


Portfolio



Dr Heidari            has taught       one undergraduate course and two                                      graduate       courses       at   UT The
undergraduate course                  that    she taught was                 PGE337       Introduction               to Geostatistics            and the

graduate        courses        were     PGE383               Rock           Physics     and     PGE385K                Advanced            Multi Well

Formation Evaluation                  She has also taught one undergraduate course PETE321                                                  Formation

Evaluation           and one graduate                  course      PETE608            Well Logging                  Methods        at    Texas     AM
University before moving to                        UT She taught her undergraduate                              class    at   UT twice with the
                     of about 60 students                   both semesters however                       the number of students                    in her

                                                   AM
registration

undergraduate class at Texas                                  ranged from 113 to 171                         students       Her graduate          classes

     UT had registration               of 8 and             15 during        the   semesters            she taught the graduate                  courses

                                                                                    AM
at

while registration            for her graduate                         at Texas                 ranged form 23 to 39 students                            She
                                                                    AM
                                                             class

has taught 837 students                736 at Texas                            and 137        at   UT during the time she has been
an assistant professor at both institutions She is planning                                             to   develop     a new graduate                level

class     entitled     Petrophysics of Unconventional                              Reservoirs            Her teaching             portfolio       is    very

good and the course she is planning                               to   develop would            be an excellent course considering

the popularity          of the subject matter at the present                          time



Comparative Ranking


Dr Heidaris            teaching       evaluations for her undergraduate class at                                    UT have been above the
course        evaluations       of the other instructors                     who have taught the same course                             in the    recent

past and also have               been above                 or inline with the            College             average        The        undergraduate

geostatistics         class that      she has taught for two semesters                             is   a difficult     class       for the students

due     its   mathematical        nature           however             she has     made excellent efforts                    to   make      the course

more      interesting        and understandable by using                           real field       problems           in   her lectures          and by

preparing           applied     homework                problems             and   emphasizing                the     need        for   geostatistical

methods         in    field    applications                 Table       1    presents     her       teaching          evaluations          scores         for

spring 2016 and spring 2017 as well as the scores                                         for      other instructors              who have        taught

the course          in the   recent years and the College average                             for spring            2017


Table 2 presents             her teaching          evaluation scores for the graduate                          level    courses she has taught

at   UT and a comparable graduate                            level      course     that   she taught at Texas                     AM       University

before joining our faculty                   at   UT as well as the College average                             for   spring       2017        As it can
be seen she has been receiving excellent evaluation scores by the students                                                         registered          in the

class      Her approach          in   teaching the graduate                     classes    has been project oriented                           She uses
field    data in her lectures as well as the assigned                              projects to stress            application            of the theories

and methods            that   are covered              in   the    course       Dr Heidari              also supplies             the students          with

software that are developed                       in   her research          group for formation evaluation                         in order for         the

students       to   become familiar with the most recent developments in the subject areas and use
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the codes in their course projects                   The students          are also responsible to develop             their      own
software to be used in conjunction                    with their class projects for interpretation                 of field data



Table 1 Teaching           Evaluations         for PGE 337 Introduction                   to    Geostatistics      S and F stand
for spring     and fall   semesters respectively                     S16 and S17 Columns            1   and 2 show the scores
for    Dr Heidari Columns 37 present                           the   instructor    and course evaluations for PGE 337

taught    by other instructors            at the   PGE department

Column No                        11                                            I
Semester                                                                                                                    CSE
                                MIN                ZEIT          F16       110k      S15          S14        F14
                                                                                                                             Avg
                                                                Other    Other      Other       Other     Other
Professor                    Heidari          Heidari
                                                                PGE      PGE        PGE         PGE       PGE
Instructor                                                                                                                  425
                                445            405              345       355       415          425        405
Evaluation                                                                                                                  S2017
                                                                                                                            405
Course Evaluation               405            375              315       345       375          395        385
                                                                                                                            S2017


Table 2 Summary of graduate level courseinstructor                                 evaluations          S and F stand for spring
and    fall   semesters respectively                Columns           12 and 35          represent      Dr Heidaris         teaching

evaluations at      UT and TAMU respectively

Column         No                     1                    2               3                4                                 6

                              PGE385K               PGE383            PETE608        P1TE608             PETE608             SE
                                  F16                     F15
CourseSemester                                                           F14              F13               F12             Avg
                                                                                                                            UT
                                  UT                      UT            TAMU             TAMU             TAMU
Instructor                      445                   495               4285             4525              4495             415
Evaluation                                                                                                                  F2016

Course Evaluation               415                   465                NA               NA                NA              395
                                                                                                                            F2016

Number of                             15                   8              39               32                23

Students



Two of our budget          council          members have observed                  her teaching and found her to be an

excellent      teacher    who   is     engaging           and motivating           and    well    prepared for her lectures
Professor TorresVerdin in his evaluation of her lecture states                                   I believe that Prof Heidari
has a genuine interest in teaching                   engaging          and motivating       her students       The high quality
of her presentations          notes         and Matlab           programming         codes      clearly    indicates   that   she   is



very serious about teaching and that she spends a great deal of time preparing for it                                         She   is


also concerned       about    articulating          her class with other undergraduate courses                     taught     in our

department and makes            conscientious              effort at    reinforcing      concepts       taught and practiced in

other courses       Dr Heidari         is   also keenly aware             of ABET course requirements and follows

the    corresponding      guidelines         for    before and after analyses               and summaries It           is   obvious

that   she gained     a great deal of good                     experience teaching         large   undergraduate classes            at

TAMU There also several                     letters in her file          as supporting         documents from the students
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who were students             in her classes          while she taught at Texas             AM          University            they all attest
her teaching effectiveness                   and her devotion and            interest in teaching




Graduate student              Advising


She    currently       supervises            8 graduate        students      5 PhD and            3    MS    students               one of the
MS     students        is    co supervised             by     another      PGE      faculty           She    also        is     involved       in


supervisory           committees             of    several    PhD        students     in    the    department                 Her     load    for

supervision of graduate                 students      is   similar to the average          number of students supervised by
the associate         professors in          PGE        She graduated         4 PhDs        as    sole supervisor               and        one as
                       and    5   MS         students      as sole supervisor and 3 as co supervisor                                       Texas
AM
co supervisor                                                                                                                   all   at




Awards and Teaching                     Recognition



She received           the    2015                      of Petroleum                          Innovative            Teaching           Award
                                                                                                                                           AM
                                         Society                             Engineers

She has also taught workshops for Geology and Geophysics Department                                                      at    Texas

during     20152017            She served             as    the   Vice President of Education                   for       the       Society    of

Petrophysics          and     Well       Log       Analysts        She also      initiated        and      conducted            a workshop

entitled    Symphony              of Rock          Fluids in the      Subsurface           for    middleschool                girls   in    order

for   them       to   become       familiar        with the oil and gas energy sector                   and as well to encourage
them to choose a career                 in   the    energy sectors         She has taught a course                   in       the    formation

evaluation        area for        the    distance      learning     students     at   Texas       AM         this   is    very important
for   PGE department since                   the department         is   planning     to offer        an   MS degree program for
students     who      are interested in             obtaining       degrees    via     distance         learning         her        experience

in this     regard     will    be very            valuable for PGE department




Concluding Remarks


Based on student             comments              CIS comparative rankings peer evaluation and evidence                                       of

continuous        improvement Dr Heidaris                         teaching    record meets or exceeds                 expectations            for

nrnm nti nn




 MI 1121
Kamy Sepebinoori Chair
PGE Tenure and Promotion                       Committee




  ht   t   tIt


Maul       M     Sharma




Eric van     Oort
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                                                 Candidates                    Summary of Teaching


                                                    Table    I Summary of CourseInstructor                             Ratin



                                                      Metric                                                                      Value
                   Total           of students      taught   in   organized courses                            873     736 TAMU                137   UT
                   Average instructor evaluation                    for   UG courses                           UT 425 TAMU                      3955
                   Average instructor evaluation                    for Grad courses                           UT 4655 TAMU 4435
                   Average course evaluation                  for   UG courses                                  UT 3855 TAMU NA
                   Average course             evaluation      for Grad courses                                  UT 4355 TAMU NA


                                                          Table 2 Course Schedule                  by Semester


 Course           Fll              S12         F12           S13             F13           S4           F4              S15             F15           S16           F6        S7
PGE 337                                                                                                                                               58                      56

PETE 321                            145                       171                          158                              113

PETE 311           45

PGE 385K                                                                                                                                                             15


PGE 383
PETE 608                                         23                          42                           39




                              Table 3 Summary               of Graduate        Students      Currently Supervised                      at   UT Austin


          Student       Name                   Co
                                           Supervisor
                                                                                   Start

                                                                                   Date
                                                                                                 Date   Reached

                                                                                                  Candidacy
                                                                                                                            Date    Expected
                                                                                                                            Reach Candidacy
                                                                                                                                                to          Expected
                                                                                                                                                      Graduation       Date

          Saurabh Tandon                                            PhD           092015         Slimmer 2017                                             Summer 2018
          Artur    Posenato                                         PhD           012016                                    SummerFall 2017                 Fall   2019

                 Garcia

      Archana       Jagadisan                                       PhD           092016                                           Fall 2017              Summer 2020
      Andres Gonzalez                                               PhD           012017                                           Fall 2018              Summer 2022
       Chelsea Newgord                                              PhD           092017                                           Fall 2018                Fall   2022

          Sonia Arumdati                                            MS            012016                                                                    Fall   2017

                 Purba

          Mohammed            Al                                    MS            092016                                                                  Summer 2018
                 Obaidi

       Naif      M AlRubie            Dr    Carlos Torres           MS            092016                                                                  Summer 2018
                                           Verdin   PGE




                     4 Summary of Graduate Students Currently Supervised                                               at   Texas     AM         University


                                               Co                                  Start         Date   Reached             Date Expected       to          Expected
       Student      Name                                            Degree
                                           Supervisors                             Date           Candidacy                 Reach    Candidacy        Graduation       Date

           Kai                       John Killough PETE              PhD          012013           May 2017                                                May 2018
                 Cheng
                          I




          Provide name of co supervisor and department




          My students at Texas         AM      University    were   assigned   a co supervisors   after   I   joined   UT Austin
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                                                                                          Statement                     of Teaching
                                                                                                            Zoya Heidari

Teaching            has always               been a joyful and                         fascinating           experience                 for   me         It       provides             me the opportunity                        to   share         my
knowledge and passion about my field of expertise with the next generation of scientists and engineers who can initiate
                    in the world I do my best to make this experience joyful for the students as well and to lead them
significant changes

to        excellence       My ultimate goal as a teacher                                    is   to       inspire      students          to    discover               the    knowledge            within themselves                             I   not

only explain fundamentals                                  and course materials but                               also      encourage               the students                   to    think    and contribute                      in    class

Consequently the students                                will       be motivated grasp a deep                                understanding                        of the subject and enjoy                         their          courses                In

all       my lectures I build a friendly and at the same time professional                                                                    relationship                  with       my students               explain the course
material with plenty                       of real life                                 and simple experiments give them confidence                                                           and motivate them                             learn

                                                                                                                                                          AM
                                                                    examples                                                                                                                                                           to


discover            and enjoy               the    beauty            of science             and engineering                       At Texas                                  University           TAMU                   I        have       taught

Petrophysics           PETE 311 and Formation Evaluation PETE 321 to undergraduate                                                                                                        students           and Well                 Logging
Methods             PETE 608 to graduate students At The University of Texas at Austin                                                                                                    UT          Austin            I    have           taught

Introduction           PGE 337 to undergraduate students and Advanced Multi Well Formation Evaluation
                          to   Geostatistics


PGE 385K and Rock Physics PGE 383 to graduate students   These courses have given me the opportunity to


               graduate         and undergraduate students in my research activities
engage


Undergraduate Teaching
Table 4 summarizes                         the    course         and instructor                evaluations              in   my undergraduate level classes                                       both       at    TAMU and UT
Austin   At the undergraduate level my main teaching responsibility has been Formation Evaluation PETE 321 and
Introduction  to Gcostatistics PGE 337 at TAMU and UT Austin respectively I once co taught Petrophysics PETE
311         with Dr        Hisham NasrElDin                                in   fall    2011     at       TAMU

                   My primary undergraduate teaching responsibility at TAMU was Formation Evaluation PETE
Formation Evaluation

321 with 110 170 junior students per semester The challenge with teaching Formation Evaluation that students                                                                                                           is


need        to integrate         evaluation                of different types of formation measurements                                                       simultaneously which look confusing                                                   at   a

first       glance        but    I       turn it   into         a   fascinating             game           for    the       students          by showing                    several           field   examples               in class               and

engaging            students             in solving        the      puzzle of what the subsurface looks                                        like      based         on the data they analyze To fulfill                                          my
goal of        making           the        Formation Evaluation                           course            fascinating           for         the    students                I    renovated           all    the      existing             course

materials including                        lecture         notes       and homework                       assignments               I    included                 new well log                interpretation                techniques                   in

the        course content                 and prepared                 a    course        package             including             plenty           of       field         examples           of well           logs        I    used          these

                                                                           course material                   in homework                                                or in lab sessions for group exercises
examples during the                        class to clarify                                                                              assignments

Homework                 assignments               and group               projects         play an           important role in                      my undergraduate                          classes       to       help students                      to

understand               and     master            the         course       material             while        applying              them            on        real life           problems            and        to    learn          to        work

collaboratively as will be expected of them                                              in their future               careers          From the feedback                          I    have received             from my students
in        Formation Evaluation                     class homework                        assignments                and the examples have been very                                             effective          in their            learning
                I       also   added an introduction                            to     formation evaluation                       of organic                  shale to           the    course material to educate                                  the
process
students about                 the       current     challenges                 of our industry                   Furthermore                  I    modified                the    ABET syllabus                   of this course                        at

TAMU and included these new additions to the course definition After the semester of teaching a large Formation                                               first


Evaluation class decided to get feedback from TAMU Center for Teaching Excellence
                                     I                                                 to enhance   my teaching
performance                The feedback                    I   received              from    the          experts       significantly                helped            me to improve my teaching                                      skills             A
Classroom Observation                             Feedback Form from Ms Carolyn L Sandoval                                                           is       attached            to   my package

Table         4         Summary             of
                                                  my       undergraduate level                            courseinstructor                    evaluations                    S    and F stand                for      spring           and          fall



semesters               respectively              Columns 12 and 37 represent my teaching evaluations                                                                       at    UT and TAMU                     respectively

    21111111111111105                                  1                                              3                       4                               5                                                                             8

                                                  lGE337               P6E337                PETE321                    11TE321                     PETE321                             F1321                1   F311
    111f71=71711111
                                                   S17                      S16                    S15                       S14                         S13                                                                          10131MN
    Iii           ftI    aluation                                           40                   1    I                     4045                     4225                          3435                     3895                        425
    Course      Evaluation                                                  375                   NA                         NA                                                        NA                    NA                         405
    Number of Students                              5c                          58                    113                     158                         171                           145                  45

    Final     Student      Grade                   3124                     324                  3084                        324                      3084                         2834                     2914



            my course evaluations comments and scores at TAMU                                                                    to my package  TAMU has an online course evaluation
I
    All                                                                                                             are attached


system The average                       participation          rate   in
                                                                            my course evaluations                      at   TAMU was approximately 70 which    considered to be high                    is


for an online evaluation                     system The              overall         evaluation           score   is   an average         of the grades                 assigned to the following                      categories               class

preparation             assignments              communications                      responsiveness              academic         concern            availability                fairness      in grading          and environment




Statement of Teaching                            Zoya Heidari
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Introduction                           to    Geostatistics After joining                                UT Austin               I    was asked                    to   teach            Introduction                    to Geostatistics                      PGE 337
to    undergraduate                            students            Accepting               to    teach        this      course        was considered a move                                               to       push myself out of my comfort

zone            in   my teaching experience                                    because            it    was not directly related                              to   my research expertise Moreover                                                     Geostatistics

is
      typically                   considered        among the least favorite courses in the petroleum engineering departments I could sense this
                                                        I walked into the classroom and immediately decided to change this mentality at UT Austin
challenge the first                            day that

Geostatistics                          is    considered                a mathematics oriented                            course          in    petroleum                     engineering                           and students typically see it                           far


from            real life                   challenges             in    their       future            career       Another               challenge                    in      teaching                   this        course       at    UT         Austin           is   that


sophomore junior                                  and senior                   petroleum                engineering                 students                 as    well            as            students            from the Jackson                           School      of

Geosciences are all                               allowed               to    enroll        which            creates          a wide           range of educational                                       background               and knowledge                      in the

class            As an instructor                           it    was challenging                       to   keep        the    course             interesting                    and engaging                         for this         wide audience                     The

approach                     I    took        in the    Introduction                 to     Geostatistics                course          was to make                         it
                                                                                                                                                                                   appealing                       to the   students           by clarifying               the


importance                        of Geostatistics                     knowledge                in real life            and oil field applications                                      and by providing plenty of real life                                               and

petroleum related                               examples                 I    prepared            practice          packages                  including                 plenty                   of examples                 to    help        students             see    the


application                       of        Geostatistics               in the       petroleum                industry and                    their         daily       lives                I
                                                                                                                                                                                                  redeveloped                the    course materials for

Geostatistics                          and prepared more than 30 short Matlab codes                                                       to       help the            students practice the concepts                                          in the          classroom

and afterwards In my Geostatistics                                                       classes         students are asked                        to       bring their laptops                                to    the classroom                 and use Matlab

to    practice                   the concepts               by applying them                           in   realtime           to the          field         data        I     soon              realized            that   Matlab        is       also
                                                                                                                                                                                                                                                               among the
least           popular                 software            packages            for       petroleum               engineers           at       UT           Austin                However                      I    did not stop trying                        to make it


interesting                       for       them by showing                     how        the Matlab               codes           can       expedite             achieving                       outcomes                 from actual              field         data    and

large data                       sets       and by explaining the importance                                       of computer                 programming and its applications                                                    in their future                   career


One of my objectives                                   in        my Geostatistics                      class      was to help students enjoy                                        this           course            and learn          skills       which can be
used            in their future                  career            I   aimed         to   change            the    typical mindset about Geostatistics                                                         which makes students think it                                 is


boring and useless                               when they first take                       it     I    learned that            I   was successful in achieving my goals based on the comments
that       I    received                    from my students                        especially              during the second                          semester              that        I       taught the course                      One of my students
wrote            in         the        final    course evaluation                         Coming into                    this       class          I    honestly                  thought             I    was not going                 to        like       it   But Dr
Heidari changed that                                   She communicated                          the        material very             well one of the best professors                                                   I   have    had at pure teaching
I    found              that       I    came to enjoy                   the    material and                  saw its importance                             and applications                          in       the    industry Table 5 compares
courseinstructor evaluations                                            during the               two semesters that                       I
                                                                                                                                              taught          this       course                  to   those from previous                           semesters


In sum                  I
                            enjoy every               moment of teaching undergraduate students The admiring comments from the students are good
indications                       of the       fact    that       my students enjoy my course as much as I enjoy teaching them The majority of my students
in large size classes                             strongly say                      She cares               about       all    her students and                         their progress



Table             5 My teaching performance                                               in    PGE 337              Introduction                       to    Geostatistics                               S    and F stand              for        spring and              fall


semesters                        respectively                 1   was         the   course          instructor            only during                       S16 and S17 Columns                                         1    and    2 Columns 37 are
representative                              instructor        and course evaluations                              for    PGE 337 taught by other instructors                                                           at the      PGE department
          Iii    iiii                                                                                                                                                                             6                                                       8

     SL   In     1                                                                                                                                                sI 5                                                114           ollege            11 g         2017
    Instructor Evaluation                                              445                405                     34 5                                        41        5

    Course                  Evaluation                             405                    375                     31 5               34        5              37        5

     Final       Student                Grade                      3124                   324                  244 4                 3234                     359        4                            4



Graduate Teaching

Table 6 summarizes                                the       course and instructor                           evaluations             in    my graduate level classes both at TAMU and UT Austin
My approach in graduate teaching                                                    is    project        oriented             Students will receive      35 projects during the semesters All the
projects                    are designed based                         on actual formation data                                At the graduate level                                 I           used      to       teach    Well Logging                       Methods

PETE 608      TAMU to on campus and distance learner DL students The emphasis of Well Logging Methods
                                       at


course at TAMU was on well logging technologies and advanced Formation Evaluation methods This class was in

                demand                   among students from both the petroleum
high                                                                                                                                 engineering                       and         geology                    and      geophysics              departments                 as

evidenced                        by reaching            its       enrollment capacity soon after                                registration                  started              After joining                       UT Austin               I
                                                                                                                                                                                                                                                    improved              and

expanded                     this        course        to    Advanced                Multi Well               Formation Evaluation                                 PGE385K                                In       both courses            I       used plenty             of

field           examples of well logs and core data                                                 to      make students ready to apply                                           their           knowledge                 to actual             formation data

and        to     deeply                 understand               the    course materials While                                the    aforementioned                               two courses educate                               students             to       analyze
multi scale formation data                                             my Rock Physics course PGE383                                                   at   UT Austin includes fundamental                                                understanding                    of

physical                    properties           of rocks              eg       electrical              thermal          magnetic                  and acoustic properties and model development                                                                      with

more emphasis on the pore scale petrophysics                                                                       The students                    learn      how to                translate                  physical           properties          of rocks             to

their petrophysical and mechanical properties                                                                     such    as porosity                       hydrocarbon                           saturation                permeability                  and       elastic




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properties             and how            to   develop               new rock physics models I provide                                   softwarecodes                     developed           in       my research team as
well as pore scale                       3D images of rocks from our research outcomes                                                   to the      students              to   experience              estimating       physical

properties of rocks                      and to develop rock physics models                                    in   rocks with complex                         pore       geometry They get the opportunity
of applying these models                                  to interpret         actual      field   measurements                     Rock Physics was considered as a new course in the

Department               of Petroleum                     and Geosystems Engineering                            at   UT Austin

Table 6 Summary of my graduate level courseinstructor evaluations                                                                                S   and F stand                  for    spring          and    fall   semesters

respectively Columns 12 and 35 represent my teaching evaluations                                                                           at   UT Austin and TAMU respectively
    Column No
                                                              PE3N51                                           110111=11101111111111IZ                                            11    II    608                College Avg
                                                                                                                                                                                                                 CT 2017
    3111131119=11111E11111
                                                                 F16                                                Ellt1                                                               112

    Instructor          Evaluation                              445                      495                    4285                         45252                                    4495
    Course     Evaluation                                       415                      465                        NA                          NA                                     NA
    Number of Students                                            15                                                 39                          32                                     23

    Final Grade                                                 364                      3894                   3464                            3764                                  3694

Distance               Learning           DL              I    have    experienced              DL education                 by teaching             Well            Logging Methods to DL students at
TAMU Knowing that many of my DL students are working in the industry                                                                                       I   offered    them attending the class in real
time with on
                          campus students and also watching                                        the   recorded            videos       at a later            time I engaged                 all      the   distance    learners


in class activities                  and teamed them up with on campus students to strengthen                                                                  their      engagement

Innovations                   in   Teaching
Inspiration               I
                               inspire         students           to   discover the knowledge  within themselves by conducting fundamental and simple

rock      physics             experiments                     in class    and following through with related homework assignments and by practicing
                 several                       examples For instance I design simple experiments                                                                                                                              teach
through                             field                                                                                                                      for
                                                                                                                                                                      my undergraduate                        courses    to

fundamentals                   of neutron         transport and electrical conductivity which can                                                              be    used       for    evaluation             of hydrocarbon

reserves           This technique                 helps students                    to   deeply     grasp course material and                          to       strengthen             their creativity



Large Classrooms                         and Use of Technology                            The large enrollment in my undergraduate                                              classes       113171             at    TAMU and
average        of 57           at   UT Austin has never been an issue for me with appropriate                                                                   use of new teaching                       technologies         such

as iclickers                  online      course websites video recording                                  of the           lectures and other IT                          capabilities             I   am always        thinking
of new techniques                                                                                                           classes       For instance                                 case of large undergraduate
                                         for   improving               my teaching skills                 in large                                                        in the


classes        I       hold                    office           hours   and practice              sessions           where         the    students can                                  course material in smaller
                                   group                                                                                                                                 practice


groups and              ask        questions              The students very much                        like   my group             office      hours           and practice sessionspackages

Cross Disciplinary Integration                                       The courses I have taught so far are multidisciplinary                                                    in nature        I    usually have        students

from both              the    petroleum           engineering              and the geology and geophysics departments                                                     in   my classes               Students learn        in   my
classes       that       integration             is       essential       for reliable            reservoir characterization                           I
                                                                                                                                                               design          projects       and       class    exercises     that

teach      the         students          how     to           integrate   multiscale             and     multi physics formation data                                    including core data well logs                             and

geological              information               I       achieve       a multidisciplinary                    approach             in   both
                                                                                                                                                 my graduate and undergraduate                                         courses     by
incorporating                  relevant         geologic geophysics and petrophysicsrelated                                                     data           in field         examples In my graduate level
classes            I
                        encourage               my             students        to        work      in    multidisciplinary                  teams               including              petroleum              engineers       eg
reservoirproduction engineers and petrophysicists geoscientists       geologists and geophysicists and students                          eg
from industry usually DL students if we have any during practice sessionsworkshops   and for project assignments
I hold
       multidisciplinary workshop sessions on Completion  Petrophysics and Unconventional Rock Physics in

some of my graduate level classes                                         In    these      workshops students                       practice      multidisciplinary                          teamwork while learning
formation evaluation rock physics                                         and petrophysics                In theCompletion Petrophysics workshop groups of students
with      different            backgrounds                      work on four              different       unconventional data sets and make completion decisions after

integrating             all    the data         they are provided                    with The outcomes of the discussions                                           in    each group           are      presented by a team

representative                 at    the       end of the               class       and    criticized          by     all     the    students              In       the    Unconventional                       Rock     Physics
workshop students practice core log integration                                                    in
                                                                                                        my rock physics                  research laboratory                      on actual cores and well logs


Learning from Mistakes                                I       keep    telling   my students that it                  is     absolutely          fine       to   make mistakes It is important to learn
from our mistakes To help students                                             to    learn      from their mistakes I                     a      give          them        fast   feedback              after   each     exam by

grading        almost              the   same day as the exam and by providing                                              the   solution to          the          exam and            b      ask      them     to    go through
their mistakes                 and solve those questions again the day after the exam as a homework                                                                             assignment




2
    This course evaluation                     constitutes            my on campus students                I   received           a course evaluation                 of 3775          for the      DL group 10 students




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Student          Engagement              I    always           share       the    course material with                      the    students before               the lecture Last semester                            I    started


giving       students           a   heads             up     and motivation on the materials                                   that      I    planned          to    cover         during the           week              through

announcements posted on the Canvas website To keep students engaged throughout the lecture I consistently switch
between PowerPoint slides solving examples document camera and running Matlab codes I often distribute copies

of examples              and practice questions to make the students contribute in solving the examples I use iclicker to take
students                   and answers about the examples that I solve in the class Implementing pre developed    codes in
                  votes                                                                                                     my
lectures significantly                   enhance             student engagement                      Such an approach sometimes enables realtime sensitivity                                                         analysis

proof of concepts                   and learning new methods                                eg Monte Carlo based uncertainty analysis                                                in   my Geostatistics                     class

when all          the    students contribute                    in   generating              results       in    realtime which makes students excited about the outcome

Effectiveness              of Teaching                  Approach             The effectiveness                        of   my teaching               techniques           is
                                                                                                                                                                                   proved        by    a       the


                                                                                                                                                                                                                          b
                                                                                                                                                                                                                      positive

feedback           1    receivefrom the industry on the knowledge and capabilities of the students taking my classes       the


satisfactory            feedback and thank you notes from the students after they join the industry about how useful my course

has been          for    them       in their career              examples are attached                            to   this   package            c        course evaluations                     d     peer
                                                                                                                                                                                                               evaluations

attached          to this       package and                   e      the   exams and quizzes designed                               for evaluating               the learning             outcome          I   consistently

monitor the progress of individual students as well as the                                                           entire    class


Awards and Recognition     for Teaching

I have received the 2015 SPE Innovative Teaching                                                     Award from the Society of Petroleum Engineers                                                 SPE          I    have       also

been    invited to            teach a workshop                   on Well log Interpretation                                Methods            at the   Department                  of Geology          and Geophysics
at   TAMU from 2015                          2017 which prepared               the students to compete in the AAPG Imperial Barrel Award IBA Gulf

Coast Regional                 competition                   Their   team placed 3rd in the competition in 2016 and 2017 I have also taught 5 industry
short   courses           in the     past on Advanced                       Formation Evaluation                           and Well Logging                    Methods Finally I have served as the
Vice President of Education                                  2016           present              for the        Society       of Petrophysicists                 and Well Log Analysts                          SPWLA
where        I
                  get    the    opportunity                   of advancing              Education                of Petrophysics                at   an        international              level    more details                  are

documented                               Statement              of                           The                     of competitiveness                    of            these
                         in
                                my                                     Service                       level                                                       all                 teaching           recognitions              is


documented               in   the Statement of Honors                            and other Evidence                    of Merit or Recognition                         All    the    aforementioned                  examples

are indications               of being recognized                      as an impactful individual                           in the     education            of Formation Evaluation


Outreach

Inspiring Girls to Pursue                             STEM Fields My commitment to excellence                                                in engineering              education             transcends the college

classroom For instance                            I   initiated      workshops              entitled        Symphony               of Rocks          and Fluids in the Subsurface                              for middle

school       girls      where they learn rock physics by conducting                                                  simple innovative               experiments These                         workshops            encourage

girls   to       pursue energy related careers                              and education                  in    science          technology           engineering                  and mathematics                  STEM
More details about this activity are provided                                               in   my Statement of Service

Undergraduate                   Research                Mentorszip                I    have        used          teaching         as     an    opportunity               to    engage            both    graduate               and

undergraduate                  students           in    my      research          activities           I    have        been       successful          in attracting                undergraduate              students           to

research          in    the     field     of Formation Evaluation                                 by bringing my research                            to    the      classroom              I    have    published               four

conference              papers       with              my     undergraduate                  students            I     have       also       been      successful             in    attracting          three        of these

undergraduate                 students        to join         my research team to pursue graduate degrees under my supervision

Future Plans

Overall           my teaching experience                         has       been both enriching and enjoyable at both TAMU and UT Austin At           I                                                               TAMU
have    supplied              major contributions                    to    developing and updating the Formation Evaluation and Well Logging Methods

courses          At UT Austin                 I       was successful             in    making        Introduction              to Geostatistics                enjoyable            for   undergraduate               students

and excelled              my teaching                   experience           in       the    field    of Formation Evaluation                             through         graduate level courses                           I    look

forward          to the       opportunity               to   continue        teaching both graduate and undergraduate                                            classes       at    UT Austin and to educate
the   future       generations               of Longhorn              petroleum              engineers            for academia               and the petroleum                 industry


Although the majority of our graduates                                           will   work on unconventional                               resources         in their future             careers       there        is   a lack

of courses             that    cover petrophysics                    and rock physics of unconventional                                        reservoirs           in   our graduate             and undergraduate

programs To fill this gap I would like to teach a new graduate level course on Petrophysics of Unconventional
Reservoirs and a new undergraduate level course on Rock Physics I also plan to develop a 3D Augmented Reality

AR Multi Physics Rock Laboratory                                                  and       Exhibit             module         which          aims        to    promote            modern         education               of rock

physics This                  module         can        be    demonstrated                  at    my classes and workshops                             in      addition        to     the       interactive          handson

experiments Such                    an   AR module                   can be used             to efficiently             explain the role of grains pore structure rock fabric                                                   and
rockfluid              composition            on physical              and petrophysical                        properties         of rocks          In    addition           to    the    3D visualizations                    this

module           creates       a sense        of a wide range scale                          which         is   challenging         to       experience          on computer monitors or books




Statement of Teaching                         Zoya Heidari
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                                                       Zoya Heidari

                   Department of Petroleum and Geosystems Engineering
                                            Course Rating Averages




                  Tenure candidates       must include         all   years in rank

 kit   other candidates    must include      at   minimum the three most recent years
 What source was used to complete             this chart             Summary provided     by Provosts   Office


 eg My CIS summary provided by Provosts Office etc

 PGE 383           Rock Physics




                                          Number of             Instructor           Course

    Semester            Class Size        Responses                  Rating          Rating

    Fall   2015     I       7         I           7        I           49       I     46
        Mean                7                     7                    49             46


 PGE 337 Introduction                to Geostatistics




                                          Number of             Instructor           Course

    Semester            Class Size        Responses                  Rating          Rating

  Spring 2016              56                 40                       40              37

  Spring 2017              56                 46                       44             40
        Mean                                  43                       42             39


 PGE 385K Advanced               Multi Well Formation                       Evaluation




                                          Number of             Instructor           Course

    Semester            Class Size        Responses                  Rating          Rating

       Fall 2016    I
                            15        I
                                                  IS                   44             4   I




        Mean               15                 15                       44             41
                                                                                                 1
Course    Instructor   Survey   Results



NameEID HEIDARI           ZOYA zh732
Department      PetroleumGeosys Engr
Report Date     07212017




                                                                                                                                                  No
                                                                                                                                                       of
                                                                                                                                                                                     Overall              Overall




                                                                                                                                                                               Avg
                                                                                                                                                                                                    Avg



                                                                                                                                                            Surveys
Semester          Unique Number       Course Number    Course   Title                                   Instruction   Type   Enrollment       Returned                     Instructor     Rating    Course   Rating




                                                383
Fall
                                                                                                                                                                                               49
                                                                                                                                                                                                                    46




       2015       19334




                                          PGE
                                                       ROCK PHYSICS                                     Organized




                                                337
                                                                            TO
                                                                                                                                                                                                                    37




                  19215
                                                                                                                                                                                                4



                                                       INTRODUCTION              GEOSTATISTICS




                                          PGE
Spring 2016                                                                                             Organized
                                                                                                                                                                                               44
                                                                                                                                                                                                                    41




                                                       ADV
Fall




                                          PGE
       2016       19453                         385K         MULTI      WELL FORMATION           EVAL   Organized




                                                337
                                                                            TO
                                                                                                                                     7 56 15 56
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                                          PGE
Spring 2017       19115                                INTRODUCTION              GEOSTATISTICS          Organized
                                                                                                                                                                                                                         Case 1:19-cv-00877-RP Document 69-3 Filed 02/23/22 Page 90 of 203




                                                                           Heidari
                                                                                            of




                                                                                     Copy        CISRatings   072117
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       Department                            of Petroleum                         and Geosystems Engineering

                                                    The University                of Texas at Austin

                                                                1   University    Station C0300

                                                                Austin Texas 787120228
                                             Office          512 4713257                 Fax 512 4719605




                                                                      MEMORANDUM



May 3 2016


From                                   Carlos TorresVerdin                       Professor

To                                     PGE Department Chairman

Regarding                              Review           of Dr Zoya Heidari lecture




On March 3 2016                         I
                                             attended                one   of Assistant              Professor      Zoya     Heidaris              lectures    in


connection            with         her       undergraduate                      course            PGE337      Introduction              to    Geostatistics

Unique        No 19215                  This       is       a       compulsory course                     taken      by    PGE         undergraduate
students                 typically                sophomores                      andor                  juniors          which              covers          the

fundamentals                      of         probability                   statistics                   random        processes                    statistical

correlations                  quantification                          of   spatial                and     temporal          variability                  spatial

interpolation                methods               and determinist                       and stochastic              kriging            The       lecture   took

place    in   room CPE 2204 and started sharply at 1230                                                 PM Tuesdays and Thursdays                          There

were 38 students                  in   attendance                    at least    10     of        these    students       came         in    approximately

7 minutes           late     while          one student               entered     the classroom               15   minutes late              some of them
were     just      coming out from                      a    midterm exam                 I       was told    My     presence           was completely

unannounced                 with       the    intent            to   draw a random lecture sample                                 I    sat   in   the back of

the    room to gauge                   voice      and           image delivery                Prior     to attending      the    lecture           I
                                                                                                                                                       was given

access       to the         course          web    site         on Canvas and                 I    was able to inspect           all    digital        contents

lectures       homework                projects             Matlab exercises and handouts                            In   fact        after attending         Dr

Heidaris        lecture       I   continued to monitor her material                                     and student       interactions            through     her

Canvas website                up to the           last      week       of classes




Some Pertinent Background                               about         Dr Heidaris Course

This    is   the    first    time that            Dr Heidari teaches                    PGE337            She did    not teach          a    similar course


during       her academic               career          at      TAMU       either       The course does not make use of a                                specific

textbook           but      rather      invokes             material       from several                 consultation      books         Dr Heidari uses

multiple Matlab               programming                       and    plotting       utilities      to illustrate     and expand             the concepts

covered       in    class     with          calculations              graphs      and indepth examination                        of consequences               of

specific      calculations              She    effectively              conducts        live       Matlab exercises         in   class to         motivate     all
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conceptual         subjects           Students           are asked             to bring their laptops                 to class to            perform           live


Matlab         calculations            Most         of       the        examples           are    based         on    petroleum              engineering

calculations          which         include    petrophysical                  concepts           well    logs and          reservoir         engineering

themes among others with                            the intent           to articulate           teachings       from other courses and so

that    students        can        apply what           they       learn      to other courses             in    their     curriculum The                 most

important prerequisite                    for this class           is   PGE368 Formulation and Solutions of Geosystems

Engineering            Problems             which            introduces          undergraduate              PGE       students            to    numerical

methods         for    the         solution        of    various         engineering             equations           adopting           Matlab       as        the

computer         programming                resource




The     Canvas        website         for     Dr        Heidaris         course       is    extremely well               organized             Dr    Heidari

effectively       uses       all    the    digital       resources            available      to    her on        Canvas          and      she    posts         her

lecture     material         PDF files converted from PPTs and Matlab files several                                                   lectures      ahead of

time to motivate              students        to study lecture content                           before coming to class She                      promptly

posts    all   homework and exam solution                               sets and     very frequently             interacts            with her students

through        Canvas or email Dr Heidari developed                                    all   her class material from scratch                               I   am

quite    certain       that    she invested              a   significant        amount of time developing her class material

because        of the very high quality                      of her slides and notes and because                                 of the profusion               of

guiding        notes    in    her Matlab            files        All    Matlab       exercises          and attending             files      are carefully

verified       before being           posted       on Canvas


General        Comments             about the Reviewed                    Lecture

Dr Heidari         began           her lecture with                some announcements                        about         an     upcoming second
midterm exam                 After that she                  started       the    formal           lecture       with      a     review        of subjects

and concepts            considered            in   the       previous session                The       central    topics        of the       new     lecture


were     a      the concept           and     quantification                  of statistical       quantiles of random variables                               and

b      least squares linear               regression             She     carefully         reaffirmed the concept                      of quantiles            and

their    relationship          to PDFs and CDFs of random variables using various examples drawn

from     petroleum            engineering               and      emphasizing           the        socalled        Q Q plot             After that              she

introduced            and          motivated            the        concept        of       least
                                                                                                   squares            linear          regression          with

petrophysicsbased                   examples such as the calculation                               of permeability from total                       porosity

using      a    logarithmic            transformation                    to    linearize         the     relationship            between            the        two

variables She emphasized the importance                                         of appraising the residuals stemming                                from the

least squares          fit    such        as their       PDF and          their    chi squared            distribution           to assess possible

estimation        biases Finally she described the calculation of error bars                                                in   the input data and

how they could               be used to improve the least squares linear regression                                              Multiple examples

of application         were conducted                    with three separate                 Matlab exercises previously posted on

Canvas Students were asked to conduct                                         the exercises on their                 own   by modifying              several

input variables and                 by examining              the consequence                    of those changes               on the estimations

via   very userfriendly               plots



The     lecture        was         delivered            using      primarily         the     computer            screen          In    the   process           Dr
Heidari        made copious            annotations              on her PPT presentation                     using a screen               stylus     in    order

to     emphasize         and         reinforce           concepts              She         provided               students                   with         one
printed          exercise handout                               and      occasionally used the whiteboard                              to interact        with

them Most of the students                          in   the     first   three     rows were very                active     asking       and answering

questions
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Teaching         Style


Dr Heidari            used        the        microphone               during     the        lecture At            the        outset         she        verbalized           the

concepts         that       she    intended              to teach           during     the       lecture         and she described the teaching

material       that        she intended                 to use She           paused            when        changing          subjects             and took time to
introduce           new subjects              as    they arose             during the lecture Dr Heidari frequently                                          walked         and

changed        her field of view as the lecture progressed making eye contact                                                                    with      her students

and asking them questions about concepts                                          while simultaneously                            attempting               to circle    back

to concepts           discussed              in   previous lectures                   Dr       Heidaris       voice          was       at   times low despite

using      the      microphone and                        was        difficult        for      me to follow                 her from the                    back    of the

room       because            of        the        chatter            by     some       students                 However               she         displayed           good
command               of    the    class          and         students         frequently               asked      her            questions                which        she

answered                very        well           and         without           patronizing                     or     talking              down             to    them
Most importantly she displayed an excellent technical                                                       command               of the subject matter




I
    also      noticed        that       during           the    lecture       several           students          were often                engaged            in   texting

or video gaming with                     their          cell   phones         three         students         were            eating and            t    hree students

who were seating two rows in front of me were conducting                                                           loud conversations                        about      non
class   subjects            A few students were abusing                                        the    use of their laptops by accessing                                 web

sport    sites        andor YouTube Furthermore two                                            students       left      the room                 during the         lecture

and came            back after more than                         10    minutes one of them                        left       the classroom to answer a

phone      call       The above              activities          were       clearly        distracting            to        the    students             seating        in   the

back of the            room Dr                Heidari gave                 students        a    two minute cell                     phone          break           after     50

minutes          of    continuous                 lecture        Some         students           left      the    room            and       came           back     several

minutes after the break                           was over



Additional          Notes         on Course Material and                       Office          Hours

Based on         my inspection                    of the Canvas website thus far this                                  is   the last        week        of classes Dr

Heidari has           posted        11       homework            assignments and has conducted                                     3   midterm exams and 4

pop quizzes                Homework and exam solution                                   sets are very                 detailed and                 easy to follow
Dr     Heidari         holds        regular             and     extra        office     hours with                almost           no time             limit       and she

answers Canvas e mails all the time                                         including          late    hours of the               day and weekends                          She

held    additional           question and answer                            sessions           prior       to her 3          midterm exams Her                          class


syllabus       is
                    very detailed about class policies                                 technical            content teaching style suggested

references             and required                 background               material            She        has    one        fulltime TA assisting her

during the course



My Evaluation
I   believe      that       Prof Heidari                has a genuine             interest            in   teaching           engaging and motivating
her students The high quality of her presentations                                                    notes and Matlab programming codes

clearly indicates            that she              is
                                                      very serious about teaching                           and that she spends                        a   great deal of

time     preparing            for       it        She     is   also     concerned               about        articulating              her        class      with      other

undergraduate                courses              taught        in    our    department               and     makes           a    conscientious                effort       at


reinforcing           concepts          taught and              practiced        in   other courses Dr Heidari                              is   also      keenly aware

of ABET       course         requirements                 and follows the corresponding                            guidelines for                  before and after

analyses         and summaries It                        is    obvious       that      she gained            a    great           deal      of good           experience

teaching       large        undergraduate classes at                         TAMU Even though                          in    my opinion                her instruction
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    skills     need              slight           honing                she      is
                                                                                        progressively                   developing               a         natural               relaxed               and

    spontaneous                   ability          to        convey           and explore              difficult             technical       concepts               in       class Through

    conversations                    with         her students                   some         of them                are currently               taking       my            undergraduate

    class       I    know that she is                          a    very caring          and compassionate                              instructor           too who pays                          close

    attention         to their progress and                               is
                                                                               willing to help them                      in    any possible way                         I   have no doubts

that she             will
                                 grow to become                          one of the best                instructors                in   our department



    Some Suggestions
    Even       though                her      lecture              was well            organized                 and     delivered and her course                                      is
                                                                                                                                                                                            very well

    organized               I
                                 strongly suggest                         that    Dr     Heidari spend                       more time motivating                                 the           physical

    intuition          and            importance                        behind concepts                     and       procedures                 This        could               be         done         by

    spending           the           first    section               of the        lecture          with          a    pictorial         description            of the              problem to
    be    discussed                  its     importance                  in    our engineering                       field    of interest              and     its          consequences
    Such       an     approach                    will        motivate           the     students                to    go through                the        more tedious                         part of

    deriving dissecting                            and playing with equations                                         With         time      I    believe                   Dr    Heidari              will


    be very comfortable                            and relaxed to properly modulate her tone of voice                                                               I       believe             that she

    is
         open       to and has superior                             mastery of modern teaching aids Her next focus                                                               should be on

    improved verbal                        delivery                in   order to        better engage                    students           during           lectures                   Likewise              I




    suggest          that         her class exercises                            be    less    digested when                            conducting             them               so that              her

    students feel challenged                                   during          her lectures                 I   believe       that        part    of the reason                         why some
    students were                    web browsing or texting                              during            class was          because they were not sufficiently

    challenged                  during        the            lecture       and        because          they           knew that            Dr Heidari included                                   all   the

    lectures          Matlab exercises                                  and    their    results         on Canvas Furthermore                                   I
                                                                                                                                                                        suggest                 that    Dr
    Heidari          be         more         commanding                        with     her class                rules        to    forbid        chattering                     and        that       she

    periodically                walk to the back of the room to make sure that students are not aimlessly web

    browsing or texting                            I
                                                       also        suggest       that        she forbid students                        from taking            trips             in     and out of

the classroom because                                        this activity        can        be very distracting                     and students need to take                                      their

    class time very                   seriously



To improve                      in   the domains                        described above                 I
                                                                                                                suggest            that    PGE         resort               to    FIC           Faculty

    Innovation                  Center             Cockrell              School         of    Engineering                    personnel           to witness at                         least      three

    of    Dr        Heidaris               lectures            in       order to        provide                 professional              feedback            concerning                         course

    delivery         and teaching effectiveness                                        This approach                   will    undoubtedly                  improve Dr Heidaris

teaching              abilities              and       lecture           command              in   a   relatively             short period of time



    Previous          Class          Evaluations for PGE337

    PGE337 has traditionally been                                         a    very difficult               course       to teach           with           relatively             low average

    instructorclass evaluations                                         approximately                  36            Based on the evidence                          thus far                I
                                                                                                                                                                                                believe

that         Dr      Heidari               will        undoubtedly                improve that departmental                                  class
                                                                                                                                                            average                I
                                                                                                                                                                                        also       hope

that           having            spent so                much           quality       time preparing                    her class material                     from scratch                            that

    she be given                 more chances                           to teach        the same class                   in   the       future to improve                          it       and why
    not      Enjoy          it




    Feedback           given            to    Dr Heidari

I        met with               Dr         Heidari            two        days         after    attending                her        lecture        to        provide              constructive

feedback              to her               We discussed my observations                                          and she received                    all    my comments                          with     a


very positive attitude                                  It   was        clear to       me that she wants to improve her teaching                                                        and most
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importantly      that she enjoys being      an   instructor     I   commended      her for being so thorough

and   for   putting so   much work on developing          her unique class material           I   also told   her that

I   was not as good      as   an   instructor as   she   is   now when   I   was   at   the   same point        in   my
academic      career
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Some Pertinent            Background about Dr Heidaris Course

This   is   the   first   time   that   Dr   Heidari   teaches   PGE381M       She   uses   Canvas   efficiently

to   post homework           projects   homework       solutions   and   to   communicate    with




                                                                 Dr Carlos TorresVerdin
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                  CENTER           FOR PETROLEUM AND GEOSYSTEMS ENGINEERING

                  200 E Dean Keeton          Street Stop     C0304      CPE 2502   Austin      TX 787121587         wwwcpgeutexasedu
                  512 4717234               FAX 512 4719605




DATE                      December               1 2016

TO                        Dr Jon Olson Chair
                          Petroleum and Geosystems Engineering                            Department


FROM                      Kamy Sepehmnoori                      Professor



                          Peer Course Evaluation                    for   Dr Zoya Heidari           for   PGE385K


Per your request              I    audited        Dr Zoya Heidaris class PGE385K Advanced                                Multiwell

Formation Evaluation on Monday November                                         21 2016        from 200         250      pm

I   state    my observations regarding her teaching as the followin

She arrived          to    the     classroom             around    152pm and        the       students     gradually      walked     in   the

classroom She                started the lecture at               200pm by distributing               a handout     to   the students     for

subsequent           use      in    the      lecture        She indicated        that    the    lecture      would       concentrate      on
Introduction            to   Formation Evaluation of Organic Rich Mudrocks


Next        she    asked      if    there        were any         questions     about    the     last     lecture   or the    homework

assignment           a student        asked for clarification about the homework and she quickly                                 answered
the question



She    started      the lecture by using slides making references                              to   unconventional         resources      and

made         specific     comments               to    shales   and how they        relate to         organic rich       rocks     and    low

permeability reservoirs Then                            she discussed        micro fractures in low permeability reservoirs

and how such              fractures          affect      the petrophysical       measurements              A student      asked whether

such        fractures     were      natural fractures or were                 induced    due     to   the fracturing      fluids   and she

replied by saying that                 it   is   hard to     make      that differentiation




Next she talked about characteristics of shales by showing pictures of pore structures for
carbonated  and sandstone  rocks   and the discussion led to how kerogen        resides in

sedimentary rocks                  and she had brought actual samples of kerogens                            for the students       to   view
and the lecture led to rocks that are rich in minerals



Subsequently              she referred to the handout                     logs she distributed at the beginning of the class
and asked what type of formation                              was displayed on          the   logs and walked through              the logs

with the          students         to briefly          analyze the        logs There     was a nice          discussion      between      the

students and Dr Heidari                      about the recognition             of various formations based on the handout
She went on saying that it                       is   very difficult    to   perform permeability measurements and                       come
up with a sound               relationship             between permeability and porosity for such formations She
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also     discussed        difficulties       in     performing         measurements            in   very    tight    formations

unconventional            reservoirs due to the possibility of microfractures



She gave       a   summary of the         lecture        around   245pm and mentioned what                  will   be covered    in

the    next   lecture



In
      summary        I   believe Zoya did an excellent job                   in   presenting the     lecture       She was   alert

and     asked      whether    or   not    the     students      were      following     the   lecture     and   encouraged      the

students      to   ask questions      I   fblt    that   the   students    were   at   ease   in asking    questions



If   you need      additional      information about this assessment                    or have any questions          please   let


me know


I    discussed     my peer observation              of Zoya on December                 8 2016
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                                                                                                                                                             55
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                                                                                        OF
PROGRAM     GSPBFRP3                                                   OFFICE     GRADUATE  STUDIES




                                                                                                                           AND
                                                                   COMMITTEE  REPORT   MASTERS      DOCTORAL




                                                        FOR
                                                              HEIDARI ZOYA




                                                                                                                                                                  2ND




                                                                                                     OR




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                  NAME                                                       POSITION    DOCT                     DEGREE             FIELD                    DEGREE    FIELD




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ESCOBAR     GOMEZ               JUAN   DIEGO   jde957                        MEMBER                                              PETROLEUM          20176




                                                                176
GHIMIRE          BISHWAS                       bg24234                       MEMBER




           HAN
                                                                172
JIANG                                          hj5446                        MEMBER




                    J00
                                                                179




LEE
       HYUNG                                   h15488                        MEMBER




                                                                179
LUYCX     MATHILDE               MICHELE       mm12394                       MEMBER




                                                                179
MAALOUF          ELSA                          em32798                       MEMBER




                                                                                                            MSE
                                                                                                                                             ENG




                                                                 169
PALAVECINO           MAURO         ARIEL       map5249                       MEMBER                                              PETROLEUM           20169




                          GUO
                                                                 179
TANG      DAVID                                dgt377                        MEMBER




                                                                                                           PHD




                                                                 172
                                                                                                                                              ENG
VICTOR       RODOLFO             ARAUJO        rav826                        MEMBER                                              PETROLEUM           20172
                                                                                                                                                                                      Case 1:19-cv-00877-RP Document 69-3 Filed 02/23/22 Page 99 of 203
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                                                                Zoya Heidari

                        Department of Petroleum and Geosystems Engineering
                                         List of Postdoctoral                Fellows   Supervised




          Nima Dabidian          PhD Graduated from The University of Texas                         at   Austin    2016     Supervised 2016
          2017    at   UT   Austin     postdoctoral      researcher



          Ameneh Rostami PhD Graduated from Texas                            AM    University       2015 Supervised 2016               Present   at


          UT Austin         visiting   scholar




Note     At   Texas    AM       University          assistant   professors   were discouraged        to   supervise       postdoctoral   fellows

                                                                                                                                             from
                                                                group was
Having    postdoctoral       fellows     in   the   research                  considered   as   a   negative      point    for   promotion

assistant professor     to   associate    professor level       This is the main reason that    I   have not supervised any postdoctoral

fellow   at   Texas    AM     University
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                                             PGE Budget Council Statement
                                                                       For

                                                       Zoya Heidari                 PhD

            Research           Publications                  Other Evidence                 of ScholarshipCreativity




PROMOTION CANDIDATES ACADEMICRESEARCH BACKGROUND

Dr Heidari         received      a   PhD degree          in   2011     in    Petroleum       Engineering        from The University of
Texas          Austin    UT     Austin From 2011                    2015 she held the position of Assistant Professor with

                                                                                                    AM
          at                                                   to

the Harold Vance Department of Petroleum Engineering                                   at   Texas              University       TAMU She
started     her appointment as Assistant Professor with the Department of Petroleum and Geosystems

Engineering         at   UT Austin in the             Fall   2015     semester       transferring      from      TAMU          If   successfully

promoted to Associate Professor Dr Heidari                            will   be in the rank of Assistant Professor for 4 years

at   TAMU and 3 years at UT Austin Dr Heidari                               is   not seeking   early     promotion


AREAS OF RESEARCH

Dr Heidaris research is focused                   on the in situ formation evaluation and petrophysical                              assessment

of spatially complex            permeable rocks               The objective         of her work     is   to   quantify   fluid
                                                                                                                                     storage   and

transport properties of rocks                by combining specialized laboratory measurements of rock samples
borehole measurements well                   logs and porescale imaging and modeling She has approached                                        the

petrophysical          interpretation        of clastic       rocks     carbonates          and organic        mudrocks         under a wide

variety     of    in situ fluid       conditions       and    spatial    complexity using           new        multiphysics          and multi

resolution methods             Additionally Dr Heidari                has developed          several     new methods and algorithms
for   the      quantification        of   effective     physical      properties       of rocks     such        as frequency dependent
electrical      conductivity          permeability anisotropy and magnetic resonance                               transverse relaxation

She has also introduced                   new   laboratory          measurements and procedures                    for   the    petrophysical

assessment        of tight rocks          negligible     permeability In the case of organic mudrocks                                Dr Heidari
has advanced           new methods to diagnose via borehole geophysical measurements the presence and
spatial     distribution       of proppant used in hydro fracturing                    operations        Likewise        she has advanced

new procedures           for the     enhanced    in situ assessment              of rock properties using a variety of fluidsolid

contrast agents          including        nanoparticles



Dr Heidaris            field   of expertise      is   highly competitive             During the     last      6 years she established a
well recognized           research group and built one of the most sophisticated and complete petrophysical

laboratories        in   the    academic        world        Her    research       work     evidences         originality      and    creativity

together        with     an excellent        ability    to     recognize         salient    outstanding         technical      and     scientific


challenges        that can have a positive impact on industry practices
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RESEARCH GRANTS

Dr Heidari       has been successful              at    securing a combination          of federal foundation           and industry

grants to support         her research         group Among              them Dr       Heidari    secured    a highly competitive

American Chemical             Society      ACS award $100000 for a research proposal to investigate the
effect   of spatial connectivity            of organic       matter on electrical          properties   of source rocks           She also

received     $40000 from the Society ofPetroleum                        Engineers    SPE in the form of a very competitive
Junior Faculty       Research          Initiation   Fellowship          She was also co PI for a successful             multi million

dollar   Qatar National           Research      Foundation            grant concerning       advanced    NMR imaging methods
for   3D analysis of multi phase flow processes in permeable rocks

The    rest of   Dr Heidaris            research       grants originate     from industry sources Notably two of these

industry     sources     are her own joint             industry   research       consortia    one established at TAMU with 8

operatingservice          companies total funding                 = $90000000              and another one established                 at   UT
Austin      with thus far one operating company total funding                          = $100000        as of August     2017

Some     of   Dr    Heidaris           industry     research      grants    at   TAMU        came   from   internal     competitions

sponsored      by TAMUs Crisman Institute Assignation of grants in the latter venue                                          is   by   direct


competition        among     faculty       from several         engineering       and geology       departments        the    grants are
renewable        on a yearly basis based                 on progress        industry    feedback        and impact and provide

graduate      student     support and        occasional         equipment        support     Dr Heidaris      industry        funding        at

TAMU        also   came      from the         companies         SaintGobain         Proppants       PetroChina     Tarim           Oilfield


Company          Skoltech     Center       for Research           and     from the     Acid     Stimulation   Research            Program

ASRP a joint industry research consortium directed by Profs Dan Hill and Ding Zhou While at
UT Austin Dr Heidari               secured     research       funding     from the Texas Oil and Gas Institute                in addition

to   funds generated        from her fledgling joint industry research consortium


In summary total research                funding       raised   by Dr Heidari alone and while in rank             is   as follows



 Industry   Research Consortia                                                    1000000

 Competitive     FederalFoundation         Grants                                 253485
External Funding        Resources with      internal    competition               698203

 Petroleum    Industry    First   PI                                              533910
 Petroleum    IndustryI     xtemal Funds      Co PI                               928707

 Total                                                                            3414305



Or in graphical form as shown below
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                                                            Research       Grant Distribution         Zoyas Share
         61200000                                                                                                                                                       35

         61000000                                                                                                                                                       30
                                                                                                                                                                        25
           $800000

                                                                                                                                                                        20
           $600000
                                                                                                                                                                        15
           5400000
                                                                                                                                                                        10
           $200000                                                                                                                                                      5
                  $0

                             Zoyas Industry                 Petroleum             External     Funding        Petroleuns     Industry              Competitive

                          Research Consortia             IndisTIWExtrimal          Resources With                    First   PI                FederalFoundation

                                                           Funds   Co Pi        Internal    Competition                                                Grants




The      distribution          of research funds between                         Dr Heidaris appointments                                   at   TAMU and UT Austin
is    as follows



     Initiated   at   UT Austin                                                                           198910

            TAMU
     Initiated   at                                                                                       3215395
 Transferred from TAMU to UT Austin                                                                       159942



Dr       Heidari        was allowed            to transfer           only $159942                 of her        TAMU research                          grants to   UT       Austin

ie the remainder of her research grants from American Chemical Society and Qatar National
Research          Foundation She used the rest of her research grants kept                                                   at     TAMU to financially support
her     TAMU graduate                students             whom she continued to supervise after she moved to UT Austin


The following pie chart provides a graphical description of research funds secured by Dr Heidari

between          her appointments at                 TAMU and UT Austin

                                                                                           Competitive    Federal

                                                                                      Foundation      Grants    7
                                                                            63   transferred    to   UT 37 used ti TAW




                                    Zoyes     Industry
                                                                                                                        Petroleum          Industry
                                Research Consortle        29                                                                              PI16
                                  10 UT 90 TAMtli
                                                                                                                                  First


                                                                                                                        19 UT 611A1AU




                                                                                                                    External       Funding     Resources

                                         Petroleum Industry                                                         With Nernst Competition             20
                                      External   Funds Co PI 27                                                         100 used at TAW
                                        100 used at TAW



The above              figures    are above              average        for   promotion              to   Associate Professor in the Department of

Petroleum              and    Geosystems Engineering                           PGE and above                        average               in     the   Cockrell     School      of

Engineering             CSE Additionally                           those      figures        reflect       positively the                  relationship          between      total

available             funding      vs       number             of supported                 graduate          students              and        production          of   refereed
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publications          in reputable journals                    see below ie the numbers reflect                                       a positive     and sustainable

inputoutput relationship                        for    Dr Heidari It is also important to note that Dr Heidaris funding did
not    come    mainly during                    the last two years but spread                              almost          evenly    while in rank          of Assistant

Professor       In fact         it    is    important          to    emphasize that Dr Heidaris funding                                      suffered substantially

because of the sudden                      decrease          in oil    prices at          the same time when                      she transferred to         UT Austin
from TAMU              While at TAMU                      Dr Heidari              formed her own industry funded research consortium

something unheard                    of previously              at    TAMU            attracted            competitive            grants and secured           recurrent

funding    from other industry venues Despite the very challenging                                                             environment          of low oil prices

while at   UT Austin Dr Heidari managed                                       to   secure            new industry funding which is a testament to
the relevance         and impact of her work and of her tenacity even during times of severely contracted

industry funding



Currently       Dr Heidari                 is   awaiting       news about funding                       proposals submitted to both federal                         NSF
and industry sources She                          is   very     persistent           in   her quest for funding                      to   continue    to    support her

graduate       students              There        is    no    doubt         that     her     research            funding          will      be sustainable          beyond
promotion


MENTORING OF GRADUATE STUDENTS

While     in   rank of Assistant Professor Dr                                     Heidari            graduated         5    PhD students            one of them        co
supervised with            Dr Robert Lytton TAMU                                     with the co supervision beginning                              after   Dr Heidari
leftTAMU All of Dr Heidaris graduated PhD students obtained their degrees at TAMU with
only one of them obtaining her PhD degree after Dr Heidari TAMU                                                        left




Thus far while in rank                      Dr Heidari           has graduated              65 MSc                students          5 being sole supervised            and

the rest co supervised                     by other       TAMU faculty                     all       of her graduated               MSc       students      earned their

degrees at      TAMU

Currently there are 5 sole supervised                                 students        and        1   co supervised             student      in   Dr Heidaris PhD
student    pipeline         1        of whom            has already               advanced            to   candidacy          co supervised TAMU PhD
student        Dr Heidari             currently          has 5        UT Austin students                     in   her       PhD pipeline 3 of whom have
already passed the               written component                         of their       PhD qualifying exam                             Likewise       she currently

supervises 25          UT Austin Masters students one of them                                               is    being co supervised



Dr Heidaris            graduate             student       production              and mentorship                  is    excellent         and above        expectations

with respect          to   promotion              averages            to    Associate         Professor            in      both    PGE and CSE              Her current

pipeline   of    PhD and Masters students                                    is   also very            good       Based        on    this    information       it   can be

predicted that she will                    be graduating               at    least    10 additional               PhD students               when    she applies for

promotion       to Full Professor                     Dr Heidaris ability                  to        secure research funding                 from multiple sources
will   keep pace with her PhD student                                      mentorship Also barring                            persistently       low oil     prices   it   is



expected       that   Dr Heidaris students                          be well placed                   both in industry and academia




PUBLICATION RECORD
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While         in    rank     Dr      Heidari        published          30 refereed journal papers                 and    59 refereed conference

proceedings            out of a total             of 34 refereed journal papers                  and 70 refereed conference                     proceedings

in   her      cumulative           publication            record        This     is   an above average          production               for    an Assistant
Professor in both              PGE and CSE Dr Heidari                             publishes      in    the fields of petroleum                  engineering

petrophysics            geophysics               and petroleum geology The journals where she publishes are                                             chiefly

mainstream and competitive                          venues        in   her field        Geophysics       Interpretation             SPE Journal SPE
Reservoir           Evaluation            and Engineering SPE Production                         and Operations Petrophysics                            Applied
Clay Science Mathematical                          Geosciences and AAPG Bulletin


Most of Dr Heidaris publications                                are coauthored             with her graduate        students            a grand total of 23

refereed papers              were coauthored                    with        her graduate      students       where 15         of those          papers    were

published after she transferred to                        UT Austin from TAMU These numbers are a reliable indication
of Dr Heidaris                ability      to    successfully          guide and mentor her graduate                  students           to    solve original

and impactful problems                      in   her field



Currently           Dr Heidaris H Index is 8 according                                to   Google Scholar         with a total of 317 citations

This     is   a very        good indication           of the impact of her research                      work among academic                       colleagues

worldwide             especially          given    the fact that most of these citations                     took    place         during      Dr Heidaris
tenure process



The      59 conference             papers         published        by       Dr Heidari        while in rank are          all       in    very    competitive
technical          conferences            approximately 30 acceptance                          rate including           international           conferences

and technical               workshops            organized         by the Society of Petrophysicists                     and        Well Log Analysts

SPWLA and the Society ofPetroleum Engineers SPE Papers in those conferences                                                                       are initially

accepted           based on a 500 word abstract                             Subsequently       when     the abstract      is   accepted           authors are

asked to produce               a fulllength paper which receives                             a small amount of peer review                      before being

finally       accepted       for publication          and presentation at the conference


Dr Heidaris             publication              record    is
                                                                very strong for an Assistant Professor                        in   PGE and CSE                 She

consistently          publishes in the top journals of her field



RESEARCH AWARDS

Dr Heidari            has already            received           several       coveted      professional      awards      in    her relatively young

academic           career     Most remarkably she received                             the   2017 SPE Cedric          K Ferguson Medal with
her     PhD student Lu Chi which recognizes professional achievements                                                   in petroleum             engineering

by an SPE Society ofPetroleum Engineers member in good standing who is younger than 36 and
has published           in    an SPE journal This                      is   an extremely competitive           award and                Dr Heidari        is   the

first   faculty       with the Department of Petroleum and Geosystems Engineering                                                  to   receive    it   because

of work completed while in rank                            Dr Heidari            was also one of the six recipients of the                        prestigious

and competitive               2012         Petroleum        Engineer           Junior      Faculty     Research     Initiation           Award from the
Society of Petroleum                 Engineers            SPE which              is   bestowed    upon a young faculty                   with a promising

research           career    and     is    accompanied            by a $4000000               check      She also received                the   2014     TEES
Select        Young     Faculty Fellows              award at TAMU                    which recognizes outstanding young faculty                               for

their    research           talent        being    also the        first     junior faculty       at   the   TAMU        Petroleum              Engineering
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Department to receive              that award       In 2016 Dr Heidari             received   the 2016     SPE Regional Formation
Evaluation        Award from two member regions the Southwest North America Region and the Gulf
Coast North            America Region


It   is   extremely      rare for    a young petroleum             engineering      faculty     anywhere     in   the world to receive

the type and number of competitive                       professional awards already bestowed                upon     Dr Heidari This
is   strong testament to the importance and impact of her work



EVIDENCE OF PEER RECOGNITION                                        AND TECHNICAL LEADERSHIP

Besides the            research    awards received          by     Dr Heidari       while in     rank      she has received            several

invitations       to   deliver special      presentations         at conferences      and peer academic        departments             She was
invited      to   deliver      special     graduate      seminars at        Stanford    University         University of Tulsa             and

University of Kansas Additionally she delivered invited                              lectures   at the   Unconventional           Resources

Special Interest             Group    URSIG             the Houston        Geological    Society     HGS Applied Geoscience
Conference             the    SPWLA        Completion            Petrophysics         workshop       the    Society       of Exploration

Geophysicists           SEG       2015 post convention             workshop W10 Physics of Rocks the SPWLA                                local


chapters      the      SEGSPEAAPGSPWLAEAGE                            summer       research     workshop       the   SEG workshop on
Integration         of Petrophysics             Rock Physics and Laboratory              Measurements and SPE webinars


Dr Heidari          has also been invited           to    deliver    technical     presentations of her research                work by the

following         companies          BHP    Billiton      BP Aramco           Services    Occidental        Petroleum           Corporation

ConocoPhillips Chevron Halliburton                          Weatherford        and Anadarko Petroleum Corporation


Invitations       to special      conferences       prestigious      universities and industry seminars are not common

for   an Assistant           Professor in Petroleum          Engineering they give strong credence                        to   the   technical


leadership and peer recognition                  that   Dr Heidari has received          as a result of her research work during
the last 5 years



Evidence of her strong technical                    leadership       is   also the fact that     Dr Heidari          was elected        by the
members of the Society of Petrophysicists                            and    Well   Log   Analysts        SPWLA            to   serve    on the

Societys board of directors She was also invited to serve as Associate Editor for the Petrophysics

journal and the          SPE Reservoir Evaluation                   Engineering        Journal Formation Evaluation                     two of
the top journals in her field



CRITICAL ANALYSIS OF REFERENCE LETTERS


There were 8 reference letters received                     from academic          experts evaluating       Dr Heidaris promotion
dossier      Of those         8 reference letters 6 referees               were suggested        by the Budget            Council      and the

remaining 2 by Dr Heidari herself Two                        potential      referees   declined to provide a letter of reference

Dr Robert Kleinberg SchlumbergerDoll Research and a member of the National Academy of
Engineering             NAE          and    Prof        Albert    Reynolds         University        alluding        to    pressing       time

commitments andor lack of knowledge                          in   Dr Heidaris field of expertise


Letters     of reference for          Dr Heidari come from several                   internationally       recognized          experts in the
fields of     multi phase         flow     in   permeable media           reservoir    engineering       and   reservoir         description
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Two      of the     letters     were provided         by members of the                   NAE Dr Christine EhligEconomides
University of Houston              and Dr Roland Home Stanford University                                 One referee is a former PGE
Professor  Dr         Russell Johns currently                   at Penn State     University two are Professors with Stanford
University  Dr Ronald Home member of the NAE and Dr Rosemary Knight one a Professor
                                                          a Professor with Texas AM University
                                                                                                                                 is


with Colorado School of Mines Dr Erdal Ozkan one                                     is


Dr   Michael  King   and one    a Professor with
                                             is  University of Oklahoma Dr Chandra Rai There

isa reference from a professor abroad Dr Martin Blunt Imperial College of London All referees

are colleagues          who understand             well the requirements for promotion                    to   tenure at    US        universities

and who have had former experiences                             with the promotion          process    either at their     own universities
or elsewhere



The     letters   of reference uniformly              praise Dr Heidaris                  research    work     technical     leadership         and

impact to the field             A great majority of the letters indicate in no uncertain terms that Dr Heidari
deserves       tenure based on her performance and comparison                                 against similar tenure cases at other

universities They emphasize the fact that Dr Heidaris                                contributions       and accomplishments during

her tenure process are the result of unique and independent                                  work


The following are salient               extracts     from the        letters   of reference


Prof Martin          Blunt       Imperial          College        of London        recipient      of several       Society       of Petroleum


                                                                                                                    Dr
Engineers         awards      and one of the worldwide                   leading academic            authorities   in    the fields of pore

scale    physics        and     multi phase         fluid       flow    in   permeable       media       writes                   Heidari       has

pioneered         new methods          to   characterize           hydrocarbon bearing shales                  described      in       a   series   of
excellent papers in the petroleum                    engineering         literature        These methods enable the permeability

pore structure and amount of oil to be quantified She has used NMR                                        in   combination         with the use

of nanoparticles           to   study    the connectivity              of the pore space          of shales     including        the       impact    of
micro fractures In addition                  she has used this work to develop a directional permeability model

She has also studied the               electrical     properties of shale             which should allow a more accurate and
robust assessment             of oil   saturation All of this research                is    practically    significant      as    it   allows the

amount of oil        in place     to   be assessed together with its ability to flow



Prof Christine EhligEconomides                         University             of Houston         member      of the      NAE recipient              of



                                 Dr
several       Society    of Petroleum             Engineers        awards      and a worldwide          academic         leader in         reservoir


engineering          writes                   Heidaris experimental                  and computational             work     to    quantify          the


physics of unconventional                reservoirs        is   of highest importance for the petroleum                   industry and it is

easy     to   see   why    she     has      been successful             in   attracting funding for this            work         Organic        rich

formations with                                                                                  tend to be very different from those
                         very small pores exhibit characteristics                         that

observed in conventional                reservoirs The enormous size of the unconventional                               resources and the
technical      challenges in producing               oil    and gas from them economically                     explain    why this research
is   so vitally     important          lam involved             in faculty    search at the University          of Houston and see files

for many faculty applicants                 Considering           numbers ofpublications              and the level offunding she has
attracted       Dr Heidaris accomplishments soar over the applicants we have seen Dr Heidaris
record speaks for itself           She has been successful                   in every direction      important to tenure track faculty

and from my experience on both department and college level promotion and tenure committees
she would easily be awarded promotion and tenure at                                 TAMU or UH
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Prof Roland             Home       Stanford University                 member         of the   NAE recipient of several                     Society      of
Petroleum Engineers awards and a worldwide                                    leading academic         authority in the fields of reservoir

engineering             and   reservoir       description             writes      Her          research        has       represented         series      of
theoretical        breakthroughs          in quantitative            understanding ofan important subject to the oil industry

Notably          her      research          has     encompassed                theoretical       experimental                  and    computational

approaches               This work     is   world class             and has advanced           our understanding of the                   distribution

and mechanisms ofhydrocarbon placement                                 in the porous        structures       of tight rocks Her career is
on an upward             trajectory that       indicates that her academic future                      is   bright       Her expertise would             be

difficult   to   replace       were she to leave your department In summary I have complete admiration

for Prof Heidaris very broad range of achievements                                       and abilities      I therefore have no hesitation

in recommending               herfor a position as Associate Professor iv ith tenure                                in
                                                                                                                          your university


Prof Russell             Johns     Pennsylvania           State       University         recipient     of several         Society       of Petroleum

Engineers          awards        and    a    worldwide              leading     academic       authority       in     the      fields     of reservoir

engineering and            reservoir      description writes                    Zoyas technical papers are of very high quality
her group has developed several important key findings I                                        am particularly             aware of her recent

papers      that   were evaluated for the Cedric                       K Ferguson SPE international award Her paper for
Directional Permeability                    Assessment in Formations With                      Complex Pore Geometry With                         a New
Nuclear Magnetic Resonance Based Permeability Model won the 2017 Ferguson award which
is   given to the best technical paper for authors under                              33    This is a major international award that

bodes well for her future                    Her funding             level    also greatly exceeds           what I would expect from an
assistant    faculty going           up for tenure and promotion Overall                               Dr Heidari              s research        service

and teaching            record clearly exceeds             what        is   required for promotion             to   associate professor with

tenure at Penn State



Prof Rosemary Knight Stanford University and a leading academic                                                     authority        in   the    field   of

hydrogeophysics                writes               The   provided           papers are evidence  of Prof Heidara s SIC
outstanding         abilities      as a researcher              In her       NMR research she has elected to address critical
limitations in          the current       understanding             and interpretation          ofIVMR data Her approach                         displays

a considerable             breadth     of expertise             covering        numerous       experimental              approaches         numerical

methods and theoretical analysis Prof Heidara                                   SIC has an ability to identify key problems and
innovative         solutions         a combination              that       leads to significant        impact        on a field of study In

general Prof Heidaris                  CV      is   comparable              to that of others    which I have reviewed at the time of
tenure      The number ofpublications                     is   about right I note a large increase                        in   numbers      in    the last


few years as her graduate students progress in their programs and publish their work I appreciate
seeing the number ofpublications                     from graduate students                    Prof Heidari clearly makes mentoring
her students through the process ofpublication a priority                                   which I believe         it   should      be My overall
impression         is   that Prof Heidara           SIC        is   an exceptionally        talented researcher                who has established
a productive            research group tackling                important problems in innovative                  ways

Prof Michael             King Texas         AM        University             recipient    of several    Society of Petroleum                Engineers

awards and a leading academic                        authority        in    the fields of multi phase           flow        in   permeable media
reservoir     engineering           and     reservoir     description writes                    The techniques              she has applied and

developed          show       an    excellent        understanding               of   the    interplay       between             measurement         and

interpretation By combining                    local mechanistic                models she has been able                   to infer     more than        is


normally possible for instance                      on the interpretation             ofdirectional tensor permeability from log
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data Other work has moved away from simple Archie exponents                                                and the      interpretation             of water
saturation        in thinly   bedded and unconventional                          reservoirs         Some of her most creative work has
focused on the use of injected nanoparticles during formation                                        testing to    increase property contrast

and    to   reduce    uncertainty           in   interpretation               She has developed a solid body of work                               with       an
excellent                           record              multiscale             rock                                           for carbonates                 and
                                                                                                                                AM
              publication                         in                                    physics      interpretation

unconventional           reservoirs          Of the Assistant Professors in our department                                at                she was one

of the two best          in   her cohort           Where she             certainly       excelled     was     in   her ability         to    quickly         and

effectively    leverage her industry contacts                           to   develop    an innovative research program which she
 owned and which would provide                              a foundation        for her research and her students                          This was very

well done which certainly places her in the top ofher cohort                                         in   my estimation

Prof Erdal Ozkan Colorado School                             of Mines recipient             of several Society ofPetroleum Engineers

awards and an academic                  leader in the field of reservoir                     engineering writes                First similar to
the rest ofher publications the five publications                               included in the package              are on the application                   of
the   IVMR    technology         to   the characterization                   of unconventional            reservoirs This is considered as

one of the most promising approaches for the petrophysical                                           characterization               of unconventional
reservoirs     and Dr Heidari appears                        to   be at the forefront             of the research activities                on   this   topic
In
      summary based on              my review of the documents provided to me and compared to the similar
applications        I have    reviewed in the past I recommend                               Dr Heidari for tenure and promotion to
Associate Professor           at the Department                   ofPetroleum               Geosystems Engineering                   at The University

of Texas at Austin




CONCLUDING REMARKS

The above         information indicates that Dr Heidari                          is    a successful       and productive young member of
the academic         research       community           at   large While in rank she produced                        a significant           and   original

body of research          that   made a clear demarcation from her work                                   with her      PhD supervisor                      Most

notably       she     developed             new        laboratory            methods        and      interpretation           procedures           for       the

quantification       of fluid transport properties of spatially complex rocks                                   including           organic mudrocks

laboratory        research work was not part of her                          PhD degree Dr Heidaris funding and associated
publications        did not come mainly during the last two years but spread almost evenly while in rank

of Assistant Professor                She   is   making a strong mark                    in her    research     field   with original creative

and impactful work and has quickly become a technical leader in the field of formation evaluation

Her name is present            in     major conferences                 in her field      and she has received                several       invitations       to


participate        and    showcase           her       research          work         including       invited      seminars           at     universities

conferences          and industry           Dr Heidari             has received           very     prestigious       and competitive               awards
including     the    2017 SPE Cedric               K Ferguson Medal which give strong credence                                         to   her research

leadership and innovation                She publishes a very good number of high quality refereed papers with
her graduate        students     in the
                                            top journals of her field                    Her refereed journal and conference                            papers

are being cited and her                H Index         is    steadily        growing      Reference        letters   uniformly             recognize her

research     contributions          and endorse             promotion          Dr Heidaris           graduate      student          production         is   very

good and her pipeline of PhD students                              is   excellent and sustainable               She has the           ability     to    secure

funding     for    her research        projects        from federal and industry sources                        alike    It    is    expected      that      her

academic      production         and    stature will           continue         to   grow    in   the years to       come Hence               the Budget
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Council   Tenure and Promotion   Committee has determined   that   Dr Heidaris research   record

meets or exceeds   expectations for promotion




Kamy Sepotimoori Chair
PGE Tenure and Promotion    Committee




Carlos Torres Verdin   Ad hoc Committee member
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                                       List of the Five                 Most Significant Works
                                                                    Zoya     Heidari




         Chi6 L and            Heidari         Z 2015          Diffusional   Coupling     between    Microfractures       and Pore Structure

         and           Impact     on     Nuclear          Magnetic       Resonance       Measurements         in    Multi Porosity   Systems

                                1
                 its


         Geophysics 80                 D31      D42 DOI 101190geo201304671

         Yang          A Firdaus G                  and Heidari      Z 2016                                    and Chemical                  of

                                                                                                               6
                                                                                 Electrical   Resistivity                       Properties

         Kerogen        Isolated       from         Organic Rich         Mudrocks        Geophysics      81           D643       D655       DO
         101190geo201600711


         Chi L Cheng                   K       and Heidari        Z 2016 Improved Assessment of Interconnected Porosity                      in


         Multiple Porosity             Rocks         by    Use of       Nanoparticle      Contrast     Agents       and   Nuclear Magnetic

         Resonance                                  Measurements         SPE    Reservoir     Evaluation                             Journal

                                                    1
                            Relaxation                                                                                Engineering
        Formation Evaluation                   19         95      107   DOI    102118170792         PA

         Chi L and Heidari                 Z 2016 Directional Permeability Assessment                         in   Formations   with Complex

         Pore Geometry with a New Nuclear Magnetic Resonance Based Permeability Model                                            SPE Journal
         214 1436 1449 DOI                           102118179734          PA

         Chen          H and Heidari Z 2016                        PoreScale     Joint    Evaluation     of Dielectric       Permittivity   and

         Electrical        Resistivity for          Assessment of Hydrocarbon              Saturation Using Numerical            Simulations

        SPE Journal 216 1930 1942 DOI 102118170973                                          PA




    Indicates   graduate    students   under    my supervision




Statement of Research         Zoya Heidari
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                                                           Candidates                              Summary on Research
                                                                                     Table         1 Research Summary

                                                                            Metric                                                                                                        Value
           Peer reviewed journal publications                            in rank and total                                                                                              30            34

           Peer reviewed conference                   proceedings            in rank and total                                                                                          59            70

           Number of journal papers in rank with supervised students                                                     from      I   JT   as   coauthor             15 with
                                                                                                                                                                                    my students TAMU
                                                                                                                                                                    and     UT     after     I   joined       UT total
                                                                                                                                                                    of 23 with my students                       in rank


           Total    citations     of all publications               career from IS Web of Knowledge                                                                                          55

           h index       career from IS Web of Knowledge
           Total    citations     of all publications               career from Google                          Scholar or Publish                  or                                     349
           Perish

           h index       career from Google                     Scholar or Publish             or Perish                                                                                         11


           Total    external      research funding               raised      in   rank                                                                                                 $9490449
           Total    external      research funding               raised      in rank        candidates                 share                                                        $34143051
           Total    number of external grantscontracts                               awarded        in        rank                                                                               16

           Number of external grantscontracts                             awarded           in rank       as PI                                                      11    9 single PI 2 with CoPIs


                                                            Table          2 External Grants and Contracts Awarded


            Total       59 490 449    My Share $34143052 $2282113                                               as the       PI $1132192                 as a Co   PI Funded Research
            + $2313638            research funds under considerationnegotiationreview+$100000                                                                 pending     paperwork        at         UT Austin

            +$12000000            W D Von Gonten Rock                                Physics       Laboratory                Initial        proposal          preparation        Equipment             selection     and

            order




       CoInvestIgatorsShare
                                                                                                                                                                                                                      Institution to

     Role of Candidate        d                                                                                                                                         andidates                                          which    the
                                                                rule 3                                         Agency                         Project     Total                                  Grant Period
                                                                                                                                                                                                                           award was
                                                                                                                                                                                                                                made
                                                                                              Texas Oil and             Gas
                                       Integrated       Formation
                                                                                              Institute        Part of the        UT
                                       Evaluation          in   Southcentral
                                                                                              System there             has been a
                                                       Basin              North
                                                                                                                                                                                                                               1 Austin
                                       Delaware                    and
PI                                                                                            proposal          and research                        $98910                 $98910                0117 0817                 I

                                                    Midland Basin
                                       central                              Using
                                                                                              agreement          with       specific
                                       Well     Logs and Core
                                                                                              budget tasks and
                                       Measurements
                                                                                              timeline

                                                                                              BP will           pay   for   the   2
                                                                                              year       in   August        included
                                       Industrial      Affiliate         Research
                                                                                              in   sum                                           $100000                  $100000
                                            am on           Multi Scale Rock                                                                                                                           0716
11
                                       Program
                                                                                              Statoil         under                           $50000year            $50000year                                             I   I 1ustin
                                       Physics       for Unconventional               and                                                                                                              Present
                                                                                              negotiation             not included            per   company          per   company
                                       Carbonate        Reservoirs
                                                                                              Baker           Hughes    Letter

                                                                                              Attached           not included

                                                Industry Research
                                       Joint
                                                                                              Armco Services
                                       Program        on    Formation
                                                                                              Company BHP Billiton
PI
                                       Evaluation

                                       Reservoir
                                                            Petrophysics and

                                                       Characterization              for
                                                                                              Petroleum           BP Chevron                     S900000                  $900000                0912         0915             TAW
                                                                                              ConocoPhillips                and
                                       Unconventional              and Carbonate
                                                                                              Devon           Energy
                                       Reservoirs

PI                                     Application          of Acoustic                       SaintGobain              Proppants                 $100000                  $100000                0115         0117             TAMU


            I

                $838707 was terminated              after   I    left   Texas     AM        University

            2
                $50000 of this amount          is
                                                    pending         paperworkinvoice                 I
                                                                                                         expect        to receive       the funds        in
                                                                                                                                                              my account    in
                                                                                                                                                                                 August    2017
            3
                Level    of competitiveness         for each       project      is   documented           in    an extension           to   Table 2 presented on Page              3
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                                           Measurements                for
                                                                             Quantifying
                                           Mechanical            Damage            in


                                           Propping Agents

                                           A New      Method            to   Characterize

                                           Pore Structure Mechanical

PI                                         Damage and Conductivity                            of            SaintGobain          Proppants        S200000      5200000          0115   01   17      T        R
                                           Proppant        Packs using NN1R

                                           Measurements

CoPI
Grigorios Matenoglou         PI
TAMU       Qatar
                                           Advanced                            Resonance                                                                      $11348498
                     Co PD TAMU
                                                                Magnetic
Zoya     Heidari
                                                                                              3D
                                                                                                                                                                                                    TA
                                                                                        for
                                           Imaging         Methodologies
UT Austin                                                                                                                                                                                                   II


                                           analysis of Multiphase flow                                                National     Research                   Division of
                C Kelessidis CoPD                                                                           Qatar
Vassilios                                                                                                                                                                       0315   0318      transferred     to
                                                                 Oil Reservoirs               and           Foundation                                             labor
TAM
                                                            in
                                           processes
           Qatar                                                                                                                                                                                        UT
                                           Enhanced         Oil Recovery                NPRP
                                 Co PD
                                                                                                                                                             approximately
ieorgios Papavassiliou
                                           713722498                                                                                                                13
NCSR      Dernokritos

Thomas         Mans Co      PI
I                of Crete
    Iniversity

                                                                                                            American Chemical

                                           Impact     of Organic Matter                                     Society        Petroleum
                                                                                                                                                                                                    TAM
                                           Spatial    Connectivity on                                       Research        Fund    ACS
PI                                                                                                                                                S100010      5100000          0914   0917      transferred     to
                                                                               of                           PftF      Doctoral      New
                                                                                                                                                                                                            1
                                           Electrical       Properties


                                                                                                                               DND
                                                                                                                                                                                                        1


                                           Organic Rich Source                     Rocks                    Investigator

                                                                                                            Research       Grant

                                           Improved Subsurface

                                                                   Estimation in                                       of Petroleum
                                           Hydrocarbon                                                      Society

                                           Organic Rich            Source          Rocks                    Engineers       SPE Junior
PI                                                                                                                                                 540000          S40MOO       0912   0914         TANII
                                           Using     Combined Interpretation                                Faculty Research

                                           of Well Logs and Core                                            Initiation      Fellowship

                                           Measurements

                                           Application           of Nanoparticle                                                                               S1350k
Zoya         PI
         Heidari                           Imaging         in
                                                                Quantifying                                                                                   Division of
                                                                                                            SaintGobain          Proppants        5180000                       0113   01   15      TANIU
John Killough CoPD                                              Effects       of Propping                                                                     labor    More
                                           Diagenesis

                                           Agents                                                                                                              than   75
Iing     P1 TAMU
         Zhu                                                                                                                                                       $90000
D A       Co PI TAMU
         Hill
                                           Optimizing            Stimulation                                                                                  Iivision of
                                                                                                            PetroChina        Tarim
      Lin Co PD TAMU                       Treatments            for PetroChina                                                                   $450000          labor        0913   0916         TAMU
Jiajing
                                                                                                            Oilfield       Company
Yucel Alckullu Co PD TAMU                  Tarim     Oilfield
                                                                       Company                                                                               Approximately

Jaya Heidari Co PI TAMU                                                                                                                                             20
                                           Mid Stimulation                  Research

                                           Program         ASRP The projects                            I



                                           was responsible              for
                                                                                                            Petroleum        Industry
                                              Petrophysical                 Rock
                                                                                                            Baker      I
                                                                                                                           Iughes      Pemex                   $300000
                                              Classification                using
Ding Zhu     PI TAMU                                                                                        BG Group
DA
                                              Conventional                  Well    Logs to
        Hill
            Co PI TAMU                        Detect        Zones       for    Acid
                                                                                                            Petrobras Chevron                                 Division of

Hishain    Nasreldin Co PI                                                                                  Qatar Petroleum                       S1800000          labor       0912   09   15      TANII
                                              Stimulation                   Carbonate
TAmu
                                                                       in
                                                                                                                                       Saudi
                                                                                                            ConocoPhillips                                   pproximately
                                              Reservoirs
7oya Heidari Co         PD TAMU                                                                             Aramco         Halliburton                       17      2 out of
                                              A Quantitative Application                                    Shell     Maersk                                  11    projects
                                              of Well           Logs    to    Improve
                                                                                                            Schlumberger and Total
                                              Prediction           of Acid

                                              Stimulation              in   Carbonate

                                              Formations

John Killough  PD TAMU                                                                                                                                         $538707
Zoya Heidari Co PD TAMU                    Advanced             Computational and
                                                                                                                                                              Division of
Yucel Aldcutlu Co PD TAMU                  Numerical Modeling                                               Skoltech       Center for
                                                                                                                                                  $3847910         labor        0115   0120         TAMU
Berna           Co PD TAMU
          Hascalcir
                                           Techniques            for
                                                                       Hydrocarbon                          Research°

Vivek Sarin Co PD TAMU
                                                                                                                                                             Approximately
                                                                                   1401945
                                           Recovery         Proposal
                                                                                                                                                                    14
Eduardo Gildin Co PD TAMU

                                           Enhanced         In Situ         Assessment             of

                                           Petrophysical           Properties           and
                                                                                                            Crisman                     part of
                                                                                                                           Institute
                                                                                                                                                  $313259      $31325           0913   0916         TAMU
                                                                                                            TAMU
PI                                         Kerogen         Spatial      Distribution               in


                                           Organic Rich            Source          Rocks

                                           using     Well       Logs

Zoya     Heidari     PI TAMU               Developing Enhanced                      Well                    Crisman        Institute    part of   S313259      S234944          0913   0916         F II



                 4
                     This project was    initiated    in    collaboration                with other           universities




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John Killough    Co PI TANR                  Logging        Methods          for   Fracture                   TAW                                                                     Division of

Mark Everett     Co PI TANR                  Characterization            in
                                                                               Organic                                                                                                labor      More
                                             Rich    Source       Rocks        using                                                                                                   than      75
                                             Nanotechnology

                                             Investigating and Quantifying

                                             the   Effect    of Petrophysical               and

                                             Compositional Properties                      on

01                                           Electrical                            of
                                                                                                              Crisman       Institute
                                                                                                                                           part of
                                                                                                                                                                S60000                    S60000                  0911     09   13         111
                                                             Resistivity
                                                                                                              TAMU
                                             Organic Shale Formations to

                                             Improve Well Log
                                                                   Methods
                                             Interpretation


                                             My contribution             Quantifying

DA   HillPI TAMU                             Vertical       Heterogeneity           in                                                                                                    $90000
                                                                                                                                                                                                                                           TII
                                                                                                              Crisman                      part of
                                                                                                                            Institute

Ding Zhu Co PI TAMU                          Carbonate        Formations using                                                                                  S90000                Division of                 0112     0115
                                                                                                              TAMU
Zoya Heidari Co PD TAMU                      Well Logs        for Improving                                                                                                          labor       100
                                             Prediction of Acid Fracturing

TOTAL                                                                                                                                                         S9490449                $3414305

                                                                                                                                                                                       Rock Physics Laboratory

                                                                                                                           WD
            In addition         to the      aforementioned                                              contributed               in                               world class                                                       for

                                                                                   AM
                                                                              projects             I
                                                                                                                                          establishing         a

            Unconventional             Resources             at   Texas                           University                               Von Gonten Laboratory
                            Rock Physics Laboratory for Unconventional Resources                                                                   W D Von Gonten                     Laboratories                DA Hill Zoya
                            Heidari and Yucel Alckutlu November 2013 $12000000

            My contributions                are    listed    as follows

                            Prepared        the    first    draft       of the proposal                       for the       laboratory            in   2011     upon joining Texas                     AM         University

                            Contributed            actively        in   expanding                 the     initial       proposal            for   W D Von Gonten                     Laboratories

                            Selected        uptodate              instruments                for the          laboratory               and fmalizing the quotesorders

                            Contributed            actively        in   planning                the laboratory                   set   up and
                            Prepared        test    procedures                for   some equipment



            Proposals under                 ConsiderationNegotiation                                          $231363814100000                               pending        paper         ark     at    UT Austin

                            Integrated        Formation Evaluation                                in   Southcentral                    Delaware         Basin       and North central Midland Basin Using
                            Well Logs and Core Measurements                                               Phase            II    Texas       Oil       and Gas Institute                  $100000             Approved           under

                            contract         Submitted             in August                2017 Funded                     in    October         2017

                            My       Industrial            Affiliate           Research                 Program                 on      MultiScale                 Rock      Physics          for       Unconventional               and
                           Carbonate          Reservoirs                  is       under          consideration                      by    Statoil           Funded         in    October          2017           Baker     Hughes
                           Halliburton             and Occidental                   Petroleum                   $200000                per year supporting                  letter   is   attached

                           A proposal              submitted            to      Saudi             Aramco              on    New            In Situ       Reservoir          Monitoring                 Method       for   Enhanced

                           Hydrocarbon              Recovery                  $1470000                    submitted               in October           2016
                           A proposal              submitted            to     Statoil            Norway                   on Enhanced                  Automatic Fracture                   Detection            and Formation

                           Evaluation             using Automatic                       Joint      Interpretation                    of   Image Logs and Conventional                              Well       Logs $200000
                            Submitted         in    June     2017 they decided                            to join          my IAP
                           NSF       CAREER                Proposal             on         Fundamental                          Investigation            of    Electromagnetic                Properties            of    Rocks      for


                           Geophysical             Characterization                      of Geothermal                     Systems $443638                         Submitted         in     July 2017


               Table 2 Continued The Level                                              of Competitiveness of the External Grants and Contracts Awarded

            ProjectSponsor                          Level of Co mpetith eness

       UT Industrial Affiliate                      High Competilkal                    1111011        ihcr   Joint    Industry Programs               RIs and research center              in   all   the   petroleum engineering

       Program     lAP                              departments         in    the        orld


       TAMU       Joint   Industry                  high     Competition            among          other      Joint    Industry Programs               JIPs and research          centers   in   all   the petroleum engineering

       Program     JIP                              departments         in    the world

       Qatar National       Research
                                                    High     Acceptance             rate    of approximately                15
       Foundation

       American Chemical Society

       Petroleum     Research     Fund              High     Acceptance             rate    of approximately                20
       ACS PRF
                  of Petroleum
       Society

       Engineers     SPE Junior
       Faculty Research        Initiation
                                                    High     Acceptance             rate    of approximately                6     in    2015 when        I   served as a reviewer


       Award

                                                    Moderate        Through             ranking from            1020 companies               whose      main    interests   were   typically      not Formation Evaluation

                                                                                                                30
       Crisman     Institute

                                                    Acceptance          rate    of approximately

       Texas     Oil and   Gas Institute            High     Industry fund               Texas         Oil and    Gas industry is part             of the UT system          I   considered      this    in the   industry category




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                                                       because the research                    project proposal                     budget reports                 funding          procedure             are very similar to           my industry projects
SaintGobain        Proppants                           High           Industry fund

Petroanna Tarim             Oilfield
                                                       Not enough                information         to   judge           Industry fund
Company
Mid Stimulation          Joint
                                                       ModerateSimilar                    to the     case       of Industry Research                     Consortia                but   easier       due to contributions              from the senior faculty                     as
Industry Research               Program
                                                       CoPis
ASRP
                                                       High Competition among                             other             institutions             in the    US Received                    the    Engineering         Genesis        EG award               in   2015        and

                                                                                                                                                   AM
                                                                                                                     top
Skoltech   Center      for       Research
                                                       was recognized                as one of the top                TEES           Texas                    Engineering                Experiment Station                    research      awards         for     the year




    Clarifications                   on the          Level       of        ompetitiveness                   of the External                       Grants


                                                     Petroleum                                             The        industry funded                                                                             academic                        from September
                                                                                                                            A
    Industry        Funding                 in                                  Engineering                                                                research               projects           in my                           career

    2011           August 2017                                          of two          main                                                                                                         on one                                  and

                                                                                         B
             to                                      consists                                   categories                           research              proposals               written                         specific          topic              submitted               to a

    collaborating                company              for    funding and                        research consortia                       my joint industry research program                                               at    TAMU and my industrial
    affiliate     research             program              at   UT Austin
    Category           A        research             projects          within this category                      are often            initiated after discussions                               with the           petroleum           industry             call    for ideas

    from the petroleum                      industry or                 being approached                        by   a company                for solving a challenging                               program            that they deal            with

    My research projects                         in    this category                projects         with        SaintGobain Proppants                                      PetroChina               Tarim         Oilfield         Company and Texas                           Oil

    and Gas Institute part of UT system

    Category           B A proposal has to be prepared for initiating research consortia                                                                                    on a        specific          field    of research             The     proposal              is    then

    distributed among                      several          companies               Pis should              present            the idea           and research                innovations                  to these      companies            and invite them                    to

    support        the      proposed                 program               and    research           vision           The        success           rate       in
                                                                                                                                                                    attracting               companies                depends         on     factors         such        as the

    research directionvision                            and ideas technical                      reputation                of the       PI as well                 as economic                 situation           The    competition              is    among           all    the

    university         faculty             in    petroleum                 engineering             and          geosciences                  in
                                                                                                                                                   my field              of expertise                 in    the       world Although                    these        research


    programs           are       often          initiated             by       senior     faculty           I    have       been        successful                 in       independently                   initiating         successful              projects          in     this


    category       two           times once when                           I    started    my career                 at   TAMU               and        once       after      I    joined          UIs     Austin        I have         already             secured        three

    members         for         my UT industrial affiliate                              research          program               I    started         the   latter           when        the    oil    price       was    at    its   local    minima
    My      research                 projects          in        this          category         UT         Industrial                Affiliate             Research                 Program                on      Multi Scale               Rock            Physics            for

    Unconventional                    and        Carbonate                 Reservoirs              current                sponsors            BP Statoil                     Wildcat           Technologies                    and     TAMU             Joint        Industry

    Research        Program                 on Formation Evaluation                                   Petrophysics and                            Reservoir                 Characterization                    for   Unconventional                   and Carbonate

    Reservoirs sponsors                              Aramco Services Company BHP                                               Billiton           Petroleum                 BP Chevron ConocoPhillips                                   and Devon              Energy

    Acid Stimulation                       Research               Program               ASRP               I    had research                 collaborations                   on two          projects            out of 11          total    projects         defined           as

    the    research             plan        within           the       Acid       Stimulation               Research                Program             ASRP                 a joint          industry research                     program        Category                   B of
    industry       funds              directed          by       Drs Dan Hill and Ding Zhu                                      at   TAMU These two projects proposed by me were part of the                                                                             initial


    proposal       total             projects          of eleven                prepared        for establishing                      this research                 program                  which         was     submitted            to several            oil    and        gas

    companies               I   joined           the    team of Pis                 for    promoting this program                                    for attracting                 sponsors               by making            presentations                to     potential

    sponsors       in    the         petroleum              industry             The    funding           processdecision                         making           is    similar to other joint                       industry research                programs

    Qatar         National                 Research               Foundation                  Research               Grant              In        the    case           of    proposals               submitted           to    Qatar        National               Research

    Foundation              the lead PI has to                        be affiliated           with a submitting institution                                 in     Qatar           not necessarily                 TAMU and approximately 60
    of the fund             has       to    be spent             in    Qatar The              rest   of the           Pls      can     be from             any      AY   here else            in     the    world        as long       as the          lead    PI     is      from

    Qatar

    Crisman         Institute               external funding                            source       with            internal         competition                           The Crisman institute                        at    TAMU           was funded                 by     the


    petroleum          industry             10          20 companies this numbers changes                                               every           year The submitted                            proposals           by    the faculty            were reviewed

    by     the    industry            members               technical              people       from            10         20 companies                       there          can        be    many         reviewers           from each               company                  The

    Crisman committee                           in    the    petroleum             engineering                  department              was          then     responsible                    for selecting             the grant        winners             based on            the

    votesrankings                    from the industry members acceptance                                                 rate      of approximately                        30          to the best             of my knowledge


    Texas        Oil     and          Gas        Institute                 Texas        Oil    and Gas               institute          is
                                                                                                                                              part       of the             UT      system            I    considered            this      fund        in    the     industry

    category because                       the       research                                                                                      and                                                                similar to        my industry projects
                       A
                                                                        project          proposal budget                        reports                     funding               process            are very

    Category                     I    submitted             a proposal              with specific                budget tasks and timeline to Texas                                                  Oil    and Gas           Institute       This          project        has a

    research        agreement                    like       other              industryfunded                   projects             They          did        not           issue       an     RFP           but      they       have        established                 similar

    collaborations                with other            research                teams and            institutions               To     the best            of my knowledge                            every        other faculty             is
                                                                                                                                                                                                                                                  eligible          to   apply
    similar to industry                    funds        Technical                employees            of Texas              Oil and           Gas Institute                  review          the proposal              and make         decisions


    Skoltech        Center                 for   Research                  A new Russian university                                  Skoltech            Skolkovo                   Institute         of Science and                  Technology called for
    proposals          in       2013        asking           well established                   universities put                      together             both         a    research          and        teaching        program        for them A senior
    faculty       at the         Petroleum              Engineering                 department                  of   TAMU Dr John Killough was the lead PI for this proposal He asked                                                                                           me
    and five       other          faculty            to serve as               CoPIs and prepare                      technical          proposals This proposal                                     was     prepared          in    collaboration             with other

    universities            The        proposal             was reviewed                  and approved                    by    representatives                    from Skoltech                     Center        for   Research            As    I   clarified           in
                                                                                                                                                                                                                                                                                my
    research       statement                my part in this project was terminated                                              after    I    left      TAMU




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                                                                            Statement                    of Research
                                                                                              Zoya Heidari

The     petroleum         industry          is    currently         in     great     need           of       young        petrophysicists                who     can        solve      the       mysteries       of

unconventional           reservoirs          My academic                 goal   is   to       educate          young professional                   petrophysicists              to   serve      our industry

or to join academia          and educate                future      generations               of petrophysicists                  It   is   a great pleasure             for     me to be part of The
University        of Texas        at       Austin        UT      Austin          and          to    teach           serve      and have             a    successful          research
                                                                                                                                                                                                 group    at    the


Department        of Petroleum              and Geosystems Engineering Since starting my academic career as an                                                                        assistant        professor

at Texas     AM         University           TAMU              in   September             2011           I   have       acquired        research funding               of $3414305                    My share
$2282113 as the PI $1132192                               as a Co      PI out of a total research fund of $9490449                                                 mentoring 22 graduate                        and
8 undergraduate           students          and writing winning proposals and 89 technical                                              papers


Research Accomplishments and Impacts

My research focuses on fundamental                               studies        on MultiScale Formation Evaluation                                          in the      particular fields               of Rock

Physics      and Petrophysics                    The impact           of    my work                is   on improved              description              of multi phase               fluid      transport      in


spatially     complex        reservoirs            such        as carbonates                  and       organic rich            mudrocks            shale         with       the       intent     to    enhance

production        and recovery             factors       in   these      reservoirs            The extensive                  support        that   I    have    received          from the petroleum

industry     and the awards            I   have        received       are great evidences                         for the     direct    application            of my fundamental                   research      to

the    challenges       the petroleum               industry faces              today The                    main contributions                    stemming           from my research are                      the


following


1            Fundamental               experimental                 and       computational                       research        in        rock        physics        to        quantify         physics        of

unconventional            reservoirs             and     rocks        with      complex                 porematrix              geometry                An example               of     my       fundamental

experimental        research      is
                                           quantifying physical                 properties              of pure kerogen                 eg         electrical      and mechanical                  properties
in organic    rich mudrocks                as a function            of thermal maturity which                             affect       borehole geophysical                  measurements as well

as core      measurements          Yang            et     al 2016             Valdes           et    al 2017 and are                        extremely challenging                      to    quantify       This

research      contributes         to       enhanced            interpretation             of        geophysical               measurements                for    assessment              of hydrocarbon

reserves as well as petrophysical                         and mechanical                  properties               of organic rich             mudrocks           My impact                 in   fundamental

computational           research includes                development            of new              concepts            in interpretation               of multi frequency electromagnetic

EM and         nuclear      magnetic             resonance          NMR measurements                                for     realtime detection                  of productive               zones      Chi and
Heidari      2015 Chen and                  Heidari           2014       Garcia       et       al 2017               to     improve          interpretation            of such         measurements              in


complex       formations          The        results       of these           research             developments                improve         assessment of microfracture                              content

hydrocarbon            reserves        and thus enhance                     decisions               made          for    production           plans       to    improve                               factors    in
                                                                                                                                                                                  recovery

complex      formations        where conventional                        methods are not reliable


2            Develop        new    physics based                 models         and experimental                          techniques          for       formation evaluation                     of   reservoirs

with complex           rock physics          and for integration                of multiscale formation data Conventional                                               petrophysical                 models    for


interpretation         of borehole          geophysical             measurements                    are often           not   reliable in the             presence          of   complex          porematrix

geometry fractures and complex                            rock composition                     I
                                                                                                    developed            new experimental                 methods           for   improved            formation

evaluation        of   complex         reservoirs              For instance               I    introduced               the    application              of nanoparticle               contrast         agents    to


improve      assessment of interconnected                           porosity and               fracture            network       using        NMR measurements Chi et al 2016
The combined            interpretation            of   NMR relaxometry data before and after nanoparticle                                                   injection        enables distinguishing

connected      and isolated            pore volumes which might not be possible                                                in the       absence       of    contrast         agents        The paper by
Chen and Heidari             2016            is    an     example          of   my    research                 on developing                physics based              analytical           models which
accounts     for spatial     distribution               of rock     components                 eg pore and                    pyrite    networks through                    integration           of dielectric

permittivity      and electrical            resistivity        measurements                   to   improve assessment of hydrocarbon                                   saturation


3            Quantitatively            account           for    rock       fabric    ie              spatial        distribution            of rock        components                 and pore network

geometry      in the     interpretation            of rock physical              properties                  for reliable       formation evaluation                    Rock          fabric     significantly

affects    physical        properties             of    formations              However                 this       impact        is     not    quantitatively               taken       into      account        in


interpretation         of formation data                 My research contributes                             to   developing           new techniques              for      quantifying rock              fabric


ie      spatial   distribution         and connectivity                  of different rock                   components                using multi scale imaging and incorporating
it   in interpretation      of formation data                   such     as   EM and NMR measurements                                        For instance          I   introduced            a   new method
that    incorporates         directional               pore connectivity                  factor             in    interpretation             of    NMR          measurements                    and     enables

assessment of permeability tensor                              Chi and Heidari                          2016 My               research        has       also    led    to    development                of other

petrophysical          models which               quantitatively            account            for spatial           distribution           of rock       components for interpretation of
electrical    measurements              ie         electrical       conductivity               and dielectric                 permittivity              Such approach enables minimizing
calibration    efforts     by honoring              the   realistic        physics of rocks




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4             Develop new completion                               petrophysics            techniques             One of the objectives                          of developing                the aforementioned

new methods              for interpretation                 and integration               of multi scale formation data                            is       to    enhance        production               and recovery
factors      in complex          reservoirs            Thus completion                     petrophysics            is    one of the research areas                          that    I    have eagerly            invested

on and plan             to   expand Examples of my research accomplishments                                                         in this   multi disciplinary                         research area include

development             of integrated rock classification methods that accounts                                                  for stress profile                 as well as development                        of new

techniques         for       quantifying proppant                       damage through acoustic and NMR measurements

Research Grants
I   have   successfully              acquired         research grants                from diverse national and international                                       funding         resources              including my

industry research consortia                           individual              projects     with      the       petroleum        industry           competitive                 federalfoundation grants

and external funding                      resources with                internal     competition Table                    3    summarizes              the       distribution           of my research grants

among        different        funding             resources         I   have     been      the    first    PI    for    67 $2282113                         out of $3414305                        of my share          and
the   sole   PI for          56 $1912169 out of $3414305 of my share of my research funds
Table 3 Summary of the distribution of my research grants

Resourcc                                                                                                                              N1     Shari           S                                 I   otal    S
Industry      Research Consortia                       Single PI                                                                           10000005                                            1000000

Competitive FederalFoundation                                     Grants                                                                   253485                                              1037111
External      Funding           Resources             With Internal              Competition                                               698203                                                  776518
Petroleum          Industry              First PI                                                                                          533910                                                  578910
Petroleum          IndustryExternal                   Funds Co PI                                                                          928707                                             6097910
Total                                                                                                                                      3414305                                            9490449

Industrial                           Research          Programs                 One year          after                       TAMU           in                             2012              initiated the         Texas

AM
                   Affiliate                                                                                   joining                             September                             I



           University            Joint            Industry         Program           SIP      on Multi Scale                     Formation Evaluation                             of Unconventional                     and

Carbonate          Reservoirs                  Each signing member contributed                                  $50000 per year               to the             funding       of my research               team This
research program attracted six renowned oil companies      Aramco Services Company BHP Billiton BP Chevron

ConocoPhillips   and Devon Energy   The objective of this research program was integration of multi scale formation
data through  laboratory experiments  and numerical simulations for reliable formation evaluation     and reservoir
characterization                                       of multi scale                formation data                      indeed        a               in    the                        Formation Evaluation
                                                                                                                                            gap
                                                                                                                   is
                               Integration                                                                                                                          existing

research programs                in          academia       and a significant opportunity                           for further            research              The   first     three        annual meetings of

my SIP were all very successful with several encouraging comments from the industry members feedback                                                                                                         forms are

attached This research program brought new research areas to the Harold Vance Department          of                                                                                                        Petroleum

Engineering             at   TAMU Furthermore                            it    was considered                  a great platform to educate                          successful               graduate       students     in

the   fields   of Petrophysics                      and Formation Evaluation                        for    the    future       of the petroleum                    industry and academia                         This   MP
was terminated               after       I   left   TAMU After joining UT Austin in an effort to continue my previous program initiated                                                                      I


the   Industrial Affiliate                   Research  Program IAP on Multi Scale Rock Physics at The University of Texas at Austin
in    2016 Although                  I   initiated this            program when the petroleum industry was experiencing a longlasting downturn
and the      oil   price       was almost             in    its
                                                                   global minima in the time period of 2014 2017 I was successful in immediately
         one major oil company BP Three other
attracting                                             companies                                                                    ie       Statoil              Baker        Hughes               and Occidental

Petroleum are also considering joining this program in 2017 Our first                                                                      annual meeting                   will        be held       on August         16
2017

                                                                  Grants                                                                                                                     from the Society
                                                                                                                                                                                               6
Competitive             FederatFounclation                                       I   have    been         successful           in   receiving           research grants                                                  of

Petroleum          Engineers Junior Faculty                             Research          Initiation       Award          acceptance          rate          of approximately                          in   2015 when
I   served as a          reviewer American Chemical                                   Society         Petroleum Research                      Fund               acceptance             rate       of approximately

20 and             Qatar        National             Research            Foundation          acceptance                 rate   of approximately                        15         to     perform fundamental
research      in the         field       of petroleum             engineering


External       Funding Resources with Internal Competition                                                 I
                                                                                                                supervised          four projects                funded by         the       Crisman Institute           at

TAMU The Crisman institute                                  was funded by the petroleum                             industry           The submitted                   proposals             by     the   faculty   were
reviewed           by    the    industry             members             10          20    members The Crisman committee                                               in   the     petroleum              engineering

department           was then responsible                          for     selecting        the grant            winners        based        on        the       votesrankings                 from the industry
members acceptance                           rate   of approximately                 30      to the        best   of my knowledge




5
    S50000 of this amount                    is   pending     paperworkinvoice                I   expect        to receive      the   funds       in   my account           in    August 2017




Statement of Research                         Zoya Heidari                                                                                                                                                                6
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Petroleum               IndustryExternal                       Funds                Outside           my         industry             research       consortia             I    have            had        other        research

collaborations                with        the    industry            The most recent one                              is
                                                                                                                            my research collaboration                          with the Texas                   Oil     and Gas

institute          which contributes                    to    reliable          evaluation             of reserves               in university         lands      I   have       also      established                successful

multi disciplinary                   research collaborations                           to   extend          my research activities                   in the      field      of completion                  petrophysics                I


had a project with SaintGobain Proppants Company                                                             for      two years          in   collaboration            with      Dr John Killough where                                I



applied         well logging                   techniques          in    the        field    of production                  engineering          for   diagnosing              proppant              diagenesis              effects

Because           of the       great       achievements                  of this collaboration                        SaintGobain Proppants decided                              to       fund       two more            projects

from me            in    2015         I    also       initiated          research collaborations                            on two         projects     within         the      Acid Stimulation Research

Program           ASRP directed by Drs Dan Hill and Ding Zhu at TAMU These                                                                             two projects proposed by me were part
of the     initial       proposal              total   projects           of eleven prepared                          for establishing           this   research           program   joined the team for
                                                                                                                                                                                                I




promoting this                                   for attracting                                       also   collaborated               with a      team of production           and reservoir engineers
                program                                                                           I
                                                                               sponsors
on a project funded by PetroChina                                        Tarim Oilfield Company Finally I had the opportunity                                                             of collaborating                     with a

diverse         team of petroleum                      engineers           from TAMU as well as other                                    universities       in    preparing               a proposal             for    Skoltech

Center      for         Research           which           was accepted                for   funding             in   2015 My            part   in this     project            was terminated                   after    I
                                                                                                                                                                                                                             joined
UT Austin               This project             received          the     Engineering                 Genesis             EG award            in   2015 and was recognized as one of the top
TEES research awards for the year

Laboratory Establishment                               When          I   decided            to   join academia                    I   had a very       specific        big goal            in       mind to establish                  a

                                                                                                    program Upon joining TAMU I prepared a proposal for a
strong      Multi Scale Formation Evaluation                                                 research

multi million dollar rock physics                                  laboratory               which could help me to start a unique research program different from
the   one I        raised       from at          UT Austin                It    was not easy                to   build such             a dream        laboratory          and       I   had        failures      I    first      tried


governmental                 funds and had unsuccessful negotiations with a potential donor which were all learning opportunities
The department                  head and I initiated discussions with Mr Von Gonten in 2013 about a project which could benefit

both      the     Formation Evaluation                         developments                      at   TAMU             and       his   consulting        company               Further development                             of   my
initial    proposal             in    2014 in collaboration                           with other faculty                        resulted    in the     establishment                 of the         W D Von Gonten
WDVG Laboratory                            at    College        Station              which enjoyed                a    funded          value of approximately $12million                                   This laboratory

became an invaluable                           resource        for       rock physics experimental                               research     in    unconventional               reservoirs            at   TAMU After
joining UT Austin in 2015 used $700000 in startup funds to establish two rock physics laboratories including a
                                                        I


2 MHz benchtop NMR multi frequency signal analyzers a pulse decay permeameter and rock pyrolysis equipment

as well as a core flood                         setup        Approximately                   $160000              of the          rock pyrolysis equipment                      cost       came from a donation
which       was         initiated          following           one        of        my      presentations                  at   the    Houston       Geological                Society          Applied           Geoscience

Conference              in    March 2016

Publications

Table 4 summarizes                               number of my journal and conference publications                                                      in rank        and before rank                      have

                                                                   6                                         6                             3
                                          the                                                                                                                                                          I
                                                                                                                                                                                                                      published

my research                                                                                                           SPE Journal                    SPE Reservoir               Evaluation

                                                                   4 SPE                                                                                    2                                        5
                         results          in   Geophysics                      Interpretation                                                                                                                    Engineering

                Formation                                                                Production

                                1                                                                                                          2                                                          1
journal                                   Evaluation                                                                       Operations         journal                 Petrophysics                              Applied           Clay
Science                                   Journal           of Petroleum                 Science        and Engineering                             Mathematical Geosciences                                       and       MPG
                 1
                journal

Bulletin                 In     the       case    of conference                     publications             I   have           mainly published            in   competitive                technical            conferences

acceptance               rate   of approximately                     30 or less such as Society of Petrophysicists                                            and Well Log Analysts SPWL                                            A
Annual            Symposium                    2970           and         Society           of        Petroleum                 Engineers       SPE         Annual Technical Conference and
Exhibition              1670 Of my conference papers                                             6870        required            a fulllength        paper       after     acceptance                of a       short abstract


typically               500 word               abstract            which            were                reviewed                 by    session       chairs       and          technical             committee                 before
                                                                                                 peer

publication             in   most of the cases

Table 4 Summary of my vublications                                              count        St stands            for      students

                                                 In            In        Rank        with              In    Rank           including                  Coauthored                with                 13e101c
                                                                                                                                                                                                                        Total
                                               Rank            G ra d ua te St                         Indergraduate                                tiler        FlICL     Its            St          Rank
                                                 30                            25                                                                                                                                            34

Conference              Pavers                   59                            54                                                                                     13                                   11                70



Recognition               and Awards for Research
Most importantly                      I    received          the     prestigious                 highly competitive                     and     international           2017 SPE Cedric                         K Ferguson
Medal which                   recognizes              my professional                    achievements                 in    petroleum         engineering              To      the       best of      my knowledge                     I



am the          first
                         faculty          member            at the       Department                     and Geosystems Engineering who received this award
                                                                                                  of Petroleum

while being              at    UT Austin               I    am also             one of the six recipients  of the prestigious 2012 Petroleum Engineer Junior

Faculty          Research             Initiation            Award from the Society                                of Petroleum                Engineers       SPE This award recognizes                                             my




Statement of Research                           Zoya Heidari
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excellence              in   commitment to academic research and student supervision                                                                           I    have       also       been        awarded a research grant
from the American Chemical                                           Society             to       accomplish                     a    fundamental            research              project        in       the    field      of   formation

evaluation          of organic                   shale        In November                        2014          I    was announced as one of the recipients                                            of the      2014 TEES              Select


Young         Faculty              Fellows              award        at       TAMU                This         award             recognizes           outstanding              young           faculty           members          who have
demonstrated                  their talents                 for   research               I    was the               first
                                                                                                                                junior faculty         at     the    petroleum                 engineering           department           who
received      award Furthermore my students and I received the best poster presentation and three distinguished
               this


presentation awards from SPWLA  in 2014 and 2015 which   made me listed as one of the 20142015    distinguished

presenters of                 SPWLA                   Moreover                three          of our         2017            SPWLA            papers     were ranked among the top 10 papers of the

symposium                    Finally             I     received           the        2016             SPE           Regional            Formation         Evaluation Award from two regions the
Southwest           North              America Region and                                the      Gulf Coast North America Region The                                                     level       of competitiveness                 of    all

these awards                 is   documented                 in the       Statement of Honors                                   and other Evidence of Merit or Recognition

I   was invited              to   give graduate research seminars                                            in                 institutions including                   Stanford University                       The University of
                                                                                                                    peer
              and The                                                Kansas
Tulsa                                  University              of                        as       well             as    to     present        my teams                 research           achievements              in wellknown


companies                such               as       BHP          Billiton               BP            Aramco                   Services           Company               Occidental                   Petroleum              Corporation

ConocoPhillips                     Chevron Halliburton                                Weatherford and Anadarko                                       Petroleum            Corporation                  I   have     also     been    invited

to    present       at       several             workshops webinars and                                        topical           conferences           Moreover                I    have        been        invited to        serve as an

associate editor for the Petrophysics                                              the       SPE Reservoir                       Evaluation              Engineering                 Formation Evaluation                            and the

Geophysics journals                              three      of the    most relevant journals                                     in
                                                                                                                                       my    field    of expertise Finally                        I   have        been    elected        by the
members of SPWLA                                 to    serve      on the board of directors                                     of this society         as the          Vice President of Education                               from 2016
to    2018 more details are documented                                               in the           Statement of Honors                          and other Evidence                      of Merit or Recognition                            All

the    aforementioned                            examples           are        indications                   of being                 recognized         as        an    impactful              individual              in   the    field      of

Formation Evaluation


Personal Commitment                                    to   Research               Excellence                  and Future Plans
I   am a dream                follower and have been successful                                                    in fulfilling
                                                                                                                                             many of my academic dreams over the past six years
Of course           I    still      have          many         goals          to    fulfill           and      I    am sure that these              will grow further and bigger No matter how
challenging              the      path is the                word impossible does not exist in my research philosophy                                                                           My research group aims to
solve    the    top challenges                         in the      petroleum                 and geosciences                          industries I see             my research team among the top research
groups        in    the           fields         of Formation Evaluation                                       Rock             Physics        and Petrophysics                     in    the near           future          My     research

activities         continue                 making           significant             contributions                       in     developing           new rock physics models                                for    reliable       formation

evaluation          of challenging                       reservoirs such                      as organic rich mudrocks


In the       near future                I    plan      to   expand            the     number of member companies                                        in    my Multi Scale Rock Physics IAP I also
have     longterm
         a                             plan of expanding                       my current                   laboratories and to establish a world class rock physics laboratory at
UT     Austin even more glorious than                                              the       one       I    established at TAMU to make my home university UT Austin the

center       for    Formation Evaluation                                  in the             world This                     requires         teaming        up with other                  faculty          in    the     university          and

attracting         funds           from the industry                      I    also      plan         to    extend              my research activities                  to    the following areas


Hydrological                  sciences                 My fundamental                         research              in the           field   of rock physics                 can     have       significant          contributions             in


characterizing                    and        realtime monitoring                                 of        ground           water        resources            For       instance               the     new        techniques         I    have

developed               for       interpretation               of multi frequency                                  EM and NMR                      measurements                can        be    used        for    quantifying           water

contamination                     in   aquifers             as well as hydraulic                            conductivity                 which        reduces           the    need        for    sampling           and can expand

spatial      boundaries                 of potentially useful                         fresh           aquifers              I   have     already       initiated         collaborations                with hydrologists at                   UT
Austin to expand                       this      aspect        of my research                         The knowledge                      that will      be developed                    through            such    multi disciplinary

research collaboration                               will   influence              the       publics               daily life          and will be applicable                      to    groundwater               resources        all   over

the   world for realtime                              insitu        and reliable assessment of water                                           quality and hydraulic                      conductivity

Electrochemical                        interfacial             interactions                      in   porous media In situ evaluation                                         and modification of electrochemical
mineralfluid                 interfacial               interactions                are extremely complex                                     but    crucial    for       prediction             and control              of storage        and

transport          of    fluids             in       subsurface           rocks              I
                                                                                                  plan         to       quantify         the       impacts     of rock              morphology                   composition             water

chemistry           temperature and pore pressure                                                on mineralfluid electrochemical                                    interfacial            interactions             and effective          EM
and magnetic                  resonance                MR          properties                of       the    rocks              Pursuing       this    goal    will       lead       to    development               of new        methods
for insitu         and            realtime assessment of mineralfluid                                                    interfacial          interactions          with       the       intention          of modifying            them       to


improve        fluid              transport            properties              in     spatially              heterogeneous                    rocks      The        outcomes               of such           research         efforts      and

findings can             also          have           significant         impacts                on        a       carbon            sequestration       in    deep aquifers and its realtime monitoring
using        geophysical                     measurements                      b             hydraulic                  conductivity               assessment             in       aquifers            c         geothermal          energy

efficiency          and           d     realtime wettability assessment and control                                                          for    enhanced            hydrocarbon               recovery




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New    measurement techniques                    for     remote monitoring       of   porous   media       I   plan   to   develop       new   monitoring

techniques          for   porous    media    including     multi frequency   acoustoelectromagnetic            measurements            One major impact
of this research           will   be providing a    new environmentally friendly method             for   pore throat size characterization                that


can   be   a    replacement          for    conventional     mercluyinjectionbased        techniques           Another     research       project    in    this


category       is
                    designing       and developing         nanosensorstransmitters       which   flow     inside      porous      media     Such     sensors

enable high          resolution      measurements        with   large   volume   of investigation    which       is   difficult   to    achieve     with   the

existing monitoring               methods




Statement of Research               Zoya Heidari
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  AUTHOR           Heidari        Zoya
  Timespan=All           years    IndexesCIEXPANDED                          SSCI AHCI CPCIS CPCISSH ESCI


                                                         Total    Publications                   by Year                                                                                  Sum of Times Cited by Year
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                                                                        and                                                                                              3                 4                     15                250
            Title    Improved           estimation      of mineral                fluid      volumetric              concentrations                 from well

            logs    in
                         thinly   bedded and           invaded    formations

            By Heidari Zoya TorresVerdin Carlos Preeg                                            William           E
            Source         GEOPHYSICS                  Volume 77         issue 3                 Pages WA79WA98                                    Published
            MAY JUN 2012


            Title Assisted                        snake like      robots conception                          and dynamic                                                                                        12                 120
                                        passive                                                                                          modeling         using

            GibbsAppell           method
            By Vossoughi                Gholamreza         Pendar       Hodjat               Heidari         Zoya           et al

            Source         ROBOTICA               Volume 26 Pages 267276                                     Part       3     Published              MAY JUN
            2008



                                                         of Kerogen                                          Measurements                                                                                                          175
            Title Quantifying             the Effect                         on    Resistivity                                                in   Organic
            Rich    Mudrocks

            By Kethireddy    Nikhil Chen Huangye Heidari Zoya

            Source     PETROPHYSICS     Volume 55 issue 2 Special                                                         Issue          SI    Pages 136
            146     Published APR 2014



                                                                        and                                                                                                                                                        080
            Title    Improved           estimation      of mineral                fluid      volumetric              concentrations                 in   thinly

            bedded        carbonate           formations

            By Heidari Zoya TorresVerdin Carlos Preeg                                            William           E
            Source         GEOPHYSICS                  Volume 78         Issue 4                 Pages D261 D269 Published
            JULAUG          2013



            Title Inversion based                 method                                                             carbon          and                      and                                                                  060
                                                            for   estimating             total    organic                                     porosity

            for   diagnosing        mineral       constituents        from    multiple well logs                     in     shale gas formations

            By Heidari Zoya TorresVerdin Carlos
            Source INTERPRETATION                         A JOURNAL OF SUBSURFACE
            CHARACTERIZATION                           Volume   issue
                                                                  1    Pages T113 T123 Published AUG
                                                                                     1



            2013



                                                                                                                                               sands                                                                               050
            Title Estimation             of   dynamic      petrophysical           properties                of water bearing

            invaded with          oil   base mud from the interpretation                          of multiple               borehole geophysical

            measurements
            By Heidari Zoya TorresVerdin Carlos
            Source         GEOPHYSICS                  Volume 77         Issue               6   Pages D209 D227 Published
            NOVDEC           2012




                                                                                                                                                                                                                                            12
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           Title Multiscale       characterization       of pore structure      in   carbonate formations                                  0                  1                    2       100

           Application       to the Scurry    Area Canyon Reef Operators Committee                        Unit

           By Oyewole Emmanuel                 Saneifar    Mehrnoosh          Heidari   Zoya
           Source INTERPRETATION                 A JOURNAL OF SUBSURFACE
           CHARACTERIZATION                   Volume 4 issue 2 Pages SF165SF177                              Published
           MAY 2016


           Title Inversion based detection           of    bed   boundaries                                evaluation            with                                                      050
                                                                                for   petrophysical

           wen    logs Applications         to carbonate   and organic shale formations

           By Heidari Zoya TorresVerdin Carlos
           Source INTERPRETATION                 A JOURNAL OF SUBSURFACE
           CHARACTERIZATION                   Volume 2 issue 3 Pages T129 T142                            Published             AUG
           2014



           Title Quantifying       the Directional                       of   Rock    Constituents        and                                        0                                     050
                                                      Connectivity                                                   its   Impact

           on   Electrical    Resistivity    of Organic Rich      Mudrocks

           By Chen Huangye             Heidari Zoya

           Source MATHEMATICAL GEOSCIENCES                              Volume 48 issue 3 Pages 285
           303 Published APR 2016


  10                                                                                                                                                                                       033
           Title Application       of Conventional       Well    Logs To Characterize          Spatial     Heterogeneity

           in   Carbonate      Formations     Required     for   Prediction   of Acid Fracture Conductivity

           By Saneifar         Mehrnoosh       Heidari Zoya Hill A D
           Source    SPE PRODUCTION                  OPERATIONS    Volume                 30    Issue       3    Pages 243
           256    Published AUG 2015


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Zoya Heidari          Google Scholar         Citations                                                                      Page   1   of 3




                         Zoya            Heidari                                                                     Google      Scholar


                         Assistant        Professor The University of                          Citation    indices    All     Since 2012

                         Texas at Austin                                                       Citations             347                328

                                                Borehole Geophysics                            h index                11                 10
                         Petrophysics
                         Formation Evaluation                Rock Physics                      i10 index              14                 13

Inverse     Problems




Title      120                                                                                                       Cited by       Year


Improved Estimation of Mineral and                        Fluid Volumetric       Concentrations             in



Thinly Bedded           and Invaded         Formations
                                                                                                                            40         2010
Z Heidari C TorresVerdin              WE Preeg
SPVVLA 51st Annual        Well    Logging Symposium



Assisted passive snake like robots conception                            and dynamic modeling

using GibbsAppell method                                                                                                    32         2008
G Vossoughi H Pendar Z Heidari S Mohammadi
Robotica   26    3 267276
Inversion   based method for estimating                      total   organic carbon        and porosity

and for diagnosing mineral constituents from multiple well logs in shale
                                                                                                                            24         2013
gas formations
Z Heidari C TorresVerdin

Interpretation   1
                      1T113 T123

Quantifying the          Effect       of Kerogen on Resistivity           Measurements           in   Organic
Rich    Mudrocks
                                                                                                                            21         2014
N Kethireddy      H Chen Z Heidari
Petrophysics     55   2 136146
Rock    classification      in    carbonate reservoirs based               on static and dynamic

petrophysical         properties estimated from conventional                     well    logs                               18         2012
C Xu Z Heidari C TorresVerdin
SPE Annual Technical Conference               and Exhibition SPE 159991



Diffusional coupling          between         microfractures          and pore   structure and            its



impact on nuclear magnetic resonance measurements                                   in   multiple porosity

systems
                                                                                                                            13         2014

L   Chi Z Heidari

Geophysics



Adaptive NeuroFuzzy Inference                        System for Classification            of   ACL
Ruptured        Knees Using            Arthrometric       Data
                                                                                                                            13         2008
Z Heidari F Farahmand             H                  M Parnianpour
                                                         9 14491457
                                      Arabalibeik

Annals of Biomechanical           Engineering       36



Assessment           of residual       hydrocarbon saturation with the combined                                             12         2011

quantitative         interpretation                 and
                                         of resistivity              nuclear logs

Z Heidari C TorresVerdin              A Mendoza GL Wang
              Case 1:19-cv-00877-RP Document 69-3 Filed 02/23/22 Page 124 of 203

Zoya Heidari           Google Scholar Citations                                                                         Page 2 of 3




Title    120                                                                                                      Cited by    Year


Petrophysics     52    03 217237

Rock    Classification            in   the   Haynesville     Shale Based         on Petrophysical and

Elastic Properties               Estimated from Well          Logs                                                      11    2015
M Saneifar A Aranibar Z Heidari
Interpretation   3    1 SA65SA75
Modeling of Magnetic Nanoparticle Transport                             in   Shale Reservoirs
C An M Alfi B Yan K Cheng Z Heidari JE Killough                                                                         11    2015

SPE Reservoir Simularion Symposium SPE 173282


Quantifying the              Impact     of Petrophysical       Properties on Spatial           Distribution

of Contrasting                                               the    NearWellbore
                            Nanoparticle       Agents                                   Region                          11
                                                        in
                                                                                                                              2014
K Cheng A Aderibigbe               M Alfi    Z Heidari J Killough
PETROPHYSICS                55   5 447460
Quantifying the             directional       connectivity    of rock    constituents        and   its   impact
on electrical        resistivity of organic rich             mudrocks
                                                                                                                        10    2016
H Chen Z Heidari
Mathematical     Geosciences            48   3 285303
Rock    classification           from conventional           well   logs in hydrocarbon bearing

shale
                                                                                                                        10    2012
AC Popielski Z Heidari C TorresVerdin
SPE Annual Technical              Conference     and Exhibition SPE 159255



Estimation of dynamic                  petrophysical      properties         of water bearing sands

invaded      with     oil   base mud from the interpretation                   of multiple    borehole

geophysical measurements                                                                                                10    2012

Z Heidari C TorresVerdin
Geophysics



Assessment           of movable gas saturation and                   rock     typing based     on the

combined simulation                 of petrophysical         borehole measurements
                                                                                                                              2011
Z Heidari JG Hamman PI Day DL Gorney D Alfred
SPWLA 52nd       Annual Logging Symposium



Electrical    resistivity         and chemical properties of kerogen                   isolated from

organic rich mudrocks                                                                                                         2016
A Yang G Firdaus Z Heidari
Geophysics 816 D643 D655



Pore Scale Evaluation                   of Dielectric   Measurements            in   Formations with

Complex Pore and                  Grain Structures
                                                                                                                              2014
Z Chen    H and Heidari
Petrophysics     55    6 587598
                                                                                                                         7    2013
            Case 1:19-cv-00877-RP Document 69-3 Filed 02/23/22 Page 125 of 203

Zoya Heidari     Google Scholar     Citations                                                               Page 3 of 3




Title    120                                                                                          Cited by    Year


Improved estimation of mineral and           fluid   volumetric       concentrations     in



thinly bedded    carbonate formations
Z Heidari C TorresVerdin    WE Preeg
Geophysics 78   4   D261 D269



Rapid    interactive assessment       of petrophysical        and geometrical         effects   on

density and     neutron logs acquired      in   vertical    and deviated      wells
                                                                                                                  2009
Z Heidari C TorresVerdin A Mendoza         0 ljasan B Voss WE         Preeg
SPE Annual Technical   Conference    and Exhibition



Improved Assessment         of Interconnected         Porosity   in   Multiple Porosity

Rocks by Use of Nanoparticle Contrast Agents and Nuclear Magnetic
Resonance Relaxation Measurements                                                                                 2015

L Chi   K Cheng Z Heidari
SPE Reservoir Evaluation     Engineering   19   1 95107

    Dates and citation counts       are estimated          and are determined         automatically   by a computer
                                                       program
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                                                       PGE Budget Council Statement
                                                                                      For

                                                                 Zoya Heidari PhD


                    Academic Advising Counseling and Other Student                                                                    Services


In rank as an Assistant Professor Dr Heidari                                          graduated       5     PhD students 4 of whom were sole
supervised and                 1    co supervised            ie 45 PhD                  students      total       with     Dr Robert Lytton TAMU
with the co supervision beginning after                                    Dr Heidari         TAMU Dr Heidaris PhD students
                                                                                              had    left


obtained their degrees                        at   TAMU with           1   of them obtaining her PhD degree after Dr Heidari had

left   TAMU              All        of her          graduated        PhD         students      found        quick        employment          in   industry            after


graduation          which            reflects       favorably        on Dr Heidaris             role as a      student         counselor and advisor



Also while          in    rank as an Assistant Professor                             Dr Heidari        graduated           8   MSc     students         5   of whom

were solesupervised                       and 3 co supervised                    ie 65        MSc         students        total      with   Dr Walter                Ayers
TAMU with                  1       student         being switched from solesupervision to co supervision                                     when Dr Heidari
left   TAMU              All of her graduated                   MSc students                earned their degrees at             TAMU with 6 students
finding employment                       in    industry      after    graduation and 2 students                       continuing on for a PhD degree

Again        this   track record reflects very favorably                               on   Dr Heidaris role as a student                     counselor



Dr Heidari          currently             has 6      PhD students in preparation                       2 of whom have already taken both the

written and oral proposal defense                               PhD qualifying exam with                          1   being co supervised          by Dr John
Killough at         TAMU another 2 having taken the written PhD qualifying exam with                                                                   1    preparing

to take the oral           exam           in       summerfall         2017        and 2 postMSc               students          who are preparing                to   take

the    PhD qualifying exam ie 55 PhD students total She                                                      is   also currently           supervising           3   MSc
students 2 of whom are sole supervised                                     and   1   co supervised          ie 25 students             total with Dr Carlos
TorresVerdin               All of the students are supported by Dr Heidaris research programs and associated

funding


Dr Heidaris              extensive supervision                        mentoring         and counseling                activities     do not end here She                  is


actively      involved              in   mentoring           undergraduate students                   having           mentored 4 students                 during       her

time at      TAMU and 4 students                            while at       UT        Austin for a total               of 8 students         Moreover she has

supervised 2 postdoc students                               while at    UT Austin and has supervised 2 distance                              learning students
while atTAMU Dr Heidari has also served on the supervisory committees of 29 PhD students
and was a reader for 28 MSc theses


Dr Heidari          is   a very effective advisor for her students                                  working       very closely with them in the                        first


2 years and then giving them more freedom                                            to set   out   their    own        direction     to   experience success
and failure She publishes extensively                                  with her graduate               students          23 journal and 55 conference
papers to       date and encourages                          these students           and coauthors           to       present their work at conference
and     in   meetings               with       sponsors         She has worked                 effectively            with     her   students     to       find      them

internships         and job placements                       after    graduation            Out of 13 students graduated                     by her         11   joined

the oil      and gas industry and 2 MSc                                graduates         decided       to    continue          PhD studies         It       should be

highlighted         that           9 out of the        11    students       who joined the            industry did so during                 the severe              recent

downturn from 2015 onwards                                   in the    petroleum industry
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Dr Heidari         takes pride in promoting diversity            and has in particular taken a lead            in mentoring            and

preparing     strong        and   knowledgeable          women     engineers    She does         this   through          a   variety    of

activities    For instance she has actively recruited female graduate                   student       of the   11   PhD students
she has supervised and            is   supervising       7   ie 64 are female She engages her students                           in    her

various   outreach      activities      for   instance   her Symphony         of Rocks    and Fluids in the Subsurface

program      for   middle school girls as part of the Expanding                Your Horizons          EYH program               to   help

encourage     girls to      pursue higher education          STEM fields Moreover both at TAMU and UT Austin
she has encouraged            both undergraduate and graduate            students   to    become        active      in the     SPWLA
organization



As a service       to the   graduate    students   at The     University of Texas at Austin           Dr Heidari furthermore
has served on the Petrophysics                PhD Qualifying Exam Committee as                 its   chair as a member on the

Writing    PhD        Qualifying        Exam Committee             and as a member            of the    Graduate         Admissions

Committee          and the Graduate           Committee She has        also    served    on    the    Women         in   Engineering

Committee as a member at the college level



Concluding Remarks

The Budget Council Tenure                and Promotion Committee has determined                  that   Dr Heidaris advising
record meets or exceeds            expectations for promotion




                             i44020114
Kamy Sepehigfoori Chair
PGE Tenure and Promotion               Committee




Mukul    M Sharma




Eric   van Oort
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                           Candidates                     Summary of Advising Counseling
                                                  and Other Student Services




                                                 Table     1 Summary of Academic                        Advising


                                      Metric                                                                     Value
             Student organizations        advised                              1   Society      of Petrophysicists         and Well Log Analysts
                                                                                                   Student Chapter              TAMU
             Undergraduate      researchers supervised

             PhD students completed                                                                     451 4 sole advisor
             MS students completed                                                                      652 5 sole advisor
             PhD students in pipeline as of 092017                                                      553 5 sole advisor

             MS students in pipeline as of 092017                                                       25 2 sole advisor


Notes
               Count student as 10 if candidate            is   the   sole   advisor count       student as 05       if   the    student    is   co advised




                                Table      2 Degrees Conferred to Graduate Students                                 Supervised


                                                                                   Start         Graduation
     Student Name                Co Supervisor                  Degree                                                                      Placement
                                                                                    Date               Date
    Mehmoosh     Saneifar                                         PhD              012012           052015                                  BHP Billiton
             Lu Chi                                               PhD              012012           082015                           iRock       Technologies
Aderonke       Aderibigbe                                         PhD              092012           052016                                  BHP Billiton
      Huangye     Chen                                            PhD              012013           052016                       Aramco Services Company
Clotilde      Chen Valdes        Dr     Robert   Lytton           PhD              092013           082017                                       Shell

    Nikhil    Kethireddy                                              MS           092011              122013                       Occidental      Petroleum

     Alvaro Aranibar                                                  MS           092012              122014                          PrimeEco          Group
      Gams Firdaus                                                    MS           092013           082015                Continued     PhD       at Colorado School

                                                                                                                                             of Mines

Emmanuel         Oyewole                                              MS           012014              122015                               BHP Billiton
    Abdelrahman       Kotb                                            MS           062014              122015                   Continued    PhD at Texas        AM
                                                                                                                                             University

       Abdalla Ali              Dr Hisham Nasrel                      MS           092014              122015                               Wells Fargo

                                           Din

       Anqi     Yang                 Dr Walter Ayers                  MS           092014           082016                           Matador       Resources

      Shahin     Amin                Dr Walter Ayers                  MS           092015           052017                          Occidental      Petroleum




I

    One of my PhD         students    in this category    at Texas     AM     University    was   assigned      a co supervisor      after   I   joined   UT Austin
2
    Three of my       MSc students in this category        at   Texas   AM         University   were   assigned   a co supervisor       after joined        UT Austin
3
    One of my PhD         students    in this category    at Texas     AM     University    was   assigned      a co supervisor      after   I   joined   UT Austin
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                                Statement                 of Advising Counseling and Other Student                                                                               Services

                                                                                                       Zoya              Heidari



In my advising             role        I    lead    my students stepbystep                                  to       progress      in their         research          advise       them        to    become successful

professionals help               them to enjoy                their research               journey encourage them to dream big and strive to achieve                                                                their goals


and support them                to   pursue a career they deserve                                  after            graduation       I   have       a strong enthusiasm                       for educating             girls      and

inspiring       them       to   pursue science                and engineering                      and mentoring                    young          professionals because                       I    would       not be        in   my
current       professional           position           had others not encouraged and mentored
                                                                                      path The following sections                                  me through          this

describe my research team my academic advising responsibilities at both the undergraduate and graduate levels and

advising       student organizations



Diversity        in   My Research Team
I   have     always       had a multi cultural                     and diverse research team Since the                                              start      of my academic career                       in   2011          I   have

supervised          eleven       PhD students                  eleven              MSc            students                and eight undergraduate                      students           I    have    attracted           several

female       PhD       students to
                                   my research team Furthermore I have successfully attracted and engaged undergraduate
students       in    some of the research projects on my team I have also served as a committee member for an additional

            graduate       students             from geology                and geosciences as well as petroleum                                                engineering              departments               at   both       The

                                                        UT Austin and Texas AM University TAMU
forty

University of Texas                  at     Austin



Advising        Underrepresented                        Graduate             Students              I    am particularly                  proud               of preparing          strong           and knowledgeable

women         engineers          for       our    conventionally                   male dominant industry Table                                      3       summarizes            the    distribution             of graduate

                                                                                                                                                                                                     nine of them
                                                group Among                                                                                                                                                                       were
students                   research                                                   22      graduate students                                    have       advised       since
               in
                     my                                                       the                                                   that   I
                                                                                                                                                                                         2011
female        students          which           constitutes        64 of my PhD students and 14 of my MSc students My                                                                                      first    five          PhD
students       were female and they all got job offers from some of the most prestigious                                                                                   companies           in    our    field       My very
first      female     PhD student                  is   now    serving              on the board of directors                            for the             Society       of Petrophysicists                and Well Log

Analysts



Table 3 Distribution of graduate students in my research group S and Co represent sole and co advisor respectively
                                                                   PhD            Students                                                                                  MSc      Students

                                     11111111=1                        In    PTchnc                                                                01111111
                                                                                                                                                                                                                    HIM
                                                                                         Co
    Female



    Total




Advising Students                 with Diverse                Background                      I
                                                                                                   accept                students    from          different          disciplines              to   create         diversity        of

knowledge            in   my research team                     Although many                           of       my students start                  with educational                backgrounds               specially             my
PhD students              different             than petroleum                    engineering                   I    train   them    efficiently              so    that    they can           perform well              in       rock

physics related            research              and    in their        future           careers            in the           petroleum         industry             Table      6    includes          placement              of    my
students Table 4                 lists      educational            background                 of my former and current                              graduate students



Graduate Advising
Graduate Students and                        their Status          I   have         supervised                      22   16 as sole advisor 6 as co advisor                                   graduate students since

September 2011                  when        I
                                                joined    TAMU as an assistant professor Of these 22 students                                                                  8   7 as sole advisor                     1    as   co
advisor are           UT students                 Table 5 lists             all    the   graduate students                        whom         I   supersized          in the       rank of assistant professor

I   have     graduated 5         PhD students 4 as sole advisor                                             1       as co advisor         and 8 MSc students                   5 as sole advisor 3 as co
advisor        so far Five of my graduate                              students            were assigned co advisors                                 after      I   left    TAMU As their main advisor
however I continued                        directly      supervising                them          financially                supporting            them and publishing with them                                   My plan for
                                                                    students during the                                                             as follows             Kai            be
financially         supporting              my     graduate                                                              coming    year
                                                                                                                                           is                                      will             supported           using      the


remaining of              my research funds                   at   TAMU MP funds    my QNRF project Artur                Saurabh    will   be        supported             using

Archana and Andres will be supported using my IAP funds unused funds from BP from 20162017 20172018 fund
from BP 20172018                                   from Statoil
                                        The processing of the Statoil agreement is planned to be started in August
                                           fund

2017        In the    case                funds from Statoil I will use my unused startup funds approximately 2
                                of any delay             in receiving

students for one year has not been used yet for supporting Andres Chelsea received a fellowship which supports




4
    Five    of my students        at       Texas    AM        University             were         assigned               co supervisors    after         I   joined    UT Austin




Statement of Advising                        Zoya Heidari
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her until August                      2018 I             will    support        her as a graduate research                                    assistant after            August 2018 The                       MSc students under
my supervision                    all          have        external       sponsorship                  I       also        expect        to   receive        research funds                 from Baker                Hughes          letter    is


attached which                        will          possibly         be used for a new student                                   in   the spring         semester or to pay my summer                                 2018 salary This
confirms that                I   can independently                        support             all    my students during the next year even                                         without             counting        on TA positions

I    often     get       1   TA per year for my teaching responsibilities                                      which can be taken by my graduate students because of
                                               should        be noted                             IAP funds are recurring during the upcoming       and some of my
their       expertise                 It                                        that
                                                                                               my                                             years

pending         projects              might be accepted                        for          funding        I    still           have    unused startup funds                     for   student support                  approximately

half of the            initial            funds because                   I    had other funding                            resources          to   support         my graduate students during the past two
years



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    Student           ante                                           Dc2rec                          Gradual          ii
                                                                                                                           on    Date               Id ilea tiwa     I   11a ck444414441
                                                                                                                                                                                              14       the   hest   of in   k   ledge
    Mehmoosh           Saneifar                                       PhD                                   052015                                                              Petroleum         Engineering

    Lu Chi                                                            PhD                                   082015                                                                         Physics

    Aderonke        Aderibigbe                                        PhD                                   052016                                                              Petroleum         Engineering

    Iluangye Chen                                                     PhD                                   052016                                                                         Physics

    Clotilde   Chen          Valdes                                   PhD                                   082017                                                                Civil    Engineering

    Artur Posenato           Garcia                                   PhD                                                                                                AerospaceElectrical                 Engineering

    Saurabh     Tandon                                                Phi                                                                                           MechanicalPetroleum                      Engineering

    Kai   Cheng                                                       Phi                                                                                                          Material Science

    1rchana     Jagadisan                                             Phi                                                                                                      Geological         Engineering

    thdres     Gonzalez                                               PhD                                                                                                       Petroleum         Engineering

    Chelsea    Newgord                                                PhD                                                                                                      Geophysical         Engineering

    Nikhil    Kethireddy                                              MS                                       1212013                                                         Mechanical         Engineering

    Alvaro Aranibar                                                   MS                                       122014                                                            Nuclear      Engineering

    Gama     Firdaus                                                  MS                                    082015                                                              Petroleum         Engineering

    Emmanuel          Oyewole                                         MS                                       122015                                                          Mechanical         Engineering

    Abdelrahman          Kotb                                         MS                                       122015                                                           Petroleum         Engineering

    Abdalla Ali                                                       MS                                       122015                                                           Petroleum         Engineering

      nqi    Yang                                                     MS                                    0812016                                                             Chemical Engineering

    Shahin     Amin                                                   MS                                    0512017                                                             Petroleum         Engineering

    Sonia Arumdati Purba                                              MS                                                                                                        Petroleum         Engineering

    Nlohainmed          AlObaidi                                      MS                                                                                                        Petroleum         Engineering

    Nail    M AlRubie                                                 MS                                                                                                        Petroleum         Engineering




Advising Method                            I   work very             closely            with        my graduate                   students during their first                      two years and                    offer   them       detailed


guidelines             on their research After the second                                             year        I
                                                                                                                           give       freedom       to   my students to experience                              independence             and in

some cases failure because                                       failure       is       an important component                                of the learning                                 I                        them       to    present
                                                                                                                                                                               process            encourage
their conference                      papers themselves                        even if it ends up being an average presentation I also allow
                                                                                                                                             my students to show
up    in front          of       my        industry sponsors                    and participate in presenting the research outcomes in some cases I spend an
extensive             amount of time in practice sessions with my students when they are responsible                                                                                              for        presenting         the outcome

of our research                  either             in   conferences           more time to prepare them rather
                                                                                or in front of sponsors                                 Although it              often takes

than presenting myself it becomes enjoyable  when I see them grow and become successful professionals in the

industry The number of papers I published  with my graduate students 23 journal and 55 conference papers the

presentationpaper                              awards       we received and the placement                                              of my students             Table         6 attest to my effective                        advising



Placement              of my Graduate                        Students               I       have    been supportive                      to   my graduate                students        in   fmding internships                      and with

job placements                        My graduate students have                                      been       very successful                     in   joining         wellknown                and        prestigious         companies

such as        BHP Billiton iRock Technologies                                                      Shell Occidental                     Petroleum and Matador Resources Table 6 summarizes
the    placement                 of my graduate students                                    after    their graduation                    and their graduation                     date      Out of 13 students graduated
from my team                      11           decided          to   join the               industry       and two                MSc graduates decided to continue PhD                                                 studies at           other

institutions after                    I
                                           joined           UT Austin                   I    would like            to           emphasize           that   9 students out of                      11    who decided              to    join    the


industry        graduated during the                                 downturn                of the petroleum                         industry 2015                 2017 when most of the companies were
experiencing                 a hiring freeze                     All of my students                        who graduated                      during this difficult                time were successful                         in receiving

offers       from prestigious                         companies                with their hard work                               and my support



Engaging              Graduate                  Students             in   Outreach                  Activities                  Although        the      first
                                                                                                                                                                  priority         for     my graduate                 students         is   their


research          I
                       try       to   engage               them      in   outreach              activities                 if    possible For instance                     I
                                                                                                                                                                               encouraged                my graduate             students       to


join me in an                    outreach                activity         in   2014 where we held a workshop                                                 on Symphony                      of       Rocks and Fluids                  in    the




Statement of Advising                                 Zoya Heidari
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Subsurface                for      middle school             girls   as    part        of the      Expanding              Your Horizons               EYH program My students got                                            the


opportunity               of     interacting        with      workshop             attendees            and       their   parents        explaining complex                    rock          physics              in   simple

words and encouraging                          girls   to    pursue higher education                             STEM     fields




Table 5           List       of all    the          duate students           whom         I       su     rvised      in the   rank of assistant                rofessor

                                                                                                       Ii            Crathiation
                                                                                                                                                                                             tato
                                                                                                            ii

         Student             one                     super kor                Dc2rec                                                       I   oiii   talon
                                                                                                       Date                Date

     Mehrnoosh           Saneifar                                              PhD                 012012                 052015               TAMU                                     Graduated

                 Lu Chi                                                        PhD                 012012                 082015               TAMU                                     Graduated

    Aderonke           Aderibigbe                                              PhD                 092012                 052016               TAMU                                     Graduated

         Huangye         Chen                                                  PhD                 012013                 052016               TAMU                                     Graduated

    Clotilde     Chen Valdes                  Dr    Robert    Lytton           PhD                 092013                 082017               TAMU                                     Graduated

                                                                                                                                                                      PhD     Candidate                He        currently
                                                                                                                                               TAMU
                                                                                                                                                                                                            is

             Kai Chengs                       Dr John Killough                 PhD                 012013                 052018
                                                                                                                                                                            working          in       my UT labs
        Saurabh         Tandon                                                 PhD                 092015                 082018                    UT                             PhD Candidate
                                                                                                                                                                     Passed the written                PhD       qualifying

                                                                                                                                                                    exams     at   TAMU and UT Plans to
    Artur Posenato            Garcia                                           PhD                 012015                 122019                    UT
                                                                                                                                                                           become       a   PhD candidate              in


                                                                                                                                                                               SummerFall                   2017

                                                                                                                                                                     Passed the written                PhD qualifying
      Archana          Jagadisan                                               PhD                 092016                 082020                    UT                exams        Plans      to      become       a   PhD
                                                                                                                                                                    candidate      in   Fall      2017Spring            2018

                                                                                                                                                                       Student          He will         take written
       Andres       Gonzalez                                                   PhD                 012017                 082022                    UT
                                                                                                                                                                     qualifying         exams          in   Spring 2018

                                                                                                                                                                       Student She will                 take written
       Chelsea         Newgord                                                 PhD                 092017                 122022                    UT
                                                                                                                                                                     qualifying         exams          in   Spring 2019

       Nikhil     Kethiredd                                                        MS              092011                 122013               TAMU                                     Graduated

        Alvaro Aranibar                                                            XIS             092012                 122014               TAMU                                     Graduated

         Gaina         Firdaus                                                     MS              092013                 082015               TAMU                                     Graduated

     Emmanuel Oyewole                                                              MS              012014                 122015               TAMU                                     Graduated

      Abdelrahman Kotb                                                             MS              062014                 122015               TAMU                                     Graduated

           Abdalla Ali                         Dr Nasre11in                        MS              092014                 122015               TAMU                                     Graduated

               Yang
             Anqi                             Dr    Walter    1 cr                 MS              092014                 082016               TAMU                                     Graduated

         Shahin Amin                          Dr    Walter    t   crs              XIS             092015                 052017               TAMU                                     Graduated

    Sonia Aturndati Purba                                                          XIS        I
                                                                                                   012016                 122017                    UT                                      Student

    Mohammed             AlObaidi                                                  XIS             092016                 082018                    UT                                      Student


       Naif     M      Al Ruble
                                             Dr     Carlos Torres

                                                     Verdin
                                                                                   MS              092016                 082018                    UT                                      Student




Table 6             Summ               of the       lacement       of m                aduate          students      after their          aduation        and their traduation                              date

    stiniciii     Namc                                            Dc2                              iiiati            Date                      placmiort       to the       best   of   m4        knovsletle

    Mehrnoosh           Sanetfar                                     PhD                                    052015                                                   BHP     Billiton


    Lu Chi                                                           PhD                                    082015                                             iRock       Technologies

    Aderonke        Aderibigbe                                       PhD                                    052016                                                   BHP     Billiton


    Huangye Chen                                                     PhD                                    052016                                       Aramco Services Company

    Clotilde     Chen        Valdes                                  PhD                                    082017                                                         Shell


    Nikhil      Kethireddy                                           MS                                     122013                                            Occidental       Petroleum

    Alvaro      Aranibar                                             MS                                     122014                                               PrimeEco Group

    Chum Firdaus                                                     MS                                     082015                         Continued          PhD    at Colorado            School      of Mines

    Emmanuel           Oyewole                                       MS                                     122015                                          BHP Billiton
    Abdelrahman Kotb                                                 MS                                     122015                             Continued PhD at Texas               AM                University

    Abdalla      Ali                                                 MS                                     122015                                                   Wells Fargo

    Anqi     Yang                                                    MS                                     082016                                             Matador       Resources

    Shahin      Amin                                                 MS                                     052017                                            Occidental       Petroleum




Group Activities                      Technical        Writing          Club and Python                          Club are examples of team                      activities          that          I
                                                                                                                                                                                                       encourage             my
students          to participate             in I   initiated        Writing Club for my graduate students                                     in     2013     after   I    had to rewrite a couple of

our conference                   papers      all    over     again      from scratch two days before                               the    deadline            Because         technical                writing          was a

challenge      most of my graduate students and many of them had never been trained to write a technical paper In
                       for


Writing Club we get together once a week and practice writing The students ask questions        help each other and

practice writing They learn from each other and I get a chance to monitor their progress and help them if required I




5
    This student was               assigned a co supervisor                after   I   joined      UT Austin




Statement of Advising                         Zoya Heidari
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revived      this Writing              Club a couple of months ago                              at   UT Austin            I   also recently                   initiated Python          Club because            I   realized

none of my students know Python and we needed                                                      that   expertise            for      some of our projects                     in    my research group Such
team activities                make the learning experience more effective                                          and fun


Remote Advising                  After  decided to move to UT Austin
                                                 I
                                                                           immediately discussed my decision with my graduate
                                                                                                                    I


students one by                one Seeing some of them crying and struggling to change my mind has been among the most difficult
moments of my academic career                                          I    was supervising           15 graduate students                          at that         time I promised           every       one of them

my full        support              and    attention             until          they    graduate     and move                 on    to    the       next phase            of     their   careers      Based on             the


negotiations              with                                    and the department head at TAMU I continued
                                    UT Austin as well as discussions                                 with my students

advising my students and helped them get their degrees from TAMU    Some of them were assigned co supervisors

However I continued supporting them financially from my research funds which remained at TAMU Only the most

junior member                  of
                                     my research team decided                                to officially    transfer             to     UT Austin Among the students who remained
TAMU students some of them joined me in Austin to continue working on their projects in my laboratories and those
who didnt need                      specific         facilities            at   UT Austin stayed in College                          Station Although                     College        Station     is   not       far   from

Austin        having            graduate             students              in    two    different     locations           was           initially         challenging             It   was not easy             to     merge
Longhorns            and Aggies as a unique team I decided                                           to   have      both College                    Station         and Austin teams               UT students and
TAMU students at UT in the weekly research meetings College Station team was attending those meetings remotely
I   traveled        to   College          Station frequently                      to   meet with my graduate students and to make sure that they were happy and

progressing              in their         research           I       also       teamed up my TAMU                        and       UT students to help my team merge smoothly                                               to

transfer      the        research experience                         from my senior students to the junior ones and to avoid any possible                                                            interruption in

my teams research developments


Undergraduate Advising and Research                                                    Mentorship
I   have been            successful        in attracting                   undergraduate           students    to research in the field of Formation Evaluation                                            by bringing

my research               to the      classroom              I       have        advised     8 undergraduate                  students          4 from UT Austin 4 from TAMU                                        so far    I


have published                 four conference                       papers with            my undergraduate              students



Encouraging                    Undergraduate                     Students              to    Pursue       Advanced                 Degrees                I    have       been         successful         in    attracting

undergraduate                  students         who worked                      under    my supervision             to   pursue advanced                        degrees          Among       the    8 undergraduate

students       whom             I   advised           4 have           already          graduated and         all       four       decided           to       pursue graduate            studies Three              of them

joined       my research team and one continued                                             as a   PhD student at TAMU                                under         the   supervision         of another             faculty

upon my transition to UT Austin


Building        Confidence                 An important point in undergraduate                                   advising               is   to     help students           to   gain confidence               about      their


abilities     to     conduct research                    In most of the cases                      this confidence                 is   what students need                   to   decide     to    pursue advanced

degrees        It   was during my first                      year at             UT Austin that       I   had a female undergraduate freshman                                          visitor in    my office who
wanted      do research in my team She was a very shy student talking very softly I accepted her on my team hoping
             to

that I can boost her confidence and help her to learn about Formation Evaluation I suggested she start with basic well

log interpretation                  and at the same time do experimental                                    work          I   defined           a   simple fundamental                   project     for her           helped

her to start         the       project      and to learn how                       to   approach      the    problem helped her to merge                                    into       my team and collaborate
with my graduate students                              and trained her to present her research                                     She       later    presented the              outcomes of her research at

an event       organized              by Women               in       Petroleum        and Geosystems Engineering                                   WPGE
                                                                                                                             and received the best presentation
award During her fmal presentation                                              I found her a confident person who professionally  presented and defended her
research       work and answered                          all         the       questions confidently and accurately Such  outcomes   add abundant joy to my

advising       experience



Advising Student Organizations
After    I
             joined        TAMU in 2011                          I
                                                                     encouraged graduate                  and undergraduate                         students         to   initiate     the   SPWLA             Society      of

Petrophysicists                and Well Log Analysts                         TAMU Student Chapter This student organization was initiated in  2012                                                              fall



one year        after      I
                               joined       TAMU                 I    served as the faculty advisor for the SPWLA TAMU Student Chapter from 2012 to

2015 This student organization                                       and its active contribution                 to      SPWLA               helped           the   petroleum          engineering        and geology
and geophysics departments                              at       TAMU become known as active departments in the field of petrophysics                                                                     and well log

interpretation             within         the   Society of Petrophysicists                           and Well Log Analysts                            I
                                                                                                                                                              helped the students to organize                       monthly

seminars to               create      a website              to       attract     members and get funding for their organization After joining UT Austin I
have been           supportive            to the        SPWLA                   UT Student Chapter helped them in organizing an internal student paper contest
in   2016 and helped them in inviting                                           speakers     for their seminar                series




Statement of Advising                           Zoya Heidari
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                                        PGE Budget Council Statement
                                                                 For

                                                  Zoya Heidari               PhD

             Service      to the University            and to the Nation                 State     and Communi


In the       following     a succinct    overview       is   given     of Dr Heidaris           service   to   the    University and

Academia        in general    and to the Nation         State    and Community


Service to University               Academia


During her time at Texas            AM     University and more recently at The University of Texas at Austin

Dr Heidari has shown herself to be a prominent and very active member of important                                        committees

at faculty      and universitycollege level Since                her arrival in 2015 at            UT Austin         her higher than

average       service involvement       at the   PGE department and at the college level has included

             Chair of the Petrophysics        PhD Qualifying Exam Committee 2016 2017
             Member of the Writing PhD           Qualifying Exam Committee 2016 2017

             Member of the Graduate Admissions Committee 2016                               2017
             Member      of the Faculty Search         Committee 2015               2016
             Member of the Graduate Committee 2015                           2016
             Member of the Women in Engineering Committee 2015 2017                                     college level

This extensive recent         service record follows an equally involved                    level   of service        indicating   that

her recent service efforts continue a longer service trend both at                  TAMU at the Harold Vance
Department of Petroleum Engineering                    and   at the   TAMU university college level
             Chair of the Faculty Excellence            Award Committee 2014
                                                                  2015
             Member of the Graduate Admissions Committee 2012   2014
             Member of the Undergraduate Admissions Committee 2014   2015
             Member of the Graduate Fellowship Committee 2012                              2015
             Member of the Faculty        Excellence         Award Committee 2012                   2015
             Member of the Awards Committee                  2012 2014
             Member of the Crisman Committee spring 2015
             Member of the Junior Faculty             Advisory Committee 2014                    2015 university         level

             Member of the Local         Organizing      Committee of the Society of Engineering Science                           SES
             Conference college         level


Moreover         after    joining    TAMU        in   2011 Dr         Heidari      successfully     encouraged          graduate    and

undergraduate students          to initiate     the Society of Petrophysicists and Well Log Analysts                        SPWLA
TAMU Student             Chapter in 2012         She served as its       faculty     advisor from 2012           to   2015 when      she

left   for   UT Austin After joining UT she has actively supported the SPWLA UT Student Chapter
helping       them with organizing         paper      contests      and arranging        invited    speakers     for    their   seminar

series       Her active    involvement     in    promoting       SPWLA        at   the   universities     where she has worked
shows        considerable     maturity    on     her   part    to     help   students     get   relevant       domain     knowledge
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experience       exposure and opportunities               outside of academia               This   is   fully   consistent with the kind

of service initiatives        expected      of an Associate Professor



Service to the Nation State and                   Community


In   2016     Dr       Heidari    became         the    SPWLA        Vice President             VP of Education                      beating         an

experienced        and well recognized              10+ year industry           petrophysicist           for    the    nomination           She      is


currently     serving a twoyear             term     2016         2018 as VP on the SPWLA                         board of directors                 to

advance      education        of Formation             Evaluation       and    Petrophysics             through       this    important             and

prominent      international       society      Her     responsibilities       include      1      organizing         and hosting monthly

webinars      2     organizing training courses            related to Formation             Evaluation          3     extending       SPWLAs
support to universities           to   educate    graduate        and undergraduate level students                      4         initiating    new
forms of     SPWLA          student     paper contests       including        local and international level competitions                             to

increase     student     engagement        in the    SPWLA activities            e    organizing          two topical        conferences            per

year     f    expanding        modern       and     online    education         of Formation Evaluation                      in    the    SPWLA
community          Clearly these          are   very     important      tasks    that    will      have    a positive         impact        on the

discipline    of Petrophysics           and Formation        Evaluation         and   its   global      practitioners        now and           in   the

future



Other activities undertaken              by Dr Heidari on behalf of SPWLA and similar industry organizations
such    as the     Society     of Petroleum            Engineers    SPE the Society of Exploration Geophysicists
SEG etc            include



     Member        of the    Technology         Committee for the             SPWLA         Annual Symposium 2013                           2016
     with    the    usual     responsibilities         expected     of such      a    member            ranking        abstracts          technical


     programming          for conferences           chairing technical sessions              etc
     Member of the SPWLA                  Education       Committee 2014                2016 as a member 2016                            present     as

     the chair of this committee

     Member        of theSPWLA Nomination Committee 2016 2017
     Member        of theSPWLA Publications Committee 2017 present
     Member         of Steering Committees for SPWLA Topical Conferences                                               on    Educating              the

     Petrophysicist and Completion                      Petrophysics
     Member of the SPE                 Steering Committee for Unconventional                         Reserves         Task    Force Summit

     2015
     Chairing       technical      sessions       in    SPWLA        SEG        and     URTeC           Unconventional                Resources

     Technology          annual    conferences



Clearly the        quantity of her many meaningful                  activities    on behalf of SPWLA and other industry

organizations       is   impressive and rivals that of some of the most active experts in both academia                                             and

industry     concerned       with outreach        and service       In addition         she has served                and    is   continuing         to

serve      in a large variety          of technical review        and   editorial functions




     Technical      reviewer      and Associate Editor for Petrophysics Journal

     Technical      reviewer      for Geophysics Journal
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          Technical       reviewer         for Interpretation              Journal

          Technical       reviewer and Associate Editor for SPE Reservoir Evaluation                                               Engineering Journal

          Technical       reviewer         for SPE Production                 and Operations Journal

          Technical       reviewer         for the Journal of Mathematical                       Geosciences

          Review      Panelist         for        the    2017        National     Science           Foundation       NSF Graduate Research
          Fellowship Program                 GRFP
          Technical       reviewer for proposals submitted to the                              SPE Young Faculty         Research          Award 2015

          program
          Technical       reviewer          for    proposals submitted               to    the   ACSPRF         American Chemical Society
          Petroleum Research                Fund 2014 and 2016 programs


It   should be noted                that    all    of these external committee review and                            editing       functions      are on an

invitation        basis only underscoring that Dr Heidari                                 is   highly regarded by the scientific              community

Through these functions she has considerable impact on her field of expertise                                                      eg by guaranteeing
scientific        rigor        and excellence             in    the       publications         she peer reviews          Moreover           it    should    be
mentioned          that     Dr Heidari              has taken a special interest in encouraging high middle school                                        aged
girls to pursue careers                in energy related               STEM Specific activities she has undertaken                          in this regard

include organizing                  astronomy and physics workshops for middle school girls collaborating                                                 with

the GirlTalk          team from UT Austin                        in       2013 holding          a workshop      on    Symphony             of Rocks        and

Fluids in the Subsurface                          to   introduce girls         in the levels of 5th 8th grade to rock physics well
logging           petrophysics               and        formation           evaluation         by   conducting        simple         experiments           and

participating         in       the   Expanding Your Horizons                         EYH program                at   TAMU           in   2014 where she
and her graduate                students          presented      a workshop          for   6th grade girls



In conclusion             it   is   clear that         Dr Heidaris           service record both inside and outside of academia                              is


excellent and completely                      in line          and    in   many   respects exceeding                what might be expected                of an
assistant         professor           This         statement         is    underpinned          by strong      support       for    her   service       record

expressed          in the      letters     of support by Dr Michael King                            Dr Chandra Rai and Dr Russell Johns
the       latter explicitly          stating       that   overall I find no                issues    with    her service           and believe she has
exceeded expectations                      in this      area


It   is   fully   expected          that    Dr Heidari          will       continue her trajectory           of a combining          a high quantity of

service activities              with a high             quality       of service      in   the future        In her service statement               she has

expressed          this    very      sentiment            and has already             indicated       how     she    plans   to     further      expand    her

service activities for instance                          by    initiating     a distance         learning    program     for       SPWLA to advance
training       and education               of Formation Evaluation                    and       initiating   a mentorship           program       for   young
professionals          in Formation                Evaluation         through     SPWLA



Concluding Remarks


Based on an examination                       of the documents submitted                         Dr Heidaris        service record meets or

exceeds the requirements for promotion
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s71
Kamy Sepehrri5ori Chair
PGE Tenure and Promotion   Committee




Eric van Oort




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           Statement                          of Service to the University and to the Nation State and                                                                                        Communi
                                                                                                     Zoya           Heidari




My philosophy                   about service              is that       giving makes the                  world a better place                          to live for all          of us      and it helps me to grow

as well       I   owe my success                    to     all       who helped me voluntarily                           to   learn             to    persist     and to progress                 I   would like to do the

same for others                 to initiate         big changes               in the      world Furthermore                                I   believe     each and            every     service to           the       community
and the professional                       societies            is    a learning     opportunity                   and a great chance                        to   meet and collaborate                       with others             My
service    opportunities                      can     be    summarized               in three         categories                      of    i        services     to    the university                 ii     services          to   the

professional                societies          and organizations and iii                             services                to       the       community               which     will       be       further      described          as

follows       My goal and impact in all the following services                                                     is
                                                                                                                        advancing                    education     and research in the                  field of Formation


Evaluation



Services          to       the University

                   at Austin At The University of Texas at Austin UT Austin have served on the Petrophysics
The University ofTexas
PhD Qualifying Exam Committee as the chair of the committee 2016     2017 and as a member on the Writing
PhD Qualifying Exam Committee 2016 2017 the Graduate Admissions Committee 2016 2017 the Faculty
Search     Committee 2015                           2016 and                   the   Graduate             Committee 2015                                2016        I   have     also served on                the      Women         in


Engineering                Committee as a member 2015                                  2017 at the college level

Texas    A111               University           At Texas              AM        University           TAMU                        I   served          on the Faculty            Excellence              Award           Committee

as the chair of the committee                              2014 2015 and as a member on the Graduate Admissions Committee 2012                                                                                              2014
the   Undergraduate                      Admissions Committee 2014                                  2015 the Graduate Fellowship Committee 2012                                                                          2015 the
Faculty       Excellence                 Award Committee 2012                                     2015 the Awards Committee 2012     2014 and                                                                       the    Crisman
Committee spring 2015                               in   the Harold Vance Department                                     of Petroleum                   Engineering At the university level I have
served as a            member on the Junior Faculty                                  Advisory             Committee 2014                                2015 and the Local Organizing Committee
of the   Society of Engineering                             Science        SE S Conference                          at the            college          level



Student       Organizations                     After       I
                                                                 joined       TAMU in 2011                     I
                                                                                                                    encouraged                       graduate and         undergraduate                students           to   initiate

the   SPWLA                 Society           of Petrophysicists                and Well Log Analysts                                   TAMU             Student        Chapter         This student organization

was initiated in fall 2012 I served as the                                      faculty         advisor            for the            SPWLA TAMU Student Chapter from 2012 to 2015
This student organization                           and         its   active    contribution              to       SPWLA               helped the petroleum                      engineering                and geology              and

geophysics                 departments           at    TAMU              become known                 as       active         departments                 in      the   field    of petrophysics                   and well log

interpretation               within the Society of Petrophysicists and Well Log Analysts After joining UT Austin                                                                                                    I    have    been

supportive             to the    SPWLA UT Student Chapter helped them in organizing an internal student paper contest                                                                                                   and helped

them     in inviting            speakers            for their seminar                series



Services          to       the Professional Societies                          and Organizations
The closest professional                         societies to             my field            of expertise              include            SPWLA          Society             of Petrophysicists                and Well Log

Analysts SPE Society of Petroleum                                              Engineers             and SEG Society                                  of Exploration Geophysicists                            The following

paragraphs             summarize my services and contributions                                            to the         aforementioned                      professional          societies           and organizations


SPWLA         Vice President                    VP of Education In 2015                               I
                                                                                                          accepted                the       nomination as               the   SPWLA           Vice President                   VP of
Education              because           it    was an opportunity                    for       me to advance                      education             of Formation Evaluation                             and Petrophysics

worldwide                  through        an     international             society             My    competitor                       in       the    election      was an         experienced                13+          years      of

experience                 and well recognized petrophysicist                                   from the industry                          I   was elected by             SPWLA          members               May 2016 to
                                                                                                                                                                                                              in


serve    as       the       VP Education on                      the board           of       directors        for       a    twoyear                 term     2016             2018 As the                  SPWLA VP of
Education              I
                            a   organize            and host monthly webinars                              b            organize               training    courses            related    to   Formation Evaluation

c         SPWLAs support to universities to educate graduate and undergraduate level students
      extend                                                                                        initiate a new                                                                                          d
form of SPWLA student paper contest including local and international level competitions     to increase student


engagement in the SPWLA activities                                             e
                                          organize two topical conferences per year f expand modern and online
education of Formation Evaluation in the SPWLA community




Other Services                                Professional Societies                          have                 been actively
                              to the                                                                                                                                    many other professional services to
                                                                                                     also                                                          in
                                                                                          I
                                                                                                                                                     engaged
SPWLA             and SPE            I   served as a                 member of the Technology                             Committee for the                        SPWLA      Annual Symposium 2013

2016 In this role I ranked the abstracts submitted                                                   for the            annual          symposium                 participated          in   making decisions about
the   technical              program            for      the         annual    symposium                  assisted            with              the    planning         of     technical          workshops prepared
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proposals      for    technical             workshops chaired technical sessions and helped in ranking the technical papers for selection
of the best paper              and poster at the annual symposium I also served as a member on the       SPWLA Education Committee
2014          2016 as a member 2016                                 present        as      the    chair SPWLA               Nomination Committee 2016                                        2017 SPWLA
Publications          Committee 2017                        present and the Steering Committees for the SPWLA Topical                                                                        Conferences           on

Educating the Petrophysicist                               and Completion  Petrophysics I was invited by SPE to serve                                                                        on    the    Steering
Committee for the Unconventional                                    Reserves           Task Force             Summit 2015                   I   have    also      chaired         technical          sessions      in


SPWLA SEG and URTeC                                  Unconventional                        Resources          Technology              annual         conferences            All       the    aforementioned

services      are considered as                invitation based                 services



Technical       Reviewer and Editor                        I    have       served as a technical                    reviewer         for    the      Petrophysics          journal           the    Geophysics

journal       the    Interpretation journal                         the    SPE Reservoir                 Evaluation              Engineering journal                       the    SPE Production                  and

Operations          journal            and the journal of Mathematical Geosciences                                               I
                                                                                                                                      recently        accepted         invitations               from the SPE

Reservoir       Evaluation                    Engineering journal                          and the Petrophysics                journal          to   serve    as an associate                    editor    Both of
these journals are among                       the   most relevant               to        my field of expertise I also served as a Review                                        Panelist         for the       2017
National       Science           Foundation           NSF Graduate Research Fellowship Program GRFP and a                                                                       technical          reviewer       for


proposals       submitted     Young Faculty Research Award 2015 and the ACSPRF American Chemical
                                       to    the     SPE

Society Petroleum Research Fund 2014 and 2016 programs All the aforementioned services are considered as

invitation based               services



Services   to the Community

I   am particularly interested in encouraging                                    girls       to    pursue energy related                   STEM         Science            technology engineering
and mathematics careers and motivating them                                                strive to     achieve        their dreams            I   started   pursuing           this passion right after


entering      university              as an    undergraduate                student              when     I   organized          astronomy            and physics           workshops               for    middle
school       girls        I    also    had an         enjoyable             collaboration                with     the    GirlTalk          team        from       UT       Austin           in    2013      In    this


collaboration             I   held a workshop              on Symphony                       of Rocks         and Fluids in the Subsurface                          where         I   introduced          girls   51
8° grade             to rock       physics well logging petrophysics and formation evaluation                                                          by conducting                  simple experiments
I   later   participated          in    a   similar activity               as   part       of the      Expanding         Your Horizons                 EYH program                     at   TAMU in 2014
where
            my graduate students and I presented a workshop                                               for 6th grade girls              Figure       1




Figure      1 Four of my graduate                    students         and I      holding a             workshop     entitled

Symphony             of       Rocks     and     Fluids         in    the    Subsurface                 during     the    2014

Expanding       Your Horizons                EYH program                   to encourage            middleschool          girls

to pursue     energy related            STEM         careers




Future Plans
I   will    continue           contributing           to   professional                societies          such     as    SPWLA SPE and SEG                                 participating             actively      in


departmental          and university administrative committees and serving                                                       the community                I
                                                                                                                                                                  plan     to    place emphasis of my

services to the               professional         societies         on two categories of editorial services and education                                             I   will       spend more time for

my     responsibilities                as    an associate                 editor      for        the    SPE      Reservoir           Evaluation                   Engineering journal                     and     the


Petrophysics          journal           On the education                    side       I
                                                                                            plan    to   initiate       a distance         learning      program           for        SPWLA          to   advance

training and         education              of Formation Evaluation                          I   also plan       to initiate     a mentorship             program           for young             professionals
in Formation Evaluation                       through      SPWLA




Statement of Service                    Zoya Heidari
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                                           PGE Budget Council Statement
                                                                    For

                                                       Zoya Heidari             PhD

Honors and Other Evidence                           of Merit or Recognition                      Including Contracts and
                                                               Grants


Dr     Zoya      Heidari       has      been    very    successful     in      attracting      research   funding      from     various

governmental        sources       and    oil   and gas companies          The    total    amount of research        funding     she has

brought     in   while at      TAMU and UT Austin              is    $949 million Of this her share is $341                     million

$228      million as PI and             $113    million as   Co   PI   with an additional           $231     million under current

consideration         negotiation              review   In addition     she played an important              role in      securing     $12
million for the       WD Gonten Rock                   Physics Laboratory          for   Unconventional       Resources        Most of
these grants were awarded                while she was at      TAMU            During her more recent time in Austin she
has been able to attract over                  $198910    dollars    as her     own      share of funding     while in rank as an

assistant   professor       in    the   PGE department and was allowed                    to   transfer   only $159942             dollars

from    TAMU         Her funding           comes       from a diverse mix of funding                sources       including    industry

consortia        competitive       federal       foundation    grants external funding              resources      with   UT
                                                                                                                           internal


competition and external industry funding directly                          either    as PI or Co   PI While at UT Austin Dr
Heidari     secured       research       funding    from the      Texas        Oil and     Gas   Institute   in   addition    to    funds

generated       from her fledgling joint industry research consortium a remarkable achievement                                  in itself


given the strong downturn                in    the petroleum    industry       after   2015 and the associated            reluctance    of

industry sponsors         to   support academic          RD
Her technical expertise is highly valued among her peers and she has served as a technical reviewer
for   several    journals        including       Geophysics Journal            SEG Interpretation         Journal     SPE Reservoir
Evaluation          Engineering          Journal SPE Production           and Operations Journal Petrophysics Journal
and the Journal of Mathematical                  Geosciences She          is   also

      Publication     committee member nomination                    committee member and member of the                       SPWLA
      Board of Directors as the Vice President                 VP      of Education for the Society of Petrophysicists

      and Well Log Analysts              SPWLA
      Review      panelist for the       2017     NSF Graduate Research               Fellowship    Program       GRFP
      Technical     reviewer       for the     SPE Young Faculty          Research        Award    proposals

      Technical     reviewer       for   ACSPRF proposals of the American Chemical Society

Dr Heidari         has been       very    active   in    co organizing          and supporting        highly regarded technical

conferences       and workshops            including



1     Reviewer      for   Society of Exploration           Geologists       SEG 87th Annual Conference and
      Exhibition      April 2017

2     Coorganizer of two topical                 SPWLA conferences              per year conferences         organized so far
      include     1   The Role of Petrophysics               in Plugging       and Abandonment            2016 November 7              8
      Houston      Texas       2 Value         of Information and Uncertainty               in Petrophysics       2017 April 19
      21 Bogota Colombia
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3   Student      paper judge for        SPWLA during the annual international                    student    paper       contest June

    26 2016
4   Steering committee            member for SPWLA                 Unconventional         Resources       Special     Interest     Group
    URSIG             September 2015            Present

5   Steering committee            member for SPWLA                 SPWLA Topical Conference on Completion
    Petrophysics          October       2015
6   Steering committee            member for Society of Petroleum Engineers SPE Unconventional
    Reserves      Task Force Summit March                    2015 December 2015
7   Local    organizing committee member for SPE Society of Engineering Science                                         SES
    Conference          Member of the Local           Organizing       Committee September 2014 October 2015
8   Member       of the Steering Committee for                SPWLA Topical Conference on Educating the
    Petrophysicist          March 23            27 2014
9   Member       of the Technology              Committee for SPWLA Annual Symposium July 2013                                     July

    2016
10 Cochair        during Unconventional             Resources        Conference         URTeC Formation Evaluation of
    Unconventional          Reservoirs session August 13 2013
11 Chair for Society of Exploration                 Geologists       SEG 83rd Annual Conference and Exhibition
    Advances           in Borehole      Measurements and Interpretation session September 24 2013


Dr Heidari       has     also presented          numerous      invited    talks    at   technical    meetings         and   universities


worldwide        including    Stanford University             The University of Tulsa and The University of Kansas

as well     as   at    industry   companies         including       BHP    Billiton       BP    Aramco          Services       Company
Occidental       Petroleum        Corporation         ConocoPhillips          Chevron        Halliburton             Weatherford          and

Anadarko Petroleum Corporation


Dr Heidaris honors are impressive They include
          2012 Petroleum Engineer Junior Faculty Research                          Initiation   Award from the Society o
          Petroleum Engineers             SPE       one of only six recipients of this prestigious award

          2014 TEES Texas               AM                         Experiment       Station Select        Young Faculty
                                          AM
                                                 Engineering

          Fellows award at Texas                      University      TAMU
          2014 SPWLA best poster award
          20142015 SPWLA distinguished presentation awards
          2015 SPE Innovative              Teaching    Award
          2016 SPE Regional Formation Evaluation Award from two regions Southwest                                              North

          America Region and the Gulf Coast North America Region

          20162017        Award of appreciation              for   service and outstanding accomplishment                      as the

          Vice President of Education on the board of directors of SPWLA

          2017 SPE Cedric          K Ferguson Medal

Note that Dr Heidari         is   the   first   PGE faculty member and first PGE graduate                       to   receive   the highly

prestigious Ferguson medal which rewards excellence                           in research       and associated          publication       for

contributors      under 36 years of age               This    international       award    attests   to   the   high     quality    of her

research and publications
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Concluding Remarks

Based on an examination of the documents submitted Dr Heidaris honors record meets or

exceeds      the requirements for promotion




                       i44zerwt
Kamy Sepehrafoori Chair
PGE Tenure and Promotion     Committee




   titttit

Mukul   M Sharma



Eric van   Oort
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                             Statement                       of Honors and other Evidence of Merit or Recognition
                                                                                             Zoya Heidari


Evidence         of Academic              or Professional Merit
Awards       and Recognition                   I    am one         of the      six recipients         of    the    prestigious        2012 Petroleum             Engineer         Junior Faculty

                 Award from the Society of Petroleum Engineers                                                                SPE This award recognizes my excellence
                                                                                                                                                                                                    6
Research         Initiation                                                                                                                                                                          in

commitment to academic research and student supervision The acceptance                                                               rate for this      award was approximately
in   2015 when I was a reviewer                              for the    submitted          applicationsproposals



I   have   also   been awarded a research grant from the American Chemical                                                       Society     ACS         to   accomplish          a   fundamental

research project             on formation evaluation                      of organic rich mudrocks                       shale The acceptance                 rate for this       award      is   often

less than      20 and             the   applicants            typically     include junior faculty                     in chemical     and petroleum             engineering          departments

in the     US

In November             2014 I was announced as one of the recipients                                       of the      2014 TEES Texas                AM        Engineering           Experiment

Station Select              Young Faculty Fellows award                           at   Texas    AM          University          TAMU This award recognizes outstanding
young faculty members who have demonstrated                                            their talents        for research         I   was the first junior faculty from the Harold
Vance Department of Petroleum Engineering                                              who     received           this   award       since    1998       The applicants               are

                                                                                                       AM
                                                                                                                                                                                            typically

nominated         from all the engineering                        departments              at Texas                    University      The    list    of recipients         of this award          from
1998        2013    is      attached



I   received      the       2015        SPE Innovative                 Teaching            Award      This        award        recognizes      my       excellence          in   commitment to
academic research and student supervision                                       and recognizes          the    important         role that    the academics of my caliber                     play   in


enhancing         the   educational            environment              of petroleum           engineering             departments      and    programs Applicantsnominations
for this    award cover             all the         faculty      members from the petroleum engineering                                departments    in the world




Furthermore my students                        and I received            the     2014 best poster presentation and three distinguished                                  presentation awards

2014       and    2015 from the                     Society       of Petrophysicists             and Well Log Analysts                       SPWLA which                    made me and my
students     listed         among       the    2014            2015 and 2015               2016 distinguished                  presenters of    SPWLA Moreover three of our
2017       SPWLA      papers were ranked among the top ten papers of the 2017                                                                SPWLA annual symposium These
recognitions        were based on the peer reviews from the SPWLA Technical Committee consists of approximately 20
40 members among                       all the
                                                    papers presented
                                                                                  in the     annual     symposium              ie approximately 120 papers per year The
selection       criteria      include         the    technical         content as well as             the   presentation         skills




I   also   received the           2016 SPE Regional Formation Evaluation                                      Award from two regions the Southwest North America

Region and the Gulf Coast North America Region These awards are an acknowledgement                                                                          of
                                                                                                                                                                 my outstanding             research

teaching and service contribution in the field of Formation Evaluation at the regional                                                                      level     Nominations            for    this


award cover         all     the   faculty          members and industry experts                        in   petroleum          engineering           from the aforementioned                 regions

I   would like to emphasize                    that the        majority of industry experts                    in      Formation Evaluation             are   from the Southwest North
America and the Gulf Coast North America regions


I   recently      received         an    award of appreciation                     for      service    and outstanding               accomplishment              as   the   Vice President of

Education         on the board of directors of SPWLA                                   2016          2017


Finally     and most importantly                         I   received     the    prestigious      and highly competitive                  2017 SPE Cedric               K Ferguson Medal
which recognizes my professional achievements in petroleum engineering  To the best of my knowledge   I am the
first
      faculty member at the Department of Petroleum and Geosystems Engineering         who received this award                                       PGE
while at     UT Austin             I    am also the            first   PGE graduate to receive this award SPE considers all                                      papers published             in   SPE

journals in a given year by authors younger                                      than 36       and    presents          the   award    for the       best   paper     Coauthors         older than

36    receive     the       Cedric       K Ferguson Certificate                        I   was 34 in 2017 and received                       the     Cedric   K Ferguson medal This
international       award          attests to the             high     quality    of my research              and publications          from my team


Invited Talks           I   was    invited          to   give graduate research seminars                          in          institutions     including Stanford                University        The
                                                                                                                       peer

University of     Tulsa and The University of Kansas as well as to present my teams research achievements in well
known        companies such as BHP  Billiton  BP Aramco Services Company Occidental Petroleum Corporation
ConocoPhillips               Chevron Halliburton                        Weatherford and Anadarko                          Petroleum       Corporation
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I   have    also     been        invited        to    present      at     several        workshops webinars and topical                                        conferences         Examples                include          my
presentations given                 at the      Unconventional                   Resources Special                Interest              Group    URSIG the Houston Geological                                    Society

HGS             Applied           Geoscience                Conference              the          SPWLA           Completion Petrophysics                                    workshop            the        Society          of

Exploration Geophysicists                             SEG          2015 post convention                         workshop                 W10          Physics          of   Rocks        the        SPWLA              local


chapters         the       SEGSPEAAPGSPWLAEAGE                                              summer             research           workshop             the     SEG workshop              on Integration                     of

Petrophysics               Rock Physics and Laboratory                                Measurements                  and SPE webinars


Contracts         and Grants of an Honorific Nature                                          I       was also one            of     the   contributors               in   a multi university                and multi

disciplinary           research              grant     Advanced                  Computational                  and Numerical              Modeling Techniques         Hydrocarbon           for


Recovery             which received the Engineering                                 Genesis            EG award              in     2015 and was recognized as one of the top TEES
research awards                  for the
                                              year


One of the research projects                           I   have    been          proud      of is my joint              industry research                     program on Multi Scale Formation
Evaluation           of Unconventional                      and Carbonate Reservoirs                             that    I   initiated          and    led     from 2012  2015 at TAMU This

program had six industry members I always received very encouraging comments from our industry sponsors It is
often believed that such          should be initiated by senior faculty and I have always faced such mentality when
                         programs

approaching            industry for promoting my program                                         I    am proud of being successful in this path during the earliest                                                    stage
of my career               After    I   joined       UT Austin              I   decided          to   revive    that    program               at here       Although I        started this program when

the   petroleum            industry was experiencing                            a longlasting             downturn            I   was successful               in immediately attracting                    one major
oil company BP Three other companies                                             ie Statoil Baker Hughes and Occidental Petroleum are                                                          also       considering

joining this program in 2017 I will hold the                                        first    annual meeting of this new Industrial Affiliate                                       Research               Program on
Multi scale rock physics on August                                      16 2017


Election        to   Office        in Scholarly             or Professional Organizations                             I have been elected by the members of the Society of

Petrophysicists              and Well Log Analysts                        SPWLA                  to    serve    on the board of directors as the Vice President of Education
from 2016            to 2018        I   was first          nominated            by the      SPWL A nomination committee to run for this position My competitor
in    the   election        was an experienced                     13+ year of experience                          petrophysicist                    from the industry Winning                            this   election


after   a nomination                process and competing                          against            a   wellknown               expert        in    the     field    of Formation Evaluation                         is   an

indication        of    me being recognized                        among          the    SPWLA             members as an impactful individual                                   in the   field        of Formation

Evaluation



Fellowships            I    have        been the recipient              of the      Anadarko Petroleum Corporation Centennial Fellowship  in Petroleum                                         1
                       from the Cockrell School of Engineering                               at The University of Texas at Austin 2016 Present and the

                                                                                                                                                         AM
Engineering

Chevron          Corporation Faculty                        Fellowship            in   Petroleum               Engineering               at    Texas                   University        December                2011

August 2015 I have                           also    received       the         2016 SPE Faculty                 Enhancement                    Travel        Grant       from the Southwestern                       North

America Region


Other Honors                 I   have        been     invited to          serve        as an          associate    editor           for the       Petrophysics              journal      the    SPE Reservoir
Evaluation                 Engineering journal                    Formation Evaluation                            and the Geophysics journal three of the most recognized

journals in my field                    of expertise



Success         in   Seeking       and Obtaining External Funding and Diversity of Research Grants

Diversity and              the    Amount of Research Grants Since starting my academic career as an assistant professor                                                                                           I    have

acquired research funding of $3414305                                           My share $2282113 as                        PI out of a total research
                                                                                                                                  the    PI $1132192                  as a Co

fund of $9490449                         I   have    been    the    first       PI for 67 $2282113 and the sole PI for 56 $1912169 of my research
funds       I   have       been successful                  in   bringing research funding                         to        support           my teams research activities                          from diverse

competitive            national and            international            funding          resources             These     funding              resources can be              classified       into     the    following

categories             my         industry           research           consortia                individual        projects               with        the       petroleum         industry                competitive
federalfoundation                       grants       and external                funding              resources        with         internal          competition             Table      1     summarizes                   the

distribution           of my research grants                       in different             categories            Table           2 summarizes                the     level   of competitiveness                    of my

research grants within each category                                 Figure 1            shows the         distribution                 of my research grants                 among      different resources




Individual           Performance               and Collaborative Efforts                              My academic                 achievements              have       demonstrated           that    I    strive      to   be

independent            in   bringing external                    funds to
                                                                                 my    research
                                                                                                          group    I have               been    the   first    PI for      67 and        the    sole PI          for   56
of                                                               most challenging                                                                                    does not mean                        do not enjoy
      my research funds even                          in the                                          stages of my career                     However           it                           that I




Statement of Honors                          Zoya Heidari
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research collaborations               with others           I   have     served as a Co PI                   in several       collaborative                projects            with other petroleum

engineers      and geoscientists              The extensive support                  that     I    have      received       from the petroleum                         industry        is    great evidence
for the direct     application         of my fundamental                 research        to the          challenges the petroleum                      industry faces                today My research
fund    distribution     is   a proof to these             claims




                                                                                                                              Petroleum industry
                                                   My Industry                                                               External     Funds Co PI
                                               Research     Consortia
                                                                                                                                          27
                                                           29




                                          Competitive       Federal                                                            Petroleum keluany
                                              Foundation    Grants

                                                      7
                                                                                                                                          First PI

                                                                                                                                              16


                                                                            External      Funding        Resources

                                                                                 With   Internal    Competition

                                                                                               20
                     Figure       1 Distribution of my research grant only my share among different resources

Table 1 Summary of the                  distribution            of   m    research             ants

    Resource Categors                                                                                                       1s      Share          5                                   Total       5
    Industry   Research        Consortia                                                                                      1000000                                                  1000000

    Competitive FederalFoundation                         Grants                                                                253485                                                 1037111
    External   Funding        Resources          With      Internal      Competition                                            698203                                                  776518
    Petroleum     Industry       First PI                                                                                       533910                                                  578910
    Petroleum     IndustryExternal               Funds Co PI                                                                    928707                                                 6097910
    Total                                                                                                                     3414305                                                  9490449


Table 2 The         level     of com      etitiveness           of   m     research           rants         within each       cate        o

    Remurcy Ca ftgo r                                                       ProjectSponsor                                                      1CN el Of      Competith eness
                                                                                                                                High          Competition among other                   JIPs    and research

                                                                                     UT IAP                                   centers         in all   the petroleum engineering                 departments

                                                                                                                                                               in the         world
    Industry Research   Cons
                                                                                                                                              Competition among other                           and research
                                                                                                                                High                                                    JIPs


                                                                                   TAMU            JIP                        centers         in all   the petroleum engineering                 departments

                                                                                                                                                               in the         world

                                                                 Qatar National         Research          Foundation                High Acceptance                    rate   of approximately         15
                                                                                                             ACS PRF                                                                                   20
                                                                                                                                                                                                       6
                                                                American Chemical Society                                           High         Acceptance        rate       of approximately
                  FederalFoundation        Grants
    Competitive
                                                                SPE Junior Faculty Research                   Initiation
                                                                                                                                    High       Acceptance          rate       of approximately             in


                                                                                        Award                                                  2015 when           I   served as a reviewer


                                                                                                                               Moderate Through                ranking from                 1020 companies
    External Funding Resources         With    Internal
                                                                             Crisman         Institute                         whose main interests                    were    typically
                                                                                                                                                                                              not Formation
    Competition
                                                                                                                               Evaluation              Acceptance         rate      of approximately       30
                                                                         Texas    Oil and     Gas Institute                                               High         Industry fund
    Petroleum Industry   First   PI
                                                                          SaintGobain             Proppants                                               High         Industry fund

                                                                 PetroChina       Tarim Oilfield            Company              Not      enough         information           to   judge    Industry fund

                                                                                                                               Moderate            Similar to      the        case of Industry Research
                                                                 Acid Stimulation Research                   Program
                                                                                                                               Consortia           but    easier       due to contributions from the
                                                                                     ASRP                                                               senior faculty as CoPis
    Petroleum hidustryExtemal          Funds CoPI
                                                                                                                               High       Competition          among            other top      institutions in



                                                                       Skoltech    Center for Research
                                                                                                                                 the    US Received           the Engineering                Genesis   EG
                                                                                                                              award       in    2015 and      was recognized                as one of the top

                                                                                                                                              TEES       research        awards       for   the year




    $50000 of this amount                                                                                                                 my account                                   2017
I



                                  is   pending       paperworkinvoice               I   expect           to receive   the   funds    in                        in       August




Statement of Honors              Zoya Heidari
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                                                                  LETTERS RECE WED

                                              Letters     should      be listed alphabetically by last name



  1   Name of reviewer               Dr     Martin      Blunt Professor Department                  of Earth      Science    and    Fitgineering          Imperial

         rank or title               College

         department

          university

      Brief statement of             He is well known            for his work       in    reservoir engineering multiphase           flow       in permeable


  expertise     and reason           media pore scale modeling and reservoir simulation                               One of the top reservoir
        for   selection              engineers        in the   world       Higher citations       18523 and h index 75 than any faculty                       in

                                     UTPGE             Spent time as assistant professor              at   Stanford   before going        to   Imperial    Peer

                                     school

        Other relevant

        information

        Nominated      by            Budget Council

  Date letter      received          July   7 2017

  2 Name of reviewer                 Dr Christine EhligEconomides                         NAE Professor Petroleum            Engineering University of

        rank or title                Houston

         department

          university

      Brief statement of             Formation evaluation              and   reservoir engineering           expert widely recognized             for   her work

 expertise      and reason           on well testing and          reservoir     characterization            NAE
        for   selection

       Other relevant                Overlapped         with Heidari at        AM         for   15 years until Economides          left    for Houston       did

        information                  not collaborate           should he considered             as arms length

        Nominated      by            Candidate

  Date letter received               June 25      2017



  3   Name of reviewer               Dr Roland           Home NAE              Professor         Department       of Energy       Resources        Engineering

        rank or title                Stanford University

         department

          university

      Brief statement of             Expert      in reservoir engineering            and characterization         NAE former Stanford Department

                                                                                                                                  2
                and reason           chair                  program our greatest competition
                                              Peer school and                                  for recruiting the best graduate


                                                                                                              1
 expertise
        for   selection              students and graduate program rankings  we are       Stanford is

       Other relevant

        information

        Nominated      by            Budget Council
  Date    letter   received          July    12 2017



 4 Name of revieN er                 Dr Russell Johns Professor Willie Leone                           Family Department           of Energy        and    Mineral

         rank or title               Fitgincering         Program          Chair    for   Petroleum        and Natural    Gas Engineering Penn                State


         department                  University

          university

      Brief statement of             Expert      in   the areas of phase       behavior well testing enhanced               oil   recovery and          reservoir


  expertise     and reason           engineering          Peer school

        for   selection

        Other relevant               Former UTPGE Professor no collaboration                           with candidate       should    be considered arms

        information                  length

        Nominated      by            Budget council

  Date letter      received          July    5 2017


Provide additional          detail   for         reviewer      not    at   a peer   institution
                                           any

      Provide explanation       for any reviewer           not   at   arms length
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  5 Name of reviewer                Dr Mike King            Professor Petroleum                 Engineering Texas      AM      University

      rank or title

      department

         university

   Brief statement of               He has done extensive work                  in   the area of reservoir characterization            upscaling   of

              and reason                          models for flow simulation and streamline based simulation                             Peer school and

                                                  AM
 expertise                          geologic

     for selection                  program                 ranked         3 for graduate petroleum engineering
     Other    relevant              Overlapped        with Heidari at          AM         for   4 years but did not collaborate         should be

     information                    considered       as anns         length

     Nominated        by            Candidate

  Date   letter   received          July   7 2017


 6 Name of reviewer                 Dr Rosemary Knight                    Professor Department          of Geophysics       Stanford    University

      rank or title

      department

         university

   Brief statement of               She is an expert        in the        area of geophysical        imaging for environmental          application     and

  expertise   and reason            the use of electromagnetic               methods for exploring the properties and processes that
     for selection                  control      the distribution         and movement of water in the subsurface   Her expertise closely
                                    matches Heidari             Peer school and           program
     Other relevant

     information

     Nominated        by            Candidate

  Date letter     received          July 23       2017



  7 Name of reviewer                Dr     Erdal    Ozkan        Professor          and   Department        chair   Dept    of Petroleum      Engineering
      rank or title                 Colorado       School of Mines

      department

         university

   Brief statement of               He is well known for his work on well testing fluid flow in porous media well
  expertise   and reason            perfonnance          evaluation and         naturally       fractured   reservoir modeling         Peer school

     for    selection

     Other relevant

     information
     Nominated        by            Budget Council
  Date letter     received          July   6 2017

  8 Name of reviewer                Dr Chandra Rai              Professor      and Department          chair   Petroleum     and Geological
      rank or title                 Engineering University of Oklahoma

      department

         university

   13rief   statement of            He is an expert in rock and mineral physics                        reservoir    characterization     and petrophysics

  expertise and reason              Peer school

     for selection

     Other relevant

     information
     Nominated        by            Budget Council
  Date   letter   received          July   6 2017




Provide additional         detail   for          reviewer    not     at    a peer   institution
                                           any

   Provide explanation         for any reviewer           not   at   arms length
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                                                                       DECLINATIONS

                    Those declining         to   provide    a review         letter   should    be listed alphabetically by last name




  1   Name of reviewer               Dr Robert       Kleinberg             NAE Research Fellow SchlumbergerDoll Research
         rank or title

         department

          university

      Brief statement of             One of the leading          scientists       in   formation evaluation magnetic               resonance and        dielectric


  expertise     and reason           measurements of rocks and a pioneer on novel ways to assess properties                                     of organic

        for   selection              mudrocks insitu
        Other relevant

        information

        Nominated      by            I3udget     Council

      Declination        date        July   4 2017 Declined                 because     was no longer        active   in field   of candidate    felt   was
  received      and reason           insufficiently     up to date with technology


  2 Name of reviewer                 Dr     Albert    Reynolds             NAE Professor McDougall                    School     of Petroleum     Engineering

         rank or title               Tulsa University

         department

          university

      Brief statement of             Well known for his work in the areas of reservoir characterization                                well testing history

  expertise     and reason           matching        stochastic       optimization         ensemble     Kalman filter        and   production    optimization

        for   selection

        Other relevant

        information

        Nominated      by            Candidate

      Declination        date        June    18 2017        unavailable          because       of 3 week     family vacation
  received      and reason




                                                                           NO RESPONSE

       Those not responding           to the     request to provide           a review     letter   should    be listed alphabetically by        last   name



  1   Name of reviewer               Harold Vinegar         NAE Professor Department of Geological                             and Environmental         Sciences

         rank or title               BenGurion University of the Negev

         department

          university

      Brief statement of             Dr Vinegar is a leading expert in formation evaluation rock core analysis and fluid
  expertise     and reason           flow   in   porous    media           Closely aligned       with Heidaris field             NAE   Collaborated        with

        for   selection              PGE faculty not Heidari in the past when at Shell Houston
        Other relevant               May have moved to different university so possible we didnt have his proper contact
        information                  information

        Nominated      by            Budget Council




Provide additional          detail   for         reviewer    not      at   a peer     institution
                                           any

      Provide explanation       for any reviewer           not   at   arms length
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                  DEPARTMENT                    OF PETROLEUM AND GEOSYSTEMS                                     ENGINEERING

                  THE UNIVERSITY OF TEXAS AT AUSTIN


                   CPE 2502              Austin        Texas     78712        512 4713161              Telefinc   512 4719605


                                                                                                                                                                June     152017
Dr Roland Horne
Professor

Department        of Energy             Resources Engineering

Stanford University

RolandHorneastanfordedu


Dear Dr Horne


The Department      of Petroleum      Geosy stems Engineering  at The University of Texas at Austin is considering Assistant

Professor     Zoya Heidari for tenure and for advancement in rank to the position of Associate Professor We would appreciate

your candid           assessment           of her       scholarly           contributions      to    assist     our decision         making       process         Excellent          teaching        is   an

important criterion               for   promotion but our evaluation                      of teaching      is   being carried           out separately         and we are asking you only
for information              about her         scholarly         distinction          Copies    of    Dr Heidaris                 curriculum      vitae   and    several          recent    papers        are

enclosed for your review                      as well as a brief research statement



UT    Austin normally               considers          a   faculty         member for promotion to associate professor                                upon     completion          of   five    years      in

                                   as an                                          However Dr Heidari had completed                             four years       as an

           AM
probationary          status                  assistant     professor                                                                                                    assistant       professor         at

Texas         University        joining UT Austin in September 2015 and per school policy she was required to complete at
                                         prior to

least two but no more than 5 years in residence at UT Austin before going up for promotion   Under these circumstances the

criteria for promotion and tenure are no different than for faculty whose tenure clock has not been extended We therefore

request    that this situation             not be a factor             in your letter     of evaluation



For Your         Letter                 We      would       appreciate            your    opinions     regarding            Dr     Heidaris      major       engineering           andor       scientific

contributions           In preparing            your assessment                please consider        the following              questions      as well as including any other                   factors


you deem salient


       1    Do you know Dr Heidari                          and       if   so for how long and under what circumstances
       2     What are the original innovative andor important contributions                                                 that   he has made in her field of research Have her

            publications            influenced          the thinking          of or the methods used by you or others                           in your   field

       3    How would you assess Dr Heidaris development                                            compared with others                in   her cohort   at   research intensive

            universities

       4     What       is
                             your perspective              on Dr Heidaris promise for further professional                               growth       and leadership



We would         be   grateful          for   any     additional           comments       you might have            The more specific                 you can be      in     your comments the
more helpful your evaluation                     will      be


Under the laws of the State of Texas Dr Heidari has the right to request                                                    to   see any materials in her personnel                  file      including

your   letter     Members of our faculty                        and     internal   review    committees           who       see your letter      as part of the promotion process                     will

hold the comments                 you make in confidence                     however


Deadline          We would like to receive a signed letter from you by July 7 2017                                                   If this   date is a problem please contact                      me as
soon as possible             as    we want       to   do everything            we can to enable you to provide                       us with an evaluation              It   is   not necessary           for


you to     send us a hard copy of your letter                              an electronic    or scanned          version      is    sufficient    provided      your     institutional letterhead

and your signature are included  In addition please enclose a copy of a short version of your curriculum vitae                                                                              or résumé

preferably no longer than two pages  If you have questions please call me at the number given on the letterhead



Thank      you    for    your time and                assistance           with    this   important     matter          I   realize     that    the   amount     of time required               to   do a

thoughtful       review       is   considerable

                                                                                               Sincerely




                                                                                                    n E Olson        PhD PE
                                                                                                    hairman       and Frank         W    Jessen Professor

                                                                                               The Lois and Richard                  D Folger Leadership Chair
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From Olson Jon
Sent Saturday                     June    17 2017 1045 PM
To RolandHornestanfordedu
Cc Olson Jon Stickney                           Stephanie

Subject          Promotion Letter Request                        Zoya     Heidari



Im         resending this message as some people                          reported trouble with the zip

file      The 5 significant papers can be downloaded from this link

httpswwwdropboxcomshscsqexs5wk2nzs5AADhOcL4F                                                       6G2CtprOJKvagta

dl   =0



Dear Roland                It   was good    talking     to you on the phone the other                  day Thanks for
being willing to help us in our tenurepromotion                             process         As you     know   the

academic         promotion             process depends          heavily   on the role of outside          impartial

evaluators         I   have attached            a letter   requesting you to evaluate              the promotion

dossier of one of our assistant                    professors       Zoya Heidari       I    have   also attached    her

CV 5 significant papers                   and   a brief research        statement      by    Dr Heidari


The deadline we are requesting for receiving your                             letter   is   July   7


Thanks so much                  for   your time and consideration


Jon


Itook      e41

Jon E Olson                     Chair and Frank            W Jessen Professor
Lois      K and Richard D Folger Leadership Chair
The       University of Texas               at Austin       I
                                                                 Petroleum and Geosystems

Engineering            I
                           5124717375              I
                                                       wwwpqeutexasedu
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                                    Zoya Heidari                  Materials Sent to Reviewers




                                    1           CV
                                    2           Research summary

                                    3           Five significant          publications




                                            List of the Five             Most Significant Works
                                                                       Zoya   Heidari




        Chi6 L and Heidari                   Z 2015 Diffitsional Coupling              between     Microfractures     and Pore Structure

        and     its    Impact      on     Nuclear       Magnetic       Resonance      Measurements         in   Multi Porosity     Systems

        Geophysics           801 D31               D42   DO 101190geo201304671

        Yang          A Firdaus G                 and Heidari      Z 2016                                  and Chemical                     of

                                                                                                           6
                                                                              Electrical    Resistivity                     Properties

        Kerogen         Isolated        from      Organic Rich       Mudrocks         Geophysics      81          D643       D655       DO
        101190geo201600711


        Chi L Cheng                     K   and Heidari          Z 2016    Improved      Assessment of Interconnected            Porosity   in


        Multiple Porosity               Rocks      by    Use     of Nanoparticle        Contrast     Agents     and   Nuclear Magnetic

        Resonance            Relaxation           Measurements         SPE    Reservoir     Evaluation                             Journal

                                                   1
                                                                                                                  Engineering
        Formation Evaluation                 19         95     107   DO 102118170792 PA
        Chi L and Heidari Z 2016                         Directional    Permeability Assessment in Formations               with Complex

        Pore Geometry with a New Nuclear Magnetic Resonance Based Permeability Model                                         SPE Journal
        214           1436      1449      DO 102118179734 PA

        Chen          H and Heidari Z 2016                       Pore Scale   Joint     Evaluation    of Dielectric      Permittivity   and

        Electrical      Resistivity         for   Assessment of Hydrocarbon              Saturation   Using     Numerical    Simulations

        SPE Journal 216                   1930       1942    DO 102118170973 PA




    Indicates   graduate     students   under   my supervision




Statement of Research          Zoya Heidari
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                                    Summary of Research Accomplishments                                                     Direction and Impacts


                                                                                          Zoya Heidari




My research focuses on fundamental                                 research       on MultiScale Formation Evaluation                              and Petrophysics                The impact of

my work is on improved                         description        of multi phase          fluid   transport          in spatially complex               reservoirs such           as carbonates

and organic rich mudrocks with the intent                                   to enhance          production           and recovery             factors   in   these       reservoirs The        main

contributions              stemming from my research are the following


          1     Fundamental                   experimental              and      computational                    research        in    rock     physics       to    quantify         physics        of

                unconventional                 reservoirs        and rocks with complex                     porematrix        geometry

An example                 of       my    fundamental           experimental          research         is
                                                                                                             quantifying          physical      properties          of pure kerogen            eg
electrical       and mechanical properties which                               affect    borehole           geophysical       measurements              as well as core measurements

These          properties              can   be      significantly        affected        by     thermal           maturity         For       instance        low        electrical     resistivity

measurements                    in    organic rich       mudrocks         are commonplace                    in   highly mature          depth intervals             These      low     resistivity

values         are    usually            difficult      to   justify    and lead         to    overestimation              of water        saturation        when         using   conventional

resistivity      porosity saturation                     models     eg dual water and WaxmanSmits The                                           electrical     conductivity           of kerogen

increases        when            it    thermally        matures due         to   graphitization              and increase          in   its    aromaticity          This    phenomenon             can

contribute           to        low     resistivity       measurements            in     organic rich          mudrocks             Experimental            quantification          of    electrical


properties           of pure kerogen               is   however challenging The following paper Paper 2 is an example of my fundamental

experimental                   research       in     quantifying        electrical      conductivity              of kerogen       as a function         of thermal          maturity through

combined experimental                        and numerical             approaches



                 Yang I                A Firdaus G and                    Heidari        Z 2016 Electrical                   and Chemical           Properties           of Kerogen       Isolated


                 from Organic Rich Mudrocks Geophysics                                        816 D643                    D655      DO 101190geo201600711
I   also have        publications            documenting           other properties            of pure kerogen             such as dielectric           constant     and elastic properties

as    a   function         of thermal          maturity Reliable               quantification           of these          properties     improve         interpretation        of geophysical

measurements                   for assessment           of hydrocarbon           reserves or mechanical                    properties         of organic rich mudrocks



The following paper Paper                               1 includes        an    example of my fimdamental                              computational           research         in the     field    of

Nuclear         Magnetic              Resonance         NMR measurements
                 Chi L and Heidari Z 2015 Diffusional Coupling between Microfractures                                                                        and    Pore     Structure        and

                                                                                                                                                                                          1
                                                                                                                                                                                                    its



                 Impact               on Nuclear Magnetic              Resonance         Measurements                in   Multi Porosity          Systems Geophysics 80                            D31

                 D42 DO 101190geo201304671
In this paper              I   use numerical            modeling to quantify             the    impact of microfractureschannels                          on NMR measurements and

to propose           the       concept of fracture pore                diffusional      coupling        in   such heterogeneous systems This paper also documents

a    simplified                ID     analytical        model     for    fracture     pore      diffusional           coupling          The      results      are    promising          for   future


applications               of       NMR       relaxometry          for    the     assessment            of        microfracture          content        when        combined          with     other

conventional               well logs




          2     Develop               new physics based models and experimental                                      techniques          for    formation evaluation               of reservoirs

                with complex                 rock physics        and for integration             of multi scale formation data



Conventional                   petrophysical         models      for interpretation            of borehole geophysical                   measurements              are   often not      reliable in


the   presence            of complex           porematrix          geometry fractures and complex                             rock composition               The following publication

Paper 3          is   an example              of the     experimental            techniques        I
                                                                                                        developed           for   improved        formation evaluation                of complex




          Indicates        graduate        students     under    my supervision




              ary of Research                Accomplishments Zoya Heidari                                                                                                             Page     1   of 2
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reservoirs         In   this      paper     I    introduce           the    application            of nanoparticle          contrast       agents      to     improve        assessment of

interconnected           porosity         and     fracture           network        using     NMR         measurements             The     combined           interpretation        of    NMR
relaxometry data             before      and after nanoparticle                   injection        enables distinguishing connected                    and isolated pore volumes

which might not be possible                      in the   absence           of contrast agents



                 Chi L Cheng                     K   and Heidari              Z 2016 Improved                   Assessment of Interconnected                    Porosity in Multiple

                 Porosity         Rocks by Use of Nanoparticle                              Contrast        Agents       and    Nuclear Magnetic Resonance                         Relaxation

                 Measurements              SPE Reservoir               Evaluation              Engineering Journal                Formation Evaluation                  19   1 95           107

                 DOI 102118170792                    PA

The following publication                   Paper 5             is   an    example of my research on developing                            physics based            analytical       models
which     accounts        for     spatial       distribution          of rock       components eg pore and                        pyrite       networks        through       integration      of

dielectric       permittivity       and electrical             resistivity        measurements            to   improve      assessment of hydrocarbon                     saturation



                 Chen         H and Heidari Z 2016 Pore Scale                                       Joint      Evaluation       of     Dielectric      Permittivity          and    Electrical


                 Resistivity        for Assessment              of Hydrocarbon                Saturation        Using Numerical Simulations SPE Journal                                  216
                 1930 1942 DOI                    102118170973                 PA


      3      Quantitatively              account        for    rock fabric            ie       spatial      distribution        of rock        components           and     pore net        ork

             geometry in the               interpretation             of rock physical             properties      for reliable        formation evaluation


Rock    fabric     significantly affects             physical             properties    of formations             However this influence                 is   often not      quantitatively

taken     into     account         in   interpretation              of formation            data    eg borehole geophysical measurements My research
contributes        to   developing          new techniques                  for   quantifying rock              fabric    ie       spatial      distribution        and connectivity          of

different    rock       components              using multi scale imaging and incorporating                                it   in interpretation           of formation data            such as

electromagnetic           and NMR measurements                             For instance            the   following      paper Paper 4 documents a new method that

incorporates        directional          pore connectivity                 factor    in interpretation           of    NMR measurements and enables assessment of
permeability tensor                The pore connectivity                     factor    is    estimated         using     actual   pore network           structure        from pore scale

            in each
images                   given rock type            in the       formation



                 Chi L and Heidari Z 2016 Directional Permeability                                                     Assessment         in   Formations with              Complex Pore

                 Geometry With             a    New Nuclear Magnetic Resonance Based Permeability Model SPE Journal 214                                                                    1436

                   1449       DOI 102118179734                        PA

My research has also led to development                                     of other        petrophysical         models which              quantitatively          account        for   spatial

distribution        of rock         components                for    interpretation          of     electrical     measurements             ie        electrical      conductivity          and

dielectric       permittivity            Such      approach           enables minimizing                  calibration efforts           by honoring           the   realistic      physics    of

rocks




      4      Develop new completion petrophysics techniques


One of the objectives               of developing             the aforementioned                   new methods for interpretation                    and integration         of multi scale

formation data          is   to   enhance        production           and recovery           factors      in complex       reservoirs Thus completion                       petrophysics      is


one    of    the    research            areas    that     I    have        eagerly      invested          on     and     plan     to    expand        Examples          of    my     research

accomplishments               in    this    multi disciplinary                research         area      include       development             of integrated         rock    classification


methods      that   accounts            for stress profile            as well as development                    of new techniques              for   quantifying proppant                damage

through acoustic             and NMR measurements




          ary of Research               Accomplishments Zoya Heidari                                                                                                            Page 2 of 2
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                                                                                                                         Department        of   Earth    Science        and   Engineering

    Imperial College                                                                                                     Imperial College         London                                                 BC

    London                                                                                                               Room 238A          Royal       School     of Mines

                                                                                                                         South Kensington           Campus
                                                                                                                         London  5W7 2AZ
                                                                                                                         Tel   +44020 7594 6500                  Fax +44020 7594 7444

                                                                                                                      mbluntimperialacuk
                                                                                                                      wwweseicacukhomepacephp7StaffID=40


07 July 2017                                                                                                             Martin Blunt             MA PhD
                                                                                                                         Professor of Petroleum Engineering




Jon    E Olson PhD PE
Chairman and Frank                       W    Jessen           Professor
The    Lois    and Richard                 D Folger Leadership Chair
University      of Texas             at Austin




Letter    of   Recommendation                            for    Dr Zoya                    Heidari

I   am pleased            to   have the opportunity                            to write             a    letter      in   support           of    Dr Heidaris promotion                            to

Associate       Professor with tenure                               I    do    not        know Dr                  Heidari          personally            but      I    am aware of her
work   and have read several                            of    her papers                   I
                                                                                               have also read the                          five     papers             provided           with    her
CV

Dr     Heidaris               research            is     principally                     concerned                  with        the        characterization                     of       complex
hydrocarbon              rocks        namely carbonates                             and shale                 over a range of length scales                                     This work           is


extremely important as                           it    focusses               on         one        of    the       principal              problems              in     the     oil      and     gas
industry       which           is    how      to       extract            efficiently                   hydrocarbon                  from        unconventional                     resources
She    has     founded               a     joint       industry               programme                       on    this       topic        which             has        been           extremely
successful          in   terms of funds raised student support                                                     and publications


Whereas the oil                industry          has a long experience                                  with production                    from sandstone                     and relatively

simple carbonate                    formations developing                               a suite of analysis tools and correlations                                              around this

production           from           unconventionals                       is            much            more         recent            and         it    is      apparent                that     the

conventional              approaches                  that    we          have            used           to    date        to       characterize               and        develop              these

resources       are       inadequate                   What         is   needed are a new set of tools with a sound                                                           physical          basis

for the evaluation                  of shales          and other complex                            rocks


Dr     Heidari           has        pioneered                new          methods                   to        characterize                 hydrocarbon bearing                             shales
described       in        a    series       of        excellent           papers               in       the    petroleum               engineering                     literature              These
methods        enable the permeability                                  pore structure                    and amount of                    oil   to     be quantified                    She has
used    NMR          in   combination                  with   the use of nanoparticles to study the connectivity                                                                    of the      pore

space of shales                 including             the     impact           of        micro fractures                       In   addition she has used this work
to develop          a directional            permeability model                                 She has              also studied                the electrical                properties          of

shale which should                    allow           a more accurate                      and robust assessment of oil saturation                                                       All   of this

research       is    practically             significant                 as        it    allows          the       amount             of   oil    in     place          to     be       assessed

together      with       its   ability     to flow



She has worked                  with       a good group                       of        students          and       is    likely      to    continue             to     make            significant

discoveries         in    the coming years                          Of particular                   interest         is    the combination                     of different              methods
and approaches                      such as           NMR           nanopanicles                        and numerical                  modelling               to quantify                the    flow

potential      of shale



Overall     her publications                  record           is       good            with    31       journal          papers           listed       on     her       CV and            a large
number of conference                        presentations                          My only advice                    would           be for her to consider                              aiming to
publish     some work                 in   higher profile or more general                                            journals with                 a broader                  readership           at

present most papers                      are published                   in   somewhat                   specialist            petroleum                publications                I    also   note

an excellent         record          of teaching              and supervision                           with several                graduated            PhD students




Imperial College of       Science        Technology      and    Medicine
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Despite        its   importance the                     number    of    good junior researchers                working       in   this       area   is    small
so there        is    not    a       large     peer group with which to compare                          her    However           I   will    say that her
research        is   of good           quality      and consistent         with   tenured        positions      at   the best universities                 in the


world


I   consider          that           she    has     the      capability    and    experience             to    make        major      contributions             to

petroleum            engineering               flow     in   porous     media and the understanding                   of   unconventional                oil   and

gas production                   I   consider that promotion with tenure                    is   fully   justified




Yours      sincerely




Prof   M   J   Blunt

Professor       of Petroleum Engineering

Imperial College             London




Imperial College      of   Science         Technology    and Medicine
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                                                                                   Tuesday     September     5 2017 at 95658 AM Central Daylight Time


    Subject         RE    Promotion Letter Request                         Zoya   Heidari


    Date            Monday July 24 2017 at 35924 AM Central Daylight Time
    From            Blunt      Martin J

    To              Stickney       Stephanie


    Dear Stephanie



    Here it    is
                      please      let     me know         if
                                                               you require anything          else



    Best   wishes



    Martin




    Martin Blunt

Shell Professor          of Reservoir      Engineering

Editor inChief Transport             in   Porous Media

Visiting Professor Politecnico              di   Milano

Department of Earth              Science    and Engineering

Imperial College

London        SW7 2AZ




From Stickney                  Stephanie         mailtostickneyaustinutexasedu
Sent 21 July 2017 2226
To Blunt             Martin1 <mbluntimperialacuk>

Cc Olson Jon <jolsonaustinutexasedu>                                             Stickney   Stephanie   <stickneyaustinutexasedu>

Subject             Promotion Letter Request                       Zoya Heidari



Hi    Martin


Thank you very much                  for    your    letter      of recommendation           As part of the promotion process we need the      CVs of the
letter     writers        Could you please send                  me your CV at your earliest convenience


Gratefully



STEPHANIE STICKNEY                          Executive          Assistant

The      University       of   Texas at Austin       I
                                                          Petroleum        and    Geosystems   Engineering    I
                                                                                                                  5124711210   I   wwwweutexasedu




From Blunt Martin1 mailtombluntPimperialacuk
Sent Friday July 07 2017 349                        AM
To Olson            Jon <jolsonPaustinutexasedu>

Subject         RE Promotion               Letter   Request Zoya Heidari



Dear Jon



I    attach    my letter of recommendation


Best       wishes



Martin




                                                                                                                                                      Page 1 of 2
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Martin Blunt

Shell Professor     of Reservoir          Engineering

Editor inChief Transport            in Porous      Media

Visiting Professor        Politecnico      di   Milano

Department of Earth             Science    and    Engineering

Imperial College

London    SW7 2AZ




From Olson Jon mailtojolsonPaustinutexasedu
Sent 23 June 2017 0644

To Blunt Martin             J   <mbluntOimperialacuk>

Cc Stickney Stephanie                  <stickneyffaustinutexasedu>

Subject       RE Promotion                Letter Request         Zoya Heidari



Hi   Martin       Please        find   attached           Zoyas CV      I
                                                                            hope   you will be able to help us out
                                                                                                                               Jon



Hook ern
Jon E Olson              Chair and        Frank    W Jessen Professor
Lois   K and Richard D Folger Leadership                         Chair

The    University    of   Texas at Austin             I
                                                           Petroleum        and Geosystems      Engineering     I
                                                                                                                    5124717375 Iwwwggeutexasedu



From Olson Jon
Sent Saturday June 17 2017 702                              PM
To mbluntSaimperialacuk
Cc Olson Jon <jolsonPaustinutexasedu> Stickney                                        Stephanie     <stickneyaustinutexasedu>

Subject       Promotion Letter Request                      Zoya Heidari


Dear Martin          I   have attached            a   letter   requesting       you to evaluate     the   promotion dossier of one of our assistant

professors      Zoya Heidari                I   have also attached            her CV 5 significant      papers and a brief research statement by Dr
Heidari




As you know the academic                        promotion process depends                   heavily on the role of outside impartial evaluators             I

                                                                                                                                                                hope

we can count on you to help


Please    respond         to this email as            soon as    is   convenient      as to whether      you can do this evaluation            Assuming you are

willing   to participate            the deadline           we are requesting          for   receiving   your   letter   is   July 7



Thanks so much for your time and consideration



Jon



Hook ern
Jon E Olson Chair and Frank                        W Jessen Professor
Lois   K and Richard D Folger Leadership                         Chair

The University of Texas at Austin                     I
                                                           Petroleum        and Geosystems      Engineering     I
                                                                                                                    5124717375        I   wwwpgeutexasedu




                                                                                                                                                                   Page 2 of 2
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                                                                 Martin     J Blunt
                                          Professor              of   Petroleum         Engineering
                                      Department            of   Earth      Science            Engineering

                                                      Imperial          College London
                                                       London 5W7 2AZ UK
                                                      Tel +440 20 75946500
                                                      Fax +440 20 75947444
                                                Email mbluntimperialacuk


Education
1985                  BA Natural Sciences                        Cambridge          University        First Class Honours
1988                  PhD Theoretical Physics Cambridge                                       University
                      The Growth and Properties of Fractal                                    Boundaries


Employment
19881992              Research           Physicist          BP Research                 Sunbury on Thames
19921999              Faculty         member Department                       of   Petroleum         Engineering          Stanford

                      University         Assistant           Professor         19921995 Associate                       Professor      1995
                      1999           sabbatical at Imperial College                19981999
1999 date             Professor at Imperial College                           London          Head     of the      Petroleum      Engineering
                      and Rock Mechanics                     research group                  PERM 19992006                  Head       of   the

                      Department           of    Earth       Science          and Engineering 20062011
2012 date             Visiting        Professor Politecnico                   di   Milano

2016 date             Shell      Professor of Reservoir                     Engineering


Honours and Awards
1985                  Research Scholarship                        Trinity     College Cambridge
1985                  Clerk Maxwell and ver Heyden                             de Lancey             Prizes Cambridge             University

1991                  Tallow Chandlers                 Prize BP
1996                  Teaching          award School                  of   Earth   Sciences           Stanford      University

1996                  Cedric         Ferguson Medal                   Society      of   Petroleum          Engineers
2001                  Distinguished             Lecturer           Society of Petroleum                 Engineers
2011                  Lester Uren Award and Distinguished                                     Member Society of Petroleum
                      Engineers
2012                  Darcy          Award from the Society                   of   Core Analysts
2016                  Presidents Medal                 for       Excellence        in    Teaching
2017                  Erasmus Award from the European Association                                            of   Geoscientists        and

                      Engineers


Martin Blunt        joined      Imperial        in   June 1999 as a Professor                         of   Petroleum       Engineering             He
served   as Head           of   the    Department            of       Earth   Science          and Engineering             from    20062011
Previous      to    this    he was        Associate               Professor         of       Petroleum        Engineering         at    Stanford

University     in    California         Before joining                 Stanford         in   1992     he was a research                 reservoir

engineer      with    BP        in   Sunbury on Thames                        He    holds       MA     and        PhD    1988      degrees          in


theoretical    physics from Cambridge                            University         Professor         Blunts research             interests       are

in   multiphase       flow      in    porous         media       with      applications         to   geological         carbon     storage          oil


and    gas recovery              and     contaminant                  transport     and        cleanup        in   polluted      aquifers          He
performs      experimental theoretical                       and        numerical            research      into    many     aspects         of    flow

and    transport       in       porous     systems                including         pore scale             modelling       of    displacement

processes      and largescale simulation using streamline based methods
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Some of his main activities                      are listed below

   1   Teaching                 at       Imperial                   Prof              Blunt          teaches             two            undergraduate                     classes

       Hydrogeology                      and      Fluid        Flow              parts           1      and       2          He         also       teaches              Reservoir

       Engineering                 for     the   MScs          in   Petroleum                    Engineering                 Petroleum                  Geoscience                   and
       Metals and               Energy Finance                      he teaches and examines                                           all    130 plus MSc students
       each year    He consistently                                      receives                excellent             teaching               evaluations                and         was
       awarded the 2016 Presidents                                       Medal          for Excellence                      in   Teaching
   2   Other teaching                      activities               He also teaches a course                                          in     Petroleum             Engineering
       to   MSc       students              at    Politecnico                 di      Milano            where           he       is    a visiting          professor                 and
       short        courses to industry                        based             on    material                developed                at    Imperial         College                He
       has      also        recently             completed               a       book           entitled           Multiphase                     Flow        in    Permeable
       Media          A        Pore Scale                Perspective                       to        be      published                  in    2017        by        Cambridge
       University              Press             The      content                is    based             on advanced                        undergraduate                     classes

       taught        at    Imperial
   3   Administration                        Prof Blunt             is   Director               of   the       MSc      in   Petroleum                  Engineering                  and
       Director           of    the        Qatar Carbonates                           and        Carbon            Storage                  Research          Centre a                10
       year         20082018                     $70      million             cross departmental                                 research           activity             it     is    the

       largest single                research programme                               at Imperial                 College
   4   Research                     Prof         Blunt     has           over          200           publications                which            have        received               over
       18000          citations            with    an     h index             of      70 Google Scholar                                      He    supervises                 and     co
       supervises               15      PhD      students            and 4 postdocs                               His research                    group have                  recently

       developed               a     unique        experimental                       facility          to     image             at      representative                  reservoir

       conditions                  of      temperature                    and              pressure                    pore scale                 fluid        distributions

       complemented                      by a suite of modelling and analysis tools
   5   He is Editor in Chief of the                                  scientific                 journal Transport in Porous                                         Media
   6   External activities                         In    2013            Prof          Bunt          served            as    Principal             Expert          Witness            for

       BP      in   Phase           2 of the       Deepwater                     Horizon Trial                    in   New Orleans                      This        was part of
       BPs          legal       battles          specifically                a     civil        trial     to      determine                 fines       under           the     Clean

       Water Act                   Prof      Blunts role                 was          to    determine                  the       amount            of   oil   spilled           in    the

       Deepwater                Horizon           accident               to      do     this         he used            material              balance              the        method
       that     he also teaches to                       all    his      MSc           students                   He succeeded                     in   explaining               basic

       petroleum engineering                           concepts               to      a judge with                 no scientific training
   7   Entrepreneurship                            Prof        Blunt             has       cofounded                   two        startup           companies                        The

       first    Streamsim Technologies                                    was spun                      out of Stanford                      University            in   1996 the
       second         was established                     in   2010 by a former Imperial PhD student                                                          Hu Dong                and
       is   based          in      Beijing          The         company                    iRock             Technologies                      applies         many            of     the

       imaging and                  modelling           concepts                 developed                   at   Imperial             to     provide         a commercial

       service        to   the       oil   industry            Prof Blunt                  is    Chief Scientist
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                  UNIVERSITYof                                                    HOUSTON
                              CULLEN COLLEGE                                of    ENGINEERING
                                                   Petroleum               Engineering

 June   25 2017

 Dr Jon Olson Chairman and Frank                       W      Jessen professor

 The Lois and Richard            D Folger Leadership Chair
 Department of Petroleum and Geosystems Engineering
 The University of Texas              at   Austin

 CPE 2502
 Austin TX 78712


 RE Reference         Letter for Dr Zoya Heidari



 I   am currently the Professor and Hugh Roy and Lillie                          Cranz Cullen Distinguished University
 Chair in Petroleum Engineering                               at the University of Houston              Before that I was Professor

                  B Stevens Endowed Chair Petroleum Engineering Dept Texas AM University
                                                   faculty

 and Albert

 TAMU Before              that   I   worked 20 years for Schlumberger                   While    at     TAMU    I   managed       research

 in   production and        reservoir      engineering        in conventional        and shale   reservoirs     and helped the

 petroleum engineering department to grow and evolve to a broader energy scope                                         I   was elected       to

 the National      Academy of Engineering                    in   2003 and have been a member of the National
 Academy of Science Committee on Americas Energy Future and the NRC Board on Energy
 and Environmental Systems BEES I am currently a member of the Advisory Board for the
 Petroleum Research            Fund managed            by the American Chemical Society                   I   am one of the 16
 Quantum Reservoir Impact                  OR        Scholars       and was named a Chief Scientist for the Sinopec
 Research     Institute     on Petroleum Engineering as one of the Thousand                             Talents in China      I   have a

 PhD in petroleum engineering from Stanford University an                                MS      in chemical        engineering from
 the University of Kansas and a                 BA     in    Math Science from Rice University


 I   have known      Dr Zoya Heidari               since she arrived at       TAMU in the        fall   of 2012     and have served as
 her faculty      mentor I still       recall      what happened when           Dr Heidari       arrived about 2 weeks            after

 classes   had    started     and just after she had successfully defended                  her dissertation          As a result of a
 miscommunication             one of the full        professors thought she was arriving sooner and that she would

 be starting      his class    in his absence         Suddenly she was confronted with teaching                      a course     with no

 advance notice that this would be required The following semester                                 Dr Heidari        was asked       to

 teach another different             class    this time with nearly 200 students             Both of these experiences               would

 be extraordinary anywhere                   and   certainly      Dr Heidari     was a bit intimidated         by them However            in

 both cases she successfully               took the challenge          I   remember she was worried during the spring

 semester that she had not attracted                  research      funding    yet   No wonder when           she was having to

 manage     multiple lab sections             TAs graders and so many students By fall                         of 2015 just a few

 months later she had her first               Joint    Industry      Research    Program involving            6 major operating

 companies with $900K funding




UNIVERSITY        OF HOUSTON  PETROLEUM ENGINEERING DEPARTMENT    UH ENERGY RESEARCH                                                              PARK
           5000   GULF FRWY BLDG 1A ROOM 192A HOUSTON TEXAS  77204   0945 7137436334
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 Dr Heidaris experimental                     and computational work              to   quantify      the physics of unconventional

 reservoirs      is   of highest importance for the petroleum industry and                              it   is   easy to see why      she has

 been successful             in attracting      funding    for this       work    Organic rich formations                with very small

 pores exhibit characteristics                 that tend   to   be very     different     from those observed               in conventional

 reservoirs The enormous size of the unconventional                                resources        and the technical challenges              in


 producing       oil       and gas from them economically                  explain      why this research           is   so vitally   important



 My own interests require accurate                    petrophysical          descriptions        of these resources          as a starting

 point   I   am especially interested in her work on kerogen                             conductivity        and the implication that this
 could result in overestimation                  of water saturation             Such fundamental observations help to resolve

 apparent     contradictions            I   have encountered          I   also find her work to characterize connectivity

 between      microcracks and nanopores                    of critical importance             and her nuclear magnetic resonance

 modeling work              is   ground breaking          Her ideas related to applying petrophysics                        to   completion

 evaluation      look quite promising and will also connect                            with   my own interests

 I   am involved           in faculty       search at the University of Houston and see files for many faculty

 applicants       Considering           numbers of publications and the                  level      of funding      she has attracted        Dr
 Heidaris accomplishments soar over the applicants we have seen



 Dr Heidari           is   on a trajectory toward continued recognition                       for   her work       I   have watched      her

 grow over the few years I have                   known      her and seen her gain confidence in what she does                               She is

 already receiving regional professional awards and showing leadership in the industry and

 among academics She has an excellent sense of how to investigate fundamental                                                    questions and

 relate the    results to practical             issues



 Dr Heidaris record speaks for itself                       She has been successful                 in every direction           important   to

 tenure track faculty             and from my experience on both department and college                                    level   promotion

 and tenure committees                  she would easily be awarded promotion                        and tenure at TAMU or              UH

 Sincerely


                             e7 94e




 Dr Christine EhligEconomides
 Professor and Hugh                Roy and Lillie        Cranz Cullen Distinguished                  University Chair




UNIVERSITY        OF HOUSTON  PETROLEUM ENGINEERING DEPARTMENT    UH ENERGY RESEARCH                                                                  PARK
          5000    GULF FRWY BLDG 1A ROOM 192A HOUSTON TEXAS  77204   0945 7137436334
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                                                                     Tuesday    September       5 2017 at 95331 AM Central Daylight         Time



Subject         UTEXAS ATTACHMENT                    UNSCANNED RE Promotion Letter Request                   Zoya    Heidari


Date            Sunday     July   23 2017 at 92920 PM Central                 Daylight   Time

From            EhligEconomides Christine

To              Stickney    Stephanie


Stephanie



Please        see attached



Christine




From Stickney          Stephanie      mailtostickneyaustinutexasedu
Sent Friday July 21 2017 313 PM
To EhligEconomides                Christine <ceconomiCentralUHEDU>

Cc Olson Jon <jolsonaustinutexasedu>                               Stickney   Stephanie   <stickneyaustinutexasedu>
Subject         Re Promotion Letter Request                 Zoya   Heidari




Hi   Christine



Thank you very much for your             letter      of recommendation        As part of the promotion process we need the          CVs of the
letter   writers    Could    you please send me your             CV at your earliest convenience


Gratefully



STEPHANIE          STICKNEY        Executive       Assistant

The   University    of Texas at Austin    I
                                                   Petroleum   and Geosystems    Engineering    I
                                                                                                     5124711210   Iww2Ap geutexasedu




          From EhligEconomides Christine <ceconomiCentralUFLEDu>
          Date June 25 2017 at 41705 PM PDT
          To Olson Jon <jolsonaustinutexasedu>
          Subject     RE Promotion       Letter        Request Zoya Heidari



          J




          I   am attaching     the letter      I   have   prepared Please       let   me know   if
                                                                                                     you have further   questions



          Dr Christine EhligEconomides

          Professor      and Hugh     Roy and Lillie           Cranz Cullen Distinguished       University   Chair

          UH     Petroleum     Engineering

          Energy Research          Park Bldg 1A           Rm 192A
          Office 713 743 6334

          Mobile      281 948 3621




                                                                                                                                            Page 1 of 2
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From Olson Jon rnailtojolsonaustinutexasedu
Sent Thursday                June 22 2017 1143                PM
To ceconomidesuhedu
Cc Stickney             Stephanie         <stickneyaustinutexasedu>

Subject         RE Promotion Letter                     Request     Zoya    Heidari




Hi Christine             I

                             forgot to include           Zoyas      CV    Here it is   Jon



Hook ern
Jon E Olson Chair and Frank                        W Jessen Professor
Lois   K and     Richard         D Folger Leadership Chair
The    University       of   Texas   at   Austin    I
                                                         Petroleum   and Geosystems       Engineering       1
                                                                                                                5124717375       1




wwwpgeutexasedu



From Olson Jon
Sent Saturday June 17 2017 645 PM
To ceconomidesuhedu
Cc Olson Jon <jolsonaustinutexasedu>                                       Stickney    Stephanie    <stickneyaustinutexasedu>

Subject         Promotion Letter Request                     Zoya    Heidari




Dear Christine               I   have attached           a letter   requesting    you to evaluate the promotion dossier of one
of   our assistant professors Zoya                        Heidari     I   have also attached      her CV 5 significant               papers and a
brief   research statement by Dr Heidari



As you      know the academic promotion process depends                                   heavily   on the role of outside               impartial

evaluators       hope we can count on you to help
                    I




Please      respond to this email as soon as is convenient                             as to   whether you can do this evaluation

Assuming         you are willing to participate the deadline                           we are requesting          for receiving
                                                                                                                                       your letter
is   July   7

Thanks so much for your time and consideration



 Jon



Hook        em
Jon E Olson Chair and Frank                      W Jessen Professor
Lois   K and     Richard         D Folger Leadership Chair
The    University       of Texas     at Austin      I
                                                        Petroleum    and Geosystems       Engineering   I
                                                                                                                5124717375   I




wwwpgeutexasedu




                                                                                                                                                     Page 2 of 2
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                                             Dr Christine A EhligEconomides

Dr Christine A EhligEconomides
Full   Professor Hugh Roy and Lillie          Cranz Cullen Distinguished        University Chair

University of Houston

Petroleum Engineering             Program
5000 Gulf Freeway Houston                TX 77002
7137436334
ceconomidesauhedu


EDUCATION             AND TRAINING
Institution                                           MajorArea                               Degree      Year
Rice University                                       Math Science                            BA 1971
University of Kansas                                  Math Education                          MAT 1974
University of Kansas                                  Chemical     Engineering                MS 1976
Stanford University                                   Petroleum Engineering                   PhD      1979




PROFESSIONAL                EXPERIENCE

Professor       Professor         and   Hugh    Roy     and    Lillie    Cranz    Cullen    Distinguished        University       Chair

                of Houston        Petroleum Engineering        Program September 2014 to present
                                                                                 AM
University
Professor       Albert       B Stevens       Endowed      Chair         Texas            University       Petroleum       Engineering

Department          June 2004 to September 2014

Professor       and       Petroleum       Engineering         Program      Director     University        of   Houston        Chemical

Engineering         Department      January 2000 May 2004

Visiting Professor Stanford              University   spring quarter      of 1995 University       of Houston        spring   of 1994

Global Account            Manager Schlumberger Oilfield Services Houston                   TX July 1999 September 2003
Manager        GeoQuest       Reservoir Technologies            Caracas      Schlumberger GeoQuest             Caracas     Venezuela

September       1997 to July 1999

Technical      and Marketing            Manager Production Enhancement                Schlumberger Oilfield Services               Sugar

Land TX July 1996            to   September    1997
Technical      Advisor      Anadrill      Schlumberger        Sugar Land     TX July 1995 to July 1996 Schlumberger
International       Coordination Houston         TX Jan 1993        to the   July 1995

Project Leader             Reservoir     Dynamics Etudes          et    Productions     Schlumberger       Clamart       France     June

1990    Dec     1992       Layered       Reservoir    Testing    Schlumberger Perforating           and    Testing       Houston    TX
August       1986    to   January   1988 Dynamic          Reservoir        Description     Flopetrol      Johnston    Schlumberger

Melun France September 1983                 to August   1986
Head      Petroleum Engineering             Department University            of Alaska Fairbanks          AK 198183           Assistant

Professor     of Petroleum Engineering          University     of Alaska     198083

PUBLICATIONS


       Lee    K J Moridis G J                    EhligEconomides             C A 2016         October      1 A Comprehensive
       Simulation Model       of Kerogen Pyrolysis for the In situ Upgrading               of Oil Shales       Society   of Petroleum

       Engineers      doi 102118173299         PA
       Yan    C Luo G               EhligEconomides           C A 2015 March 1 Systematic Study of Bakken Well
       Performance         Over     Three    Well Completion Design              Eras    Society     of    Petroleum       Engineers
       doi 102118171566           PA
           Case 1:19-cv-00877-RP Document 69-3 Filed 02/23/22 Page 164 of 203




3    Pang    W Du J                Zhang       T           EhligEconomides                 C A 2016 February 1 Actual                            and       Optimal

     Hydraulic Fracture              Design          in     a     Tight       Gas     Reservoir             Society       of      Petroleum           Engineers
     doi 102118168613               PA
4    Sorek       N Moreno J A Rice R Luo G                                          EhligEconomides                 C 2014 October 27 Optimal
     Hydraulic       Fracture       Angle       in   Productivity          Maximized Shale                  Well     Design       Society       of Petroleum

     Engineers       doi102118170965MS
5    Li    H Zou Y Valko P P                              EhligEconomides             C 2016 February 1 Hydraulic Fracture Height
     Predictions     in   Laminated        Shale          Formations       Using Finite Element Discrete Element Method Society
     of Petroleum Engineers               doi102118179129MS
6    MorangiuPorcu              M     Economides                MJ and EhligEconomides CA Global Model                                           for Fracture

     Falloff      Analysis          SPE        144028           presented      at    the    SPE         North       American       Unconventional              Gas
     Conference and Exhibition held in The                         Woodlands          Texas        USA 1416 June 2011
7    Liu     G       EhligEconomides                  C 2015 September 28 Comprehensive                                    Global        Model       for   Before
     Closure Analysis of an Injection                      Falloff Fracture          Calibration          Test      Society of Petroleum              Engineers
     doi 102118174906               MS
8    Chaudhary           AS EhligEconomides CA Wattenbarger R Shale                                                      Oil   Production        Performance

     from    a    Stimulated        Reservoir        Volume             SPE    147596       prepared        for     presentation     at   the    SPE Annual
     Technical      Conference and             Exhibition held in             Denver Colorado USA                    30 October     2 November 2011
9    Merry        H EhligEconomides C A                                  Wei P 2015                     September        28    Model      for    a    Shale    Gas
     Formation       with Salt Sealed Natural                   Fractures      Society       of Petroleum Engineers                doi102118175061
     MS
10   EhligEconomides                C A Apiwathanasorn                      S Ahmed I and Lightner J Song B Vera F Xue
     H     and Zhang           Y   Stimulated         Shale       Volume Characterization                   Multiwell      Case Study from the Horn

     River       Shale    II   Flow Perspective                   SPE     159546           prepared        for    presentation      at    the    SPE Annual
     Technical      Conference and Exhibition held in San Antonio                                  Texas      USA 810 October 2012
11   Tao     Q EhligEconomides CA                                 and    Ghassemi           A 2009            Investigation        of     Stress Dependent

     Fracture       Permeability          in    Naturally          Fractured         Reservoirs           Using      a    Fully    Coupled           Poroelastic

     Displacement         Discontinuity          Model           Paper presented            at    the    SPE Annual        Technical       Conference          and

     Exhibition          New       Orleans       Louisiana              Society      of     Petroleum         Engineers        SPE124745MS                    DOI
     102118124745              ms
12   Vera        F Evidence of            Pressure         Dependent Permeability in Long Term Shale                                Gas Production and
     Pressure Transient            Responses          MS Thesis Texas AM University 2012 paper in preparation
13   Ahmed          Ibraheem                                     of     Created      Fracture                                                              Fracture

                                     MS Thesis Texas AM University 2012 paper in preparation
                                     Investigation                                                      Geometry         through     Hydraulic
     Treatment Analysis



Books

1    Economides           MJ Hill A Daniel and EhligEconomides CA Zhu Ding Petroleum Production
     Systems Second Edition PTR Prentice Hall Englewood                                          Cliffs   NJ 2012

RECENT TRAINING                 ACTIVITY


1    ENI     Production         Optimization in San Donato                     Mozambique Angola Congo

2    ENI     Well Testing Natural Gas Engineering                             in Mozambique


3    SCA         Reservoir Engineering Well Testing in                         US Norway South Korea
4    Technion        Reservoir        Engineering Natural Gas Engineering                               in Israel


5    University      of Cyprus         Reservoir           Engineering

6    Unconventional            Resource        Engineering         in   Adelaide Australia
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                                                                                                                                                             BC

                                                  STANFORD UNIVERSITY

                           resourcee    engineering




Prof   Roland    N Home                                                                              Department    of Energy      Resources    Engineering

ph6507239595                 fax6507252099                                                          367   Panama   Street

email homestanfordedu                                                                               Stanford    University     CA 943052220 USA


July    12 2017


Professor        Jon       E Olson
Lois    K and Richard D Folger Leadership Chair
Department of Petroleum and Geosystems Engineering
The     University of Texas at Austin

200     E Dean Keeton St Stop C0300
Austin TX 787121585


Dear Professor Olson

I   am writing in response               to your request for a reference for Prof                   Zoya Heidari with respect                       to her

possible advancement                   in rank to the position          of Associate Professor with tenure



    1 I have known Zoya                Heidari      since   meeting her during a visit to Texas                 AM        in   2015      During

my     visit    to Texas       AM        I   had the opportunity          to see and discuss her research                 first   hand    We
invited        her to Stanford to present                 her research results        at our department         seminar In responding to

your request           I    have also reviewed a number of her recent publications



2      In terms    of contributions               to the discipline      Prof Heidaris research has involved development

of advanced         techniques          in petrophysics             Her research has represented series of theoretical

breakthroughs              in quantitative         understanding of an important subject to the                    oil    industry       Notably
her research        has encompassed theoretical experimental and computational                                       approaches               With

regard to her publications                    I   think   Prof Heidaris and her students have made significant

contributions          in the area       of rock mechnics              This work       is   world class and has advanced                 our

understanding of the distribution and mechanisms of hydrocarbon                                       placement          in the
                                                                                                                                   porous
structures       of tight rocks



3 Prof         Heidari       has a wide range of technical               interests in which        she strives and succeeds                   in

meeting the highest standards                        Her breadth       is exemplified         by the fact that her original Bachelors
and     MS degrees were in mechanical and biomechanical                                     engineering but she then went into

petroleum engineering in her PhD and subsequent                                    research     Through    her earlier programs she

has been able to bring considerable strength in other fields of engineering                                        into   her research

Given the extent and range of her background                              I   would     say that   she has developed greater breadth

than most Professors of Petroleum Engineering                                 at   a similar career stage



4      Work of her caliber and extent would                         certainly      be competitive    for a tenured position              as        an
Associate         Professor in our department                  at   Stanford       University


5      Keeping Prof Heidari                  at   UT Austin will surely maintain the great strength that your
department enjoys currently                       as an internationally         renowned program               Her career is on an upward

trajectory       that indicates that              her academic       future     is bright     Her expertise would            be difficult          to

replace        were she to leave your department
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                        have complete admiration      for Prof Heidaris
                                                                        very broad range of achievements
In
     summary    I




and abilities       I   therefore    have no hesitation in recommending her for a position as Associate

Professor   with tenure         in   your university


With Best Regards



                             klS      4111414
Roland   N Horne
Thomas Davies Barrow                Professor   of Earth Sciences

Professor   of Energy Resources            Engineering
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                                                                                     Tuesday September                   5 2017 at 95743 AM Central Daylight           Time



Subject       FW Promotion Letter Request Zoya Heidari
Date          Wednesday                   July      12 2017 at 65021 PM Central                              Daylight    Time

From          Olson Jon

To            Stickney             Stephanie


Fyi



Hook ern

Jon    E Olson          Chair and Frank              W Jessen Professor
Lois   K and Richard D Folger Leadership                                 Chair

The University of Texas at Austin                          I
                                                                   Petroleum and Geosystems                   Engineering       I
                                                                                                                                    5124717375   I   wwwpgeutexasedu




Original Message
From Roland             N Home fmailtohornestanfordedu
Sent Wednesday July 12 2017 624                                     PM
To Olson Jon <jolsonlaaustinutexasedu>
Subject Re Promotion Letter Request Zoya Heidari



Hi   Jon
Please     find   attached             my lettr     for Zoya Heidari

Sorry this    is   a    little    late    I
                                              was in China           last   week

At 0502      PM 6172017 you wrote



     Dear Roland            It   was good talking to you on the phone the other day

 Thanks for being                 willing     to help us in          our tenurepromotion process
 As you know the academic                           promotion process depends                     heavily       on the   role


 of outside            impartial         evaluators            I   have attached     a letter requesting

 you to evaluate                 the    promotion dossier of one of our assistant

 professors            Zoya Heidari             I   have also attached             her CV 5       significant


 papers and a brief research                         statement by Dr Heidari



 The deadline we are requesting for receiving                                     your   letter   is   July   7

 Thanks so much for your time and consideration



 Jon


 Hook ern

 Jon    E Olson           Chair and Frank              W       Jessen Professor Lois          K and Richard
 D Folger Leadership                    Chair The University of Texas                    at Austin       I




 Petroleum and Geosystems                            Engineering            I
                                                                                5124717375         I




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 Content Description Heidaripaperszip

 Content Disposition                     attachment                filename=Heidaripaperszip                      size=10771151

         creationdate=Sat                      17 Jun 2017 233707                   GMT
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Content Type applicationpdf    name=Zoya    HeidariResearch   Summarypdf
Content Description Zoya HeidariResearch    Summarypdf
Content Disposition   attachment

    filename=Zoya     HeidariResearch   Summarypdr     size=45991

    creationdate=Sat     17 Jun 2017 004028   GMT
    modificationdate=Sat      17 Jun 2017 004028   GMT
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1BN6PRO2MB249727KsqKdbXxk4XEIJT7sFaeHiJwexzD+Oue4z5yvgCRSw3HeN1WuUUi

311tvIKY+xl7g8Np6UBOfc9EqRkxW9r+DP1h5DOL+BNNbsKCCuseRgMsyJrhHOt+QccLS

+cnAZ4BQq8zye4bS2ByFTY38Mqg==


Content Type applicationpdf    name=Horne     requestpdf

Content Description   Home requestpdf
Content Disposition attachment     filename=Horne requestpdf size=50883

    creationdate=Sat     17 Jun 2017 232024   GMT
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31jtvIKY+xl7g8Np6UBOfc9EqRkxW9r+DP1h5D0L+BNNbsKCCuseRgMsyJrhHOt+QccLS

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                                                                                           Page 2 of 2
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Stanford
                                            Roland Home
                                            Thomas Davies Barrow Professor in the School                                                of Earth Energy              Environmental

                                            Sciences              and Senior Fellow at the Precourt                              Institute     for   Energy

                                            Energy Resources                       Engineering




Bio


ACADEMIC APPOINTMENTS
 Professor      Energy     Resources      Engineering


 Senior     Fellow     Precourt     Institute    for Energy


 Affiliate     Stanford     Woods     Institute    for   the Environment




ADMINISTRATIVE                        APPOINTMENTS

 Visiting     Researcherwhile on sabbatical                  University      of Tokyo     20152016

 Senior     Fellow     Precourt     Institute    for   Energy     Stanford     University     2010     present


 Thomas       Davies     Barrow Professor         of Earth    Sciences       Stanford     University   2008      present


 Senior     Fellow by Courtesy          Woods      Institute      for the Environment        20082010

 Professor     of Energy     Resources          Engineering       Stanford    University     2006 present

 Visiting     Scientist    RUE        Kyoto     Japan    while     on sabbatical        Research   Institute   for Innovative   Technology   for the Earth   RITE 20052005
 Professor     of Petroleum       Engineering          Stanford    University     19912006

 Visiting     Scientist    while      on sabbatical       Mobil     Exploration and Production           Services   Inc 19901990

 Visiting     Professor    of Petroleum         Engineering       while   on sabbatical       HeriotWatt       University   19891989

 Associate      Professor    of Petroleum         Engineering       Stanford     University     19841991

 Assistant     Professor    of Petroleum         Engineering        Stanford     University    19811984

 Acting      Assistant    Professor    of Petroleum        Engineering         Stanford   University    19801980

 Lecturer Geothermal           Institute        University of Auckland           19781979

 Acting      Assistant    Professor    of Petroleum        Engineering         Stanford   University    19771978

 Acting      Assistant    Professor    of Chemical Engineering Stanford                   University    19761977

 Energy Research           Fellow     University of Auckland            19741976


HONORS AND AWARDS
 Fellow      School      of Engineering         University    of Tokyo       2017

 Honorary Professor China University                     of Petroleum     2016

 Geothermal       Special    Achievement          Award      Geothermal        Resources     Council   2015

 Best Paper      in
                      Geophysics        Society    of Exploration Geophysicists              2012

 Patricius     Medal German Geothermal                  Society    2011
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                                                                                                                                                            Roland   Home
                                                                                                                               httpcapstanfordeduprofilesRolandHorne

 SPE   Distinguished Lecturer      Society    of Petroleum        Engineers    20092010

 Guest    Professor China University        of Petroleum    20072012

 SPE   Honorary   Member       Society   of Petroleum      Engineers    2007

 School    of Earth Sciences    Teaching     Award     Stanford    University     2007

 Henry     J Ramey Jr Geothermal Reservoir             Engineering Award           Geothermal Resources        Council     2006

 Geothermal    Resources    Council Best Paper         Award      Geothermal      Resources   Council   2005

 John Franklin Carl    Award      Society    of Petroleum Engineers           2005

 Elected    Member   National    Academy      of Engineering 2002


 Geothermal    Resources    Council Best Paper         Award   2     Geothermal       Resources    Council 2002


 Geothermal    Resources    Council Best Paper         Award      Geothermal      Resources    Council 2000


 Lester    C Uren Award Society of Petroleum            Engineers      2000

 SPE   Distinguished   Member      Society    of Petroleum        Engineers    2000

 SPE   Distinguished Lecturer      Society    of Petroleum        Engineers    19971998

 Best Paper of 1993    Award      SPE Formation Evaluation             Society    of Petroleum Engineers       1993

 Best Paper of 1992    Award      Journal    of Petroleum Technology             Society   of Petroleum Engineers     1992

 School    of Earth Sciences    Teaching     Award     Stanford    University     1989

 SPE   Distinguished Achievement          Award for Petroleum         Engineering Faculty         Society   of Petroleum    Engineers   1982

 Fellow     FulbrightHays    Traveling      Fellowship   1977


PROFESSIONAL EDUCATION

 DSc University of Auckland              Engineering    1986

 PhD University of Auckland              Theoretical    and Applied Mechanics          1975

 BE University of Auckland          Theoretical        and Applied Mechanics          1972


LINKS

 Geothermal     httpHpangeastanfordeduiresearchgroupsgeothennal


 SUPRID       Well Testing      httpiipangeastanfordeduirtsearchgroupssuprid
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PENNSTATE                                                                                                                                                                                                        BC

                            John and   Willie       Leone       Family
                                                                                           The       Pennsylvania         State University                                           814 8653437
                                                                                            110      Hosier   Building                                                         Fax 814 8653248
                            Department     of       Energy and
                            Mineral Engineering                                            University         Park       PA       16802                                           wwwemepsuedu
                                                                                                                                                                                  EMEemspsuedu




Undergraduate                July 5 2017
Programs


Energy Business and

Finance


                             Re Assessment                of   Dr Zoya Heidari for Tenure                      and Promotion
Energy Engineering



                              Dear Dr Olson
Environmental      System

Engineering

                              I   have known             Dr Heidari             for about          10 years since I taught at the University                                      of Texas at Austin
Mining
                                                                                                    have also served as the Chair of various committees within
          Engineering
                             where she was a graduate                        student

                                                                                                                                       AM
                                                                                               I


Petroleum and Natural
                              SPE that have               evaluated         her research             while     at    Texas                         and      at   UT Austin           I   am therefore
                             very aware of her abilities and background over the years
Gas   Engineering




Graduate     Program          My main focus in a tenure promotion                                     review        is    on the candidates                       research         My perspective               is


                              based on      my experience on various promotion                                       committees               at    both         UT Austin and            at   Penn       State

Energy and                   At Penn State we would                        expect       the candidate           to       have about three journal publications                                  per year
                                                                                                                                                                                                                in
Mineral   Engineering
                             quality journals and                   to   have attained a national reputation                              in   a key area of petroleum engineering

                             We also require demonstrated excellence in teaching and at least one PhD student to have been
Online Program               graduated by the candidate

Bachelor of Arts Degree

in
     Energy and
                              Dating back            to   fall      2011 Dr Heidari                  has published                 29 papers            in   high quality journals                    with an

                             average       of nearly five publications                                          She has published                        mostly in petrophysical
Sustainability    Policy                                                                       per year                                                                                              journals

                             such         Geophysics Interpetation and SPE Formation Evaluation                                                                  Her primary research topic                     is
                                     as

                             on    the evaluation              of unconventional                   resources             such      as   oil   and gas shales                  through petrophysical
                              means        Her number of publications                              significantly exceeds                      what      I   would        expect    from an assistant

                             faculty      going up         for promotion



                                                                                  of very high quality
                              Zoyas                                                                                                group has developed
                                          technical                        are                                            her                                                 several important                key
                                                            papers

                              findings          I    am particularly               aware of her recent                     papers
                                                                                                                                          that      were evaluated                 for the          Cedric      K
                              Ferguson SPE                 international           award              Her     paper        for         Directional Permeability                          Assessment in

                              Formations            With           Complex        Pore Geometry                With           a    New        Nuclear Magnetic                     Resonance Based

                              Permeability           Model won the 2017 Ferguson award                                            which       is   given         to the best technical              paper for
                              authors     under 33                 This is a major international                     award that bodes well for her future                                      She and her

                              students     showed              a   new way         to    estimate permeability anisotropy                                    more accurately              from nuclear

                              magnetic       resonance                NMR              tools       without      using             current          empirical             correlations           which          are

                              particularly           inaccurate            for    carbonates                  The method proposed                                in    this   paper incorporates                 a

                              directional                                          factor                      into       conventional               permeability estimations                        from T2
                                                    pore connectivity                              directly

                              relaxation     time Comparisons between                                measured permeability data and the estimated permeability

                              from this papers                 model and conventional                    approaches                show significant improvement                                in
                                                                                                                                                                                                    accuracy

                              Permeability               anisotropy          is    a    critical       parameter                for     the        design         and        recovery      of       oil    from

                              waterflooding               and      EOR floods                      Besides the SPE                     award        she has             received     numerous other

                              research     awards that clearly demonstrate her research                                            excellence



                              Her funding level also greatly exceeds                    what I would expect from an assistant faculty going up for

                              tenure      and promotion                    She raised nearly $33 million while at Texas         and appears to be                       AM
                              doing    well         in    this      area   at     UT Austin also                         She      is    trying      to      begin        a    2   consortium              in   the

                              unconventional              area      at   UT Austin Her current consortium on formation evaluation appears quite
                              successful        at   around six companies


          College of Earth and Mineral Sciences                                                                                                    An    Equal        Opportunity University
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PENNSTATE
                               John and   Willie   Leone Family
                                                                                       The   Pennsylvania        State University                          814 8653437
                                                                                       110   Hosier                                                 Fax 814 8653248
                               Department    of Energy        and                                     Building

                               Mineral Engineering                                     University     Park   PA     16802                               wwwemepsuedu
                                                                                                                                                        EMEemspsuedu




                                                                                                                         AM
Undergraduate

Programs                         She has graduated                 five    PhD students       while    at    Texas                 and currently        has seven        graduate

                                 students    at   UT Austin The only negative                     here      is   that   she has not graduated       a   PhD at UT Austin
Energy Business and

Finance                          but both universities              are comparable       in   quality



Energy Engineering               Dr Heidaris teaching portfolio looks very good                                  over the   last   six years   with student evaluations

Environmental        Systems
                                 in a   good range           for    an assistant faculty       member generally around 4 out of                         5 She         has taught

Engineering                      significantly         fewer courses however                 than what would have been expected                  at Penn State She has


                                 taught   one graduate              and undergraduate course per year on average                        compared to a typical load at
Mining    Engineering
                                 PSU of three courses                     That said she has performed well in the courses she is teaching                                 and has

Petroleum and Natural            used her spare time well in advancing her research

Gas   Engineering


                                 Her service           to   the    university   and    community                         excellent     She has served            on   numerous
                                                                                                         appears

                                 committees within the university                  and has given important service to SPE Overall                               I find   no issues
Graduate      Program
                                 with her service            and believe she has exceeded                expectations in this          area
Energy and

Mineral
                                             Dr Heidaris research
          Engineering
                                 Overall                                          service      and teaching record clearly                exceeds       what    is   required for

                                 promotion        to    associate         professor with tenure at Penn                 State Please   let   me know       if    you have any
Online Program
                                 questions

Bachelor of Arts Degree

in
     Energy   and                Sincerely

Sustainability      Policy




                                 Dr Russell       T Johns
                                 Chair Petroleum and Natural Gas Engineering Program

                                 Beghini Professor of Petroleum and Natural Gas Engineering
                                 John and Willie Leone                    Family Department of Energy and Mineral                      Engineering
                                 The Pennsylvania                 State   University

                                 119 Hosler Building

                                 University       Park       PA 16802
                                 8148650531                 Fax 8148653248              rjohnspsuedu




          2    College of Earth and     Mineral Sciences                                                                       An Equal    Opportunity University
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                                                                      Tuesday September        5 2017 at 95414 AM Central Daylight              Time



 Subject        RE    Promotion Letter Request                Zoya   Heidari


 Date           Friday July      21 2017 at 55716 PM Central Daylight Time
 From           Russell    T Johns

 To             Stickney     Stephanie Olson Jon


Hi       Here it is       Russ


Dr Russell T Johns
Chair     Petroleum        and Natural Gas Engineering                Program

Beghini Faculty Fellowship              in    Petroleum       and Natural Gas Engineering

John and Willie Leone               Family Department of Energy and Mineral Engineering

The     Pennsylvania State University

119 Hosier Building

University       Park PA 16802

8148650531
Fax 8148653248

rjohnsPpsuedu



From Stickney             Stephanie     mailtostickneyaustinutexasedu
Sent Friday July 21 2017 413 PM
To Russell T Johns <rjohnspsuedu>                             Olson Jon <jolsonaustinutexasedu>
Cc Stickney Stephanie <stickneyaustinutexasedu>

Subject        Re Promotion Letter Request                   Zoya Heidari



Hi    Russell



Thank you very much for your                 letter   of recommendation        As part of the promotion        process   we need   the CVs of the

letter   writers     Could you please send me your              CV at your earliest convenience

Gratefully




STEPHANIE           STICKNEY        Executive     Assistant

The    University    of Texas    at Austin    I
                                                  Petroleum   and Geosystems     Engineering    I
                                                                                                    5124711210      I    wwwggeutexasedu




From Russell T Johns
Date Wednesday               July   5 2017 at 230 PM
To Jon Olson
Cc Stickney
Subject        RE    Promotion Letter Request                Zoya    Heidari




Hi Jon




Here     is   the assessment of Dr Heidari for tenure and promotion                       She       is   doing very well



Let   me know        if
                          you need anything           else



Russ




                                                                                                                                               Page 1 of 2
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    Dr Russell T Johns
    Chair   Petroleum             and Natural         Gas Engineering             Program

    Beghini     Faculty Fellowship               in    Petroleum           and Natural Gas Engineering

John and Willie Leone Family Department of Energy and Mineral Engineering

The Pennsylvania                   State University

    119 Hosier Building

    University    Park            PA 16802

    8148650531
    Fax 8148653248

    rjohnsPpsuedu



    From Olson Jon mailtojolsonPaustinutexasedu
    Sent Friday June 23 2017 1247 AM

To Russell T Johns <rjohnsj3suedu>
Cc Stickney             Stephanie            <stickneyaustinutexasedu>

Subject         RE      Promotion Letter Request                         Zoya   Heidari




    Hi   Russ    Here is Zoyas CV which                          didnt get sent      I   dont think Thanks again              for your       help      Jon



    Hook ern
Jon E Olson Chair and Frank                           W Jessen Professor
Lois      K and Richard D Folger Leadership                         Chair

The       University        of   Texas at Austin           1
                                                               Petroleum   and Geosystems      Engineering         15124717375        1
                                                                                                                                          wwwpgeutexasedu



From Olson Jon
Sent Saturday June 17 2017 704 PM
To rjohnsfipsuedu
Cc Olson Jon <jolsonPaustinutexasedu>                                           Stickney    Stephanie    <stickneyfflausfinutexasedu>

Subject         Promotion Letter Request                           Zoya    Heidari




Dear Russ              It    was good         talking          to you   on the phone the other day Thanks for your willingness to write a

letter for us As                 you    know    the academic               promotion process depends                heavily   on the role of outside            impartial

evaluators



     have    attached                                                                    the promotion dossier of one of our assistant
I                                a letter    requesting           you to evaluate                                                                            professors

Zoya        Heidari          I   have   also attached             her CV 5 significant       papers and a brief research statement by Dr Heidari



The deadline we are requesting                                 for receiving     your letter is July 7     Let      me know      if   that   is   a   problem


Thanks so much for your time and consideration                                           Have a great   trip   to   Asia



Jon



Hook ern
Jon E Olson Chair and Frank W Jessen Professor
Lois K and Richard D Folger Leadership Chair

The       University        of Texas    at   Austin    I
                                                               Petroleum   and Geosystems      Engineering     I   51247173751 wwwpgeutexasedu




                                                                                                                                                                      Page 2 of 2
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                                                                                                                                                                                     PSU People             PSU Depadments                   PSU Web


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  About EME                                                                                                              Russell               T Johns
  Location                                                                                                               Professor       of     Petroleum        and Natural                Gas        Engineering

                                                                                                                         Program Chair for Petroleum and Natural                                        Gas Engineering
  Contact        Us
                                                                                                                         FCMG      Chair in Fluid              Behavior        and         Rock        Interactions



  Directory
                                                                                                                         119 Hosier           Building

           Faculty                                                                                                       8148650531

                                                                                                                         rjohnsigpsuedu
           Affiliated     Faculty




           Instructors
                                                                                                                         View    Full    CV

                                                                                                                         Gas    Flooding         IAP
           Emeritus       Faculty




           Administrative          Staff



                                                                   Biographical                    Sketch
           Graduate Students

                                                                   Russell        T Johns           is   the Chair of the Petroleum                     and Natural            Gas         Engineering                 program               he holds the

  Visiting      EME                                                Victor    and        Anna Mae Beghini                  Fellowship            in   Petroleum         and Natural               Gas        Engineering                 in    the


                                                                   Department             of      Energy     and Mineral           Engineering            at   The     Pennsylvania                 State          University                Prior to his

  Giving to        EME
                                                                                  position he served                 on the petroleum                                                            The                               of   Texas             Austin
                                                                   current                                                                             engineering        faculty           at              University                               at


                                                                   from 1995            to   2010 He also                has nine years of              industrial      experience               as a petrophysical                          engineer          with
    ission

                                                                   Shell    Oil     and as a consulting                  engineer         for    Colenco        Power Consulting                       in   Baden           Switzerland                  He holds

  Stiateglc        Plan                                            a     BS degree           in   electrical    engineering          from Northwestern                    University              and       MS and PhD                   degrees          in




                                                                   petroleum            engineering           from       Stanford His research                   interests       include           enhanced                 oil    recovery
  Faculty       Hiring
                                                                   thermodynamics                   and phase            behavior        unconventional               gas engineering                       multiphase              flow       in   porous

  Resources                                                        media and             well
                                                                                                   testing     In    these      areas      he has published               over 250               technical
                                                                                                                                                                                                                       papers           reports and

                                                                   books                           a recent     update          of the    classic       enhanced                                    book          Fundamentals                      of
                                                                                 including                                                                                      recovery
                                                                                                                                                                         oil




                                                                   Enhanced             Oil    Recovery         In    2016 he received                 the    International           SPE         award           in   reservoir description                     and

                                                                   dynamics             chemical           and gas flooding               Dr         Johns    received         the    SPE         Ferguson              medal           in    1993       for his


                                                                   research            on the combined               condensingvaporizing                      gas drive        process             He served                as      Co Executive

                                                                   Editor        for    SPE       Reservoir     Evaluation          and Engineering                   journal from           2002                 2004        In    2009        he was

                                                                   awarded          the      SPE         Distinguished         Member award He                   is
                                                                                                                                                                       currently           an Associate                 Editor          for the      SPE

                                                                   Journal        and     director         of the    Enhanced            Oil    Flooding       consortium             in    the    EMS Energy                      Institute        at   Penn

                                                                   State     University




                                                                   Teaching

                                                                   In addition          to the      courses         he   currently       teaches         at    Penn State            Dr      Johns          also has taught                    university


                                                                   courses         in   Advanced            Well Testing           Petrophysics Reservoir                       Engineering                  II
                                                                                                                                                                                                                  Waterflooding

                                                                   Thermodynamics                    and Phase            Behavior Advanced                    Thermodynamics                       Environmental                       Remediation

                                                                   Flow     in    Porous          Media       Engineering          Design Advanced                     Reservoir            Engineering and Enhanced                                      Oil


                                                                   Recovery             He has also taught                courses         in   Gas      Flooding        Enhanced                 Oil    Recovery               and       VVaterflooding               to


                                                                   industry




                                                                   Educational                     Background

                                                                   PhD Petroleum Engineering Stanford University 1992
                                                                   PhD Minor Water Resources Stanford University 1992
                                                                   MS Petroleum Engineering                                Stanford            University        1989

                                                                   BS       Electrical            Engineering             Northwestern                University 1982




                                                                   Certifications


                                                                           Professional              Petroleum Engineer                  in    California




                                                                   Research                  Interests
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                           Enhanced              oil    recovery

                           Unconventional                    gas    recovery

                                           of
                           Theory               gas     injection          processes

                           Geothermal              energy

                           Well     testing




                   Active           Research Projects

                   Current active               research                          include    consortia               of          and gas                                    conduct          research     on
                                                                                                                                                   companies          to
                                                                                                                          oil
                                                                   projects


                   gas     flooding        for    enhanced              oil
                                                                               recovery     He     is    also       active       in    experimental studies                      of surfactant       flooding


                   of    live   crude      oils        Additional          projects      include        development                   of    numerical         simulation          codes       for   Middle

                   Eastern         oil   fields




                   Selected               Publications


               1    Moinfar         A Sephernoori K and Johns RT Development                                                               of an    Efficient        Embedded             Fracture      Model

                    for   3D Compositional Reservoir                               Simulation           in   Naturally           Fractured              Reservoirs         SPEJ 192 pp                    289

                    303 2013

               2 Ahmadi K and RT Johns                                        Multiple   Mixing Cell Model                       for   MMP         Determination                 SPEJ Volume 16
                    No 4 pp 733742 December                                      2011

               3 Okuno             R RT Johns                      and        K Sepehrnoori Three Phase Flash                                      in   Compositional Simulation                     Using      a

                    Reduced              Method         SPEJ Volume 15 No 3 pp 689703                                                 September              2010


               4 Okuno             R Johns RT                       and       K Sepehrnoori Application                              of a    Reduced          Method         in   Compositional

                    Simulation             SPEJ Volume 15 Number 1 pp 3949 March 2010
               5 Charbeneau                     R Johns RT Lake LW                                and         McAdams                 M       Free product            recovery          of    petroleum

                    hydrocarbon              liquids         Ground            Water     Monitoring                 Remediation                203 pp 147158                           Summer 2000

               6 Johns            RT Correction                    to   Pressure          solution           for sequential                hydraulic         tests   in    lowtransmissivity

                    fractured            and nonfractured                  media Water Resour Res                                    3410 p 2781 October 1998
               7 Johns RT                  and Orr           FM Jr Miscible                 gas displacement                          of
                                                                                                                                           multicomponent                 oils    SPEJ         11 pp
                    3950 1996

               8 Johns RT Dindoruk B and Orr FM Jr        theory   combined condensingvaporizing gas     Analytical                           of


                       SPE Adv Tech Series 12 pp 716 1993
                    drives


               9 Lake LW Johns RT Rossen B and Pope G Fundamentals      Enhanced    Recovery  Society                                                   of                       Oil


                    of   Petroleum              Engineers               pp 496      ISBN9781613993286                                       Richardson               TX 2014

              10    Johns         RT and Dindoruk B Enhanced                                   Oil       Recovery                Field      Case        Studies           Book editor          James

                    Sheng          Chapter             1 Gas       Flooding         Book     chapter                pp    122 ISBN 9780123865458                                          Elsevier      2013

              11    Russell        T Johns              Penn       State University Editor Authors Perry                                       M        Jarrell      BP Charles E Fox                  Kinder

                    Morgan           Michael           H Stein BP Steven L Webb Occidental                                                 Petroleum Technical                    Writer       Linda    A
                    Day         Practical       Aspects            of   CO2      Flooding      SPE Monograph                           Series           Volume       22     ISBN       1555630960
                    Henry        L Doherty              Memorial Fund               of   AIME Society                    of   Petroleum            Engineers          Inc         Richardson         Texas

                    2002

              12    B Nojabaei N Siripatrachai RT                                      Johns T           Ertekin           Effect      of     large      gas oil     capillary         pressure      on

                    production             A compositionally                   extended       black           oil   formulation               Journal        of   Petroleum            Science      and

                    Engineering              Volume           147 Pages 317329                      November                    2016


              13    Khorsandi              S Qiao C                      Johns      R T Displacement                            Efficiency         for    Low Salinity            Polymer Flooding

                    Including            Wettability         Alteration           Society    of    Petroleum                  Engineers            doi102118179695PA                            October

                    2016


              14    Khorsandi              S Qiao C                      Johns      R T Simulation                       of   SurfactantPolymer                      Floods       VVith   a    Predictive


                    and Robust              Microemulsion                     Flash Calculation               Society           of   Petroleum           Engineers           doi102118179566

                    PA October              2016


              15    Khorsandi              S           Johns        R T 2016 Robust                          Flash        Calculation          Algorithm for Microemulsion                          Phase

                    Behavior Journal                    of   Surfactants           and Detergents                    196             12731287

              16    Ghosh          S            Johns        R T 2016 Dimensionless Equation                                               of State      to Predict        Microemulsion             Phase

                    Behavior             Langmuir            3235 89698979                    August                2016




                   Recent Activities



                   lctivities



                           Executive            Editor       for    SPEREE

                           Society         of   Petroleum               Engineers        SPE
                           Graduate             Studies        Chairman


                           American             Geophysical               Union     AGU
                           American             Chemical            Society        ACS
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                                                        Awards


                                                        AwardsHonorsRecognitions


                                                                  SPE    Distinghuished            Membership            Award      2009

                                                                  A Peer Apart            by SPE       for technical          reviews     of journal    papers

                                                                  25 year club         for   SPE

                                                                  SPE    outstanding         technical      editor



                                                                  Deans      fellow



                                                                                                       awards
                                                                  Departmental           teaching




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Visiting    EME                                                                                                                                                                Lecture    Series
                                                                                                                                 eCareer Login         for

                                 Minors     and Options

Giving     to   EME                                                                                                               Employers                                    Miner    Training   Program


                                                                                                                                  Penn State Career
Mission
                                                                                                                                 Services

Strategic       Plan



Faculty     Hiring




Resources




                                            0 2014       John     and   Willie   Leone    Family    Department        of Energy    and    Mineral   Engineering


                       110   Hosier   Building   I   University    Park PA 1680250001               Phone   81486534371             Fax 81486532481            EME©emspsuedu
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                                                                                                                   Prof Michael J King
                    Harold Vance Department of
                                                                                                               Assistant     Department Head
                    PETROLEUM ENGINEERING
                    TEXAS AM UNIVERSITY
                                                                                                               Foundation     CMG Chair and
                                                                                               LeSuer Chair in Reservoir Management




July 72017




Jon     E Olson
Chairman and Frank                    W    Jessen Professor

The Lois and Richard                   D Folger Leadership Chair
Department of Petroleum and Geosystems Engineering
The University of Texas                    at   Austin



Subject        Tenure and Promotion                    Assessment      Dr Zoya Heidari


Dear Jon


I   am pleased to provide my assessment and letter of support of Dr Zoya Heidari                                             for tenure   and
for advancement                   in rank to    the position      of Associate Professor in the Department of Petroleum

and Geosystems Engineering                        at   the University of Texas at Austin               Based on her progress as a
researcher      she          is   certainly   suitable      for tenure and promotion           at this time




You have asked me four questions which I will answer in turn as part of her evaluation


First you ask            how long I have known Dr Heidari and under what circumstances                                        In the Spring

of 2011        was chair of the faculty search committee                            in the   Petroleum Engineering

          AM
           I                                                                                                                  department at

Texas                    At the time Zoya was completing                   her      PhD she was shortlisted and invited in and
gave a very nice seminar on her work on petrophysical                                  interpretation     in   unconventional       shale

reservoirs          She was hired and joined our department in the Fall of 2011 where she remained

until   joining your department in the Fall of 2015                           In her time at      AM       I    did not directly

collaborate with her but was generally aware of her work through presentations given by her

students       If   I   remember correctly during her last year at                       AM       two of her graduate          students   did

very
        well in the international                 SPE student       paper competition          and competed        in the     regional

contest



Second you have asked about her original contributions                                   in her   research areas in petrophysical

inversion and reservoir characterization                           Although     I   am not a petrophysicist            I   have done work on
both pore scale and reservoir scale characterization                                The techniques      she has applied and

developed       show an excellent understanding of the                          interplay     between    measurement and

interpretation               By combining         local     mechanistic   models she has been able to infer more than                     is


normally possible for                   instance       on the interpretation         of directional    tensor permeability from log
data Other work has                   moved away from simple Archie                    exponents      and the interpretation        of water

saturation      in thinly           bedded and unconventional             reservoirs Some of her most creative                    work has
focused    on the use of injected nanoparticles during formation testing to increase property
contrast   and          to   reduce     uncertainty         in interpretation       She has developed      a solid body of work             with

an excellent publication                   record      in   multi scale rock physics interpretation              for   carbonates   and
unconventional                reservoirs


                              3116   TAMU 507 Richardson Building College Station Texas 778433116
                                     979      8452241        FAX 979 8451307            httpwvvvvpetamuedu
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Third you have asked                   me how I would evaluate Dr Heidaris development compared to others
in   her cohort at research                intensive universities         Of the Assistant Professors in our department at
AM       she was one of the two best in her cohort                          Where she certainly        excelled was in her ability

to   quickly    and   effectively           leverage      her industry contacts       to   develop    an innovative research

program which she owned and which would provide a foundation                                           for   her research and her

students       This was very well done which                        certainly    places her in the top of her cohort in my

estimation



Finally you have asked                    me to comment on Dr Heidaris                    promise for further professional             growth
and leadership She has already demonstrated considerable professional leadership in the

development of her own research program as I have just mentioned                                       However         in addition       she

made a significant              impact on the            SPWLA with                       the formation of its               student

                                              AM She
                                                                            I   believe                              first


chapter    of course            at Texas                       and her students are beginning                to   make a solid impact
on the profession               and   I   have every reason         to   believe that Zoya will continue to grow in her

professional      impact


In summary I          am very pleased              to    provide this letter of support for the promotion of Dr Zoya
Heidari for tenure and for advancement                         in   rank to the position of Associate Professor in the

Department of Petroleum and Geosystems Engineering                                   at the   University of Texas            at Austin    I


regret that     she   is   no longer         in   our department and about            to receive     tenure here but         Im very
pleased that she           is   at   UT where am sure that she will thrive
                                                     I




Sincerely




      7 tJzY                                  7tp


Michael    J   King PhD
Assistant Department Head

Foundation       CMG Chair in Robust Reduced Complexity Modeling
Professor and Holder                  of the LeSuer Chair in Reservoir               Management




                       3116          TAMU 507 Richardson Building College Station Texas 778433116
                                     979   8452241        FAX 979 8626579            httpwwwpetamuedu
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                                                                       Tuesday September         5 2017 at 95200 AM Central Daylight    Time



Subject         FW Promotion Letter Request Zoya Heidari
Date            Friday July 7 2017 at 44706                   PM Central     Daylight   Time

From            Olson Jon

To              Stickney    Stephanie


FYI



Hook ern
Jon E Olson Chair and Frank                  W Jessen Professor
Lois   K and Richard D Folger Leadership Chair
The    University   of Texas     at Austin        I
                                                      Petroleum   and Geosystems   Engineering   I
                                                                                                     5124717375   I   wwwpgeutexasedu



From King Mike mailtomikekingtamuedu
Sent Friday July 07 2017 429 PM
To Olson Jon <jolsonaustinutexasedu>
Subject      RE     Promotion Letter Request                  Zoya Heidari



Attached with pleasure



Please    let   me know         that its   been received



Mike



Sent from Mail for Windows                   10




From Olson Jon
Sent Friday July 7 2017 302 PM
To King Mike
Subject      RE Promotion Letter Request                      Zoya Heidari



Thanks     Mike



Hook ern
Jon E Olson Chair and Frank W Jessen Professor
Lois K and Richard D Folger Leadership Chair

The    University   of Texas at    Austin     I
                                                      Petroleum   and Geosystems   Engineering   I
                                                                                                     5124717375   I   wwwpgeutexasedu



From King Mike mailtomikekingtamuedu
Sent Friday July 07 2017 545 AM

To Olson Jon <jolsonftaustinutexasedu>
Cc Stickney         Stephanie       <stickneyaustinutexasedu>

Subject      Re Promotion Letter Request                      Zoya Heidari



Jon


Only have weak         wifi     right   now In transit in UK Will get the letter to you this evening my time


Mike    King




On Jun 23 2017             at   548 AM Olson Jon <jolsonaustinutexasedu> wrote


                                                                                                                                        Page 1 of 2
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Mike       Here     is   the CV which apparently              I
                                                                  neglected to send                II   Jon



Hook ern
Jon E Olson Chair and              Frank     W Jessen Professor
Lois   K and Richard O Folger Leadership               Chair

The    University   of   Texas   at Austin    I
                                                  Petroleum       and Geosystems        Engineering           I
                                                                                                                  5124717375     I       wwwpgeutexasedu



From Olson Jon
Sent Saturday June 17 2017 710 PM
To mikekingtamuedu
Cc Olson Jon ciolsonPaustinutexasedu>                                   Stickney   Stephanie            <stickneyaustinutexasedu>

Subject Promotion Letter Request                      Zoya        Heidari




Dear Mike      Thanks            for agreeing      earlier to write a letter for our                    Zoya       I   have attached        a   formal letter

                                                                        have also attached              her CV 5 significant              papers and a brief
requesting      you to evaluate her promotion                       I




research     statement



As you     know      the academic          promotion process depends                    heavily         on the role of outside                  impartial   evaluators



The deadline         we are requesting            for receiving         your letter     is
                                                                                             July       7


Thanks     so much for your time and consideration                           I
                                                                                 hope   all   is    well    in    College   Station        Do you have       a   name for
a   new chair yet


Jon



Hook       em
Jon E Olson Chair and Frank                  W Jessen Professor
Lois   K and Richard D Folger Leadership Chair
The    University   of Texas     at Austin    I
                                                  Petroleum       and Geosystems        Engineering           I
                                                                                                                  5124717375         I   wwwQgeutexasedu




<201705Zoya HeidariCVpdf5




                                                                                                                                                                      Page 2 of 2
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                                            Michael J King


Education
   1980    PhD Physics Syracuse University NY
    1977   MS Physics      Syracuse   University   NY
   1976    BS Summa Cum Laude           Physics     Mathematics       Cooper Union        NYC

Experience
   2012 present Assistant Department Head Administration                Petroleum Engineering

   2009 present Professor Petroleum Engineering Texas             AM      University

   2009 present Co Director Model Calibration             Efficient   Reservoir    Imaging JIP
   19992009     BP AmericaBP Amoco EP Upstream Technology Group
       20072009     Discipline Technical    Authority Reservoir Performance Prediction
       20052009     Senior Advisor     Reservoir Modeling         Simulation

       20022009     Reservoir Performance Prediction       RD      Project Management
       20022007     Technology    Network Leader Reservoir Performance Prediction

       20022005     Advisor Reservoir Modeling           Simulation

       19992001     Technology Network      Leader    Reservoir   Modeling         Characterization

   19961999     Consultant      Senior Reservoir Engineer BP Exploration            Operating    Co Ltd
   19911995     Research   Positions BP Research         Exploration Sunbury on Thames UK
   19821990     Research   Positions SohioStandard       OilBP Research        Warrensville      OH
   19801982     Postdoctoral   Fellow Department of Physics Michigan              State   University



Professional   Registration



Professional   Memberships
   2011 present American Geophysical Union           AGU
   2011 present SIAM

   2010 present Interpore
   1982 present Society of Petroleum Engineers

   1980 present Sigma Xi Scientific      Research    Society

   19791989     Sigma Pi Sigma Physics Honorary         Society

   19791989     American Physical Society


Awards
   2015 Energistics   RESQML      SIG 25 Year Volunteer        Recognition   Award
   2014 Karen and Larry       A Cress 76 Excellence      in Teaching    Award
   2013 SPE Distinguished       Member
   2013 Foundation    CMG Chair in Robust Reduced          Order Modeling
   2012 LeSuer Chair in Reservoir Management

   2012 2013     Energistics Volunteer   Recognition     Program Award
   2011 Petroleum Engineering Department Award for Excellence                in Teaching

   2011 SPE Reservoir Description and Dynamics Award
   2010 John and Debbie Bethancourt Professor           in Petroleum   Engineering

   2007    EP DCT BP Helios Award         Finalist Reservoir      Management Co Visualization
   20062007     SPE Distinguished     Lecturer
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   2005 BP Helios Award Finalist Top Down Reservoir Modeling
   2000 BP Helios Award Submission 3D Reservoir Modeling applied to fast track

       development of the CrazyHorse reservoir
   1982 American Physical Society            Industrial   Post Doctoral    Fellowship

   19761980      Graduate Fellowship         Syracuse     University

   1976 Honorable Mention National Science Foundation Fellowship
   1976 The Henry      D Dickinson and Harry W Reddick fund                 prizes

   1973 The    Day Class of 1907 Award The Cooper Union


Refereed Publications list      1015 top publications
   Streamline Simulation Theory and Practice SPE Textbook                       11 2007       w   Akhil Datta

       Gupta
   From Streamlines to Fast Marching Rapid Simulation                   and Performance Assessment of
       Shale Gas Reservoirs Using Diffusive Time of Flight as a Spatial Coordinate                    SPE
       Journal   May 2016      w     Zhang     Y Bansal N         Fujita   Y DattaGupta A            Sankaran

       S
   Depth of Investigation and Depletion in Unconventional Reservoirs With Fast Marching
      Methods SPE Journal Jan 2015          Xie     w
                                                   Yang       J
                                                             Gupta         C
                                                                          DattaGupta     N                   A
   Integration    of Shale Gas Production Data and Microseismic for Fracture and Reservoir

       Properties With the Fast Marching           Method      SPE Journal July 2014         w Xie J Yang
       C Gupta N            DattaGupta        A
   Reservoir Modeling         From RESCUE To RESQMLTm SPE 135280 SPE Reservoir
       Evaluation      Engineering     Volume 15 Number 2 April 2012                 w    Paulo Ballin Chakib

       Bennis David Heath          Allan Hiebert William        McKenzie       Jean Francois Rainaud     and
       Jana    Schey
   Full Field Streamline Tracing             Complex Faulted Systems With Non Neighbor

                                                                                                      w
                                        in

       Connections      SPE 113425 SPE Journal Volume 15 Number                      1   March 2010
       Eduardo Jimenez and Akhil DattaGupta

   Spatial Error and Convergence               Streamline Simulation        SPE Reservoir Evaluation
                                                                                   w
                                         in


       Engineering Volume 10 Number  3 pp 221232                       June 2007         Eduardo Jimenez

       Kamran Sabir and Akhil DattaGupta
   Recent Advances         in Upgridding      in Oil      Gas Science and Technology           Rev IFP Vol 62
       No 2 pp 195205          2007
   A                                Streamline Formulation for          Two and Three Phase Black Oil
                                                                                                         w
       Rigorous Compressible

       Simulation SPE Journal Volume 11 Number 4 pp 407417 December 2006                                     Hao
       Cheng     Ichiro Osako      and Akhil DattaGupta

   Optimal Coarsening of 3D Reservoir Models for Flow Simulation                         SPE Reservoir
       EvaluationEngineering Volume 24 Number 10 pp 317334 August 2006                                w
       Karam S Bum Pengju Wang Venkataramanan Muralidharan Freddy Alvarado Xianlin
       Ma and Akhil DattaGupta
   Upgridding     and Upscaling       Current Trends and Future Directions               SPE Distinguished
       Lecture during      20062007 SPE 112810            DL 2007
   Simulation and Theory of Two Phase Flow in Porous Media Physical Review                          A 467680
       7699 1992       w           M   and Scher       H
                                                                                                               w
                           Blunt
   Geometric Dispersion and Unstable Flow in Porous Media Phys Rev                           A 41 874 1990
       Scher   H
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                                            STANFORD                                          UNIVERSITY

Department    of Geophysics                                                                                    PHONE         R   Knight        650 7361487
Stanford   CA 943052215                                                                                        EMAIL         dcnightpangeastanfordedu




    23 July 2017



    Dr Jon Olson
    Dept of Petroleum and Geosystems Engineering
    The University         of Texas      at Austin




    Dear     Dr Olson

    Iam writing in response to your request that I provide an assessment of the scholarly contributions
    of Prof Zoya Heidari The following is written so as to address your list of questions


    There     is                               my area of expertise and the work of Prof Heidara
                   somewhat limited overlap between                                                                                                      What

    we have in common is an interest in rock physics but I am a geophysicist with an interest in
    groundwater systems while Prof Heidara                          is   a petroleum       engineer with an interest in petroleum
    reservoirs Much           of Prof Heidaras work focuses on carbonates                         and organic mudrocks                    my focus           has

    been sandstones          and unconsolidated materials The area of greatest overlap                           in our       research         is   in   the

    area of nuclear magnetic resonance                    NMR            again the applications     and materials are different but
    her work on advancing              the interpretation          of NMR      data   is   very relevant to the work             I   do


    I   have not met nor interacted with Prof Heidara                        We do not attend the same conferences                         and tend          to

    publish        in different    journals This     is   not surprising given Prof Heidaras                   interests in reservoirs               and
    mine in aquifers This does mean                  that       our research   is   best known     in different    communities As a
    result have gone              into this review    with a lack of familiarity with Prof Heidaras work so have spent

    some time reviewing              her Research     Statement and the provided publications                      It   is   clear that        she brings

    to her research        an outstanding mix of careful experimental work and innovative computational

    approaches


    Given my research              interests in   NMR       I   focused    on reading the three papers on               this topic        and below
    summarize          my impressions of those papers

    Chi L and Heidari Z 2015 Diffusional Coupling between                                      Microfractures      and Pore Structure and

          Impact on Nuclear Magnetic Resonance                       Measurements in MultiPorosity                 Systems Geophysics 80
    1
    its


           D31        D42 DO 101190geo201304671

    While     all    of my work focuses on porous media and neglects                          microfractures       I    found        this to   be an
    excellent paper which              convinced     me that I should consider microfractures The paper presents                                         a

    very     innovative approach          where the theoretical treatment previously applied to interpore coupling                                             is


    used     to   consider the presence       of coupling between              microfractures      and pores and the impact of this

    on NMR relaxation data While the paper involved                             only simulated      data   I   was impressed by the
    attention       paid to generating realistic          models using micro           CT imaging The comparison of the
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analytical         and numerical        results   was complete              thoughtful         and revealed a deep understanding of the

physics of the         NMR measurement In summary                               an important          and very well written paper


Chi L Cheng                  K and          Heidari    Z 2016 Improved Assessment of Interconnected Porosity in
Multiple Porosity Rocks by Use of Nanoparticle Contrast Agents and Nuclear Magnetic Resonance
Relaxation Measurements                     SPE Reservoir Evaluation                                              Journal Formation Evaluation

     1
                                                                                              Engineering
19           95      107   DOI 102118170792                   PA

This paper is highly innovative                   and takes a very clever approach                          to   addressing a basic question in
NMR           how to identify the interconnected porosity and the signature of that porosity in relaxation
data The publication              is   outstanding       in terms      of the detail provided and makes                          it   clear that   Prof
Heidari       is   someone who         is   very careful in the design and completion                             of her experimental work                  I   was
struck by the rigor displayed in the analysis of the data                                 I   greatly appreciated              the opportunity         to

review       this   paper I will       likely   be building on         it   in   my own current work on identifying mobile and
immobile regions of the pore space                      in sediments




Chi L and Heidari Z 2016 Directional Permeability Assessment in Formations with Complex
Pore Geometry            With a New Nuclear Magnetic Resonance Based Permeability Model SPE Journal

214 1436                1449     DOI 102118179734                    PA

This    is   another excellent paper that seeks to address a critical                                limitation in           the traditional

interpretation         of NMR      data to estimate permeability                        NMR provides a scalar while permeability                                is


a tensor This paper thoughtfully considers ways to include                                       information about              anisotropy by

exploring the use of 3D pore scale images and the electrical                                     formation factor               Again I found myself
impressed by the rigorous and innovative                        approach


The provided papers are evidence                       of Prof Heidaras outstanding                        abilities     as a researcher           In her

NMR research she has elected to address critical limitations in the current understanding and
interpretation of NMR data Her approach  displays a considerable breadth of expertise covering

numerous experimental approaches numerical methods and theoretical analysis Prof Heidara has
an ability         to identify   key problems and innovative solutions                               a combination             that   leads to significant

impact on a field of study



In   general        Prof Heidaris           CV    is   comparable to that of others which                         I    have reviewed          at the   time of

tenure       The number of publications                 is   about   right       I   note a large increase              in   numbers in the last few

years as her graduate             students      progress in their programs and publish their work                                     I   appreciate   seeing
the number of publications                   from graduate       students             Prof Heidari          clearly      makes mentoring her
students      through the process             of publication         a priority which            I   believe      it   should      be


There    is   one area      in   Prof Heidaras          CV      that   is    somewhat different from the                        CVs of others that              I


have reviewed           at the   time of tenure she has not been invited                          to      give as      many     talks at universities

given the stage in her career                 and the    interesting        work       that she      is   doing and there are no               invited      talks

at major conferences




Ihave found this a very interesting package to review I can assure you that I learned a lot and have
been very impressive by the types of problems being addressed and the way in which Prof Heidari
has elected         to tackle    them It is unfortunate              that   I   was not more familiar with Prof Heidari and her
research which             should not be taken           as a reflection             on her but a statement about how busy I have
become and therefore how limited I have become                                       in terms   of my conferences                and journal readings
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My overall impression   is   that Prof   Heidara   is   an exceptionally   talented researcher   who
has established a productive    research   group tackling     important problems    in innovative


ways


Sincerely




Rosemary Knight
George   L Harrington Professor of Earth Sciences
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                                                                            Tuesday September             5 2017 at 95012 AM Central Daylight          Time



Subject        FW Promotion Letter Request                          Zoya Heidari

Date           Monday July 24 2017 at 92622 AM Central                                     Daylight   Time

From           Olson Jon

To             Stickney       Stephanie


FYI



Hook ern
Jon E Olson Chair and Frank W Jessen Professor
Lois K and Richard D Folger Leadership Chair

The   University     of Texas        at Austin   I
                                                      Petroleum     and   Geosystems        Engineering   I
                                                                                                              5124717375   I   wwwggeutexasedu



From Rosemary J Knight mailtorknightstanfordedu
Sent Sunday           July    23 2017 235 PM
To Olson Jon <jolsonaustinutexasedu>
Cc Stickney Stephanie <stickneyaustinutexasedu>

Subject     Re Promotion Letter                      Request    Zoya      Heidari




Dear Jon


Letter   attached Unfortunately                       I   do not know        Dr Heidara           but was able to review         her publications Our

fields   have become so compartmentalized


Rosemary




On Jun 22 2017 at 803 PM Olson Jon <jolsoneaustinutexasedu>                                                       wrote




         Hi Rosemary                   Thanks        for the   quick response              We can work with that schedule               if
                                                                                                                                             you can
         get    it   down that week                  Thanks     for
                                                                      your help


           Jon



         Jon    E Olson Chairman and Professor
         Petroleum 8c Geosystems Engineering

         The University                of Texas        at Austin

         Sent from my iPhone



         On Jun 20 2017 at 554                            PM Rosemary J Knight <rlinighigstanforddu> wrote
                     Dear John


                     It   does seem like yesterday                        Would     like   to   help but the timing on this        is   not

                     good      I     am beyond over committed for the next month leaving in a few days
                     to   sort     move stuff and sell my parents                           home and get my mother settled in a
                     retirement           home


                     The     first    I   could do this        is   the   week of July 17




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 Rosemary




 On Jun 17 2017 at 506 PM Olson Jon <jolsonaustinutexasedu>                                                            wrote




      Dear        Rosemary                I

                                              hope you       are   doing well      It   seems like just

      yesterday         I   was taking Rock          Physics from you when                   we were      both     still




      graduate         students           or maybe you were             a   postdoc

      I   have attached               a letter   requesting        you to evaluate           the promotion

      dossier        of one of our assistant                 professors Zoya            Heidari    I   have   also

      attached         her CV 5 significant              papers and a brief research statement

      by Dr Heidari



      As you        know         the academic        promotion process depends                    heavily         on
      the role of outside impartial evaluators                              I
                                                                                hope we can count on you
      to    help



      Please       respond            to this email as        soon as is convenient            as to   whether

      you can do this evaluation                     Assuming         you are willing to participate
      the deadline               we are requesting            for receiving      your letter      is
                                                                                                       July   7


      Thanks so much for your time and consideration                                     I
                                                                                             hope to run      into


      you       at Stanford           sometime


          Jon



      Hook 4frern
      Jon  E Olson Chair and Frank W Jessen Professor
      Lois K and Richard D Folger Leadership Chair

      The       University       of   Texas at Austin    I
                                                              Petroleum     and Geosystems        Engineering
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      <Heidaripaperszip><Zoya                    HeidariResearch Summarypd1><Knight
      requestpdf>




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                                                                                                                                                                        Rosemary   Knight

                                                                                                                                      httpcapstanfordeduprofilesRosemaryKnight




Stanford
Rosemary Knight
The George L Harrington                                 Professor in the School                            of Earth Energy                   Environmental   Sciences   and

Senior Fellow by courtesy                                at    the      Woods           Institute          for   the Environment              Geophysics


Bio


ACADEMIC APPOINTMENTS

 Professor     Geophysics


  Senior    Fellow    by Courtesy Stanford              Woods       Institute   for the    En



ADMINISTRATIVE                          APPOINTMENTS

 Acting Assistant      Professor         Geophysics Stanford            University        19841987

 NSERC University           Research       Fellow      University       of British   Columbia         19871988

 Assistant Professor University of British                 Columbia         19881993

 Associate     Professor University           of British      Columbia      19931998

 Professor University         of British Columbia              19982000

 Professor    Geophysics          Stanford    University       2000       present


 Senior Fellow Stanford            Institute for     the Environment            Stanford    University     2005     present




HONORS AND AWARDS
 Gold    Medal   in   Geological Sciences             Queens       University     1976

 NSERC University           Research       Fellowship         Natural    Sciences       and Engineering Resources           Council   1987

 Distinguished Speaker            Award       Society   of Professional          Well    Log Analysts 1991

 Best Paper      Award      MGLSKEGS                Symposium         Borehole       Geophysics       for Minerals    Geotechnical       Toronto    MGLSKEGS 1991

 Teaching     Excellence      Award        University     of British Columbia              1992

 Distinguished Lecturer Canadian                    Geophysical      Union      1995

 Best Paper      Award Honorable            Mention      Society      of Exploration Geophysicists               1996

 Killam Research          Prize   for   research     excellence University           of British Columbia         1996

 Charles     McDowell Medal              for excellence       in
                                                                   pure and applied        research   University     of British Columbia     1996

 Distinguished Lecturer            Society    of Exploration Geophysicists                 1998

 Frank     Frischknecht     Award         Society    of Exploration Geophysicists               Near Surface      Section   2002

 Life   Membership Award                Society   of Exploration Geophysicists               2009

 Honorary Life        Membership Award               Society       of Exploration Geophysicists            Near Surface Geophysics       Section   2012


PROFESSIONAL EDUCATION
 PhD Stanford         University Geophysics               1985

 MS Queens           University         Kingston     Ontario       Canada   Geological          Sciences   1978

 BS Queens         University        Kingston Ontario              Canada    Geological Sciences           1976


LINKS

 Environmental Geophysics                 httppangeastanfordedulresearchgroupsenviro
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DR ERDAL OZKAN
FH MICK MERELLICIMAREX ENERGY
DISTINGUISHED         DEPARTMENT      HEAD CHAIR
                                                                                   O            COLORADOSCHOOLOF MINES
                                                                                                EARTH                ENERGY                   ENVIRONMENT

PETROLEUM        ENGINEERING




   July    6 2017



   Dr      Jon   E Olson PhD PE
   Chairman and Frank             W   Jessen Professor

   The Lois and Richard            D Folger Leadership Chair
   Department          of Petroleum and Geosystems Engineering

   The University of Texas at Austin

   CPE 2502 Austin TX 78712


   Ref Promotion and Tenure Evaluation of Dr Zoya                                  Heidari




   Dear     Dr Olson

   As you requested          I   have reviewed the credentials of Assistant Professor Zoya Heidari                                  for tenure      and

   promotion to the rank of Associate Professor                        at    the   Department of Petroleum                Geosystems Engineering

   at   The University of Texas at Austin This                      letter   presents my recommendation                 that   she be granted tenure

   and promoted to Associate Professor Below first                                 I state   my qualifications        to provide    this


   recommendation           and then present the details of my assessment


   I    am a tenured full    professor          and the Head        of the Petroleum Engineering                 Department        at   the   Colorado

   School of Mines         CSM         I   have been in academia since                   1989       I   have over 120 papers a book            co
   authored          and three book chapters           I   am a Distinguished                Member of the the Society of Petroleum

   Engineers         SPE and the recipient of the 2013 SPE Lester C Uren and 2007 SPE Formation Evaluation
   Awards        I   have reviewed numerous promotion applications                             at   CSM and other universities             around the

   world throughout         my academic career                I   was a member 20112014                      and the chair     20122013          of the

   CSM Promotion           and Tenure Committee I have also served                             as the     Executive    Editor of the       SPE Reservoir

   Evaluation        and Engineering        Journal        20032005            and the Chief Editor of the Elsevier Journal of

   Petroleum Science             and Engineering        2006          2008


   My broad area of technical expertise is reservoir engineering with particular                                       focus on    modeling       transient

   fluid   flow in porous media             I   have never worked or collaborated with                       Dr Heidari and my area of research
   is   considerably      different   from hers However                 because        of my focus on modeling               flow and production          in

   unconventional         reservoirs       and interest in rock and fluid characterization                       I   am familiar with the research
   problems she addresses Therefore                    my following evaluation                  will     be based    on her   CV the review of her
   five publications        and the research summary included                         in the    package      provided   to    me I will use my
   knowledge          of the standards and         criteria    commonly applied                in the discipline      of petroleum       engineering        My
   focus in evaluating           her publications       will      be on the importance              and relevance of the topics technical

   approach          originality   and the potential          impact




                                                                                                                                  1600 Arapahoe St Golden   CO 80401


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DR ERDAL OZKAN
FH MICK MERELLICIMAREX ENERGY
DISTINGUISHED         DEPARTMENT          HEAD CHAIR
                                                                                O            COLORADOSCHOOLOF MINES
                                                                                             EARTH                    ENERGY                  ENVIRONMENT

PETROLEUM        ENGINEERING




   Based    on her      CV Dr Heidari had four peer reviewed publications and 11 papers in refereed conference
   proceedings         before her academic            appointment         Since her appointment                 as   an Assistant Professor in Fall

   2011 she has published 25 more peer reviewed journal papers and 59 refereed conference                                                    papers in

   proceedings          This indicates an average            of four peer reviewed publications                       and six conference         papers       per

   year The data collected by the Association                       of the     US Petroleum         Engineering          Department Heads show
   that the     average    rate of productivity for the             Petroleum Engineering faculty                     across   the    US is two to three

   peer reviewed publications                   and three to five conference         presentations              Dr Heidaris productivity is

   clearly above        the   averages Moreover              the journals she publishes              in   have some of the highest impact

   factors in the disciplines             of geosciences      and petroleum engineering                    such as Applied Clay Science

   3101 AAPG Bulletin 277 Geophysics 2391 Mathematical                                                    Geosciences       2022 SPE Journal
   2208 Journal of Petroleum Science                         and Engineering        1873 SPE Reservoir Evaluation                               Engineering

   1729

   A cursory review of the Google Scholar profiles of the assistant professors in the peer US Petroleum
   Engineering         Departments         reveals slightly better records           than that of Dr Heidari she has 313 citations

   and hindex of 8 and i10 index of 7 as of the date of this letter Although                                          the citations     and the h index

   may be considered as an indication                   of the impact of her research they may not be the best measures to

   assess the early career achievements                  of academicians           In this    respect the number of her invited

   presentations         talks   at    topical   meetings conferences             and webinars and appearances                       in workshops         a   total


   of as many as 40 should also be considered as a sign of acceptance                                     of her technical expertise                Similarly

   her   funded research volume amounting to $34 million since                                2011      or $25         million after subtracting the

   amount terminated             after leaving       Texas   AM          is   significantly higher         than that for most of her peers

   $300000year                based     on my knowledge             and must be credited to her recognition



   As for the assessment               of Dr Heidaris        five   sample publications             I   will    only comment on their general

   quality indicators         because      my area of expertise is different from hers First similarto the rest of her
   publications         the five publications          included     in the    package       are   on the application           of the   NMR technology
   to the characterization             of unconventional        reservoirs       This is considered as one of the most promising

   approaches         for the petrophysical          characterization         of unconventional            reservoirs     and    Dr Heidari         appears      to

   be at the forefront of the research activities                   on this topic       I   note that     all    five publications        include    a


   comprehensive          literature      review and they unequivocally               reference         and explain the origin and the

   background          of the core ideas of the paper This comprehensive knowledge                                     of background indicates good

   aptitude to address           the    eminent problems of the research field Use of multiple research methods                                          such   as


   conceptual         experimental analytical numerical digital etc                           in   every        paper enriches the discussions                and

   adds several layers of credibility to the
                                             papers This                                                                                                 and
                                                                                 is particularly        noteworthy        for the     competence

   versatility of Dr Heidari              to take    on a wide variety         of research challenges and indicates that her research

   focus   can be changed              easily   with the changing needs of the industry All five papers properly document

   the input     data   and the results of the research to ensure                  reproducibility              Overall the technical          language

   used    in   the   papers is clear and organization              is   easy to follow




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FH MICK MERELLICIMAREX ENERGY
DISTINGUISHED        DEPARTMENT     HEAD CHAIR
                                                                     O           COLORADOSCHOOLOF MINES
                                                                                 EARTH             ENERGY            ENVIRONMENT

PETROLEUM      ENGINEERING




   As a final remark Dr Heidaris           credentials      place   her highly   among the applications     I   have reviewed for

                  and tenure at her rank           would   not expect her to have
   promotion                                                                           any problem in receiving     a positive
                                               I


   tenure    and promotion decision       at   our institution


   In
        summary based on my review of the documents provided                     to   me and compared to the similar
   applications      I   have reviewed in the past     I   recommend Dr Heidari         for tenure and   promotion to Associate

   Professor    at   the   Department   of Petroleum         Geosystems Engineering         at   The University of Texas at

   Austin Should there be any questions or concerns                 about my above       assessments please      do not hesitate to

   contact    me

   Sincerely




   Erdal     Ozkan Professor
   FH Mick MerelliCimarex Energy Distinguished                        Department Head        Chair in Petroleum Engineering

   Colorado     School of Mines

   1600 Arapahoe Street

   Golden CO 80401
   Phone      1303273        3188

   Fax 1303273             3189

   Email eozkanminesedu




                                                                                                            1600 Arapahoe St Golden   CO 80401


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                                                                  Tuesday September          5 2017 at 95509 AM Central Daylight            Time




 Subject      Re Dr Zoya Heidari

 Date         Friday July     21 2017 at 31323 PM               Central Daylight    Time

 From        Stickney       Stephanie

 To           eozkanminesedu

 CC           Olson Jon Stickney Stephanie

Hi   Erdal



Thank you very much for your                letter   of recommendation      As part of the promotion process we need the CVs of the

letter   writers Could      you please send          me your CV at your earliest convenience


Gratefully



STEPHANIE STICKNEY                 Executive Assistant

The   University   of Texas   at Austin      I
                                                 Petroleum   and Geosystems   Engineering     I
                                                                                                  5124711210    I   wwwpgeutexasedu



From Erdal Ozkan mailtoeozkanminesedu
Sent Thursday          July 06       2017    243 PM
To Olson Jon
Subject Dr Zoya            Heidari




Attached         please    find    my evaluation         of Dr Heidaris promotion and tenure package                    Please   let   me know
if   you need a hard copy mailed to you


Best


Erdal    Ozkan
Professor

FH Mick       MerelliCimarex Energy Distinguished              Department   Head   Chair   in Petroleum   Engineering
Colorado     School   of   Mines

Marquez Hall Room 206
1600 Arapahoe Street
Golden CO 80401
Phone 1303273 3188
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Email eozkanminesedu




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PETROLEUM ENGINEERING COLORADO
SCHOOL OF MINES

FH Mick MerelliCimarex Energy Distinguished
Department Head Chair

Contact Information


Room 203 Marquez Hall

Golden Colorado 80401 USA

     303 2733188
Office

FAX 303 2733189

email eozkanminesedu


Education


BS MS Istanbul Technical             University


PhD University of Tulsa
Bio


Erdal Ozkan is a professor of Petroleum Engineering                 He has BS and MS degrees from

Istanbul   Technical    University   and a PhD degree from the University of Tulsa all in

Petroleum Engineering        He has over twenty years of teaching and research          experience       at


Istanbul   Technical    University The University        of Tulsa   and Colorado School   of Mines His


main research    interests are horizontal       and multilateral well technology     pressure transient

analysis modeling fluid flow in porous media and unconventional                 reservoirs    He joined the

PE Department        at Colorado School    of Mines in 1998       and he is a co director of Marathon

Center of Excellence     for Reservoir Studies      MCERS and the Graduate Program Coordinator
for the   PE Department Dr Ozkan          is   a Distinguished    Member of SPE and the recipient        of the


SPE Formation Evaluation Award 2007 He is also a member of the American                        Society    of


Mechanical    Engineers     ASME and The Mathematical Association of America

Erdal Ozkan has published and presented over 100 papers in prestigious refereed journals

and technical meetings coauthored              a book   and contributed   to several others   Dr Ozkan is

also actively involved in the organization         of technical   conferences   some examples include the

Steering Committee       of the   SPE Forum on Reservoir Engineering          Aspects of Multilateral and

Advanced     Wells   1999 Chair of the Organizing Committee for the SPE Advanced                 Technology

Workshop on Unconventional           Gas 2006 Steering Committee of the SPE Advanced
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Technology Workshop          on Advances       in Performance       Diagnostics for Fractured   and Horizontal

Wells   2007 and CoChair of the Organizing Committee of the SPE Technical                       Conference    on

Shale Gas Production      2008 and 2010

Dr Ozkan     serves in the   editorial boards of the key technical journals He            was the Executive

Editor of the SPE Reservoir Evaluation            and Engineering        Chief Editor of Elsevier Journal of

Petroleum Science      and Engineering and Associate Technical               Editor of   ASME Journal of

Energy Resources       Technology      He also    serves as a referee    for several   US and international

research    foundations   He is a member of the SPE Reservoir Description and Dynamics

Advisory Committee and         a   Technical    Director   of the   SPE Research and Development

Technical    Section
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                                                                                                                                                  BC




                                      The      UNIVERSITY                         of   OKLAHOMA®
                              Mewboume             School of Petroleum              and Geological    Engineering




Prof Jon E Olson                                                                                                            July 52017
Chairman and Frank            W   Jessen Professor

Department of Petroleum and Geosystem Engineering
The University of Texas           at Austin

CPE 2502 Austin TX 78712


Subject      Assessment of scholarly contributions                              of Dr Z Heidari



Dear Dr Olson


Per your request         of June 15th 2017               I   have prepared a letter stating my assessment of Dr

Heidaris scholarly achievements                      I   know of Dr Heidari from her publications                    only and have

never met her        My assessment            is   based on her publications                  and what is documented         in her

curriculum      vitae



Since    he joined the faculty        at   Texas         AM          she has been very active           in   publishing    her research

findings      25 refereed papers and close                   to   60 refereed conference             proceedings plus      many more
conference      presentations Most of her publications                             are in the   broad area of petrophysics           Her
contributions       have been in the application                    of nuclear magnetic resonance technique                   electrical

and dielectric      techniques       in understanding               properties of earth materials Some of her laboratory

experimental approaches              are clever and novel                   It   remains to be seen how        much her research
impacts work of other researchers                   in this field           I    find most    of her publications   well written       and

impactful



She has been very  active in SPWLA and SPE She has graduated   a large number of students both

at   MS and PhD level Her research funding mainly from the industry   strong Dr Heidari                   is


exhibits    high level of energy and dedication                          to her    profession     She has achieved    a lot    over a short

period of time She compares                exceptionally                 well    when compared to others in her position               It   is


very    difficult   to   say how one will do in future but based on her record my impression                                   is   that    she

will   continue     to be   very active       and successful               in her profession




If   you have any further questions please                        feel    free to   contact    me at 4053256866       or by email at

craikouedu




Sincerely


                    4L 102
Chandra S Rai
Director    and Eberly Chair Professor



                     100 East Boyd   Street   Sorkeys Energy         Center Suite      1210 Norman Oklahoma    730191003

                                                               PHONE        4053252921
                                                                  WEBSITE        mpgeouedu
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                                                                 Tuesday September             5 2017 at 95610 AM Central Daylight                 Time




Subject     RE    Promotion Letter Request                Zoya   Heidari


 Date       Thursday       July   6 2017 at 43212 PM Central Daylight Time
 From       Olson Jon

To          Rai Chandra         S
CC          Stickney      Stephanie


Chandra      Thanks       so   much for your help in this             I

                                                                          appreciate   it   Jon


Jon   E Olson
Chair and    Professor         Petroleum   and Geosystems Engineering

5124717375



From Rai Chandra S mailtocraiouedu
Sent Thursday           July 06   2017   431 PM
To Olson Jon
Cc Stickney Stephanie
Subject RE Promotion Letter Request                   Zoya Heidari




Attached    is
                 my assessment of Dr Heidaris accomplishments                          and my short cv Please           let   me know   if
                                                                                                                                             you need

any additional material



Best



Chandra



Chandra S Rai
Director         Eberly Chair
Mewbourrie School of Petroleum                      geoCogicalEngineering
University of OkCalioma
Ph 4053252921


From Olson Jon           Fmailtojolsonaustinutexasedu

Sent Saturday       June 17 2017         704 PM
To Rai Chandra S <craiPouedu>
Cc Olson Jon <jolsonPaustinutexasedu>                         Stickney       Stephanie      <stickneyaustinutexasedu>

Subject Promotion Letter Request                   Zoya     Heidari




Dear Chandra            have attached      a letter   requesting                 evaluate the promotion dossier of one of our
                                                                          you to
                    I




assistant   professors Zoya Heidari            I   have also attached          her CV 5 significant      papers and a brief research
statement by Dr Heidari



As youknow the academic promotion process depends heavily                                   on the role of outside impartial evaluators             I




hope we can count on you to help



Please   respond to this email as soon as              is   convenient       as to   whether you can do this evaluation             Assuming you

are willing to participate          the deadline      we are requesting          for receiving    your   letter   is   July 7



Thanks   so much for your time and consideration




                                                                                                                                                  Page 1 of 2
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Jon



Hook em
Jon  E Olson Chair and Frank W Jessen Professor
Lois K and Richard D Folger Leadership Chair

The   University   of   Texas at Austin   I
                                              Petroleum   and Geosystems   Engineering   I
                                                                                             5124717375   I   wwwpgeutexasedu




                                                                                                                                Page 2 of 2
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Chandra         S Rai PhD
Director and Eberly Chair Professor

Mewboume        School of Petroleum          and Geological         Engineering

University of Oklahoma



Educational       Background
PhD Geology and Geophysics                      University     of Hawaii           Honolulu Hawaii                             December       1977

MS      Applied   Geophysics                    Indian School of Mines                  Dhanbad      India                     August 1971
BS Applied Geophysics                           Indian School of Mines                  Dhanbad      India                     August 1970


Academic      Service

                      Original Appointment                 November           1    1999                  Professor       Tenured
                      Advancement                          July     1 2003                               Mewbourne         Chair Professor

                                                           January 31         2006                       Director         Eberly   Chair Professor



Additional     Experience
19781980       Post Doctoral    Research     Fellow Hawaii          Institute     of Geophysics          University      of Hawaii

19801981       Assistant   Geophysicist      Hawaii     Institute    of Geophysics          University       of Hawaii

19811999       Various   technical    and managerial assignments at Amoco                    Production       Company Research            Center Tulsa



Consulting Patents etc
Veritas    Geophysical     Services                        British    Petroleum                                                NexT
Anadarko Petroleum Company                                 ConocoPhillips                                                      Statoil


Rock Properties Resources                                  Gupco                                                               YFP Argentina
Devon                                                      Cimerax                                                             Apache
Pioneer

Have been awarded 10 US patents




Scientific    and Professional Societies

Society of Petroleum Engineers                                                            American Geophysical Union

American Association of Petroleum Geologists                                              European Association            of Geoscientist and Engineers

Society of Core Analyst                                                                   Society of Exploration          Geophysicists




Refereed     Publications

Close   to   150 in the area of rock physics       reservoir    characterization            petrophysics       and unconventional         resources



Research Activities

Have    generated    $20     million    in   research    funding      since       joining    the    University      of   Oklahoma        Currently managing     two

research     consortium     Experimental       Rock     Physics      started       in   2001       and   Characterization      of Unconventional         Reservoirs

started in 2008
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From <Olson>                    Jon Olson

Date Thursday                   July        6 2017 at 437 PM
To Robert                L Klein berg

Cc Stickney

Subject        RE Promotion                          Letter         Request Zoya Heidari


Robert Thanks                  for your          time and consideration                  Maybe     next   time Jon


Jon    E Olson
Chair and      Professor              Petroleum                 and Geosystems Engineering

5124717375


From Robert L Kleinberg mailtokleinbergs1bcom1
Sent Tuesday July 04 2017 304 PM
To Olson Jon
Cc Stickney Stephanie
Subject RE Promotion                             Letter         Request    Zoya      Heidari




Dear Prof Olson



Tenure promotion decisions are among the most important made by academic

departments               Therefore              I       am honored      to   be asked to review the promotion to tenure                of Prof

Joya   Heidari           With        this       honor comes the responsibility to write an accurate                       insightful    and

useful   review            I
                               hoped        I   could provide            such   a   review to you which      is   why my response       has   been

delayed        But       realistically               I   am not able to do this           Although   our fields of research significantly

overlap the          I   discontinued                    my petrophysics        studies    about the time Prof Heidari started

hers Thus       I   am not up to date in Prof Heidaris areas of expertise                                     Tellingly    I   have   never met

her or even          heard her speak                       at   a   professional     society   conference



I
    sincerely apologize               for not having                 made this decision sooner


Best   regards

Robert Kleinberg



SchlumbergerDoll                     Research

One Hampshire                  Street                      6177682277

Cambridge       MA 02139                                    kleinbergs1bcom




From Olson Jon mailtojolsonaustinutexasedu
Sent     Friday June             23 2017 1244 AM
To Robert L Kleinberg <kleinbergs1bcom>
Cc Stickney Stephanie <stickneyaustinutexasedu>

Subject Ext RE Promotion                                   Letter    Request        Zoya Heidari



Hi    Robert        Here        is   Zoyas CV which was not included on the previous email Thanks                                     for you

consideration            of    this    request              Jon
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look `cm
Jon  E Olson Chair and Frank W Jessen Professor
Lois K and Richard D Folger Leadership Chair

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                                                Petroleum   and Geosystems     Engineering    j
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From Olson Jon
Sent Saturday June 17 2017 701 PM
To kleinbergslbcom
Cc Olson Jon <jolsonaustinutexasedu>                          Stickney     Stephanie <stickneyaustinutexasedu>

Subject Promotion           Letter    Request      Zoya     Heidari




Dear Robert         I   hadnt heard back from you yet but             I   have taken the liberty to send you a formal

request    for a   promotion review for one of our assistant professors Zoya Heidari                           I   have   also

attached her CV 5 significant               papers and a brief research statement by Dr Heidari



The academic promotion process depends heavily on the role of outside impartial evaluators                                       I




hope we can count on you to help



Please   respond to this email as soon as is convenient                    as to   whether   you can do this
evaluation     Assuming        you are willing to participate             the deadline   we are requesting          for receiving

your letter is July 7



Thanks    so much for your time and consideration



Jon



Hook      cm
Jon  E Olson Chair and Frank W Jessen Professor
Lois K and Richard D Folger Leadership Chair

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                                                Petroleum   and Geosystems     Engineering    I
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From <Olson>           Jon Olson

Date Thursday           June        22 2017        at   1005 PM
To Reynolds Albert
Cc Stickney

Subject      Re Promotion                 Letter   Request Zoya Heidari


Hi Al    Im sorry you       are    all   booked    but    I   understand    Thanks    for   the    quick     reply



Jon


Jon    E Olson Chairman and Professor
Petroleum        Geosystems              Engineering

The University of Texas           at     Austin

Sent    from my iPhone



On Jun 18 2017        at    1113         AM Reynolds Albert <reynoldsutulsaedu>                         wrote



Dear Jon




I
    am really sorry but     I   cannot      do the evaluation        I   have an extremely full         week     and then   leave   on a

three    week   vacation        with     my family




Al   Reynolds




From Olson Jon <jolsonaustinutexasedu>
Sent Saturday June 17 2017 1046 PM
To Reynolds       Albert

Cc Olson Jon Stickney Stephanie

Subject Promotion               Letter    Request       Zoya    Heidari




Im       resending   this
                          message as some people reported                  trouble   with   the   zip file    The 5 significant   papers
can be   downloaded     from this link



httpswwwdropboxcomshiscsqexs5wk2nzs5AADhOcL4F                                        6G2CtprOJKvagtad1=0
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Dear    Dr Reynolds                I   have    attached          a letter requesting        you to evaluate      the   promotion dossier of one of our

assistant    professors Zoya                  Heidari        I   have     also   attached   her   CV 5    significant         papers and a brief research
statement      by Dr Heidari




As you know            the    academic promotion process depends heavily                                on the   role of      outside   impartial

evaluators       I
                     hope      we can count on you                   to help




Please respond          to this        email as soon             as is   convenient    as to   whether    you can do this evaluation                 Assuming

you    are   willing    to participate            the    deadline         we are requesting       for   receiving      your letter   is   July   7




Thanks so much               for              time and       consideration
                                   your




Jon




Hook `cm

Jon    E Olson          Chair          and Frank    W Jessen Professor

Lois   K and     Richard           D Folger Leadership Chair

The    University      of Texas          at   Austin     I
                                                             Petroleum           and Geosystems         Engineering       I
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